Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 1 of 106




                 Exhibit 11
     Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 2 of 106



·1· · · · · · · · CAUSE NO. D-1-GN-18-001605

·2 MARCEL FONTAINE,· · · · · )· IN THE DISTRICT COURT
· · · · · · · · · · · · · · ·)
·3· · · · Plaintiff,· · · · ·)
· · · · · · · · · · · · · · ·)
·4 vs.· · · · · · · · · · · ·)· TRAVIS COUNTY, TEXAS
· · · · · · · · · · · · · · ·)
·5 INFOWARS, LLC, FREE· · · ·)
· ·SPEECH SYSTEMS, LLC, and· )
·6 KIT DANIELS,· · · · · · · )
· · · · · · · · · · · · · · ·)
·7· · · · Defendants.· · · · )· 261ST JUDICIAL DISTRICT

·8

·9· · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF

10· · · · BRITTANY PAZ, CORPORATE REPRESENTATIVE OF

11· · · · · · · · ·FREE SPEECH SYSTEMS, LLC

12· · · · · · · · · · ·February 15, 2022

13

14· · ·ORAL AND VIDEOTAPED DEPOSITION OF BRITTANY PAZ,

15 CORPORATE REPRESENTATIVE OF FREE SPEECH SYSTEMS, LLC,

16 produced as a witness at the instance of the Plaintiff

17 and duly sworn, was taken in the above-styled and

18 numbered cause on February 15, 2022, from 9:03 a.m. to

19 3:34 p.m., before Amy M. Clark, Certified Shorthand

20 Reporter in and for the State of Texas, reported by

21 computerized stenotype machine at the offices of Kirker

22 Davis, LLP, 8310-I North Capital of Texas Highway, Suite

23 350, Austin, Texas 78731, pursuant to the Texas Rules of

24 Civil Procedure and the provisions stated on the record

25 or attached hereto.
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 3 of 106
Paz, Brittany                                     02-15-2022
                                                       2                                                                 4
·1· · · · · · · · · · · · APPEARANCES                      ·1· · · · · · · · · · ·EXHIBITS (cont.)
·2                                                         ·2 EXHIBIT· · · · · · · DESCRIPTION· · · · · · · · ·PAGE
·3 FOR PLAINTIFF:                                          ·3 Exhibit 9· · · Defendant's Answers to· · · · · · 148
·4· · · Mr. Bill Ogden                                     · · · · · · · · · Plaintiff's Second Set of
                                                           ·4· · · · · · · · Interrogatories
· · · · Mr. Mark Bankston
                                                           ·5 Exhibit 10· · ·Photograph· · · · · · · · · · · · 159
·5· · · Kaster Lynch Farrar & Ball, LLP
                                                           ·6 Exhibit 11· · ·Post from 4chan· · · · · · · · · ·162
· · · · 1117 Herkimer Street
                                                           ·7 Exhibit 12· · ·Infowars internal system screen· ·168
·6· · · Houston, Texas 77008                               · · · · · · · · · capture
· · · · Telephone: (713)221-8300                           ·8
·7· · · Fax:· (713)221-8301                                · ·Exhibit 13· · ·Defendant's Answer to· · · · · · ·176
· · · · Email: bill@fbtrial.com                            ·9· · · · · · · · Interrogatory Regarding Net
·8· · · Email: mark@fbtrial.com                            · · · · · · · · · Worth
·9 FOR DEFENDANTS:                                         10
10· · · Ms. Jacquelyn Blott                                · ·Exhibit 14· · ·Profit & Loss, 2020· · · · · · · ·184
· · · · Law Office of Jacquelyn W. Blott                   11
                                                           · ·Exhibit 15· · ·Balance Sheet, 12/31/20· · · · · ·195
11· · · 200 University Boulvard
                                                           12
· · · · Suite 225, No. 251
                                                           · ·Exhibit 16· · ·Income statement· · · · · · · · · 195
12· · · Round Rock, Texas 78665
                                                           13
· · · · Telephone: (512)639-9904                           · ·Exhibit 17· · ·UCC Financing Statement· · · · · ·196
13· · · Email: jblott@jblottlaw.com                        14
14 ALSO PRESENT:                                           · ·Exhibit 18· · ·Notepad· · · · · · · · · · · · · ·219
15· · · Mr. Manuel Martin, Videographer                    15
16                                                         · ·Exhibit 18A· · Handwritten notes about· · · · · ·254
17                                                         16· · · · · · · · conversation with Mr. Jones
18                                                         17 Exhibit 18B· · Handwritten notes, 2/14/22· · · · 261
19                                                         18 Exhibit 18C· · Handwritten notes, 2/15/22· · · · 262
                                                           19
20
                                                           20
21
                                                           21
22
                                                           22
23                                                         23
24                                                         24
25                                                         25

                                                       3                                                                 5
·1                                                         ·1· · · · · · · ·THE VIDEOGRAPHER:· We are on the record on
·2· · · · · · · · · · · · · ·INDEX
                                                           ·2 February 15th, 2022 at 9:03 a.m.· This is the videotaped
·3· · · · · · · · · · · · · · · · · · · · · · · · · PAGE
·4 Appearances .......................................2    ·3 deposition of Brittany Paz.
·5 BRITTANY PAZ, CORPORATE REPRESENTATIVE OF               ·4· BRITTANY PAZ, CORPORATE REPRESENTATIVE OF FREE SPEECH
· ·FREE SPEECH SYSTEMS, LLC
·6                                                         ·5· · · · · · · · · · · ·SYSTEMS, LLC,
· ·Examination by Mr. Odgen ..........................5    ·6 having been first duly sworn, testified as follows:
·7 Examination by Ms. Blott ........................265
· ·Further Examination by Mr. Ogden ................268    ·7· · · · · · · · · · · · EXAMINATION
·8 Signature Page· .................................280    ·8 BY MR. OGDEN
· ·Court Reporter's Certificate ....................283
                                                           ·9· · ·Q.· ·Could you please introduce yourself to the
·9
10· · · · · · · · · · · · ·EXHIBITS                        10 jury.
11 EXHIBIT· · · · · · · DESCRIPTION· · · · · · · · ·PAGE   11· · ·A.· ·Sure.· My name is Brittany Paz.
12 Exhibit 1· · · Email from Kit Daniels to· · · · · 31
· · · · · · · · · Infowars Staff, 6/7/18                   12· · · · · · · ·MS. BLOTT:· And, just for the record,
13                                                         13 we're gonna take this subject to the protective order
· ·Exhibit 2· · · Web message, Use the links on· · · 97
14· · · · · · · · the left to browse saved web             14 that's been entered in this case.
· · · · · · · · · pages.                                   15· · · · · · · ·MR. OGDEN:· Okay.
15
                                                           16· · · · · · · ·MR. BANKSTON:· There's no protective -- is
· ·Exhibit 3· · · Web search message, Page no· · · · 97
16· · · · · · · · longer available                         17 there a protective?· I don't think we have one.· I'm not
17 Exhibit 4· · · Defendant's Amended Responses· · ·117
                                                           18 sure we do.
· · · · · · · · · to Plaintiff's First Request
18· · · · · · · · for Production                           19· · · · · · · ·MS. BLOTT:· Okay.
19 Exhibit 5· · · Defendant's Responses to· · · · · 125    20· · · · · · · ·MR. OGDEN:· I don't think we do.
· · · · · · · · · Plaintiff's Second Request for
20· · · · · · · · Production                               21· · · · · · · ·MS. BLOTT:· My apologies.· I will have to
21 Exhibit 6· · · Defendant's First Supplemental· · 137    22 check that.
· · · · · · · · · Answers to Plaintiff's First
                                                           23· · · · · · · ·THE WITNESS:· Before we get started, can I
22· · · · · · · · Set of Interrogatories
23 Exhibit 7· · · Social media post· · · · · · · · ·140    24 amend something that we talked about yesterday?
24 Exhibit 8· · · Prison Planet dot com post· · · · 141
                                                           25· · · · · · · ·MR. OGDEN:· It's kind of a different case.
25


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 4 of 106
Paz, Brittany                                      02-15-2022
                                                         6                                                             8
·1· · · · · · · ·THE WITNESS:· Well, I --                     ·1 representative.
·2· · · · · · · ·MR. BANKSTON:· You get to read and sign.     ·2· · · · · · · ·What does that mean to you?
·3· · · · · · · ·MS. BLOTT:· No.· No.· No.· She --            ·3· · ·A.· ·It means that I am a fact witness on behalf of
·4· · · · · · · ·THE WITNESS:· Well, I want to add            ·4 the company.
·5 something.· Just -- it was on the subject of -- Attorney   ·5· · ·Q.· ·Okay.· And does that job require -- have
·6 Bankston asked me about a Bloomberg article that was       ·6 responsibilities with it?
·7 referenced by Mr. Jones.· And I didn't know which          ·7· · ·A.· ·I think I was tasked and have the
·8 article it was.· But I located the article.· So I just     ·8 responsibility to speak -- speak coherently on what the
·9 wanted to bring it to your attention and put it on the     ·9 company knows or knew at the time that the allegations
10 record.                                                    10 were made about the allegations in his petition.
11· · · · · · · ·MR. OGDEN:· I don't --                       11· · ·Q.· ·And that's it?
12· · · · · · · ·MS. BLOTT:· It's an entirely different       12· · ·A.· ·In relation to this case?
13 deposition.                                                13· · ·Q.· ·Yes.
14· · · · · · · ·THE WITNESS:· Yeah.· Okay.· Okay.            14· · ·A.· ·Yes.
15· · · · · · · ·MR. OGDEN:· Different case, different        15· · ·Q.· ·Okay.
16 subject matter.                                            16· · · · · · · ·MR. OGDEN:· Do you have a copy of the
17· · · · · · · ·THE WITNESS:· Okay.· Well, I guess           17 notice?
18 Attorney Blott can email you.                              18· · · · · · · ·MR. BANKSTON:· It ought to be in your
19· · · · · · · ·MR. BANKSTON:· We're not terribly            19 book.· I can show it to you.
20 concerned with what your attorney's prepared you on        20· · · · · · · ·MR. OGDEN:· Yeah.
21 after your obligations for that deposition.                21· · · · · · · ·MR. BANKSTON:· One second.
22· · · · · · · ·THE WITNESS:· It wasn't --                   22· · ·Q.· ·(By Mr. Ogden) When were you retained to be the
23· · · · · · · ·MS. BLOTT:· I'm gonna object.· Because --    23 corporate representative in this case?
24· · · · · · · ·THE WITNESS:· It wasn't anything she         24· · ·A.· ·It was at the same time as what the previous
25 prepared me on.· But, okay.                                25 case is.· So January 31st, February 1st, around that

                                                         7                                                             9
·1· · · · · · · ·MS. BLOTT:· Go ahead.                        ·1 time.· It's about two weeks ago.
·2· · · · · · · ·MR. BANKSTON:· Well, I mean, just because    ·2· · ·Q.· ·Who retained you?
·3 this is put on the record, and it may be used in the       ·3· · ·A.· ·The company.
·4 Sandy Hook case, and I was taking that deposition.· It's   ·4· · ·Q.· ·No.· Who specifically?
·5 our position, Ms. Paz was ordered by the Court to appear   ·5· · ·A.· ·I believe Mr. Jones retained me.
·6 yesterday for a deposition, prepped on those topics.· We   ·6· · ·Q.· ·He called you?
·7 do not feel she was prepared.· And anything she did last   ·7· · ·A.· ·Did I speak directly to him at the time?· No.
·8 night, after the obligation of the deposition, is          ·8 I spoke to Attorney Blott.
·9 completely irrelevant to us.· That's our position on the   ·9· · ·Q.· ·So Ms. Blott reached out to you to be the
10 Sandy Hook case.                                           10 corporate representative?
11· · ·Q.· ·(By Mr. Ogden) All right.· So what -- Ms. Paz,    11· · ·A.· ·And Mr. -- and Mr. Pattis.
12 what do you do for a living?                               12· · ·Q.· ·Okay.
13· · ·A.· ·I am a practicing attorney in Connecticut.        13· · ·A.· ·So Attorney Blott and Mr. Pattis.
14· · ·Q.· ·Today we are obviously in Austin, Texas.          14· · ·Q.· ·Was it kind of like a conference call with
15· · · · · · · ·You're not gonna be practicing law today,    15 everybody on it, or did Mr. Pattis call you and then
16 correct?                                                   16 Ms. Blott called you?
17· · ·A.· ·No.                                               17· · ·A.· ·I think Mr. Pattis called me and then Attorney
18· · ·Q.· ·What are you -- what were you tasked with doing   18 Pattis called me.
19 today?                                                     19· · ·Q.· ·Okay.· And you have a relationship with
20· · ·A.· ·For this deposition?                              20 Mr. Pattis, correct?
21· · ·Q.· ·Yes.                                              21· · ·A.· ·I have a prior professional relationship with
22· · ·A.· ·In the Fontaine deposition, I was tasked with     22 Attorney Pattis, yes.
23 being the corporate representative for Free Speech in      23· · ·Q.· ·Okay.· Do you have any personal relationship
24 relationship to the petition that he filed.                24 with him in any way, as you sit here today?
25· · ·Q.· ·And you just used the term corporate              25· · ·A.· ·No.


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 5 of 106
Paz, Brittany                                      02-15-2022
                                                        10                                                                  12
·1· · ·Q.· ·So y'all aren't friends?                          ·1 be prepared to do, would that be something you'd
·2· · ·A.· ·I wouldn't consider us friends.· I consider us    ·2 probably find helpful as you were getting started in
·3 work colleagues.                                           ·3 preparing for these depos?
·4· · ·Q.· ·When Mr. Pattis called you to be the corporate    ·4· · ·A.· ·Would I have found it helpful to have read the
·5 representative for Free Speech Systems and Infowars,       ·5 transcripts?
·6 LLC, what was your reaction?                               ·6· · ·Q.· ·Of what the judge specifically said for you, as
·7· · ·A.· ·I don't know that I had a reaction.· He had a     ·7 the corporate representative, to be prepared to do in
·8 need for someone to serve as the corporate                 ·8 these rooms the last two -- yesterday and today?
·9 representative.· He asked if I would be able to do so,     ·9· · ·A.· ·Sure.· It would have been helpful.· But I did
10 given the time constraints and my other work               10 review the depo notice.
11 obligations.· I considered it.· We had some discussions    11· · ·Q.· ·So if the judge said, I expect every single
12 about it; and, ultimately, we decided it would work.       12 document to be read, would you understand that to mean
13· · ·Q.· ·You understand that Free Speech Systems and       13 that the corporate representative that sits down for
14 Infowars, LLC have had a couple different corporate        14 these depos should have reviewed every single document?
15 representatives previously, correct?                       15· · ·A.· ·I don't know that that's what was said.
16· · ·A.· ·Yes.                                              16· · ·Q.· ·I'm not asking you if you know that that's what
17· · ·Q.· ·And so -- and when Mr. Pattis retained you, did   17 was said.
18 he tell you that time constraint of you only have two      18· · · · · · · ·I'm saying:· If the judge said that, you
19 weeks to prepare?                                          19 would understand that to mean whoever's sitting in the
20· · ·A.· ·Yes.· I was aware.· I think I had already seen    20 chair that you were sitting in right now should've
21 the deposition notice.                                     21 reviewed every single document that was produced in
22· · ·Q.· ·And did -- when Mr. Pattis was telling you        22 discovery?
23 about the time constraints, did he also mention the        23· · ·A.· ·I don't know.· I don't know the answer -- how
24 amount of work and materials that would go into being      24 to answer that.· I don't think it's possible for one
25 prepared for these depositions?                            25 person to read all those documents.

                                                        11                                                                  13
·1· · ·A.· ·Yes.                                              ·1· · ·Q.· ·I think you're right.
·2· · ·Q.· ·Okay.· And so he told you, Mr. Pattis did, that   ·2· · · · · · · ·So would it surprise you to know that the
·3 you'd have to review over a hundred thousand pages of      ·3 judge, on the record -- we have the transcript, if you'd
·4 documents?                                                 ·4 like to review it on break -- said this would likely
·5· · ·A.· ·He said that there were those types of volumes    ·5 require multiple corporate representative designees for
·6 of documents that were a part of the case, yes.            ·6 different topics to share the brunt of what would be
·7· · ·Q.· ·And you agreed that you were, you know,           ·7 expected.
·8 able-bodied enough to be able to be prepared and review    ·8· · · · · · · ·Did you know that?
·9 every single one of those documents?                       ·9· · ·A.· ·I don't know.· Like I said, I haven't reviewed
10· · ·A.· ·I don't think anyone is able to review every      10 the transcript.
11 single one of those documents.· I think what I was         11· · ·Q.· ·Right.· But one thing we can agree on is that
12 tasked to do is try to be as prepared as possible, given   12 you don't have the capacity to be fully prepared to
13 the time constraints, because the Court ordered a          13 discuss the topics in detail for the depo notices from
14 corporate representative to come in and cogently talk      14 today and yesterday?
15 about these topics.· And I did that to best of my          15· · ·A.· ·No.
16 ability.                                                   16· · ·Q.· ·No.· You don't agree with that?
17· · ·Q.· ·Okay.· And did Mr. Pattis tell you that the       17· · ·A.· ·No.· I don't agree with that.
18 judge in these cases on the record -- and we have the      18· · ·Q.· ·Well, you said just a second ago, to the best
19 transcript -- went into pretty good amount of detail as    19 of your ability, not I'm completely prepared.
20 to what she expected out of you as the corporate           20· · · · · · · ·So which is it?
21 representative in these depositions?· Did you know that?   21· · ·A.· ·I think that I have reviewed documents that are
22· · ·A.· ·I didn't read the transcript, and I don't think   22 relevant and to be prepared to talk on the topics that
23 he read the transcript.· I read the deposition notice.     23 the deposition has noticed me for.
24· · ·Q.· ·As we sit here today, if the judge had            24· · ·Q.· ·That didn't answer my question.
25 expectations of what a corporate representative should     25· · ·A.· ·I think it did.


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 6 of 106
Paz, Brittany                                      02-15-2022
                                                        14                                                            16
·1· · ·Q.· ·Okay.· What was my question?                      ·1 time.
·2· · ·A.· ·Your question was whether or not I am able to     ·2· · ·Q.· ·Okay.· For this case specifically, how many
·3 testify as to the topics in this -- in this deposition     ·3 hours did you take preparing?
·4 that were noticed as per Mr. Fontaine, and I am able to    ·4· · ·A.· ·So with the document review of the -- just
·5 do that.                                                   ·5 specifically related to Mr. Fontaine, including the
·6· · ·Q.· ·Okay.· That wasn't my question.· But we'll just   ·6 interviews that I had with Mr. Daniels and other
·7 move on from there.                                        ·7 employees in connection with this case, I would say
·8· · · · · · · ·How much are you being paid?                 ·8 probably in the neighborhood of 10 hours.· That also
·9· · ·A.· ·As I testified yesterday, this --                 ·9 includes preparation with the attorneys discussing the
10· · ·Q.· ·For this case, and this case only, how much are   10 case.
11 you being paid?                                            11· · ·Q.· ·So 10 hours total?
12· · ·A.· ·It was the same amount as the -- as the case      12· · ·A.· ·Probably, yes.
13 yesterday.· So as I testified yesterday, I was paid a      13· · ·Q.· ·Okay.· Do you remember how many topics were on
14 flat fee of $30,000, and it encompassed both cases.        14 the deposition notice?
15· · ·Q.· ·Okay.· How much did you --                        15· · ·A.· ·I believe there were eight.
16· · · · · · · ·MR. OGDEN:· I -- I'm not everyone.· Okay.    16· · ·Q.· ·All right.· So you spent roughly 1.25 -- an
17· · ·Q.· ·(By Mr. Ogden) How much of the $30,000 was for    17 hour and 15 minutes per topic?
18 today?                                                     18· · ·A.· ·Well, that doesn't -- you told me specifically
19· · ·A.· ·It wasn't divided up or allocated.· It was just   19 related to Fontaine.
20 a flat $30,000 for the both cases.                         20· · ·Q.· ·Correct.
21· · · · · · · ·(Sotto voce conversation between Mr. Ogden   21· · ·A.· ·So I testified that it's taken a hundred hours
22· · · · · · · ·and Mr. Bankston.)                           22 of review time total to review all of the documents.· So
23· · ·Q.· ·(By Mr. Ogden) So the $30,000 that you were       23 I think that per the eight topics, if we're dividing
24 paid was not allocated to the specific time that was       24 them up, that would include all hundred hours.· But the
25 done, rather it was just a flat fee to encompass all of    25 Fontaine documents specifically, it was about 10 hours.

                                                        15                                                            17
·1 it?                                                        ·1· · ·Q.· ·Right.
·2· · ·A.· ·Yes.                                              ·2· · ·A.· ·Right.
·3· · ·Q.· ·Okay.· Where did that number come from?           ·3· · ·Q.· ·And there's eight topics for the Fontaine
·4· · ·A.· ·I believe I testified yesterday that we had --    ·4 case --
·5 that there was a starting number and that we negotiated    ·5· · ·A.· ·Right.
·6 from there.                                                ·6· · ·Q.· ·-- which is why we're here today, right?
·7· · ·Q.· ·Okay.· Okay.· What was the starting number?       ·7· · ·A.· ·Right.· That would also include the Sandy Hook
·8· · ·A.· ·I believe it was 25,000, and then I negotiated    ·8 discovery.· So that would include a hundred hours of
·9 back at 30.                                                ·9 dis- -- of review of that material.
10· · ·Q.· ·Okay.· Where did you get that number?             10· · ·Q.· ·Are they -- tell me how they're related.
11· · ·A.· ·Just given the amount of time that I thought it   11· · ·A.· ·A lot of those questions have to do with the
12 would take, how many documents I would have to review,     12 company and the business structure of the company and
13 how much -- how much time constraints there were with      13 the information about the -- I might be referring to the
14 the case, that's -- I thought it was a fair number.        14 other deposition notice.
15· · ·Q.· ·Right.· And I'm trying to figure out, why         15· · ·Q.· ·I think you are.
16 did -- how did you come to the idea that $30,000 was       16· · ·A.· ·Okay.
17 fair?                                                      17· · ·Q.· ·Okay.· I can print this out, if you need it.
18· · ·A.· ·As I just testified, the time that I thought it   18· · ·A.· ·Sure.
19 would require, the documents I would have to review, and   19· · ·Q.· ·(Inaudible.)
20 the time constraints involved in the case; that's how I    20· · ·A.· ·I don't recall off the top of my head which
21 came to that number.                                       21 ones those are.
22· · ·Q.· ·How much time did you think it would require?     22· · ·Q.· ·Yesterday you came in and you had a pretty,
23· · ·A.· ·I would think it would require as much time as    23 color-coded, tabbed-up binder with a lot of information
24 I could dedicate to it.· But, ultimately, it ended up      24 in it.
25 requiring probably around a hundred hours of review        25· · · · · · · ·You remember that?


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 7 of 106
Paz, Brittany                                      02-15-2022
                                                        18                                                            20
·1· · ·A.· ·Yes.                                              ·1· · ·A.· ·You could round it.
·2· · ·Q.· ·And today you don't have anything?                ·2· · ·Q.· ·Okay.· So you got an additional 140 pages this
·3· · ·A.· ·That was marked as an exhibit for that            ·3 morning?
·4 deposition.                                                ·4· · ·A.· ·Yes.
·5· · ·Q.· ·Was there something in that binder that you       ·5· · ·Q.· ·And you were able to review those fully?
·6 would have needed for today?                               ·6· · ·A.· ·I haven't read each and every line of these,
·7· · ·A.· ·Most of that binder were the video discoveries,   ·7 no.
·8 the video -- I'm sorry -- not video discoveries.· The      ·8· · ·Q.· ·Have you looked at every single page, at least?
·9 summaries that I had of the videos specifically related    ·9· · ·A.· ·I did try to look at each and every single
10 to Sandy Hook.                                             10 page.· But...
11· · ·Q.· ·Okay.· Right.· So we don't need those.            11· · ·Q.· ·I didn't ask if you tried, Ms. Blott -- excuse
12· · ·A.· ·I don't think we were talking about those for     12 me, Ms. Paz.· I asked if you have looked at every page
13 the Fontaine case.                                         13 prior to you flipping through --
14· · ·Q.· ·Correct.                                          14· · ·A.· ·I don't know that I looked at every page.
15· · ·A.· ·Right.                                            15· · ·Q.· ·Okay.· So it's safe to say if one of the
16· · ·Q.· ·So you didn't bring anything with you today for   16 expectations today was to be able to testify to the
17 this case?                                                 17 discovery produced, there's probably some things in
18· · ·A.· ·Aside from the supplemental dis- -- production    18 there you're not prepared to do, considering you haven't
19 that we produced yesterday.                                19 reviewed it all?
20· · ·Q.· ·Okay.· And have you reviewed all of that          20· · ·A.· ·Well, it was filed this morning -- or yesterday
21 production?                                                21 morning.· So, no.
22· · ·A.· ·I believe so, yes.                                22· · ·Q.· ·Okay.· Were you surprised when you got a call
23· · ·Q.· ·When did you review it?                           23 from Mr. Pattis to be the corporate representative in
24· · ·A.· ·Sometime last week and through the weekend.       24 this case?
25· · ·Q.· ·So that supplemental production was prepared      25· · ·A.· ·I wouldn't say I was surprised.· I knew he had

                                                        19                                                            21
·1 and ready to go last week --                               ·1 been working on the Mr. Jones case for a couple of
·2· · ·A.· ·No.                                               ·2 years.· So I wouldn't say I was surprised.
·3· · ·Q.· ·-- and it was given to us today?                  ·3· · ·Q.· ·When you say working on, he's been litigating
·4· · ·A.· ·That's not what I said.                           ·4 it?
·5· · ·Q.· ·Okay.· When did you review that?                  ·5· · ·A.· ·I believe he litigates the Connecticut cases.
·6· · ·A.· ·This particular packet (indicating)?              ·6· · ·Q.· ·Correct.· So when he said, hey, I need you to
·7· · ·Q.· ·Yes.                                              ·7 go to Texas, did that surprise you?
·8· · ·A.· ·It was emailed to me this morning.                ·8· · ·A.· ·Not really.
·9· · ·Q.· ·Okay.                                             ·9· · ·Q.· ·Have you ever given a deposition prior to
10· · ·A.· ·But the materials in here had been started to     10 yesterday?
11 be put together -- sometime last week we started to put    11· · ·A.· ·No.
12 it together.                                               12· · ·Q.· ·Have you ever served as a corporate
13· · ·Q.· ·How do you know that?                             13 representative?
14· · ·A.· ·Because I looked at some of the Fontaine          14· · ·A.· ·No.
15 production.                                                15· · ·Q.· ·Ever gone to a -- you know, have you ever gone
16· · ·Q.· ·Okay.· Which parts of the Fontaine production     16 through a civil jury trial?
17 were you able to see last week?                            17· · ·A.· ·Have I gone through a jury trial?· No.
18· · ·A.· ·So on our Dropbox that I believe I did mention    18· · ·Q.· ·Okay.· So your background is in criminal law,
19 yesterday, I did see articles.· I saw blog posts. I        19 correct?
20 saw -- and social media posts on Twitter, Facebook. I      20· · ·A.· ·For the most part, yes.
21 saw -- not just news articles, but articles posted by      21· · ·Q.· ·So when a civil lawyer calls you and says, I'd
22 people on the internet.· I believe I saw our article.      22 like for you to be the corporate representative in these
23 There wasn't -- there was maybe a couple hundred pages     23 civil matters, things you've never done before, you
24 worth of material on that.                                 24 weren't at all surprised?
25· · ·Q.· ·A couple hundred.· Let's say 200.                 25· · ·A.· ·Well, Norm is not only a civil lawyer.· But...


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 8 of 106
Paz, Brittany                                      02-15-2022
                                                        22                                                            24
·1 No.· I wasn't very surprised.                              ·1· · ·A.· ·Yes.
·2· · ·Q.· ·I didn't say Norm was only a civil lawyer.        ·2· · ·Q.· ·How long did y'all talk?
·3· · ·A.· ·You said when a civil lawyer calls you.· So       ·3· · ·A.· ·A couple of hours.· I think probably about two
·4 he's not just a civil lawyer.                              ·4 hours.
·5· · ·Q.· ·True or false, Norm's a civil lawyer?             ·5· · ·Q.· ·Okay.· That was on the phone?
·6· · ·A.· ·He practices civil and criminal.                  ·6· · ·A.· ·No.· I spoke to him in person.
·7· · ·Q.· ·There we go.                                      ·7· · ·Q.· ·Where?
·8· · · · · · · ·So the answer to my question would be yes,   ·8· · ·A.· ·At the office.
·9 and I don't need all the extra.                            ·9· · ·Q.· ·Whose office?
10· · · · · · · ·You understand that, right?                  10· · ·A.· ·The company's office.
11· · ·A.· ·Sure.                                             11· · ·Q.· ·In Austin?
12· · ·Q.· ·Right.· Because I sat through yesterday.· And,    12· · ·A.· ·Yes.
13 unfortunately, Mr. Bankston is far more patient than I'm   13· · ·Q.· ·Okay.· When was that?
14 gonna be.· Okay?· I'm just putting it out there.           14· · ·A.· ·Saturday.
15· · · · · · · ·If I ask a question, answer the one that's   15· · ·Q.· ·Okay.· Who else?
16 on the table.                                              16· · · · · · · ·You said you spoke with Mr. Daniels and
17· · · · · · · ·You're a lawyer.· You know what to do,       17 other employees earlier.
18 right?· Or do you?                                         18· · · · · · · ·Who else did you talk to?
19· · ·A.· ·Is there -- is there an actual question there?    19· · ·A.· ·In connection with just the Fontaine case?
20· · ·Q.· ·Yes.· Do you know what to do when someone asks    20· · ·Q.· ·Yes, ma'am.
21 you a question --                                          21· · ·A.· ·I spoke to Mr. Jones; I spoke to Mr. Salazar; I
22· · ·A.· ·Yes.                                              22 spoke to -- I spoke to the attorneys.
23· · ·Q.· ·-- in a deposition?                               23· · ·Q.· ·You said that plurally.
24· · · · · · · ·Okay.· Well, then, based on what just        24· · · · · · · ·Who are the attorneys?
25 happened there, let me tell you that when I'm asking a     25· · ·A.· ·I spoke to Attorney Blott; I spoke to Attorney

                                                        23                                                            25
·1 question in a deposition, let me finish, and then answer   ·1 Pattis.
·2 so that Ms. -- the court reporter right here can get       ·2· · ·Q.· ·Okay.· What was Mr. Pattis's role in all of
·3 down a clear record.· Okay?                                ·3 this?
·4· · ·A.· ·Sure.                                             ·4· · ·A.· ·I just -- generally, we're talking about the
·5· · ·Q.· ·Giving you another heads up.· Because when you    ·5 depositions and the information that I needed and
·6 said yes you know what you're doing, you're actually       ·6 required.
·7 kind of violating a different rule.                        ·7· · ·Q.· ·What'd y'all talk about?
·8· · · · · · · ·When it came to your $30,000 flat rate,      ·8· · ·A.· ·I -- I think that's privileged.
·9 how much were you estimating per hour?                     ·9· · ·Q.· ·I didn't ask you if you think it's privileged.
10· · ·A.· ·I don't know if it actually works out to be       10 If it's privileged, Ms. Blott will object and instruct
11 that.· But, usually, my hourly rate was around $350.       11 you.
12 But given the amount of time, I doubt it's calculated      12· · · · · · · ·But Mr. Pattis isn't an attorney of record
13 out to be that much.                                       13 here.· He's not an employee of Infowars and you, in your
14· · ·Q.· ·Sure.· I was asking how you came to that          14 capacity, weren't acting as a lawyer.
15 number, $30,000.                                           15· · · · · · · ·So I'm gonna ask you again:· What did you
16· · · · · · · ·It's a specific number, correct?             16 and Mr. Pattis talk about?
17· · ·A.· ·Sure.· It's a specific number.                    17· · · · · · · ·MS. BLOTT:· I'm gonna object to
18· · ·Q.· ·Okay.· So if you estimated, I guess, what, 86     18 attorney-client privilege.
19 hours of work times 350 would get us there, correct?       19· · ·A.· ·I think Attorney Pattis is an attorney for the
20· · ·A.· ·That's probably what it breaks down to; but,      20 company, maybe not in this particular case, but he is an
21 ultimately, it required more.                              21 attorney for the company.
22· · ·Q.· ·Right.· Are you gonna charge more?                22· · ·Q.· ·(By Mr. Ogden) And Mr. Pattis was in Austin?
23· · ·A.· ·No.                                               23· · ·A.· ·No.· He's not in Austin.
24· · ·Q.· ·Okay.· Who'd you -- you mentioned that you        24· · ·Q.· ·You said you spoke to him on this case.
25 talked with Mr. Daniels in preparation for today, right?   25· · · · · · · ·So he's not -- you didn't speak to him


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 9 of 106
Paz, Brittany                                      02-15-2022
                                                        26                                                            28
·1 here?                                                      ·1· · · · · · · ·I'm not from Austin; did you know that?
·2· · ·A.· ·In person?· No.· I spoke to him on the phone.     ·2· · ·A.· ·No, I don't.
·3· · ·Q.· ·Okay.· And was Mr. Pattis giving legal advice?    ·3· · ·Q.· ·Okay.· I know you need to get back home, too,
·4· · ·A.· ·About this particular case?                       ·4 right?
·5· · ·Q.· ·Yes.                                              ·5· · ·A.· ·Sir, do you have a question for me?
·6· · ·A.· ·I believe so, yes.                                ·6· · ·Q.· ·Right.
·7· · ·Q.· ·Okay.                                             ·7· · · · · · · ·You -- you have a flight booked this
·8· · · · · · · ·MR. OGDEN:· I'm just gonna leave that        ·8 afternoon, correct?
·9 there.                                                     ·9· · ·A.· ·Yes, I do.
10· · · · · · · ·MR. BANKSTON:· Yeah.                         10· · ·Q.· ·Okay.· And it leaves at 4:00, right?
11· · ·Q.· ·(By Mr. Ogden) You understand that if             11· · ·A.· ·No, it doesn't.
12 practicing law in a state that you're not licensed is an   12· · ·Q.· ·Okay.· Then you need to leave here by 4:00?
13 ethical violation and, in most states, criminal.           13· · ·A.· ·Yes.
14· · · · · · · ·Do you understand that?                      14· · ·Q.· ·Okay.· And I'd like to get us both out of here.
15· · ·A.· ·I'm not here to testify as to that.               15 Truly, I don't want to be here any longer than I can be.
16· · ·Q.· ·I just asked you if you understood that.          16· · · · · · · ·But when you start randomly injecting
17· · ·A.· ·I don't understand that.                          17 information into questions that aren't asked, do you
18· · ·Q.· ·Okay.· Mr. Jones, Mr. Daniels, Mr. Salazar,       18 understand that that's going to make this a much longer
19 Ms. Blott, and Mr. Pattis.                                 19 process?
20· · · · · · · ·Anybody else you spoke to on this case?      20· · ·A.· ·Sir, can you pose me a question.
21· · ·A.· ·I don't believe so.                               21· · ·Q.· ·I asked you:· Do you understand that?
22· · ·Q.· ·Do you feel, sitting here right now, that you     22· · ·A.· ·I understand what your point is.
23 are adequately prepared to discuss the topics that were    23· · · · · · · ·Can you please pose me a question.
24 in the deposition notice?                                  24· · ·Q.· ·Sure.· How old are you?
25· · ·A.· ·Yes.                                              25· · ·A.· ·I'm 35.

                                                        27                                                            29
·1· · ·Q.· ·Did you think walking into yesterday that you     ·1· · ·Q.· ·Okay.· Where'd you go to law school?
·2 were prepared?                                             ·2· · ·A.· ·Quinnipiac University School of Law.
·3· · ·A.· ·As much as I could be, yes.                       ·3· · ·Q.· ·You said, I believe, you're in your 10th year.
·4· · ·Q.· ·I didn't ask as much as you could be.· I asked    ·4· · ·A.· ·Yes.
·5 if you were prepared, fully prepared.                      ·5· · ·Q.· ·Where is your office?
·6· · ·A.· ·Like I said, as much as I could be, yes. I        ·6· · ·A.· ·I have an office in Shelton, Connecticut.
·7 don't think there was anybody who could have testified     ·7· · ·Q.· ·Okay.· How -- you -- earlier you said you had a
·8 any better as to those topics.                             ·8 professional relationship with Mr. Pattis.
·9· · ·Q.· ·Okay.· Did I ask that?                            ·9· · · · · · · ·You used to work for him, correct?
10· · ·A.· ·No.                                               10· · ·A.· ·Yes.
11· · ·Q.· ·Did I ask you if you thought there was anyone     11· · ·Q.· ·How long?
12 else that could be better prepared?                        12· · ·A.· ·About five years.
13· · ·A.· ·No.                                               13· · ·Q.· ·Okay.· And that was right out of law school?
14· · ·Q.· ·Okay.· Why'd you say it?                          14· · ·A.· ·Yes.
15· · ·A.· ·Because it's true.                                15· · ·Q.· ·What'd you work -- what kind of cases did you
16· · ·Q.· ·Right.· But I like hot dogs is true, but I'm      16 work with?
17 not gonna blurt it out randomly in a deposition.           17· · ·A.· ·Mostly criminal, but we did do some civil.
18· · ·A.· ·It wasn't random.                                 18· · ·Q.· ·Did you handle any defamation cases?
19· · ·Q.· ·It wasn't, which is why I'm asking you why you    19· · ·A.· ·No.
20 said it.                                                   20· · ·Q.· ·All right.· There is a number of individuals at
21· · ·A.· ·And I just told you.                              21 the company that are -- that have been with the company
22· · ·Q.· ·Cause it's true?                                  22 for much longer than two weeks, correct?
23· · ·A.· ·No.· Because it's relevant to your question.      23· · ·A.· ·Yes.
24· · ·Q.· ·Okay.· I truly want to get on the road back       24· · ·Q.· ·Okay.· Why do you think that you were the only
25 home today.· You understand that?                          25 person, as you stated earlier, that could have possibly


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 10 of 106
Paz, Brittany                                       02-15-2022
                                                         30                                                            32
 ·1 been prepared to testify on the subject matter of these    ·1· · ·A.· ·I did.
 ·2 two depositions?                                           ·2· · ·Q.· ·So you had spoken to him prior to you just
 ·3· · ·A.· ·Because I think that you have previously tried    ·3 telling the jury that there are no written policies and
 ·4 to depose two other people.· Those depositions, they       ·4 procedures, correct?· Correct?
 ·5 were not adequately able to testify as to the topics       ·5· · ·A.· ·May I just look at this for a second.
 ·6 that were presented.· And I also think that perhaps they   ·6· · ·Q.· ·The question doesn't require you to know what's
 ·7 didn't have either the time that was required to           ·7 in there.
 ·8 dedicate to such an undertaking.· And, third, that I       ·8· · · · · · · ·I'm just asking you if you spoke to Kit
 ·9 think that there is no one person that is in charge        ·9 Daniels before you just told the jury that there are no
 10 with -- of this material at the company to testify as to   10 written policies and procedures?
 11 it.                                                        11· · ·A.· ·I did speak to Kit Daniels.
 12· · ·Q.· ·What did you do to prepare to discuss the         12· · ·Q.· ·Okay.
 13 company's policies regarding the factual vetting of        13· · ·A.· ·And I have seen this --
 14 information that Infowars disseminates?                    14· · ·Q.· ·Okay.
 15· · ·A.· ·Sure.· So I've spoken to -- as we testified to    15· · ·A.· ·-- in the connection with -- this is the
 16 yesterday, I've spoken to a number of other people in      16 company handbook that was produced to me by --
 17 connection with the policies and procedures.· So I spoke   17· · ·Q.· ·There's no question.
 18 to Melinda; I spoke to Daria; I spoke to Rob Dew; I        18· · ·A.· ·-- Melinda.
 19 spoke to Alex Jones, a bunch of other people.              19· · ·Q.· ·There's no question on the table.· You're just
 20· · · · · · · ·And, generally speaking, as far as the       20 talking.
 21 vetting procedures for sourcing and articles, the          21· · ·A.· ·The question was did I speak to Kit Daniels.
 22 company's position is that it does not engage in           22 Yes, I did.
 23 journalism.· So it requires the vetting be done by the     23· · ·Q.· ·Okay.· And I'll -- trust me, I will ask you
 24 sources that it's citing.                                  24 about Melinda, if I need to.
 25· · ·Q.· ·I believe yesterday you said there are no --      25· · · · · · · ·The front page of Exhibit 1, can you read

                                                         31                                                            33
 ·1 there are no policies at Infowars for fact checking, I     ·1 who that's to?
 ·2 think is how it came out.                                  ·2· · ·A.· ·It says Infowars staff.
 ·3· · · · · · · ·Do you remember that?                        ·3· · ·Q.· ·Okay.· And the subject line, can you read it
 ·4· · ·A.· ·Right.· There are no written policies.· But,      ·4 for me?
 ·5 generally speaking, as I said earlier and yesterday, the   ·5· · ·A.· ·It says, new editorial policy for all
 ·6 company relies on the sources to do their fact checking.   ·6 reporters, journalists, and writers.
 ·7· · ·Q.· ·Okay.· And the sources were also -- let's back    ·7· · ·Q.· ·I swear -- so after reporters, what was that
 ·8 up a little bit.                                           ·8 word you said?
 ·9· · · · · · · ·Also, you said that Infowars doesn't         ·9· · ·A.· ·It says journalists.
 10 really have journal- -- and by Infowars, you understand    10· · ·Q.· ·And you told us that you have seen this prior
 11 I mean Free Speech Systems and its --                      11 to today, correct?
 12· · ·A.· ·I understand.                                     12· · ·A.· ·This particular email (indicating)?
 13· · ·Q.· ·You said that Infowars doesn't necessarily have   13· · ·Q.· ·Exhibit 1.
 14 journalists; it's all punditry-type things.                14· · ·A.· ·Well, Exhibit 1 is two things.· So I want to
 15· · ·A.· ·Right.· Commentary, blogging, that type of        15 know what part of it you are asking about.
 16 thing; that's right.                                       16· · ·Q.· ·Did you see the first page before today?
 17· · · · · · · ·MR. OGDEN:· Let's mark Exhibit 1.            17· · ·A.· ·No.
 18· · · · · · · ·(Exhibit 1 marked.)                          18· · ·Q.· ·Don't you think you probably should have?
 19· · ·Q.· ·(By Mr. Ogden) Let's mark this as Exhibit 1,      19· · ·A.· ·Sure.
 20 now that you gave me that answer.                          20· · ·Q.· ·Especially if you spoke to the person that
 21· · · · · · · ·Exhibit 1, can you read for the jury who     21 wrote it who implemented the policies, correct?
 22 that's from?                                               22· · ·A.· ·I did speak to Kit Jones [sic].· So, yes.
 23· · ·A.· ·It appears to be from Kit Daniels.                23· · ·Q.· ·Daniels, correct?
 24· · ·Q.· ·Okay.· And you spoke with Mr. Daniels preparing   24· · ·A.· ·Oh, yes.· I'm sorry.· I did say Jones.
 25 for today?                                                 25· · ·Q.· ·Mr. Daniels, he withheld this information about


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 11 of 106
Paz, Brittany                                       02-15-2022
                                                         34                                                            36
 ·1 sending this out, a specific policy that was implemented   ·1· · ·Q.· ·You think you're more qualified than which one,
 ·2 post the filing of these lawsuits?                         ·2 which person that I named?
 ·3· · ·A.· ·I don't know that he withheld it.                 ·3· · ·A.· ·Well, first of all, I don't want to ad- -- not
 ·4· · ·Q.· ·But you didn't know about it, right?              ·4 just advocate, but I don't want to say that I agree with
 ·5· · ·A.· ·I didn't see this.· No.                           ·5 what you're saying, that these people have said these
 ·6· · ·Q.· ·All right.· You wish you would have?              ·6 things in the past.
 ·7· · ·A.· ·Sure.                                             ·7· · · · · · · ·But I'm here to testify on the behalf of
 ·8· · ·Q.· ·Because prior to me handing you that document,    ·8 the company, not individual people and what individual
 ·9 you also told the jury that Infowars doesn't have          ·9 people may think about themselves and what they do.
 10 journalists, and that document appears Mr. Daniels, in a   10· · ·Q.· ·Okay.
 11 supervisorial [sic] role, that -- is instructing           11· · ·A.· ·The company's position is that 98 percent of
 12 requirements for journalists, right?                       12 what we do is commentary on things that have already
 13· · ·A.· ·As I testified earlier, it's the company's        13 been in the news cycle.
 14 position that we're not engaged, generally, in             14· · ·Q.· ·I heard you say that 98 percent yesterday.
 15 journalism.                                                15· · ·A.· ·Yes.
 16· · ·Q.· ·Was not my question.                              16· · ·Q.· ·Very specific number.
 17· · · · · · · ·My question was, Mr. Daniels is writing      17· · · · · · · ·Where'd you get it?
 18 that to researchers and journalists?                       18· · ·A.· ·That's based on my conversations with Mr. Jones
 19· · ·A.· ·It doesn't say researchers; it says reporters.    19 and the other employees that -- vast, vast majority of
 20· · ·Q.· ·Excuse me.· You're right.                         20 what they do is, like I said yesterday, the production
 21· · · · · · · ·Reporters and journalists.                   21 process of looking through the news cycle and what is --
 22· · ·A.· ·That's what it says.                              22 what other sources are saying and commenting on those
 23· · ·Q.· ·Okay.· And the keyword there is journalist, and   23 particular sources.
 24 that's what I want to focus on.                            24· · · · · · · ·There are a small percentage of things
 25· · · · · · · ·Because you would agree that prior to me     25 that would probably be considered independent, such as

                                                         35                                                            37
 ·1 handing you that document, you were going to have this     ·1 the few articles Mr. Salazar did, as an example.· But
 ·2 jury believe that Infowars doesn't have journalists.       ·2 that is not the norm or what the company is engaged in
 ·3· · ·A.· ·It's the company's position that we're not        ·3 for the vast majority of it.
 ·4 engaged in journalism.                                     ·4· · ·Q.· ·Okay.· And I know that we have to say the
 ·5· · ·Q.· ·Wasn't my question.                               ·5 company --
 ·6· · · · · · · ·I asked if you were -- prior to that         ·6· · ·A.· ·Yes.
 ·7 document being handed to you, your testimony would lead    ·7· · ·Q.· ·-- because there's a legal vacuum of LLCs.
 ·8 this jury to believe that Infowars doesn't have            ·8· · · · · · · ·Who owns the company?
 ·9 journalists?                                               ·9· · ·A.· ·Who owns Free Speech?
 10· · ·A.· ·Yes.· That's the company's position.              10· · ·Q.· ·Who owns Free Speech and Infowars, LLC?
 11· · ·Q.· ·Okay.· When did that change?                      11· · ·A.· ·I believe Mr. Jones owns Free Speech.
 12· · ·A.· ·What -- what do you mean, when did that change?   12· · ·Q.· ·Right.· And -- and you understood earlier when
 13· · ·Q.· ·Well, you had Mr. Jones three times,              13 I said Mr. Jones has been in a deposition chair, raised
 14 Mr. Shroyer, Mr. Dew twice, Ms. Karpova at least once,     14 his right hand, and swore to God to tell the whole truth
 15 and that document, in front of you, all stating that       15 three times before you sat here, correct?
 16 Infowars does journalism and has journalists.              16· · ·A.· ·I know he's given three depositions, yes.
 17· · · · · · · ·So I'm asking you:· When did the policy      17· · ·Q.· ·And Mr. Jones also started these companies,
 18 change to where they no longer have journalists and        18 right?
 19 don't do journalism?                                       19· · ·A.· ·Yes, he did.
 20· · ·A.· ·I don't think it's changed.                       20· · ·Q.· ·And you're sitting here today saying your
 21· · ·Q.· ·Okay.· You would agree with me that every         21 testimony is the company's position, but Mr. Jones
 22 single person I listed before you in that last question    22 testifying on the company as the owner and inventer of
 23 is more qualified to tell us what Infowars does,           23 these companies, we -- we should discount that?
 24 correct?                                                   24· · ·A.· ·I'm saying I don't recall what you're referring
 25· · ·A.· ·No.                                               25 to in his depositions.· But, like I'm saying, after my


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 12 of 106
Paz, Brittany                                       02-15-2022
                                                         38                                                            40
 ·1 conversations with Mr. Jones and others, as I've already   ·1 interviews right?
 ·2 testified, that is the company's position.                 ·2· · ·A.· ·As I said, Mr. Jones has his own opinions, and
 ·3· · ·Q.· ·Do political commentary, people that do           ·3 this is something that you'd probably have to ask him.
 ·4 political commentary, do they have a duty to tell their    ·4· · ·Q.· ·Right.· We did.· He doesn't think in any way
 ·5 audiences the truth?                                       ·5 your 98 percent is accurate on any planet.
 ·6· · ·A.· ·I think that what we are offering are opinions.   ·6· · ·A.· ·I don't think that that's accurate, based on my
 ·7· · ·Q.· ·Didn't ask what you're offering.· Didn't even     ·7 conversations with him.
 ·8 get close to that question.                                ·8· · ·Q.· ·Okay.· That's why I asked did you ask when it
 ·9· · ·A.· ·Yeah.· You said I'm offering political comment.   ·9 changed.
 10· · ·Q.· ·If you listen carefully, I'll ask it again.       10· · · · · · · ·Because you read his deposition, right?
 11· · ·A.· ·Sure.                                             11· · ·A.· ·I didn't read all of them.· I think my
 12· · ·Q.· ·Do individuals that do political commentary --    12 testimony was I didn't read them all.
 13· · ·A.· ·Uh-huh.                                           13· · ·Q.· ·Why didn't you read them all?
 14· · ·Q.· ·-- owe a duty to their viewers to be truthful?    14· · ·A.· ·Just time constraints.
 15· · ·A.· ·And here's what my problem with the question      15· · ·Q.· ·Is that the only reason?
 16 is.· When you're saying truthful, something is truthful    16· · ·A.· ·Yes.
 17 if it's capable of being true or false.· An opinion is     17· · ·Q.· ·Okay.· The depositions that you did read, who
 18 an opinion and capable of being proven true or false.      18 gave those to you?
 19 So that's why I'm having a problem with your question.     19· · ·A.· ·They were provided to me on our Dropbox.· So it
 20· · ·Q.· ·Okay.· The things that a political commentator    20 was the materials that were produced in connection with
 21 say that can be proven true or false --                    21 these cases, the Texas cases.
 22· · ·A.· ·Uh-huh.                                           22· · ·Q.· ·Who created that Dropbox?
 23· · ·Q.· ·-- does that individual have a duty to its        23· · ·A.· ·You -- you know what, I'm not a hundred percent
 24 viewers to be truthful in those positions?                 24 sure.· We do have a -- at one time did have a consultant
 25· · ·A.· ·So I think that the company's position has been   25 that we worked with to try to put information on the

                                                         39                                                            41
 ·1 that they do strive to put forth truthful information.     ·1 Dropbox and organize it and try to help us find
 ·2 So...                                                      ·2 material, but I don't -- I don't know anything other
 ·3· · ·Q.· ·I didn't ask that.                                ·3 than that.
 ·4· · ·A.· ·And -- but as far as a duty owed to the           ·4· · ·Q.· ·A third -- not an Infowars person?
 ·5 viewership or whoever's listening to the broadcasts, I     ·5· · ·A.· ·No.· He's not a --
 ·6 think what the company puts forth are the source           ·6· · ·Q.· ·A third party?
 ·7 materials and tells the -- tells the audience where they   ·7· · ·A.· ·A third party.
 ·8 can go find this information and then that source has a    ·8· · ·Q.· ·Surely, he signed the protective order, right?
 ·9 duty to be truthful.                                       ·9· · ·A.· ·I don't know the answer to that.
 10· · · · · · · ·MS. BLOTT:· Listen to the question.          10· · ·Q.· ·You didn't sign a protective order?
 11· · ·Q.· ·(By Mr. Ogden) You've watched a number of hours   11· · ·A.· ·No, I didn't.
 12 of Infowars, I'm sure, over the past two weeks.            12· · ·Q.· ·And you're not an employee of Infowars?
 13· · ·A.· ·Yes.                                              13· · ·A.· ·No, I'm not.
 14· · ·Q.· ·Okay.· Surely, you've heard Mr. Jones on one of   14· · ·Q.· ·Or Free Speech Systems?
 15 his shows numerous times say his -- kind of a motto that   15· · ·A.· ·No.
 16 he does when he's signing off that says, we're the truth   16· · ·Q.· ·Okay.· I want to get back to this 98 percent,
 17 in journalism.                                             17 because you've said it twice under oath, and it seems
 18· · · · · · · ·Surely, you've heard that if you've          18 like you base that number on all of the research and
 19 watched a hundred hours.                                   19 preparation you did for the two depositions yesterday
 20· · ·A.· ·I -- I do recall him saying something to that     20 and today, correct?
 21 effect.                                                    21· · ·A.· ·Yes.
 22· · ·Q.· ·What do you think he meant?                       22· · ·Q.· ·What'd you use?· Some sort of algorithm or
 23· · ·A.· ·I don't know.                                     23 matrix to get to that number?
 24· · ·Q.· ·Surely, if you're gonna sit here and say that     24· · ·A.· ·No.
 25 98 percent isn't journalism, you'd ask him in one of the   25· · ·Q.· ·Why didn't you settle for a whole number, like


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 13 of 106
Paz, Brittany                                       02-15-2022
                                                         42                                                            44
 ·1 95 or 99, 97?· How'd you get to that 98?                   ·1 research; I've seen the data, and this is my conclusion,
 ·2· · ·A.· ·That wasn't my number.· I think that was a        ·2 what is that?
 ·3 number that Mr. Jones had said that in his estimation      ·3· · ·A.· ·It's an opinion.
 ·4 that's what he thought we did as a company.                ·4· · ·Q.· ·What if they don't say opinion?· What if they
 ·5· · ·Q.· ·Okay.· So Mr. Jones is now the position --        ·5 say, based on the evidence, this is a fact?
 ·6 based on the company, the company's position is that       ·6· · ·A.· ·I don't think that's what he said.· That's
 ·7 Mr. Jones believes that 98 percent of what he does on      ·7 not -- that's not what he said.
 ·8 air is not journalism, correct?                            ·8· · ·Q.· ·Who and when?
 ·9· · ·A.· ·I think the company's position is that, not       ·9· · ·A.· ·I think you're referring to Mr. Jones'
 10 Mr. Jones.                                                 10 statement that I've done the deep research, and I think
 11· · ·Q.· ·Right.                                            11 this, et cetera.
 12· · ·A.· ·But, yes.                                         12· · ·Q.· ·No.
 13· · ·Q.· ·But the company is basing that opinion on an      13· · ·A.· ·He doesn't -- he did not say it the way you
 14 interview it did with Mr. Jones, right?                    14 said it.
 15· · ·A.· ·It's not just that interview, no.                 15· · ·Q.· ·I'm not saying he did.· I'm not talking about
 16· · ·Q.· ·Okay.· What else is it?                           16 that.
 17· · ·A.· ·It was based on my interviews with the other      17· · ·A.· ·Okay.
 18 employees, as to the purpose and types of material that    18· · ·Q.· ·I'm saying if a personality like David
 19 are put on to the air on a daily basis, and how they do    19 Knight --
 20 their production, and what the purpose of those            20· · ·A.· ·Okay.
 21 productions are.· So I think that it's based on            21· · ·Q.· ·-- or Owen Shroyer -- Owen Shroyer,
 22 confirmatory interviews that I did with other people,      22 specifically, we'll focus on him -- says I've done the
 23 not just with Mr. Jones.                                   23 research, and this is a fact.
 24· · ·Q.· ·Okay.· Mr. Jones, did -- did he give you a        24· · · · · · · ·If that comes out of someone's mouth at
 25 percentage?                                                25 Infowars, there's a duty that it should be truthful,

                                                         43                                                            45
 ·1· · ·A.· ·I believe that that percentage came from          ·1 right?
 ·2 Mr. Jones, based on our conversation.· But, like I said,   ·2· · ·A.· ·I'm sorry.· I don't know which statement you're
 ·3 it was confirmed by my other conversations with people.    ·3 referring to.
 ·4· · ·Q.· ·Okay.· So other people in the company also are    ·4· · · · · · · ·Are you representing that Owen did, in
 ·5 saying 98 percent?                                         ·5 fact, say that?
 ·6· · ·A.· ·I don't think they used that number.· But their   ·6· · ·Q.· ·Did you --
 ·7 position to me was that the process is and generally       ·7· · ·A.· ·Or are you saying -- is that a hypothetical
 ·8 what they're engaged in is commentary on what is in the    ·8 question?
 ·9 news cycle and the process by which that happens on a      ·9· · · · · · · ·I want to make sure I understand.
 10 daily basis.                                               10· · ·Q.· ·Well, I'll say it's a hypothetical right now.
 11· · ·Q.· ·If I ran a business and 98 percent of it was      11· · ·A.· ·Okay.· If it's a hypothetical and someone is
 12 baking cakes and 2 percent of it was doing brain           12 the original source saying this is a fact and I -- this
 13 surgery, you would expect that I would be extremely        13 is -- and putting something forth as a fact, then I
 14 qualified and adhered to the standards for 2 percent of    14 think there's a different standard, yes.
 15 brain surgery that I do, correct?                          15· · ·Q.· ·What do you mean -- what do you mean when you
 16· · ·A.· ·I don't know how to answer that.                  16 use the term source?
 17· · ·Q.· ·Well, let me ask you this:· Because 2 percent     17· · ·A.· ·What I mean is, is that someone has done
 18 is journalism --                                           18 vetting of a particular piece of information.
 19· · ·A.· ·Uh-huh.                                           19· · ·Q.· ·Okay.· So when someone's talking about the
 20· · ·Q.· ·-- would you agree that Infowars has a duty to    20 vetting they've done on a piece of information, that's a
 21 make sure that what they report is true?                   21 source?
 22· · ·A.· ·For the -- for the articles or whatever that      22· · ·A.· ·Right.
 23 are independent reporting, sure.                           23· · ·Q.· ·So if Infowars is talking about the -- the
 24· · ·Q.· ·Okay.· And when Mr. Jones or any other            24 research and the review of data that they've done, and
 25 personality goes on air and says, I've done the            25 then they come out with a conclusion at the end of that,


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 14 of 106
Paz, Brittany                                       02-15-2022
                                                         46                                                            48
 ·1 that they would be the source?                             ·1· · ·Q.· ·And you saw the lists?
 ·2· · ·A.· ·No.                                               ·2· · ·A.· ·Did I see the lists for each host?· No.· I did
 ·3· · ·Q.· ·How is that different?                            ·3 talk to Daria about what Alex's current list is.· But
 ·4· · ·A.· ·Because when the research that they're            ·4 aside from that, I -- I did not do any research for
 ·5 referring to are other articles that have cited their      ·5 other hosts.
 ·6 own source and have done their own sourcing and their      ·6· · ·Q.· ·What's on Mr. Jones' current list?
 ·7 own vetting, that is not -- that is not -- they are --     ·7· · ·A.· ·I don't know if this is an exhaustive list, but
 ·8 they are not the source.                                   ·8 I know that he looks at Drudge Report.· He looks at what
 ·9· · ·Q.· ·Right.                                            ·9 is trending on Twitter.· He looks at Zero Hedge.· And
 10· · ·A.· ·The person that the information came from is      10 there may be two -- two or three others that I'm
 11 the source.                                                11 missing.· But there's -- there's a list of five or six
 12· · ·Q.· ·Right.· But when someone from Infowars takes an   12 different sources.
 13 independent article and then says, I read this; I've       13· · ·Q.· ·Okay.· Is 4chan on there?
 14 done the research; I've seen this stuff, and this is my    14· · ·A.· ·No.
 15 conclusion.                                                15· · ·Q.· ·Why not?
 16· · ·A.· ·I don't think that's the context of the           16· · ·A.· ·I don't think that he does his sourcing from
 17 statement.· I think the context is, is I've read this      17 4chan.
 18 source, this is what I'm basing my opinion on, and         18· · ·Q.· ·Does anyone use 4chan to -- for sourcing?
 19 here's my opinion.                                         19· · ·A.· ·I don't think that sourcing is the right word.
 20· · ·Q.· ·Oh.· So they definitely used the word opinion?    20 But I do know that based on my conversations, that
 21· · ·A.· ·I don't think they definitely used the word       21 certain of the reports -- writers, probably a better
 22 opinion, but it was presented as an opinion.               22 word, uses that for tips.· But I wouldn't say that it
 23· · ·Q.· ·How do the viewers of Infowars know when it's     23 was used -- it's used for sourcing.
 24 opinion or when it's fact?                                 24· · ·Q.· ·Okay.· When you say sourcing, are you -- is
 25· · · · · · · ·MS. BLOTT:· Objection; calls for             25 there an implication that sourcing is reliable?

                                                         47                                                            49
 ·1 speculation.                                               ·1· · ·A.· ·I'm sorry.· I don't understand the question.
 ·2· · ·A.· ·I don't know how to answer that.                  ·2 Can you rephrase it.
 ·3· · · · · · · ·MR. OGDEN:· If you want to restrict those    ·3· · ·Q.· ·Something you use as a source is reliable.
 ·4 to form and adhere to the Texas rules, I'd appreciate      ·4 Something you use for a tip is just kind of -- is what
 ·5 it.                                                        ·5 it is and you need to go verify it?
 ·6· · ·Q.· ·(By Mr. Ogden) Can you repeat your answer,        ·6· · ·A.· ·Yes.· That would be a fair -- fair assessment.
 ·7 please.                                                    ·7· · ·Q.· ·Okay.· Now that you've seen Exhibit 1 --
 ·8· · ·A.· ·I said I don't really know how to answer that.    ·8· · ·A.· ·Uh-huh.
 ·9 I don't know what somebody else is going -- is going to    ·9· · ·Q.· ·-- you understand it's from Kit Daniels?
 10 think.                                                     10· · ·A.· ·I understand it looks like an email from Kit
 11· · ·Q.· ·Okay.· If a source is used at Infowars, who       11 Daniels, yes.
 12 determines whether or not they're trustworthy?             12· · ·Q.· ·And yesterday you testified he's one of the
 13· · ·A.· ·So I believe this is a conversation we had        13 supervisor roles at the company, correct?
 14 yesterday, too.                                            14· · ·A.· ·Yes.· I think he started in that capacity
 15· · · · · · · ·But -- so preproduction, there is a list     15 sometime in 2018.
 16 of sources.· Each host has their own list that they --     16· · ·Q.· ·Why would he be sending that out to all
 17 of preferred sources that they like to go -- that they     17 journalists, among other people, if Infowars doesn't
 18 like to go to.· That source is -- it changes over time     18 have any?
 19 based on my conversations with -- for example, Nikko,      19· · ·A.· ·I don't know why he used these specific terms.
 20 Alex's list now is not Alex's list from when Nikko         20 I do know that after the litigation, there had been some
 21 worked with him.                                           21 efforts made to try to put forth some standards,
 22· · · · · · · ·But, basically, these are sources that the   22 policies, and procedures that weren't in place
 23 host prefers and has found to be reliable in the past      23 previously.
 24 and so would then trust -- trust where the articles are    24· · ·Q.· ·Did Infowars -- in the Fontaine case, did
 25 coming from.· Excuse me.                                   25 Infowars do anything wrong?


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 15 of 106
Paz, Brittany                                       02-15-2022
                                                         50                                                            52
 ·1· · ·A.· ·In the Fontaine case specifically?                ·1· · ·Q.· ·Okay.· So based on that answer, you -- we can
 ·2· · ·Q.· ·Correct.                                          ·2 agree on something, finally, which is the way that these
 ·3· · ·A.· ·I think that in the Fontaine case, there was a    ·3 different departments were being supervised was
 ·4 breaking news story; that Mr. Daniels saw a photo          ·4 inappropriate?
 ·5 circulating on social media.· He had seen that photo in    ·5· · ·A.· ·I just think it was not organized well, for --
 ·6 a couple of different locations, and he posted an          ·6 for a company.
 ·7 article the same day -- it was late in the afternoon --    ·7· · ·Q.· ·Well, you used the term -- you said they were
 ·8 and then left for the day.· Saw that it was inaccurate     ·8 not managed appropriately.
 ·9 and immediately took it down the next day.                 ·9· · · · · · · ·And then I inferred from that, that we can
 10· · ·Q.· ·The answer to my question is?                     10 agree that they were managed inappropriately, correct?
 11· · ·A.· ·No.                                               11· · ·A.· ·I think they could have been managed better.
 12· · ·Q.· ·No, Infowars didn't do anything wrong?            12· · ·Q.· ·Right.· Wasn't my question.
 13· · ·A.· ·No.                                               13· · · · · · · ·But --
 14· · ·Q.· ·Okay.· In the Sandy Hook coverage, did Infowars   14· · ·A.· ·I wouldn't use the term inappropriate.
 15 do anything wrong?                                         15· · ·Q.· ·Okay.· Then I'll use it the way that you used
 16· · ·A.· ·Can you be more specific.                         16 it in your answer.
 17· · ·Q.· ·No.· Do you think in any way Infowars did         17· · · · · · · ·We can agree that Infowars was managed --
 18 anything wrong in the Sandy Hook case?                     18 the way that Infowars was managed was not appropriate --
 19· · ·A.· ·I don't know how to answer that just because I    19· · ·A.· ·It --
 20 don't know what you're referring to.                       20· · ·Q.· ·-- correct?
 21· · ·Q.· ·Okay.· Their coverage, was any of it wrong or     21· · ·A.· ·Correct.· It could have been done better.
 22 inaccurate?                                                22· · ·Q.· ·Okay.· Can I see that real quick.
 23· · ·A.· ·I think that most of the Sandy Hook coverage      23· · ·A.· ·This?
 24 was opinion statements that -- that the hosts are          24· · ·Q.· ·Yeah.· I only have one copy.· But...
 25 entitle- -- and writers are entitled to have opinions.     25· · · · · · · ·(Mr. Ogden reviewing document.)

                                                         51                                                            53
 ·1· · ·Q.· ·Okay.· Was any of it wrong?                       ·1· · ·Q.· ·(By Mr. Ogden) That policy, would you agree,
 ·2· · ·A.· ·Wrong factually?                                  ·2 was made to protect the company?
 ·3· · ·Q.· ·Correct.                                          ·3· · ·A.· ·Which policy?· The one in this -- in -- in the
 ·4· · ·A.· ·Which part?                                       ·4 email.
 ·5· · ·Q.· ·Any of it.                                        ·5· · ·Q.· ·Right.· The email that has the attachment
 ·6· · ·A.· ·I don't know what you're specifically referring   ·6 behind it.
 ·7 to.                                                        ·7· · ·A.· ·Well, the attachment is not the same thing as
 ·8· · ·Q.· ·Well, I'm trying to figure out why after the      ·8 what is being cited in the email.
 ·9 litigation started that one of the supervisors at          ·9· · ·Q.· ·Okay.
 10 Infowars decided to put a policy in place to protect the   10· · ·A.· ·So that's why I wanted to know which policy.
 11 company, if the company's position is it didn't do         11· · ·Q.· ·I'm focused on the policy in the body of the
 12 anything wrong?                                            12 email.
 13· · ·A.· ·I didn't testify it was to protect the company.   13· · ·A.· ·Okay.· So this policy in the body of the
 14· · ·Q.· ·Okay.· Why would he put that in place?            14 emailing regarding possibility of crimes being
 15· · ·A.· ·Because I think that it came to the attention     15 committed, that's the one you're talking about?
 16 of the company that it was growing, it was -- there were   16· · ·Q.· ·(Nodding.)
 17 a lot of different people involved, different              17· · ·A.· ·Okay.· What was your question?
 18 departments, and that it wasn't being managed or           18· · ·Q.· ·It's made to protect the company?
 19 supervised in an appropriate way, and they wanted to       19· · ·A.· ·I think it was made to give guidance on how to
 20 make certain policies clearer going forward.               20 write articles in the -- in the future.
 21· · · · · · · ·All of these things, like I testified        21· · ·Q.· ·Why was it giving guidance to write articles in
 22 yesterday, there were departments that nobody was          22 the future?
 23 talking to anybody, there was really no overall            23· · ·A.· ·Because there was no -- there was no guidance
 24 hierarchical structure.· So after the lawsuits, there      24 previously.
 25 were efforts made to rectify that.                         25· · ·Q.· ·Okay.· And the reason we're giving guidance is


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 16 of 106
Paz, Brittany                                       02-15-2022
                                                         54                                                            56
 ·1 to protect the company, correct?                           ·1 case was Bates stamped?
 ·2· · · · · · · ·I'm not sure why we're fighting on this.     ·2· · ·A.· ·I don't think the only material I reviewed was
 ·3 It helps you.                                              ·3 Bates stamped.· The depositions are not Bates stamped.
 ·4· · ·A.· ·I don't know why it would -- I mean, sure it      ·4· · ·Q.· ·Did you review any other documents that weren't
 ·5 helps the company.· So there could be -- obviate any       ·5 Bates stamped preparing for yesterday or today?
 ·6 potential future lawsuits.· So, sure, it could help the    ·6· · ·A.· ·The depositions, as I said, were not Bates
 ·7 company.                                                   ·7 stamped.· I don't believe the petitions were Bates
 ·8· · ·Q.· ·Okay.                                             ·8 stamped.
 ·9· · ·A.· ·It could be for other things.· I don't know if    ·9· · ·Q.· ·How many documents did you get through out of
 10 the purpose of it was that.· But...                        10 the 81,290- --
 11· · ·Q.· ·The -- it mentions in there that any story        11· · ·A.· ·Thousands of documents.
 12 involving even the potential for criminal liability        12· · ·Q.· ·Let me finish my question, please.
 13 needs to be vetted by multiple, in all caps, editors,      13· · · · · · · ·Of the 81,297 documents, how many did you
 14 correct?                                                   14 get through?
 15· · · · · · · ·MS. BLOTT:· I'm gonna object to the extent   15· · ·A.· ·Thousands.
 16 that it mischaracterized the content.                      16· · ·Q.· ·How many thousands?
 17· · · · · · · ·MR. OGDEN:· Ms. Blott -- Ms. Blott, I'm      17· · ·A.· ·I don't know how many thousands.
 18 gonna ask you one more time.· If you don't follow the      18· · ·Q.· ·Tens of thousands?· Fives of thousands?
 19 Texas rules -- and you can object to form or the other     19· · ·A.· ·Probably 10s of thousands.
 20 two permissible objections.                                20· · ·Q.· ·Okay.· Did you get about half, maybe?
 21· · · · · · · ·MS. BLOTT:· Objection; form.                 21· · ·A.· ·I'm sorry?
 22· · · · · · · ·MR. OGDEN:· Thank you.· I'll ask if I need   22· · ·Q.· ·Halfway?
 23 clarification to cure it.                                  23· · ·A.· ·Halfway through what?
 24· · · · · · · ·I mean, I'm not trying to be rude at all,    24· · ·Q.· ·Did you get to 40,596 documents through?
 25 but I'm having a hard enough time getting your witness     25· · · · · · · ·That's half of the document production.

                                                         55                                                            57
 ·1 to answer my questions, and if I have a bunch of           ·1· · ·A.· ·I don't know.· I don't know the exact number.
 ·2 speaking objections for you, that's just gonna -- I -- I   ·2· · ·Q.· ·And probably because you don't is because -- I
 ·3 don't think that we're gonna be able to do this.· We may   ·3 don't know -- 22,000 of those documents were produced by
 ·4 have to get the judge on the phone.· Okay?                 ·4 Infowars without Bates stamps.
 ·5· · · · · · · ·(Ms. Blott looking at Mr. Ogden.)            ·5· · · · · · · ·Did you know that?
 ·6· · ·A.· ·I'm sorry.· What was your question?               ·6· · ·A.· ·I know that there has been an issue with the
 ·7· · ·Q.· ·(By Mr. Ogden) My question was, that it           ·7 organization of the production materials.
 ·8 needs -- that articles need to be checked by multiple,     ·8· · ·Q.· ·So surely you weren't shocked when you said
 ·9 in all caps, editors, correct?                             ·9 that you didn't review -- you've never seen this, but it
 10· · ·A.· ·That's what it says.                              10 doesn't have a Bates stamp, right?· Because you saw a
 11· · ·Q.· ·Why would something need to be checked by         11 number of documents that were produced in this
 12 multiple editors?                                          12 litigation that didn't have those, right?
 13· · ·A.· ·I don't know.                                     13· · ·A.· ·Did I see documents without Bates stamps; is
 14· · ·Q.· ·Prior to today, you had never seen that email?    14 that your question?
 15· · ·A.· ·No.· I've never seen this email.                  15· · ·Q.· ·Correct.
 16· · · · · · · ·MR. OGDEN:· Right.                           16· · ·A.· ·I didn't see documents like this without Bates
 17· · ·Q.· ·(By Mr. Ogden) And so whenever I asked you        17 stamps.
 18 about Topic 1 in your deposition notice, which were the    18· · ·Q.· ·What do you mean like this?
 19 policies regarding the factual vetting of information,     19· · ·A.· ·This is an email.
 20 nobody even gave you this piece -- this document to        20· · ·Q.· ·Sure.
 21 prepare, true?                                             21· · ·A.· ·I didn't see any emails without Bates stamps.
 22· · ·A.· ·No.· This -- this doesn't have a Bates stamp on   22· · ·Q.· ·So we can -- out of the production that's been
 23 it, so it wouldn't have been included in the -- in the     23 given to us, all emails that aren't Bates labeled, we
 24 material that I was provided.                              24 can take those out, because you didn't read those?
 25· · ·Q.· ·So the only thing that you reviewed for this      25· · ·A.· ·I didn't see any emails that didn't have Bates


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 17 of 106
Paz, Brittany                                       02-15-2022
                                                         58                                                            60
 ·1 stamps.                                                    ·1 think that that's checking the veracity of the
 ·2· · ·Q.· ·Okay.· Because that'll give us a better idea of   ·2 information.· So, no.
 ·3 what documents you did get through.                        ·3· · ·Q.· ·Outside of articles, what about with on-air
 ·4· · ·A.· ·Okay.                                             ·4 talent?
 ·5· · ·Q.· ·Because there's a number of them.                 ·5· · ·A.· ·I think that that would apply on air, as well.
 ·6· · ·A.· ·Okay.                                             ·6· · ·Q.· ·Okay.· So anything that went out on air, that
 ·7· · ·Q.· ·Wouldn't you agree that Mr. Daniels is creating   ·7 was, quote, unquote, journalism --
 ·8 a policy for vetting information?                          ·8· · ·A.· ·Uh-huh.
 ·9· · ·A.· ·For vetting this specific type of information.    ·9· · ·Q.· ·-- would have multiple sources to back it up,
 10· · ·Q.· ·Right.· So if I say all information, and that's   10 true?
 11 a specific type of information, the answer to my           11· · ·A.· ·Assuming it was journalism, it should have
 12 question is yes, true?                                     12 multiple sources.
 13· · ·A.· ·Not all information.· Just this type of           13· · ·Q.· ·Okay.· Who told you that?
 14 information, yes.                                          14· · ·A.· ·So that's based on my conversation with
 15· · ·Q.· ·Right.· Other than the one that I just was --     15 Mr. Daniels, when I asked him about prior to him being a
 16 had the privilege of teaching you about, are there any     16 supervisor, if Kurt Nimmo had the same policy -- we're
 17 other policies regarding the vetting of information at     17 calling it a policy; although, it's not a written
 18 Infowars that began February 2018 to today?                18 policy, but it is an understanding that it would have
 19· · ·A.· ·I don't believe so.· But I will say, just --      19 multiple sources.
 20 just a caveat to this is, in my conversations -- I don't   20· · · · · · · ·When I spoke to Adan, his position was
 21 want to make you think, like, Mr. Daniels didn't talk to   21 similar that he agreed that he was expected to cite to
 22 me about this.· I was aware of this.· I just never saw     22 more than one source.· And that during the writing
 23 this particular email.                                     23 process -- and they circulate amongst themselves
 24· · ·Q.· ·I --                                              24 articles -- they would try to check to make sure each
 25· · ·A.· ·I just -- I just wanted to make sure that         25 other's articles have multiple sources.

                                                         59                                                            61
 ·1 we're -- you're aware of that.· It's not that I didn't     ·1· · · · · · · ·But, again, that's not checking the
 ·2 know that this -- he made this policy.· It's just I        ·2 veracity of the source.· It's just checking to see if
 ·3 didn't see this particular document.                       ·3 you have multiple sources.
 ·4· · · · · · · ·MR. OGDEN:· Madam Court Reporter, I'm        ·4· · ·Q.· ·I just asked for names.
 ·5 gonna object to all of that as nonresponsive.              ·5· · ·A.· ·Sure.
 ·6· · ·Q.· ·(By Mr. Ogden) Other than the policy that you     ·6· · ·Q.· ·I just asked for who.· I didn't ask for
 ·7 just got put in front of you today, the -- you were also   ·7 anything else.· I'll ask you follow-ups, I promise.
 ·8 tasked with the -- actually, let's back up.· Sorry.        ·8 I've got a lot of them.· I'm really good at follow-up
 ·9· · · · · · · ·Other than that policy there, are there      ·9 questions.· It's probably one of my best qualities.
 10 any other policies Infowars has in place to vet            10· · ·A.· ·I spoke to Adan and I spoke to Kit, and those
 11 information?                                               11 are the two people I spoke to.
 12· · ·A.· ·To vet information, no.                           12· · ·Q.· ·Perfect.· Thank you.
 13· · ·Q.· ·Okay.· So from the inception of Infowars to       13· · · · · · · ·Are there any policies or procedures in
 14 February of 2000- -- actually, I don't know what the       14 place when it comes to using anonymous sources?
 15 date is on that one.                                       15· · ·A.· ·I'm sorry.· Can you be more specific.
 16· · ·A.· ·June 2018.                                        16· · · · · · · ·You mean about like 4chan, like that type
 17· · ·Q.· ·June 2018.                                        17 of source?
 18· · · · · · · ·There were no policies for whether or not    18· · ·Q.· ·Anonymous social media content.· That would be
 19 anybody needed to vet the veracity of information that     19 what I am referring to.
 20 was disseminated by Infowars?                              20· · ·A.· ·Okay.· So if there is a policy or procedure
 21· · ·A.· ·The veracity, no.· I do believe, based on my      21 about checking to make sure that something is -- that's
 22 conversations with people, that there was a -- I don't     22 seen on a social media source and it's anonymous.
 23 want to say policy, but there was an understanding that    23· · · · · · · ·So when I asked this question, I don't
 24 there would be multiple sources used for articles, that    24 think there's a policy, so to speak.· Information, such
 25 you wouldn't rely solely on one source.· But I don't       25 as 4chan or on social media, I think I said earlier,


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 18 of 106
Paz, Brittany                                       02-15-2022
                                                         62                                                            64
 ·1 those are used more so as tips rather than sources.        ·1 fired?
 ·2· · · · · · · ·So if it's seen on social media,             ·2· · ·A.· ·No.· Mr. Daniels was not fired.
 ·3 generally, we try to find another source or two, at        ·3· · ·Q.· ·Okay.· Has anybody, to your knowledge, ever
 ·4 least make sure where that information is coming from      ·4 been fired for doing that?
 ·5 is, like, not a fake page or something like that.          ·5· · ·A.· ·For doing that?· I'm not sure if for doing
 ·6· · ·Q.· ·Okay.· So -- and by fake page, you mean a page    ·6 that, but there are people who have been terminated from
 ·7 that was recently created with a name of -- that's not     ·7 the company.
 ·8 an actual person and maybe a picture that's not of a       ·8· · ·Q.· ·I would assume so.· It's been 30 years.
 ·9 person at all?                                             ·9· · · · · · · ·But for the specific topic that we were
 10· · ·A.· ·You mean like the profile picture?                10 talking about, which is has anybody ever been fired for
 11· · ·Q.· ·Any of it.                                        11 disseminating, recklessly, information that's just not
 12· · ·A.· ·So when I talked to -- when I talked to Nikko,    12 true?
 13 his basic premise when he was trying to vet -- vet         13· · ·A.· ·I don't know.
 14 guests, that was his process by just trying to make sure   14· · ·Q.· ·So when you say -- when I say, oh, they're not
 15 that a person was who he said he was.                      15 gonna get fired, you say they could be.
 16· · · · · · · ·But as I said earlier, I think that --       16· · · · · · · ·Pure guess?
 17 sites such as 4chan were used more as tips rather than     17· · ·A.· ·No.· It's not a pure guess.
 18 actual sources, and then they would try and go verify it   18· · ·Q.· ·Okay.
 19 in another place.                                          19· · ·A.· ·Because when I've spoken to Mr. Jones and
 20· · ·Q.· ·Okay.· Like Twitter?                              20 Melinda, who does HR, there are -- they couldn't name
 21· · ·A.· ·Like Twitter.· On Twitter -- Twitter has also     21 for me specific instances where people had been fired,
 22 links and cites to other news sources.· So, like, if       22 but it is a possibility and it is listed in the handbook
 23 something was trending, it would link to other news        23 as up to termination.· So it is a possibility.
 24 articles, things like that.· So Twitter could              24· · ·Q.· ·What about prior to June 2018?
 25 potentially be a source to link to other sources.          25· · ·A.· ·This handbook was not made in June 2018.

                                                         63                                                            65
 ·1· · ·Q.· ·You've used the term trending a couple of times   ·1· · ·Q.· ·Okay.· When was it made?
 ·2 today.                                                     ·2· · ·A.· ·It says effective date 10/1/2012.
 ·3· · ·A.· ·Yes.                                              ·3· · ·Q.· ·Okay.
 ·4· · ·Q.· ·What's that mean?                                 ·4· · ·A.· ·So that was when this was last updated.
 ·5· · ·A.· ·On Twitter, there are -- there are -- I           ·5· · ·Q.· ·I gotcha.· So it's your position that that
 ·6 don't -- I'm sorry.· I don't personally use Twitter.       ·6 employee handbook was updated in June of 2018?
 ·7· · · · · · · ·But on Twitter, there are news stories       ·7· · ·A.· ·No.· I don't believe that this policy was ever
 ·8 that are trending for the day and the time.· Some might    ·8 incorporated into this -- into this employee handbook.
 ·9 be breaking news.· And so there's things on Twitter with   ·9· · ·Q.· ·Was that employee handbook made specifically
 10 a hashtag that would be trending for that time period.     10 for Infowars?
 11· · ·Q.· ·So the hashtags that are attached to different    11· · ·A.· ·I don't know.· It says Free Speech Systems on
 12 categories of information, based on that hashtag,          12 it.· When I asked Melinda about the handbook, because I
 13 something could be trending if it was popular enough?      13 did ask to see it, she said it was there -- it predated
 14· · ·A.· ·Sure.                                             14 her tenure there, so she doesn't know who created it or
 15· · ·Q.· ·Okay.· You -- we kind of went into the            15 when.· It was updated on that date, but it had existed
 16 anonymous social media content policies.· And it sounded   16 before then.
 17 like there were more like they're not rules; they're,      17· · ·Q.· ·You did ask Melinda, though?
 18 like, guidelines.                                          18· · ·A.· ·I did talk to Melinda about the handbook, yes.
 19· · ·A.· ·Guidelines is a good word, guidelines.            19· · ·Q.· ·And when she said she didn't know, surely you
 20· · ·Q.· ·Nobody's getting fired if they disseminate        20 went and asked Mr. Jones.
 21 something that's completely factually wrong, because       21· · ·A.· ·Oh, I don't think Mr. Jones would have known.
 22 they pulled it off of 4chan and threw it up on Infowars    22 He -- he didn't write this.· There was --
 23 dot com, correct?                                          23· · ·Q.· ·Okay.· He's been at the company the longest,
 24· · ·A.· ·They could be.                                    24 though, correct?
 25· · ·Q.· ·Okay.· What would make -- was Mr. Daniels         25· · ·A.· ·Well, I mean, it's his company, but he wouldn't


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 19 of 106
Paz, Brittany                                       02-15-2022
                                                         66                                                                  68
 ·1 have written this.                                         ·1· · ·A.· ·That I didn't think he was a good source of
 ·2· · ·Q.· ·So he would -- he would know when that was        ·2 information on that particular topic.
 ·3 initially implemented?                                     ·3· · ·Q.· ·Do you think he's a good source of information
 ·4· · ·A.· ·I don't know if he knows that.                    ·4 on any topics?
 ·5· · ·Q.· ·Right.· Because you didn't ask him?               ·5· · ·A.· ·Sure.
 ·6· · ·A.· ·I didn't ask him about the handbook, no. I        ·6· · ·Q.· ·Like what?
 ·7 asked Melinda.· There was a -- I can't remember the name   ·7· · ·A.· ·Like what type of business the company is
 ·8 of the woman that was there before her.· But...            ·8 engaged in, as he started the business; like what he is
 ·9· · ·Q.· ·Okay.· Let's -- let's break this down.            ·9 doing on a daily basis on his shows; like some of the
 10· · · · · · · ·You asked someone about the handbook, and    10 structure of the company, that type of information.
 11 they said, I don't know, that was before I started here,   11· · ·Q.· ·What person at the company is in charge overall
 12 right?                                                     12 of making sure all employees follow the rules?
 13· · ·A.· ·Regarding when it was produced?                   13· · ·A.· ·There's no one such person.
 14· · ·Q.· ·Correct.                                          14· · ·Q.· ·Okay.· So if Alex Jones tries to fire someone
 15· · ·A.· ·Yes.                                              15 because they violated a rule, there are other -- he --
 16· · ·Q.· ·And who produced it?                              16 depending on the department, he may or may not have that
 17· · ·A.· ·She didn't know who produced it.                  17 power?
 18· · ·Q.· ·Why it was produced initially?                    18· · ·A.· ·I didn't say that.
 19· · ·A.· ·I don't know why it would have -- why it's        19· · ·Q.· ·Okay.
 20 produced.· But...                                          20· · ·A.· ·Alex Jones is -- obviously, it's his company.
 21· · ·Q.· ·Right.· So, yet, this person says I don't know,   21 So I'm sure he would have the ultimate say over whether
 22 I don't know, I don't know, and that's where you stop      22 someone got fired or not.· But to a lesser extent, if
 23 your investigation?                                        23 there's some issue within a department, I'm sure the
 24· · ·A.· ·The person who probably would have known didn't   24 supervisor would take up the issue with the person,
 25 work there anymore, and I didn't know how to reach her.    25 whatever the issue was.· And if it escalated, I'm sure

                                                         67                                                                  69
 ·1· · ·Q.· ·You used the word probably.                       ·1 Alex would take care of it.
 ·2· · · · · · · ·But you don't know, because you didn't ask   ·2· · ·Q.· ·Okay.· So when I asked who, if anyone, at
 ·3 anybody that was there when it was implemented?            ·3 Infowars is -- is overall in charge, the answer to that
 ·4· · ·A.· ·I couldn't.· That person -- whoever would have    ·4 question is Alex Jones?
 ·5 been there is no longer there.                             ·5· · ·A.· ·Whether he had the ultimate say, sure.
 ·6· · ·Q.· ·You don't think the owner of the company knows    ·6· · ·Q.· ·Were there any policy -- the -- the policies in
 ·7 when he invoked an employee handbook?                      ·7 place in February of 2018 regarding the reliability of
 ·8· · ·A.· ·No, I don't.                                      ·8 4chan posting -- or the information in 4chan posts and
 ·9· · ·Q.· ·Why?                                              ·9 any facts or knowledge informing that position, that's
 10· · ·A.· ·Because I don't think he would have had           10 one of the topics you're tasked with, correct?
 11 anything to do with this.                                  11· · ·A.· ·I believe so.
 12· · ·Q.· ·But you had conversations with him, right?        12· · ·Q.· ·Okay.· What was the company's position?
 13· · ·A.· ·I did have a conversation with him.               13· · ·A.· ·On 4chan?
 14· · ·Q.· ·And you'd seen this document before that,         14· · ·Q.· ·(Nodding.)
 15 right?                                                     15· · ·A.· ·On 4chan, I think, as I testified earlier, it
 16· · ·A.· ·Sure.                                             16 was more so used as a tip.· And then the general
 17· · ·Q.· ·Okay.· So you could have just asked?              17 position -- guideline, I think is the word you used --
 18· · ·A.· ·I could have.                                     18 you should always make sure to have multiple sources,
 19· · ·Q.· ·But you chose not to?                             19 and that would include for 4chan.
 20· · ·A.· ·I don't know that I chose not to.· I just         20· · ·Q.· ·Okay.· Multiple additional sources is what you
 21 didn't ask.                                                21 said?
 22· · ·Q.· ·Okay.· You either didn't care or you chose not    22· · ·A.· ·I think -- well, it says here multiple editors.
 23 to, correct?                                               23 But I think that it -- based on my conversation, it was
 24· · ·A.· ·No.                                               24 at least two sources.
 25· · ·Q.· ·Okay.· What's the other alternative?              25· · ·Q.· ·Okay.


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 20 of 106
Paz, Brittany                                       02-15-2022
                                                         70                                                            72
 ·1· · ·A.· ·I don't know that there was a specific number     ·1 topics.
 ·2 attached to that guideline.                                ·2· · ·A.· ·Yes.
 ·3· · ·Q.· ·Who told you about the two-source rule?           ·3· · ·Q.· ·Okay.· When did you see Google analytics?· Was
 ·4· · ·A.· ·When I spoke to Mr. Daniels, he indicated that    ·4 that part of this morning, or was that part of when you
 ·5 prior to that -- this time period where he's the           ·5 had it last week?
 ·6 supervisor, Kurt Nimmo was the supervisor, that was        ·6· · ·A.· ·I believe I reviewed the Google analytics when
 ·7 generally his policy, as well.· That was confirmed by      ·7 I spoke to Mr. Zimmerman last week, Thursday or Friday,
 ·8 Adan when I spoke to him, as well.                         ·8 maybe.
 ·9· · ·Q.· ·Can you remember if you spoke to Mr. Nimmo or     ·9· · ·Q.· ·And that was for Fontaine, not for the Sandy
 10 not?                                                       10 Hook's, correct?
 11· · ·A.· ·I did not speak to Mr. Nimmo.                     11· · ·A.· ·I think for both.
 12· · ·Q.· ·Okay.· Any particular reason?                     12· · ·Q.· ·Okay.· What did Mr. Zimmerman have to say about
 13· · ·A.· ·I don't -- I don't know that I had his            13 the Fontaine case?
 14 information readily available, and I don't know that I     14· · ·A.· ·Specifically about the Fontaine case?
 15 had the time to talk to him.· I spoke to a lot of          15· · ·Q.· ·Correct.
 16 people.                                                    16· · ·A.· ·I think that what he --
 17· · ·Q.· ·Did you ask for it?                               17· · ·Q.· ·Let's back up real quick.
 18· · ·A.· ·For Mr. Nimmo's phone number?· Yes.· I did ask    18· · ·A.· ·Sure.
 19 Melinda for it, and I don't know if she was able to find   19· · ·Q.· ·I don't want any answers to start it might,
 20 it.                                                        20 maybe, I think.· Not here for your personal opinion;
 21· · ·Q.· ·Did she tell you?                                 21 and, frankly, I just don't care about it.· I want to
 22· · ·A.· ·Did she tell me?                                  22 know what you know and only what you know.· If you don't
 23· · ·Q.· ·Actually, let's back up.                          23 know, that's fine; you can say that.· We have procedures
 24· · · · · · · ·How'd you communicate with Melinda?          24 in place here where we can go and cure these
 25· · ·A.· ·I spoke to Melinda in person.                     25 deficiencies.

                                                         71                                                            73
 ·1· · ·Q.· ·Okay.· And you just asked her for Kurt Nimmo's    ·1· · ·A.· ·Okay.· I'm not --
 ·2 phone number?                                              ·2· · ·Q.· ·So don't guess.
 ·3· · ·A.· ·I asked her for a bunch of phone numbers, yes;    ·3· · ·A.· ·I'm not -- I don't specifically remember what
 ·4 Kurt Nimmo's was among them.                               ·4 he said.
 ·5· · ·Q.· ·Okay.· You don't -- you can't recall whether or   ·5· · ·Q.· ·Okay.· As far as discussing the analytics and
 ·6 not you were given --                                      ·6 the number of page views between February 14th and
 ·7· · ·A.· ·No.· I was not given it.                          ·7 February 15th for Free Speech Systems, you will be
 ·8· · ·Q.· ·-- Mr. --                                         ·8 relying wholly on the documents produced to plaintiffs
 ·9· · · · · · · ·And what was Mr. Nimmo's position in         ·9 last night, correct?
 10 February 2018?                                             10· · ·A.· ·That is a fair statement.
 11· · ·A.· ·I -- I believe at that time he was the lead       11· · ·Q.· ·Okay.
 12 writer.                                                    12· · · · · · · ·(Sotto voce conversation between
 13· · ·Q.· ·Okay.                                             13· · · · · · · ·Mr. Bankston and Mr. Ogden.)
 14· · ·A.· ·So he would have been, like, the supervisor.      14· · ·Q.· ·(By Mr. Ogden) Yeah.· Those are the documents
 15· · ·Q.· ·Who's the lead writer currently?                  15 that were produced.
 16· · ·A.· ·I believe it's Mr. Daniels.                       16· · ·A.· ·This was what was handed to me by counsel.· So
 17· · ·Q.· ·Has Paul Watson ever held that title?             17 I --
 18· · ·A.· ·No.· Paul Watson, I believe, has always been a    18· · ·Q.· ·Okay.· And when it was handed to you, Ms. Blott
 19 consultant.                                                19 represented to you that that's what was produced to us
 20· · ·Q.· ·Okay.· Now, the analytics for the number of       20 last night?
 21 pages used for Mr. Daniels' article received by Free       21· · ·A.· ·I think so.
 22 Speech from February 14th to February 15th, 2018, are      22· · ·Q.· ·Okay.· Where in the documents -- can you point
 23 you prepared to discuss that topic?                        23 to where in those documents you are going to pull the
 24· · ·A.· ·I -- I believe I did see Google analytics, yes.   24 analytics for the page use?
 25· · ·Q.· ·I asked you if you were prepared to discuss the   25· · ·A.· ·I'd have to look through every single page,


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 21 of 106
Paz, Brittany                                       02-15-2022
                                                         74                                                            76
 ·1 sir.· It was produced -- I've not seen this before this    ·1 supposed to flip through all these documents to find the
 ·2 morning.                                                   ·2 analytics?
 ·3· · ·Q.· ·Okay.· So, yeah, so fair to say that if you       ·3· · ·A.· ·I don't know if the analytics are in here is
 ·4 you've got to flip through everything, because you've      ·4 what I'm telling you.
 ·5 never seen some of these before, you're not prepared,      ·5· · ·Q.· ·Why didn't you bring them with you?· If you
 ·6 right?· I'm not trying to trick you.· I'm just...          ·6 needed them to discuss Topic 4, why didn't you bring the
 ·7· · ·A.· ·No.· I mean, I can't off the top of my head       ·7 information you needed?
 ·8 tell you a specific number without looking at a            ·8· · ·A.· ·I don't know.
 ·9 document, no.                                              ·9· · ·Q.· ·Because without that information, it's safe to
 10· · ·Q.· ·Sure.· Give me a cheat sheet.· Look through the   10 say, you're not prepared to talk about Topic 4, are you?
 11 document.                                                  11· · ·A.· ·I can't give you a specific number without
 12· · ·A.· ·I -- you want me to flip through all --           12 looking at it.
 13 couple-hundred pages?                                      13· · ·Q.· ·Okay.· And you don't -- as far as right now,
 14· · ·Q.· ·333.                                              14 you don't have it?
 15· · ·A.· ·Okay.· So, like I said, you want me to flip       15· · ·A.· ·I don't know if it's in here, no.
 16 through all couple-hundred pages?                          16· · ·Q.· ·Okay.· Well, I'm gonna represent to you that
 17· · ·Q.· ·Sure.· If you're -- if you are aware of what      17 that's being unprepared.· And if I'm wrong, Ms. Blott
 18 you're looking for, it's not hard to flip through 333      18 will correct me right now.
 19 pages.· We'll wait.· I'm okay with some awkward silence.   19· · · · · · · ·MS. BLOTT:· You're wrong.
 20· · ·A.· ·I mean, I don't imagine where it would be.        20· · · · · · · ·MR. OGDEN:· Okay.
 21· · ·Q.· ·I bet it's in that stack.· You told me that it    21· · · · · · · ·MS. BLOTT:· Now, would you like me to tell
 22 was.                                                       22 you why?
 23· · ·A.· ·Well, I don't know if it is in this stack. I      23· · · · · · · ·MR. BANKSTON:· Absolutely not.
 24 didn't put this together.                                  24· · · · · · · ·MR. OGDEN:· I don't, Ms. Blott.· Because
 25· · ·Q.· ·Now you are guessing.· And we already talked      25 the witness here, she's supposed to tell me.

                                                         75                                                            77

 ·1 about what happens when you guess.                         ·1· · ·Q.· ·(By Mr. Ogden) So, actually, here's my
 ·2· · ·A.· ·I'm not guessing.· I didn't put this -- this      ·2 question:· Tell me the page used for February 14th,
 ·3 document together.                                         ·3 2018, for the -- for the web -- web page in question in
 ·4· · · · · · · ·MR. BANKSTON:· You said that it was in       ·4 this lawsuit?
 ·5 there.                                                     ·5· · ·A.· ·I think I already answered your question.
 ·6· · ·Q.· ·(By Mr. Ogden) Yeah.· You told me it was in       ·6· · ·Q.· ·How many?
 ·7 there, and then you said, well, I don't know if it's in    ·7· · ·A.· ·I can't tell you a specific number without
 ·8 here.                                                      ·8 looking at the document.
 ·9· · · · · · · ·So which one is?· Were you lying then or     ·9· · ·Q.· ·Sure.· Take your time.
 10 are you lying now?                                         10· · ·A.· ·I'm not gonna flip through all those pages. I
 11· · ·A.· ·I'm not lying at all.                             11 don't know if it's in there.
 12· · ·Q.· ·Sure.                                             12· · ·Q.· ·Okay.· Well, what do you --
 13· · ·A.· ·I just don't know what's in here, because I       13· · · · · · · ·MR. BANKSTON:· I think we need
 14 didn't put this together.                                  14 (inaudible).
 15· · ·Q.· ·Okay.· Where's the materials you did put          15· · · · · · · ·MR. OGDEN:· Actually, let's take a break.
 16 together for this depo?                                    16 We're gonna get the Court on the phone.
 17· · · · · · · ·Yesterday you had a very extensive binder    17· · · · · · · ·MR. BANKSTON:· Well, I think we should at
 18 with tabs and color-coding.· It looked very                18 least give the court reporter a break.
 19 professional.                                              19· · · · · · · ·MR. OGDEN:· Yeah.· We're gonna -- we're
 20· · · · · · · ·Where's the one for today, or are you        20 off the record.
 21 just -- this one is not as serious as yesterday?           21· · · · · · · ·MR. BANKSTON:· Let's talk about this.· We
 22· · ·A.· ·It's not that it's not as serious.· There         22 may be suspending the deposition.
 23 weren't a lot of documents in connection with this         23· · · · · · · ·THE VIDEOGRAPHER:· We are off the record
 24 specific case.                                             24 at 10:18.
 25· · ·Q.· ·Sounds like there were.· You said, how am I       25· · · · · · · ·(Recess from 10:18 a.m. to 10:28 a.m.)


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 22 of 106
Paz, Brittany                                                02-15-2022
                                                                78                                                           80
 ·1· · · · · · · ·THE VIDEOGRAPHER:· We are back on the              ·1 of landing pages for thousands of articles and thousands
 ·2 record at 10:28.                                                 ·2 of videos, and what I reviewed with Mr. Zimmerman were
 ·3· · ·Q.· ·(By Mr. Ogden) Ms. Paz, we just got back from a         ·3 the thousands of -- that Google analytics page that had
 ·4 break.· I -- I observed you walk back into the room with         ·4 those thousands of landing pages.
 ·5 Ms. Blott and the documents that you brought with you            ·5· · · · · · · ·Do I believe those were produced?· Is that
 ·6 today.                                                           ·6 what you're asking?
 ·7· · · · · · · ·Were -- did you -- were you able to go             ·7· · ·Q.· ·No.· Are you certain that the information for
 ·8 through those documents during the break?                        ·8 the Fontaine post is in those analytics?
 ·9· · ·A.· ·I did not look through the entirety of the              ·9· · ·A.· ·Yes.· It would have been in the landing page
 10 documents.· I flipped through it.                                10 because it's all of our landing pages.
 11· · ·Q.· ·Before we call the Court and inform the Court           11· · ·Q.· ·Okay.· Do you understand, as the corporate
 12 that the question -- a question has been asked verbatim          12 representative, you are tasked with being able and
 13 of Topic 4 on the deposition notice, the witness has             13 prepared to discuss the analytics of that post?
 14 informed us that the responsive information might be in          14· · ·A.· ·Yes.
 15 the set of documents that she brought with her today and         15· · ·Q.· ·Okay.· Are you prepared?
 16 she is refusing to look through it to find that                  16· · ·A.· ·I can't testify as to the exact number because
 17 information, before we do that, now that we've come back         17 I just don't have it in front of me.
 18 from a break, would you like to change your answers?             18· · ·Q.· ·Okay.· I'll ask my question a simpler way.
 19· · ·A.· ·I don't believe it's in there.                          19· · · · · · · ·Are you prepared?
 20· · ·Q.· ·Okay.· So if it's not in there and you didn't           20· · ·A.· ·I don't have the number in front of me, so I
 21 bring anything else with you for this case, is it safe           21 can't espys [sic] the number.
 22 to say you're not prepared to discuss Topic 4 today?             22· · ·Q.· ·So would that be on the yes side of prepared or
 23· · ·A.· ·I can't discuss the exact numbers, but the              23 the no side?
 24 Google analytics are the ones that I reviewed that have          24· · ·A.· ·I don't want to agree with your words.
 25 been produced in this case.· So it's in the production,          25· · ·Q.· ·Okay.· I'm not asking you to agree one way or

                                                                79                                                           81
 ·1 but I just don't have it in front of me.                 ·1 another.
 ·2· · ·Q.· ·Right.· I understand the -- I mean, there's     ·2· · · · · · · ·I'm just asking you if you're prepared to
 ·3 81,000 pages of documents.                               ·3 discuss Topic 4?
 ·4· · · · · · · ·You understand that you're designated here ·4· · ·A.· ·And as I've already testified, I can't testify
 ·5 today -- 81,000, that's actually in the Sandy Hook case. ·5 as to the exact number.· I don't have the document in
 ·6· · · · · · · ·In the Fontaine case, it's like 450        ·6 front of me.
 ·7 documents, right?                                        ·7· · · · · · · ·MR. OGDEN:· Ms. Blott, before we have to
 ·8· · ·A.· ·It was a much smaller number.                   ·8 call the Court -- I really don't want to.
 ·9· · ·Q.· ·Right.· And the -- you understand that you're   ·9· · · · · · · ·MS. BLOTT:· Is it yes or no?
 10 here as the corporate representative to discuss those    10· · · · · · · ·MR. OGDEN:· Thank you.
 11 documents?                                               11· · ·A.· ·No.· I cannot testify to the number.
 12· · ·A.· ·The 450 pages that you just mentioned?          12· · ·Q.· ·(By Mr. Ogden) No, you are not prepared to
 13· · ·Q.· ·If the 450 pages contain the information that's 13 Discuss Topic 4?
 14 listed in a specific topic that you were given to be     14· · ·A.· ·No.
 15 prepared for?                                            15· · ·Q.· ·Okay.· Let's talk about Topic 5, the analytics
 16· · ·A.· ·I don't know if the Google analytics were       16 for the number of pages used after a retraction was
 17 prepared amongst those 450 pages.· I do know that Google 17 posted on April 2nd, 2018.
 18 analytics were produced in connection with the general   18· · · · · · · ·Are you prepared to Discuss Topic 5 today?
 19 Sandy Hook case.· So we did not make a differentiation   19· · ·A.· ·That would be the same answer as the
 20 between the -- this case and Sandy Hook case.· As far as 20 previous -- previous one.
 21 the Google analytics, we produced analytics for all of   21· · ·Q.· ·Which was, no, I'm not prepared to discuss the
 22 our landing pages.· Amongst those, would have been this  22 topics that were laid out in Plaintiff's Notice of
 23 particular article.                                      23 Deposition of a Corporate Representative?
 24· · ·Q.· ·You're certain?                                 24· · ·A.· ·As far as the numbers, no.
 25· · ·A.· ·Right.· So what we did was there were thousands 25· · ·Q.· ·I'm sorry.


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 23 of 106
Paz, Brittany                                       02-15-2022
                                                         82                                                            84
 ·1· · · · · · · ·As far as the numbers, no, you are not       ·1 shortly thereafter within a few hours.· I think it was
 ·2 prepared or no --                                          ·2 pretty late in the afternoon, and I think that what he
 ·3· · ·A.· ·That was your question, yes, are you prepared.    ·3 conveyed to me was that there -- I believe people had
 ·4· · ·Q.· ·Right.· Okay.· Just making sure.· That was a      ·4 left for the afternoon already, but that they had talked
 ·5 bad question.· I will be the first one to say I'm gonna    ·5 about it amongst themselves, and that they agreed that
 ·6 ask bad questions; I do it all the time.                   ·6 it should be taken down, and so it was taken down.
 ·7· · · · · · · ·Okay.· Topic No. 6, the company's            ·7· · ·Q.· ·Who is they?
 ·8 knowledge of Mr. Fontaine.                                 ·8· · ·A.· ·According to my conversation with Adan, is he
 ·9· · ·A.· ·(Nodding.)                                        ·9 spoke to the other writers.· I want to say one of
 10· · ·Q.· ·Are you prepared to discuss Mr. Fontaine?         10 them -- his name is -- you know what, I'm not really
 11· · ·A.· ·Yes.                                              11 sure the other two names.· There's two other names.· And
 12· · ·Q.· ·Okay.· What did you do to prepare for that?       12 then had spoken with Kit, and then they all agreed that
 13· · ·A.· ·So in addition to speaking to Mr. Daniels, I      13 it had been -- that it should be taken down.
 14 spoke to -- I think we talked about we spoke to            14· · ·Q.· ·Okay.· If I wanted to know what other two
 15 Mr. Salazar.· I spoke to Mr. Jones.· I reviewed the        15 writers were in the editorial discussion as to whether
 16 documents that we had and are in the production.· And I    16 or not to take the post down, how would I ascertain that
 17 think that's the universe of information that I have on    17 information?
 18 that.                                                      18· · ·A.· ·I could -- I could probably get their names. I
 19· · ·Q.· ·Why'd you talk to Mr. Jones about the Fontaine    19 just can't remember off the top of my head right now.
 20 case?                                                      20· · ·Q.· ·How would you get them?
 21· · ·A.· ·I wanted to see what, if anything, he knew        21· · ·A.· ·I'm sorry?
 22 about the case.                                            22· · ·Q.· ·How would you get those names?
 23· · ·Q.· ·Did --                                            23· · ·A.· ·I could ask for them.
 24· · ·A.· ·Which wasn't very much.                           24· · ·Q.· ·From whom?
 25· · ·Q.· ·Did he know anything?                             25· · ·A.· ·From either Mr. Jones or Mr. Salazar or

                                                         83                                                            85
 ·1· · ·A.· ·No, not really.                                   ·1 Mr. Daniels.
 ·2· · ·Q.· ·You said not really and you said very much.       ·2· · ·Q.· ·Let's back up a little bit.
 ·3· · · · · · · ·So what did Mr. Jones know about Fontaine,   ·3· · · · · · · ·I thought you said Mr. Jones' knowledge
 ·4 specifically?                                              ·4 was restricted to only knowing that a post went up and a
 ·5· · ·A.· ·I don't think he really knew anything except      ·5 post came down?
 ·6 that there was this issue that happened and that it was    ·6· · ·A.· ·He knows who is in his writers -- in his
 ·7 rectified in a relatively short period of time.            ·7 writing department.
 ·8· · ·Q.· ·I'm not asking you what you think.· That's what   ·8· · ·Q.· ·Okay.· Are those the only two other writers in
 ·9 you know.                                                  ·9 his writing department, or are there more?
 10· · ·A.· ·That's what he conveyed to me is what he knew.    10· · ·A.· ·There's a group of three writers that are
 11· · ·Q.· ·Let's slow down.· I promise, I'll let you         11 generally the three main writers.
 12 finish your answer, if you let me finish my question.      12· · ·Q.· ·Who was working that day?
 13· · · · · · · ·I'm not asking you what you think.· I'm      13· · ·A.· ·I'm sorry.· I don't have that informations in
 14 asking you what you know.                                  14 front of me.
 15· · · · · · · ·So what do you know?                         15· · ·Q.· ·Okay.
 16· · ·A.· ·I know that he doesn't know anything aside from   16· · ·A.· ·I -- I think we produced an exhibit yesterday
 17 the article went up and it was taken down in a             17 that might -- it might have been in there.· But...
 18 relatively short period of time.                           18· · ·Q.· ·And again, might, may, I thinks, I don't want
 19· · ·Q.· ·Okay.· That's Mr. Jones' knowledge of             19 them.
 20 Mr. Fontaine?                                              20· · ·A.· ·Okay.· I'm not sure.
 21· · ·A.· ·Right (nodding).                                  21· · ·Q.· ·Not fair to jury.
 22· · ·Q.· ·Okay.· What did Mr. Salazar have to say?          22· · ·A.· ·All right.
 23· · ·A.· ·According to my interview with him, he thought    23· · ·Q.· ·The only job -- you have a couple of jobs
 24 that it -- the article went up relatively late in the      24 sitting in that chair today.· One of them is don't
 25 afternoon, but there were some red flags relatively        25 guess.


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 24 of 106
Paz, Brittany                                       02-15-2022
                                                         86                                                            88
 ·1· · · · · · · ·And whether or not it's been produced is     ·1 Dropbox for this particular case.
 ·2 irrelevant to me.· Because I want to know, as the          ·2· · ·Q.· ·Okay.· So an attorney gave you a document to
 ·3 corporate representative tasked with discussing these      ·3 review, and you saw that it contained information about
 ·4 topics, what you know.· Okay?                              ·4 the plaintiff, right?
 ·5· · · · · · · ·Other than the two unknown writers,          ·5· · ·A.· ·Information about where he lived, yes.
 ·6 Mr. Salazar, Mr. Daniels and Mr. Jones, did anyone else    ·6· · ·Q.· ·Information about the plaintiff.· Not splitting
 ·7 at the company have any knowledge of Mr. Fontaine?         ·7 hairs here.
 ·8· · ·A.· ·No.                                               ·8· · ·A.· ·Right.
 ·9· · ·Q.· ·And I'm saying that from the date of              ·9· · ·Q.· ·And so then when you got the deposition notice
 10 February 4th, 2018, to today.                              10 and you saw the company's knowledge of the plaintiff,
 11· · ·A.· ·No.· We don't have any other information on       11 and you were like, oh, that document definitely is
 12 Mr. Fontaine.                                              12 knowledge of the plaintiff, you didn't ask any
 13· · ·Q.· ·Okay.· You don't -- no one knows where he         13 follow-ups as to, hey, where'd this come from?· Why?
 14 lives, correct?                                            14 When?
 15· · ·A.· ·I believe I read in an article he lives in        15· · ·A.· ·I didn't really think it was a relevant
 16 Massachusetts.· But other...                               16 question just 'cause it was clearly not our article.
 17· · ·Q.· ·Was it an Infowars article?                       17· · ·Q.· ·So it's -- does this ask for the knowledge of
 18· · ·A.· ·No.                                               18 Infowars' articles of the plaintiff?
 19· · ·Q.· ·So then why do I care?                            19· · ·A.· ·No.
 20· · ·A.· ·That's why I'm saying.· You're asking me what I   20· · ·Q.· ·No.· It isn't.
 21 know, and I'm telling you what I know.                     21· · · · · · · ·Other than that one article, were there
 22· · ·Q.· ·On behalf of -- I'm not asking for your           22 any other articles that you came across or that were
 23 personal knowledge.· I'm asking you your knowledge as      23 given to you?
 24 the corporate representative.· And I know it's a           24· · ·A.· ·There were numerous articles in the production.
 25 confusing topic for people that don't do this all the      25· · ·Q.· ·About Mr. Fontaine?

                                                         87                                                            89
 ·1 time, and I'm trying to be patient with you.               ·1· · ·A.· ·About the issue for which he is suing, about --
 ·2· · · · · · · ·But when I say what you know, it means       ·2 I don't know if there's any more personal information
 ·3 what you know, based on the list of instructions on        ·3 about him, other than where he lives in the articles.
 ·4 information you were supposed to go and prepare.           ·4 But there were numerous articles.
 ·5· · ·A.· ·And I do know it based on that, because it was    ·5· · ·Q.· ·Okay.· Is it all in that production?
 ·6 in the production.                                         ·6· · ·A.· ·This production (indicating)?· It's not in this
 ·7· · ·Q.· ·Okay.                                             ·7 production.
 ·8· · ·A.· ·I didn't do any independent research, if that's   ·8· · ·Q.· ·Is it in the previous production of the
 ·9 what the question is.                                      ·9 Fontaine case?
 10· · ·Q.· ·Okay.                                             10· · ·A.· ·That's where I saw it on the Dropbox.
 11· · ·A.· ·I read it in the production.                      11· · ·Q.· ·Did you do any -- did you do any searching on
 12· · ·Q.· ·When you read it, did you ask:· Hey, where'd      12 your own to figure out if there were any other documents
 13 this come from?                                            13 about Mr. Fontaine at Infowars that were not in the
 14· · ·A.· ·Where did the piece of paper in the production    14 production?
 15 come from?                                                 15· · ·A.· ·Did I independently do a search?
 16· · ·Q.· ·Correct.                                          16· · ·Q.· ·Right.· Because yesterday you said that you did
 17· · ·A.· ·No.· I didn't ask where it came from.             17 a pretty in-depth search in the Sandy Hook case while
 18· · ·Q.· ·Did you ask who pulled it and why?                18 you were at Infowars searching for documents and
 19· · ·A.· ·No.                                               19 different things.
 20· · ·Q.· ·Okay.· Did you ask where this was saved?· Are     20· · · · · · · ·And so I'm asking you:· Did you do the
 21 there any others in that folder?                           21 same thing in the Fontaine case?
 22· · ·A.· ·In what folder?                                   22· · ·A.· ·Well, yesterday what I testified to was I did a
 23· · ·Q.· ·Whatever folder this was in.                      23 search trying to -- trying to narrow down documents that
 24· · ·A.· ·I don't know what folder you're talking about.    24 I should look at.· So I did a search regarding search
 25 It was in -- amongst the production material in the        25 terms.


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 25 of 106
Paz, Brittany                                       02-15-2022
                                                         90                                                            92
 ·1· · · · · · · ·Is that what you're referring to?· Did I     ·1 find the document that we were talking about.
 ·2 do the same thing here?                                    ·2· · · · · · · ·The stack of documents that's next to you,
 ·3· · ·Q.· ·Let's break this down.                            ·3 is that the production that was made last night?
 ·4· · · · · · · ·Did you do a search -- when you did the      ·4· · ·A.· ·I believe so, yes.
 ·5 search in the Sandy Hook case preparation --               ·5· · ·Q.· ·Okay.· Can you flip to the last page.
 ·6· · ·A.· ·Yes.                                              ·6· · ·A.· ·(Witness complies.)· Okay.
 ·7· · ·Q.· ·-- was that search limited to only the            ·7· · ·Q.· ·Okay.· Can you read Bates number on it?
 ·8 documents that have been produced, or was that at          ·8· · ·A.· ·The last one?
 ·9 Infowars -- you know, their -- their email servers or      ·9· · ·Q.· ·Yes, ma'am.
 10 going through their files or that kind of thing?           10· · ·A.· ·DEFS000334.
 11· · ·A.· ·No.· I didn't do any -- I didn't do that, no.     11· · ·Q.· ·Okay.· The article we were talking about that
 12· · ·Q.· ·So you relied on the documents that were given    12 identifies personal information about Mr. Fontaine,
 13 to you by an attorney?                                     13 what's the Bates number on that?
 14· · ·A.· ·Right.                                            14· · ·A.· ·This one says Fontaine 001103 through 1104.
 15· · · · · · · ·(Sotto voce conversation between Mr. Ogden   15· · ·Q.· ·Okay.· That would signify that there are 1104
 16· · · · · · · ·and Mr. Bankston.)                           16 pages of production, correct?
 17· · ·Q.· ·(By Mr. Ogden) I just conferred with my           17· · ·A.· ·I don't know how these Bates numbers are
 18 co-counsel, and he went through the indexing of the        18 produced, but I think that's accurate, yep.
 19 first set of production.· And last night he and I had      19· · ·Q.· ·Okay.· Because when I asked you earlier how
 20 the benefit of going through the new set of production.    20 many documents were involved, we -- it appeared the
 21 We don't see any of the articles that you're talking       21 global number of documents was about 425, correct?
 22 about.                                                     22· · ·A.· ·I think that was the number you put on it, and
 23· · ·A.· ·I'm sorry.                                        23 I said I didn't know how many documents there were, but
 24· · ·Q.· ·We don't see any of the articles that you're      24 that it was significantly less than Sandy Hook.
 25 talking about referencing where Mr. Fontaine lives, what   25· · ·Q.· ·Okay.

                                                         91                                                            93
 ·1 state he lives in, anything like that.                     ·1· · ·A.· ·I don't think I ascribe -- subscribed to that
 ·2· · ·A.· ·I disagree.· I remember -- I recall               ·2 number.
 ·3 specifically reading articles.                             ·3· · ·Q.· ·Okay.· The -- how many documents, roughly, did
 ·4· · ·Q.· ·Okay.· Show me.                                   ·4 you review in the Fontaine case?
 ·5· · ·A.· ·I don't have the entirety of the production       ·5· · ·A.· ·A few hundred documents, probably.
 ·6 that has been produced in this case.· I have the           ·6 Definitely -- definitely more than a couple hundred
 ·7 supplemental production, but I don't have that             ·7 documents.· It probably would be in the range of five or
 ·8 production.                                                ·8 600 pages total.
 ·9· · ·Q.· ·You have -- so all this -- all this information   ·9· · ·Q.· ·So if there are 1,104 pages, it's safe to say
 10 was sent to you on Dropbox; is that true?                  10 you didn't review it all?
 11· · ·A.· ·Right.                                            11· · ·A.· ·I don't know if that's the end of production.
 12· · ·Q.· ·You keep this in Dropbox.                         12· · ·Q.· ·That's fine.
 13· · · · · · · ·Okay.· Did you bring your computer today?    13· · ·A.· ·Yeah.
 14· · ·A.· ·Sure.                                             14· · ·Q.· ·But if there are 1100, you didn't look at 1100?
 15· · · · · · · ·MR. OGDEN:· Okay.· Let's take a break.       15· · ·A.· ·I don't know that I looked at 1100 pages, no.
 16 Let her pull her computer out and find the documents in    16· · ·Q.· ·Probably more like half?
 17 the production that she has in the Dropbox, and then she   17· · ·A.· ·I don't know how many.
 18 can point us to what she's talking about.                  18· · ·Q.· ·Do you know when that document was produced?
 19· · · · · · · ·THE VIDEOGRAPHER:· We are off the record     19· · ·A.· ·It doesn't say when it was produced.
 20 at 10:42.                                                  20· · ·Q.· ·What article -- what's the source of that
 21· · · · · · · ·(Recess from 10:42 a.m. to 11:02 a.m.)       21 article?
 22· · · · · · · ·THE VIDEOGRAPHER:· We are back on the        22· · ·A.· ·You mean where did this article come from?
 23 record at 11:02.                                           23· · ·Q.· ·Yes.
 24· · ·Q.· ·(By Mr. Ogden) We just took a break so that you   24· · ·A.· ·I don't know how it came to be in our
 25 could look through some materials on your computer to      25 possession.· I know it appears to be a -- American


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 26 of 106
Paz, Brittany                                       02-15-2022
                                                         94                                                            96
 ·1 Statesman article dated 4/2/2018.· But, otherwise, I       ·1· · ·A.· ·Yes, that's true.
 ·2 don't know where else it came from.                        ·2· · ·Q.· ·Did you come across any documents that were
 ·3· · ·Q.· ·Okay.· You don't know who -- who in Infowars      ·3 stamped confidential during your review?
 ·4 found it, saved it, anything like that?                    ·4· · ·A.· ·That document may have been stamped
 ·5· · ·A.· ·That's assuming anybody at Infowars did do        ·5 confidential.
 ·6 that.· I don't know if that's accurate.                    ·6· · ·Q.· ·Do you --
 ·7· · ·Q.· ·Okay.· So this production could have come from    ·7· · ·A.· ·I'm not sure.
 ·8 outside of Infowars and someone slapped a Fontaine         ·8· · ·Q.· ·In general, do you remember any documents?
 ·9 sticker on it?                                             ·9· · ·A.· ·I don't remember anything stamped confidential.
 10· · ·A.· ·No.· Someone could have sent it to us.· It        10· · ·Q.· ·Okay.· Other than Mr. Fontaine's mental health
 11 could have been produced in connection with the            11 records that were given to you by counsel and the
 12 litigation by one of our attorneys.· I just -- just        12 article that is Bates labeled Fontaine 1103 and 1104,
 13 don't know how it came to be in the company's              13 does the company have any other knowledge of
 14 possession.                                                14 Mr. Fontaine?
 15· · ·Q.· ·Okay.· So as far as the knowledge of the          15· · ·A.· ·This might not be the only article that would
 16 defendants, with regards to Mr. Fontaine, you aren't       16 list his location in Massachusetts.· So I don't know if
 17 sure where that knowledge came from or how it was given,   17 this is the only article.· But I think that that's the
 18 if at all, to Infowars?                                    18 entirety of what the company knows about Mr. Fontaine;
 19· · ·A.· ·Regarding his location in Massachusetts?          19 that's correct.
 20· · ·Q.· ·Yes.                                              20· · ·Q.· ·Okay.· Did you look at the posts that the
 21· · ·A.· ·Well, I can testify as to the source of my        21 company had done that displayed Mr. Fontaine's image?
 22 knowledge of these articles.· But as far as how these      22· · ·A.· ·Oh, you mean the -- the specific -- the
 23 articles came to be in our possession, no, I don't know    23 photograph, you mean?
 24 that.                                                      24· · ·Q.· ·Any -- any post that the company has made --
 25· · ·Q.· ·Okay.· And you understand that you're here to     25· · ·A.· ·I viewed --

                                                         95                                                            97
 ·1 testify on how they came -- our possession?· It's not      ·1· · ·Q.· ·-- with Mr. Fontaine's photograph?
 ·2 your personal knowledge, but you're here to testify the    ·2· · ·A.· ·Sure.· I viewed the post -- or I should call it
 ·3 company's knowledge?                                       ·3 an article regarding this -- the Parkland shooting that
 ·4· · ·A.· ·Yes.                                              ·4 contained that -- the photograph of Mr. Fontaine.
 ·5· · ·Q.· ·Okay.· You can't do that as far as where this     ·5· · ·Q.· ·Did you read the comments?
 ·6 document came from when, why, or how?                      ·6· · ·A.· ·I've read some comments.· There -- there are
 ·7· · ·A.· ·I don't know where this document came from, no.   ·7 also a bunch of comments on other sites regarding that
 ·8· · ·Q.· ·Okay.· Are there any other documents --           ·8 photograph.· But...
 ·9· · · · · · · ·(Mr. Bankston enters.)                       ·9· · ·Q.· ·Okay.· When you were going through -- and I'm
 10· · ·Q.· ·(By Mr. Ogden) -- that contain information that   10 gonna mark these Exhibits 2 and 3.
 11 Infowars has on Mr. Fontaine similar to this one?          11· · · · · · · ·(Exhibits 2 and 3 marked.)
 12· · · · · · · ·MR. BANKSTON:· Bates number on it.· Bates    12· · ·Q.· ·(By Mr. Ogden) When you were reviewing the
 13 don't go that high in this case.                           13 documents that were previously produced in this case --
 14· · · · · · · ·MR. OGDEN:· I agree.                         14 give you some printouts.
 15· · ·Q.· ·(By Mr. Ogden) There any others, besides the      15· · · · · · · ·Do you understand that those are Bates
 16 one you're viewing now?                                    16 labeled 252 and 296?· Do you see that at bottom?
 17· · ·A.· ·Yes.· I do recall a report from a psychologist.   17· · ·A.· ·I see that, yes.
 18 I believe that might have been produced by plaintiffs.     18· · ·Q.· ·Okay.· Did you come across documents like this
 19 I recall reading a letter from his psychologist or         19 when you were reviewing?
 20 therapist.                                                 20· · ·A.· ·I did see some photo -- see some pages that
 21· · ·Q.· ·Okay.· So Mr. Fontaine's personal information     21 looked like this.
 22 was shared with you, and you have not signed a             22· · ·Q.· ·Okay.· So when you had them, you couldn't
 23 protective order; that's true?                             23 access these either, correct?
 24· · ·A.· ·I don't have -- I didn't sign anything, no.       24· · ·A.· ·No.
 25· · ·Q.· ·So true?                                          25· · ·Q.· ·Okay.· So when you got them, did you download


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 27 of 106
Paz, Brittany                                       02-15-2022
                                                         98                                                                  100
 ·1 them immediately?                                          ·1· · ·Q.· ·Okay.· I'm gonna represent to you that I
 ·2· · ·A.· ·When I got what?                                  ·2 produced this.
 ·3· · ·Q.· ·Well, there's been an accusation in this case     ·3· · ·A.· ·Okay.
 ·4 that the reason that the production looks like this is     ·4· · ·Q.· ·Other than the production that we've provided
 ·5 because we didn't download them when they were sent;       ·5 to defendants, are there any -- is there any other
 ·6 however, we did, and you just verified that you don't      ·6 knowledge of Mr. Fontaine that anyone at Infowars has?
 ·7 have -- yours looked like this, too, correct?              ·7· · ·A.· ·Based on my review, no, nothing that I can see.
 ·8· · ·A.· ·What I have in the Dropbox.                       ·8 If you produced this, then we didn't have this in our
 ·9· · ·Q.· ·Okay.· When -- did you ask anybody, hey, where    ·9 original -- in our material.
 10 are these web pages?                                       10· · ·Q.· ·Okay.· Did you review a letter that was sent
 11· · ·A.· ·I think that what you just said was what was      11 after the article went up requesting a retraction and
 12 conveyed to me, which was, there are links that we no      12 correction?
 13 longer have anymore.                                       13· · ·A.· ·Yes.· I did see that.
 14· · ·Q.· ·Okay.· So who told you that?                      14· · ·Q.· ·Okay.· And the information in that is -- states
 15· · ·A.· ·I don't know if I can testify as to --            15 that Mr. Fontaine is, in fact, not Mr. Cruz and the post
 16· · · · · · · ·MS. BLOTT:· Attorney-client --               16 is incorrect, correct?
 17· · ·A.· ·Right.                                            17· · ·A.· ·That's what the letter says.
 18· · · · · · · ·MS. BLOTT:· Objection; attorney-client       18· · ·Q.· ·Okay.· So that would be knowledge of the
 19 privilege.                                                 19 plaintiff, as well, correct?
 20· · ·Q.· ·(By Mr. Ogden) Okay.· When were you told that     20· · ·A.· ·I don't think that's knowledge of the
 21 these web pages were no longer available?                  21 plaintiff.
 22· · ·A.· ·When I was reviewing the Fontaine material this   22· · ·Q.· ·Okay.· Prior to that letter, was the company
 23 past week.                                                 23 aware they had posted a picture of the wrong person?
 24· · ·Q.· ·Okay.· So it was in the last seven days?          24· · ·A.· ·Yes.· Because we had taken it down before we
 25· · ·A.· ·Right.                                            25 received that letter.

                                                         99                                                                  101
 ·1· · ·Q.· ·Once you informed them that the pages were no     ·1· · ·Q.· ·Okay.· When -- we'll get to that.
 ·2 longer available, was that the end of the conversation,    ·2· · · · · · · ·How did the company -- what information
 ·3 or did it go any further?                                  ·3 would the company become aware of to take down the post?
 ·4· · ·A.· ·When I was informed?                              ·4· · ·A.· ·Just based on my comments -- or, I'm sorry --
 ·5· · ·Q.· ·Yes.                                              ·5 my communications with Mr. Daniels and interviews, I
 ·6· · ·A.· ·No.· That was the end of the conversation.        ·6 think that this -- this photograph was originally seen
 ·7· · ·Q.· ·They just said skip over them, we don't have      ·7 on social media by Mr. Daniels.· He had seen it in a
 ·8 them?                                                      ·8 number of places on social media.· He had put it in --
 ·9· · ·A.· ·They did not say that.· But I can't testify as    ·9 it wasn't just unfortunate, it was on other locations on
 10 to what our communications were.                           10 social media.· And then he wrote the article.· The
 11· · ·Q.· ·Okay.· Did you skip over them because you         11 article contained a photograph that says it's -- an
 12 didn't have them?                                          12 alleged picture of the shooter.· And then there were
 13· · ·A.· ·I can't review something I don't have.            13 quickly chatter on social media that confirmed that that
 14· · ·Q.· ·I can't either.                                   14 picture was not of the shooter.· And so based on that,
 15· · ·A.· ·Right.· (Laughing.)                               15 it was felt that that photograph was not accurate and
 16· · ·Q.· ·Finding some more common ground, Ms. Paz.         16 taken down.
 17· · · · · · · ·Okay.· The -- other than -- is it your       17· · ·Q.· ·Okay.· Where -- where was this chatter?
 18 understanding that the documents Fontaine 1103 to 1104     18· · ·A.· ·Based on my conversations with Mr. Daniels,
 19 has been produced to the plaintiffs in this case?          19 the -- it appears that it was on social media.
 20· · ·A.· ·I know that we've given over everything that we   20· · ·Q.· ·Okay.· Did Infowars take steps to save any of
 21 have.· I -- I know that there have been some production    21 that?
 22 issues as to what's been turned over to you.· So I don't   22· · ·A.· ·To save what he reviewed?
 23 know what's been turned over to you.· I know that it has   23· · ·Q.· ·To save whatever information on social media
 24 a Bates label on it, so, to me, that means that it was     24 that he found chattering about the identity of
 25 produced.                                                  25 Mr. Fontaine's photo?


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 28 of 106
Paz, Brittany                                                02-15-2022
                                                               102                                                          104
 ·1· · ·A.· ·No.· But I will say that in this -- in this             ·1 it.
 ·2 material -- I don't know if it's production that you've          ·2· · ·Q.· ·Were they tax statements, or were they bank
 ·3 produced or we've produced -- there is a lot of social           ·3 statements?
 ·4 media information and chatter talking about the identity         ·4· · ·A.· ·I think they were his tax returns.
 ·5 of the person in the photograph.· So it could very well          ·5· · · · · · · ·MR. OGDEN:· Ms. Blott, I don't have those.
 ·6 have been something like that.· But did -- did the               ·6· · · · · · · ·MR. BANKSTON:· Yeah, we definitely don't.
 ·7 company take any steps to preserve those particular              ·7· · · · · · · ·MR. OGDEN:· What do we do here?
 ·8 posts, no.                                                       ·8· · · · · · · ·MR. BANKSTON:· Because if she reviewed
 ·9· · ·Q.· ·And just for the record, everything you said            ·9 them...
 10 about the article that you have in front of you marked           10· · · · · · · ·MR. OGDEN:· I gotcha.
 11 Fontaine 1103 and 04, that's just conjecture.                    11· · · · · · · ·MS. BLOTT:· They were produced in the net
 12· · · · · · · ·You have no idea when the company got              12 worth discovery in the Sandy Hook case; I know that.
 13 that, if it ever got it, and if it's ever been reviewed          13· · · · · · · ·MR. BANKSTON:· No.
 14 by anybody other than an attorney?                               14· · · · · · · ·MR. OGDEN:· Not in Texas.
 15· · ·A.· ·This particular document?                               15· · · · · · · ·MR. BANKSTON:· No, they were.
 16· · ·Q.· ·Yes, ma'am.                                             16· · · · · · · ·Mr. Reeves specifically (inaudible)
 17· · ·A.· ·I know that it was produced by you because you          17 against that.
 18 just told me it was produced by you.                             18· · · · · · · ·MR. OGDEN:· While you're looking for that,
 19· · ·Q.· ·Right.                                                  19 can I proceed a little bit with this?
 20· · ·A.· ·So it's not conjecture.                                 20· · · · · · · ·MS. BLOTT:· Yeah.
 21· · ·Q.· ·You don't -- you don't know -- right.· But you          21· · · · · · · ·MR. OGDEN:· Okay.
 22 said, oh, well, this article has all this information            22· · ·Q.· ·(By Mr. Ogden) So you discussed with Melinda
 23 about social media chatter.· But --                              23 the company structure, the profit-loss, PQPR, and
 24· · ·A.· ·No.· This -- this article doesn't.· No.                 24 Mr. Jones' tax statements.
 25· · ·Q.· ·Okay.· Maybe I just misunderstood your                  25· · · · · · · ·Anything else?

                                                               103                                                          105
 ·1 question.· And, frankly, I think I got what I need out   ·1· · ·A.· ·No, that's it.
 ·2 of this.                                                 ·2· · ·Q.· ·Are you positive?
 ·3· · ·A.· ·Okay.                                           ·3· · ·A.· ·(Nodding.)· I believe so.· That's -- I think
 ·4· · ·Q.· ·The net worth of the company, are you prepared  ·4 that's it, yes.
 ·5 to discuss that?                                         ·5· · ·Q.· ·Didn't ask if you believe you were positive.
 ·6· · ·A.· ·Yes.                                            ·6· · ·A.· ·That's it.
 ·7· · ·Q.· ·Okay.· What did you do to prepare for that      ·7· · ·Q.· ·Okay.· Because yesterday I swore I heard you
 ·8 topic?                                                   ·8 say that you talked with Dustin Whittenburg.
 ·9· · ·A.· ·So this also was in the binder from yesterday   ·9· · ·A.· ·Dustin is the -- is a tax attorney.
 10 that we marked as Exhibit 8, I believe.· But I do also   10· · ·Q.· ·What'd you talk to him about?
 11 have another copy of that.· But, essentially, what I did 11· · ·A.· ·I did not talk to him about the company's
 12 was I sat with Melinda, who does the QuickBooks, and I   12 profit-loss.
 13 went through the profit-loss sheet for 2020 -- that's    13· · ·Q.· ·What'd you talk to him about?
 14 the most recent time that that is -- that information is 14· · · · · · · ·MS. BLOTT:· I'm gonna object to the extent
 15 available -- and we discussed the profit-loss sheet.     15 of attorney-client privilege and any conversations that
 16 But I --                                                 16 she had with Mr. Whittenburg.
 17· · ·Q.· ·Okay.· What else did you do?                    17· · ·Q.· ·(By Mr. Ogden) Who's Mr. -- Mr. Whittenburg's a
 18· · ·A.· ·I discussed with Melinda the structure of the   18 tax attorney for who?
 19 company so that I could understand the reasons why I was 19· · ·A.· ·I believe he's a tax attorney for the company.
 20 seeing what I was seeing and the numbers and the         20· · ·Q.· ·Okay.· I'm not gonna ask you what you talked
 21 relationship between Free Speech and other companies,    21 about; I'm gonna ask why you talked to him.
 22 such as PQPR, because there are some -- some debts       22· · ·A.· ·I think that would necessitate I talked to him
 23 owed -- due and owing amongst the companies.· And I may 23 about what we talked about.
 24 have -- I think I may have reviewed Alex's tax           24· · ·Q.· ·I don't think it would necessitate that.
 25 statements, which I believe you have.· I think that's    25· · · · · · · ·Why'd you talk to him?


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 29 of 106
Paz, Brittany                                       02-15-2022
                                                        106                                                                  108
 ·1· · ·A.· ·Because I felt like maybe I should talk to him.   ·1· · ·A.· ·Sure.· No, I did not have a concern about
 ·2· · ·Q.· ·Why'd you feel that way?                          ·2 ethical violations on the part of the accountants.
 ·3· · ·A.· ·To get a better idea about the company, and       ·3· · ·Q.· ·Did you speak with Robert Roe?
 ·4 that was pretty much it.                                   ·4· · ·A.· ·I did.
 ·5· · ·Q.· ·A better idea about what about the company?       ·5· · ·Q.· ·Okay.· Are you aware of his history in
 ·6· · ·A.· ·Sir, I do believe that these are privileged       ·6 litigation regarding Sandy Hook cases?
 ·7 conversations.                                             ·7· · ·A.· ·I'm sorry.· Can you be more specific.
 ·8· · ·Q.· ·That's fine.· I'm not asking what y'all talked    ·8· · ·Q.· ·Yeah.· Did you know that -- that the defendants
 ·9 about.· I'm not asking about the communications.· I'm      ·9 in that case were sanctioned because Mr. Roe had been
 10 asking your beliefs and feelings going forward in your     10 found by the Court to have manipulated the QuickBooks
 11 preparation for today.· And you said that you wanted to    11 entries prior to producing them?· Did you know that?
 12 talk to him.· And so I'm asking why did you want to talk   12· · ·A.· ·I'm aware there was an issue to which there was
 13 to him.                                                    13 a profit-loss statement or something to that effect that
 14· · ·A.· ·I didn't specifically ask to talk to him, no.     14 there were missing lines that weren't produced at the
 15 So he came, and I talked to him.· But I didn't             15 bottom that were subsequently reproduced.· So I'm aware
 16 specifically request that I talk to him.· I don't think    16 of that issue, yes.
 17 I ever testified that I requested to speak to him.         17· · ·Q.· ·Did you read the Court's order?
 18· · · · · · · ·MR. OGDEN:· Can you read back her prior      18· · ·A.· ·I did not read the Court's order, no.
 19 answer.                                                    19· · ·Q.· ·Well, how did you find out the information you
 20· · · · · · · ·(The record was read as requested.)          20 just regurgitated?
 21· · ·Q.· ·(By Mr. Ogden) So you said you talked to him      21· · ·A.· ·I was told that by Mr. Roe and in discussions
 22 because you wanted a better idea of the company,           22 with counsel.
 23 correct?                                                   23· · ·Q.· ·Okay.· Because I encourage you to go read that
 24· · ·A.· ·He was there; I spoke to him.                     24 order.
 25· · ·Q.· ·Not my question.· Not even close.                 25· · · · · · · ·What about any lawyers?

                                                        107                                                                  109
 ·1· · · · · · · ·I said you spoke to him because you wanted   ·1· · ·A.· ·Do I have concerns about whether lawyers in the
 ·2 a better idea of the company, correct?                     ·2 case have breached duty to the company?· Is that your
 ·3· · ·A.· ·He was there, and he was available, and I could   ·3 question?
 ·4 get a better idea about the company.· So I said I          ·4· · ·Q.· ·Only with regard to anything you came across
 ·5 could -- so I figured I would talk to him.                 ·5 while preparing for the last two depositions.
 ·6· · ·Q.· ·What about the company?                           ·6· · ·A.· ·Anything regarding -- you mean the financial
 ·7· · ·A.· ·About the structure of the company, about         ·7 statements or anything in the entire universe of the
 ·8 the -- how the company runs.· We also talked about some    ·8 case?
 ·9 other privileged information.· But that's pretty much      ·9· · ·Q.· ·Anything that you came across in preparation
 10 it.                                                        10 for your depositions.
 11· · ·Q.· ·Okay.· You do any white collar law?               11· · ·A.· ·I did have concerns on behalf of the company
 12· · ·A.· ·Not usually, no.                                  12 regarding the company's prior representation, yes.
 13· · ·Q.· ·During any of your preparation for yesterday or   13· · ·Q.· ·What about it?
 14 today, were there any instances where you drew concern     14· · ·A.· ·The company's prior lawyers.
 15 as far as any ethical duties that may have -- may or may   15· · ·Q.· ·Okay.· What about them?
 16 not have been violated by anyone in this case?             16· · ·A.· ·I think that there are issues that there have
 17· · ·A.· ·I'm sorry.· Can you be more specific.             17 been -- even though the company has produced material to
 18· · · · · · · ·Anyone meaning who, like the attorneys?      18 its at- -- attorneys, has not been produced
 19· · ·Q.· ·Anybody you talked to.                            19 appropriately and has resulted in many, if not all, of
 20· · ·A.· ·Did I have a concern about ethical violations     20 the sanctions.
 21 by attorneys, by accountants?                              21· · ·Q.· ·Would that be in the Texas cases or the --
 22· · · · · · · ·Can we break that down a little bit.         22· · ·A.· ·Both.
 23· · ·Q.· ·Sure.                                             23· · ·Q.· ·-- Connecticut?
 24· · ·A.· ·Sure.                                             24· · · · · · · ·Okay.· Any lawyers in specifics?
 25· · ·Q.· ·We'll start with accountants.                     25· · ·A.· ·I think that there are specific issues


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 30 of 106
Paz, Brittany                                       02-15-2022
                                                        110                                                                 112
 ·1 regarding Mr. Randazzao but -- although he doesn't have    ·1· · ·A.· ·Yes.· I'm -- I'm not really sure which time
 ·2 an appearance in this file, and Brad Reeves, and perhaps   ·2 periods are overlapping and who was responsible for
 ·3 the -- I can't remember his name before him.               ·3 what.· But, generally, based on my discussions, those
 ·4· · ·Q.· ·There's six.                                      ·4 were my issues.
 ·5· · ·A.· ·There's a bunch.· And I agree with you, yes.      ·5· · ·Q.· ·And we'll just go in order.· We'll start with
 ·6· · ·Q.· ·Okay.· So Brad Reeves, Mr. Randazzao -- I'll      ·6 Mr. Randazzao.
 ·7 just go -- Mr. Enoch.                                      ·7· · · · · · · ·So while his pro hac was pending, his
 ·8· · ·A.· ·I'm not sure about Mr. Enoch.· I think he's --    ·8 representation of the company caused a disorganization
 ·9 he's done a pretty decent job.                             ·9 and inability to tell whether or not something had or
 10· · ·Q.· ·T. Wade Jefferies?                                10 had not been produced, correct?
 11· · ·A.· ·I'm sorry.· I don't know much about him. I        11· · ·A.· ·Right.· What -- and, also -- I don't even know
 12 don't have an opinion about him.                           12 whether he was communicating to us about what needed to
 13· · · · · · · ·MR. OGDEN:· Burnett?                         13 be produced or what was still outstanding, if there was
 14· · · · · · · ·MR. BANKSTON:· Michael Burnett.              14 anything outstanding.· So, in general, there were a lot
 15· · ·Q.· ·(By Mr. Ogden) Michael Burnett?                   15 of issues regarding production.
 16· · ·A.· ·I don't have an opinion about him either.         16· · · · · · · ·THE WITNESS:· Here.· (Handing phone to
 17· · · · · · · ·MR. BANKSTON:· Bob Barnes.                   17 Ms. Blott.)
 18· · ·Q.· ·(By Mr. Ogden) Bob Barnes.                        18· · ·Q.· ·(By Mr. Ogden) Mr. Randazzao, was he in charge
 19· · ·A.· ·Barnes.                                           19 of the litigation?
 20· · ·Q.· ·You did have an issue with him?                   20· · ·A.· ·At what time?
 21· · ·A.· ·Yes.                                              21· · ·Q.· ·When he was involved.
 22· · ·Q.· ·Okay.                                             22· · ·A.· ·I don't know the time period.· I'm sorry. I
 23· · · · · · · ·MR. OGDEN:· Is that Whitehurst --            23 know there's a lot -- there's some overlap.· There were
 24· · · · · · · ·MR. BANKSTON:· It's Wilhite.                 24 six or seven other attorneys at various points, so I
 25· · ·Q.· ·(By Mr. Ogden) Wilhite?                           25 don't know the time period.

                                                        111                                                                 113
 ·1· · ·A.· ·Oh, I'm sorry.· I don't have an opinion about     ·1· · ·Q.· ·I'll just say this:· At some point since the
 ·2 him either.                                                ·2 Sandy Hook and the Fontaine case have been filed,
 ·3· · ·Q.· ·And Ms. Blott?                                    ·3 Mr. Randazzao was representing the defendants in these
 ·4· · ·A.· ·I think Ms. Blott is fabulous.                    ·4 defamation suits?
 ·5· · ·Q.· ·I think she is, too.                              ·5· · ·A.· ·Yes.
 ·6· · · · · · · ·Okay.· With regards to Mr. Randazzao, what   ·6· · ·Q.· ·Okay.· As he was doing his representation in
 ·7 were your kind of issues you took with his                 ·7 the litigation, did -- did he have an explanation as to
 ·8 representation?                                            ·8 when he would be pro hac -- filing a motion for pro hac
 ·9· · ·A.· ·I think -- the company thinks that there have     ·9 vice or, you know, kind of anything like that?
 10 been attempts by Mr. Randazzao to gain entry into Texas    10· · ·A.· ·You mean to the company?
 11 pro hac vice.· Those attempts were unsuccessful            11· · ·Q.· ·Or -- correct.· To the client -- his clients.
 12 ultimately.· But while those issues were pending, there    12· · ·A.· ·I think those -- he was having those
 13 were orders and time lines and deadlines and scheduling    13 conversations ongoing about getting admitted.· But we
 14 orders that were in place that weren't being responded     14 were not being informed as to, you know, the issues
 15 to in a timely fashion.                                    15 regarding the production and the time lines with the
 16· · · · · · · ·There's also some issues regarding the       16 case.
 17 organization.· I think we already talked about the Bates   17· · ·Q.· ·And at that point, he was in charge of --
 18 stamp and how they're not necessarily organized            18· · ·A.· ·I believe so.· But I could -- like I said, I
 19 appropriately so we know which -- what was produced        19 don't know what dates.· There's -- there's those
 20 where.· I think I said that yesterday, as well, that I'm   20 overlaps.
 21 not really sure what documents were produced in which      21· · ·Q.· ·Okay.· Yeah.· I went over this a little bit
 22 cases.· And that's a problem with the organization         22 with Mr. Shroyer in his deposition, and I'll ask you the
 23 amongst the attorneys.                                     23 same thing.
 24· · ·Q.· ·I want to -- and I assume that was the problem    24· · · · · · · ·Based on the information that you just
 25 for Mr. Barnes, Mr. Reeves, and Mr. Randazzao?             25 testified to, is the company -- has the company decided


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 31 of 106
Paz, Brittany                                       02-15-2022
                                                        114                                                           116
 ·1 one way or another on legal malpractice as a potential     ·1 he was practicing law in Texas without a license and
 ·2 asset?                                                     ·2 without any order on the pro hac vice?
 ·3· · ·A.· ·We have not decided on -- made any final          ·3· · ·A.· ·I don't -- I don't know the answer to that.
 ·4 decisions on legal malpractice yet.                        ·4· · ·Q.· ·(By Mr. Ogden) Okay.· Did Mr. Randazzao ever
 ·5· · ·Q.· ·Okay.                                             ·5 work on the preparation of any pleadings or motions or
 ·6· · ·A.· ·As to whether to file or who to file against,     ·6 documents involved in this -- in these two actions in
 ·7 we've not made any final decisions on that.                ·7 Texas?
 ·8· · ·Q.· ·Okay.· Is it being -- has it been discussed or    ·8· · ·A.· ·I don't -- I don't know the answers if he -- if
 ·9 is it going to be discussed?                               ·9 he worked on them, like, as in drafts.· I know he didn't
 10· · ·A.· ·It's being discussed.                             10 sign them because he couldn't sign them and file them.
 11· · ·Q.· ·I would ask that should that discussion happen    11 But I don't know if he worked on them, no.
 12 and that go forward, that the plaintiffs in this case,     12· · ·Q.· ·Okay.· Did Mr. Randazzao give any legal advice?
 13 as a potential creditor, just be made aware, because       13· · ·A.· ·To the company?
 14 that could be a potential asset to the company.            14· · ·Q.· ·Yes.· Specific to the actions in Texas.
 15· · ·A.· ·Sure.                                             15· · ·A.· ·I mean, he represented the company.· So...
 16· · ·Q.· ·Was the company at all aware -- did               16· · ·Q.· ·Okay.
 17 Mr. Randazzao inform the company at any --                 17· · ·A.· ·I -- I believe that that's a yes answer.
 18· · · · · · · ·(Phone ringing.)                             18· · · · · · · ·MS. BLOTT:· Don't guess.
 19· · · · · · · ·MS. BLOTT:· I'm stupid.· Can we go off the   19· · ·A.· ·I mean, I haven't had any conversations with
 20 record a minute.                                           20 Mr. Randazzao, so I don't --
 21· · · · · · · ·MR. OGDEN:· Do you need to take that?        21· · ·Q.· ·(By Mr. Ogden) Did --
 22· · · · · · · ·MS. BLOTT:· No.· I need to --                22· · ·A.· ·-- know for sure.
 23· · · · · · · ·Are we off the record?                       23· · ·Q.· ·-- did you receive -- we'll go back up to the
 24· · · · · · · ·THE REPORTER:· No.                           24 net worth.· Well, because this is kind of all tied into
 25· · · · · · · ·MS. BLOTT:· Okay.· I'm older than you        25 it.

                                                        115                                                           117
 ·1 guys.· I don't know how to make it quit ringing.· Let me   ·1· · ·A.· ·Sure.
 ·2 just turn it off.· And I sincerely apologize.              ·2· · ·Q.· ·When you talked with Mr. Whittenburg, did he --
 ·3· · · · · · · ·MR. OGDEN:· Hold the power button.           ·3 did you review any document that he gave you?
 ·4· · · · · · · ·THE WITNESS:· The power button.              ·4· · ·A.· ·I never spoke to Mr. Whittenburg.
 ·5· · · · · · · ·MS. BLOTT:· My son just bought this for      ·5· · ·Q.· ·Okay.· I thought you had conversations with --
 ·6 me.                                                        ·6 with Dustin Whittenburg.
 ·7· · · · · · · ·Is this the power button?                    ·7· · ·A.· ·Oh, I'm sorry.· That's his name.· I didn't know
 ·8· · · · · · · ·(Siri responds:· Interesting question.)      ·8 his last name.· You're right.· I did talk -- talk to
 ·9· · · · · · · ·MS. BLOTT:· So y'all can all laugh at me.    ·9 Mr. Whittenburg.
 10 Okay?                                                      10· · ·Q.· ·Did you review any documents when you spoke
 11· · · · · · · ·(Siri responds:· I'm sorry.)                 11 with him?
 12· · · · · · · ·MS. BLOTT:· Oh, fuck you.                    12· · ·A.· ·No.
 13· · · · · · · ·I'm sorry.· I apologize for my language.     13· · ·Q.· ·Okay.· He didn't show me anything.
 14· · · · · · · ·THE WITNESS:· See, as to your question, I    14· · · · · · · ·MR. BANKSTON:· Circle back on those tax
 15 said she's fabulous; that's why.                           15 documents, too.
 16· · · · · · · ·MS. BLOTT:· Why?· Because I don't know how   16· · · · · · · ·(Brief pause as Mr. Ogden goes through
 17 to work an iPad?                                           17· · · · · · · ·documents.)
 18· · · · · · · ·THE WITNESS:· More so your language.         18· · · · · · · ·MR. OGDEN:· This is gonna be Exhibit 4.
 19 But...                                                     19· · · · · · · ·(Exhibit 4 marked.)
 20· · · · · · · ·MS. BLOTT:· I apologize.                     20· · ·Q.· ·(By Mr. Ogden) Did you review this prior to
 21· · · · · · · ·THE WITNESS:· I just proved the veracity     21 today?
 22 of my opinion.                                             22· · ·A.· ·No.
 23· · · · · · · ·But go ahead.                                23· · · · · · · ·MR. BANKSTON:· Oh, that's the number --
 24· · ·Q.· ·(By Mr. Ogden) At any point during these          24· · ·Q.· ·(By Mr. Ogden) You did -- you said you did not
 25 proceedings, did Mr. Randazzao inform the company that     25 look at the discovery responses?


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 32 of 106
Paz, Brittany                                                 02-15-2022
                                                                118                                                          120
 ·1· · ·A.· ·I don't think I saw this, no.· (Shaking head.)  ·1· · ·A.· ·In the -- amongst the two cases.· I don't know
 ·2· · ·Q.· ·Okay.                                           ·2 in this case specifically, but I know we've produced
 ·3· · ·A.· ·Aside from the pleadings -- the petition, I     ·3 many thousands of emails.
 ·4 think -- I think the petitions were the only pleadings I ·4· · ·Q.· ·Have any emails at all been produced in this
 ·5 reviewed.· So, no, I didn't read this.                   ·5 case regarding Mr. Fontaine or specifically the
 ·6· · ·Q.· ·I'll point you to Request for Production No. 4  ·6 information requested in requests for production?
 ·7 on Page 3.                                               ·7· · ·A.· ·I don't believe that we had any responsive
 ·8· · ·A.· ·Okay.                                           ·8 emails on Mr. Fontaine.
 ·9· · ·Q.· ·And Request for Production No. 4 on Page 3      ·9· · ·Q.· ·I didn't ask if you believed if you did. I
 10 says, all communications within Infowars relating to the 10 asked if --
 11 plaintiff, the article in question, or efforts to        11· · ·A.· ·We did not produce any emails because there
 12 ascertain the identity of the Douglas High School        12 were no responsive emails on Mr. Fontaine.
 13 shooter.                                                 13· · ·Q.· ·Okay.· What -- when was the search done?
 14· · ·A.· ·I see that.                                     14· · ·A.· ·I'm sorry.· I don't know the answer to that.
 15· · ·Q.· ·In response, the answer is:· After a diligent   15· · ·Q.· ·Okay.· What were the searching and culling
 16 search, no responsive documents in Free Speech Systems' 16 terms?
 17 possession, custody, or control were identified.         17· · ·A.· ·Because I don't know who did the search, I'm
 18· · ·A.· ·I see that.                                     18 not sure who -- who did the search terms.
 19· · ·Q.· ·Okay.· Can you tell me what this search --      19· · ·Q.· ·Okay.· Did you -- when you came and did your
 20 how -- who did the search?                               20 interviews with members of the company, were you given
 21· · ·A.· ·So after speaking to Mr. Daniels, once we were  21 any sort of restrictions on your access of who you could
 22 informed that there was going to be a lawsuit, he        22 talk to?
 23 searched through his personal computer.· He searched     23· · ·A.· ·No.· (Shaking head.)
 24 through his phone, and, I believe, searched through      24· · ·Q.· ·Okay.· Did you ask who did the search?
 25 anything that would have been on his computer at work,   25· · ·A.· ·I don't remember.

                                                                119                                                          121
 ·1 and there was nothing found.· So we -- we didn't have             ·1· · ·Q.· ·Did you ask when the search was done?
 ·2 anything in our custody.                                          ·2· · ·A.· ·Well, so here -- here's the reason why I don't
 ·3· · ·Q.· ·Okay.· So it was -- there was just Mr. Daniels           ·3 know is just because I know we have been dealing --
 ·4 doing the search?                                                 ·4 there was a -- some third-party person, and I'm not
 ·5· · ·A.· ·Mr. Daniels searched his -- his specific phone           ·5 really sure who or when that was.· So I -- no, I'm not
 ·6 and computer, and I believe -- I'm sorry -- let me just           ·6 sure.
 ·7 amend my response.· I think that also we --                       ·7· · ·Q.· ·So you mean third party as in the defendants
 ·8· · ·Q.· ·I don't want thinking.                                   ·8 hired a person from a different company to search their
 ·9· · ·A.· ·Because we did search our emails, and that was           ·9 own system?
 10 not done by Mr. -- by Mr. Daniels.                                10· · ·A.· ·No.· I don't know necessarily search.· I know
 11· · ·Q.· ·Okay.                                                    11 that was there was a mirror image done of our hard
 12· · ·A.· ·So we did search the emails, as well.                    12 drives, and I don't know who did that.· But I don't know
 13· · ·Q.· ·Okay.· Who searched the emails?                          13 who did the search, if it was that third party or
 14· · ·A.· ·I don't know the identity of the person who              14 someone in the company.· It may very well have been
 15 searched the emails.· I'm not -- I'm not sure. I                  15 Mr. Zimmerman, but I don't know.
 16 think -- and, like I said, I'm not sure.· So...                   16· · · · · · · ·(Sotto voce conversation between Mr. Ogden
 17· · ·Q.· ·Then we can end it there.                                17· · · · · · · ·and Mr. Bankston.)
 18· · ·A.· ·Right.                                                   18· · · · · · · ·MR. OGDEN:· Okay.
 19· · ·Q.· ·I don't know is -- is an answer that --                  19· · ·Q.· ·(By Mr. Ogden) And did you ask Mr. Zimmerman if
 20· · ·A.· ·I'm not sure.                                            20 he did the search?
 21· · ·Q.· ·Okay.· And how do you know that they -- that             21· · ·A.· ·You know what, I may have, but I just -- I
 22 someone did an email search?                                      22 don't remember, as I sit here right now.
 23· · ·A.· ·Because we've produced many thousands of pages           23· · ·Q.· ·Did you ask Mr. Zimmerman what searching and
 24 of emails.                                                        24 culling terms he used in the ESI?
 25· · ·Q.· ·In this case?                                            25· · ·A.· ·That's assuming he did it.· I don't know.


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 33 of 106
Paz, Brittany                                       02-15-2022
                                                        122                                                           124
 ·1· · ·Q.· ·Okay.· Did you ask him if he was aware of who     ·1· · ·A.· ·No.
 ·2 did it?                                                    ·2· · ·Q.· ·Okay.· And based on those four points, you are
 ·3· · ·A.· ·You know what, I don't recall.                    ·3 sitting here today definitive -- definitively telling
 ·4· · ·Q.· ·Do you know when this third party imaged the      ·4 this jury that no communications exist, correct?
 ·5 defendants' ESI system?                                    ·5· · ·A.· ·Whatever -- whatever we had, we produced, and
 ·6· · ·A.· ·No.                                               ·6 we don't have anything.
 ·7· · ·Q.· ·Okay.· Do you remember how you became aware       ·7· · · · · · · ·MS. BLOTT:· It's yes or no.
 ·8 that a third-party contractor had imaged the hard drives   ·8· · ·A.· ·No.
 ·9 at the defendants' place of business?                      ·9· · · · · · · ·MS. BLOTT:· Sorry.
 10· · ·A.· ·I know that based on my discussions with          10· · ·Q.· ·(By Mr. Ogden) I'm sorry.
 11 counsel that there had -- that had been done.· I just      11· · · · · · · ·And that question was -- well, a little
 12 didn't know how or when.                                   12 winded.
 13· · ·Q.· ·(Inaudible.)                                      13· · · · · · · ·But based on that, you're telling this
 14· · ·A.· ·I'm sorry?                                        14 jury that there are no communications that exist,
 15· · ·Q.· ·I said excuse me.· Water went down the wrong      15 correct?
 16 pipe.                                                      16· · ·A.· ·Yes.
 17· · · · · · · ·Okay.· So earlier you gave me a definitive   17· · ·Q.· ·Okay.· Would you -- as -- you know, I'm not
 18 response that there are no communications, correct?        18 even asking you as a lawyer.
 19· · ·A.· ·I'm sorry.· Communications regarding Requests     19· · · · · · · ·Do you think that that is a reliable basis
 20 for Production 4?                                          20 to come to that conclusion under oath swearing to God?
 21· · ·Q.· ·Yes.                                              21· · ·A.· ·I know that we've produced everything that we
 22· · ·A.· ·Yes.                                              22 have on Mr. Fontaine, so, yes.
 23· · ·Q.· ·Okay.· And you've given me the affirmative.       23· · ·Q.· ·So you believe that you have reliable
 24· · · · · · · ·You're not saying you're not sure; you're    24 information to make that conclusion to the jury?
 25 saying there are none, correct?                            25· · ·A.· ·Based on my review and my communications with

                                                        123                                                           125
 ·1· · ·A.· ·Based on my review of the documents -- and I      ·1 the interviews.· (Nodding) yes.
 ·2 know we've produced the document -- everything that we     ·2· · ·Q.· ·Okay.
 ·3 have -- we do not have anything regarding Production       ·3· · ·A.· ·We produced everything.
 ·4 No. 4.                                                     ·4· · ·Q.· ·By based on your communications, you mean the
 ·5· · ·Q.· ·And the documents you reviewed were based on a    ·5 conversation you had with Mr. Zimmerman that you don't
 ·6 search that you do -- that you have no idea what the       ·6 even remember?
 ·7 parameters are, correct?                                   ·7· · ·A.· ·I don't remember the whole thing.· I spoke to
 ·8· · ·A.· ·You mean my search?                               ·8 Mr. Zimmerman a long time.
 ·9· · ·Q.· ·No.                                               ·9· · ·Q.· ·But you don't remember anything about the
 10· · ·A.· ·My search through the documents?                  10 definitive answer you're now giving the jury, correct?
 11· · ·Q.· ·The documents were given to you by lawyers,       11· · ·A.· ·I don't know anything about who did the search.
 12 correct?                                                   12· · ·Q.· ·Or if he did?· When?
 13· · ·A.· ·Right.                                            13· · ·A.· ·He -- yeah.· I don't know the specifics of
 14· · ·Q.· ·Those documents were the result of someone        14 that; that's correct.
 15 doing a search, correct?                                   15· · ·Q.· ·Okay.· Gonna mark this Exhibit 5.
 16· · ·A.· ·Yes.                                              16· · · · · · · ·(Exhibit 5 marked.)
 17· · ·Q.· ·You have no idea what was searched for,           17· · ·Q.· ·(By Mr. Ogden) Earlier you said you hadn't
 18 correct?                                                   18 reviewed any of the pleadings or responses in discovery.
 19· · ·A.· ·No, I don't know.                                 19· · · · · · · ·Is that true for this document, as well?
 20· · ·Q.· ·You don't know what terms -- searching terms or   20· · ·A.· ·Yes.
 21 culling terms were used, correct?                          21· · ·Q.· ·Okay.· I want to focus on Request for
 22· · ·A.· ·No, I don't.                                      22 Production No. 1.
 23· · ·Q.· ·You don't know when it was done?                  23· · ·A.· ·Okay.
 24· · ·A.· ·No.                                               24· · ·Q.· ·Produce any documents which show what time on
 25· · ·Q.· ·And you don't know who did it?                    25 February 14th, 2018 the challenged image was published


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 34 of 106
Paz, Brittany                                                 02-15-2022
                                                                126                                                          128
 ·1 on Infowars dot com.                                     ·1· · ·A.· ·You mean -- you mean other individuals besides
 ·2· · · · · · · ·The response says, Defendant will produce  ·2 Mr. Daniels?
 ·3 any additional responsive documents in its possession,   ·3· · ·Q.· ·Well, I'll give you a very specific one.
 ·4 custody, or control, correct?                            ·4· · · · · · · ·The original post --
 ·5· · ·A.· ·That's what it says.                            ·5· · ·A.· ·Uh-huh.
 ·6· · ·Q.· ·Okay.· When was the document first published,   ·6· · ·Q.· ·-- was that preserved?
 ·7 at what time?                                            ·7· · ·A.· ·I thought that -- you know, I don't -- I don't
 ·8· · ·A.· ·Based on my conversations with Mr. Daniels, it  ·8 want to know -- say if I read the original post.· But I
 ·9 was published late in the afternoon, probably around     ·9 do remember seeing the article as it is in current form,
 10 4:00 p.m.· That's...                                     10 but I don't know if I read -- saw the original post.
 11· · ·Q.· ·So answer to my question is I don't know        11· · ·Q.· ·So you don't -- sitting here today in a
 12 exactly, true?                                           12 defamation lawsuit against the defendants, you're
 13· · ·A.· ·I -- I don't know exactly what time.· But based 13 sitting as the corporate representative for the
 14 on my conversations with Mr. Daniels, it was late in the 14 defendants, and you're not sure if you've even seen the
 15 afternoon.                                               15 defamatory post?
 16· · · · · · · ·(Sotto voce conversation between Mr. Ogden 16· · ·A.· ·The defamatory post was taken down the very
 17· · · · · · · ·and Mr. Bankston.)                         17 next day.· And so in its current form or in its original
 18· · ·Q.· ·(By Mr. Ogden) Earlier, you said once we were   18 form was not preserved because we did not receive that
 19 infer- -- informed that a lawsuit may be coming.         19 preservation email from you or letter until after it was
 20· · · · · · · ·Do you remember that, when you said that?  20 already taken down.
 21· · ·A.· ·In response to what question?· I'm sorry.       21· · ·Q.· ·How do you know?
 22· · ·Q.· ·This lawsuit, anything that you -- do you know  22· · ·A.· ·Because we received that letter many weeks
 23 when the company was informed there may or may not be a 23 later.
 24 lawsuit?                                                 24· · ·Q.· ·You said you didn't know when you received the
 25· · ·A.· ·When we received your letter.                   25 letter.

                                                                127                                                          129
 ·1· · ·Q.· ·Okay.· Do you remember the date on that?                 ·1· · ·A.· ·I don't know the exact date, but it was way
 ·2· · ·A.· ·I don't remember the exact date.                         ·2 after we took it down.
 ·3· · ·Q.· ·Okay.· Would you -- is it safe to say that once          ·3· · · · · · · ·(Sotto voce conversation between Mr. Ogden
 ·4 that letter was received, efforts were made by the                ·4· · · · · · · ·and Mr. Bankston.)
 ·5 defendants to preserve evidence?                                  ·5· · ·Q.· ·(By Mr. Ogden) Are you aware -- I'm gonna
 ·6· · ·A.· ·(Nodding) yes.                                           ·6 represent to you that our letter was sent to you on
 ·7· · ·Q.· ·Okay.· What were those efforts?                          ·7 February 26th.
 ·8· · ·A.· ·As I had testified to earlier, Mr. Daniels was           ·8· · ·A.· ·Okay.
 ·9 made aware of the letter, and he made efforts to search           ·9· · ·Q.· ·I'm going to then represent to you that this --
 10 through his devices and report back whether there was             10 there was no response and that a lawsuit was filed on
 11 anything responsive.                                              11 April 1st.· Okay?
 12· · · · · · · ·And as I also testified, I don't know               12· · ·A.· ·Okay.
 13 exactly when those searches were done for emails.· So I           13· · ·Q.· ·I'm then going to represent to you that the
 14 can't really respond to it for the emails end of it.              14 retraction and -- in its current form, as you've
 15 But...                                                            15 referred to it as, was done on April 2nd, the next day.
 16· · ·Q.· ·So you can respond for Mr. Daniels,                      16· · ·A.· ·The post was taken down on February 15th.· So
 17 specifically, but not really for the company in any way,          17 10 days before your letter -- or 11 days before your
 18 true?                                                             18 letter.
 19· · ·A.· ·Regarding the emails?                                    19· · ·Q.· ·The post was or the...
 20· · ·Q.· ·Regarding the preservation of evidence.                  20· · ·A.· ·The article was revised on February 15th.
 21· · ·A.· ·Regarding the preservation of the information            21· · ·Q.· ·To -- to say what?
 22 on Mr. Daniels' devices, I can.                                   22· · ·A.· ·To take out the defamatory language.
 23· · ·Q.· ·Right.                                                   23· · ·Q.· ·Okay.· So you would -- one thing we can agree
 24· · ·A.· ·For the company.                                         24 on, there was defamatory language?
 25· · ·Q.· ·And the rest of the company?                             25· · ·A.· ·I think that the photograph representing that


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 35 of 106
Paz, Brittany                                       02-15-2022
                                                        130                                                                 132
 ·1 it was Mr. Fontaine was not accurate and represented him   ·1 mean?
 ·2 to be a -- potentially the shooter at Parkland.· So it     ·2· · ·A.· ·Negative comments, not nice comments.
 ·3 was removed on February 15th, along with the language      ·3· · ·Q.· ·Sure.· Were there any threats?
 ·4 saying this is the alleged -- alleged photo of the         ·4· · ·A.· ·Not that I recall.· But...
 ·5 shooter was removed.                                       ·5· · ·Q.· ·Okay.· I encourage you after this depo to keep
 ·6· · ·Q.· ·When was the retraction done?                     ·6 reading, because there's a lot of them.
 ·7· · ·A.· ·I don't know the date.                            ·7· · · · · · · ·Is the -- are any of the defendants
 ·8· · ·Q.· ·April 2nd.                                        ·8 apologetic for putting Mr. Fontaine through this?
 ·9· · ·A.· ·Okay.                                             ·9· · ·A.· ·Oh, yes.· When I spoke to Mr. Daniels, he was
 10· · ·Q.· ·Did you our -- did you read the letter that       10 very, very upset, and he is very apologetic.· So, yes.
 11 plaintiffs sent on February 26th?                          11· · ·Q.· ·Usually when you're apologetic, you give an
 12· · ·A.· ·Yes.· I saw the letter.                           12 apology to the person, correct?
 13· · ·Q.· ·Okay.· Based on that, do you have -- did --       13· · ·A.· ·I -- I would disagree with that when --
 14 were you able to learn why defendants did not, pursuant    14 especially when there's ongoing litigation.· So I would
 15 to the statute, do a proper retraction until after the     15 disagree with that.
 16 deadline that's in the statute?                            16· · ·Q.· ·Right.· You would tell your lawyer, and the
 17· · ·A.· ·I don't believe that that's accurate.· I don't    17 lawyers would tell each other, right?
 18 believe we -- we missed the deadline per the statute.      18· · ·A.· ·Tell each other or tell the other lawyers.
 19 And I do believe that we mitigated the -- the issue        19· · ·Q.· ·The lawyers would tell -- if Mr. Daniels wanted
 20 regarding the photograph.                                  20 to, at any point, he could have asked Ms. Blott or
 21· · ·Q.· ·Do you -- do you know if Mr. Fontaine's ever      21 Mr. Reeves, Mr. Randazzao, Mr. Barnes, Mr. Whitehurt --
 22 even been to Florida?                                      22 I forget -- Wilhite, Mr. Enoch, Mr. -- I mean, he could
 23· · ·A.· ·No, I don't know.                                 23 have asked any of them, hey, I would like to apologize
 24· · ·Q.· ·Do you know about the death threats that          24 to the plaintiff, and that could have been communicated
 25 Mr. Fontaine has received?                                 25 through the lawyers, right?

                                                        131                                                                 133
 ·1· · ·A.· ·I don't believe I reviewed anything like that     ·1· · ·A.· ·I don't know if he was advised not to do that.
 ·2 in the production.· So, no.                                ·2· · ·Q.· ·(By Mr. Ogden) Oh, so the lawyers may have
 ·3· · ·Q.· ·Well, you read our production.· We know,          ·3 advised him --
 ·4 because you cited it, Fontaine 1103, 1104.                 ·4· · ·A.· ·I don't know.
 ·5· · · · · · · ·So you read some of my production,           ·5· · ·Q.· ·-- not to apologize?
 ·6 correct?                                                   ·6· · ·A.· ·I don't know the answer to that.
 ·7· · ·A.· ·I read some of your production.                   ·7· · ·Q.· ·Stop guessing.
 ·8· · ·Q.· ·In that production, you didn't see any of the     ·8· · ·A.· ·Yeah.· But you're asking me --
 ·9 horrific things that were said about him online in the     ·9· · ·Q.· ·Keep reminding you of that.
 10 comment sections?                                          10· · ·A.· ·But you're saying that he could have, and I
 11· · ·A.· ·I'm sure there were horrific things.· Yes. I      11 don't know that he could have because I don't know if he
 12 read a number of --                                        12 was advised not to.
 13· · ·Q.· ·I didn't ask you if you were sure there were.     13· · · · · · · ·Like, I -- I will traditionally advise my
 14 I'm asking you if you read them.                           14 clients who commit offenses and criminal offenses, they
 15· · ·A.· ·Yes.· I did read them.                            15 may be very apologetic, but they cannot make admissions
 16· · ·Q.· ·Okay.· So when I asked you whether or not you     16 during the pendency of the case.
 17 know about it, I don't want to hear, oh, I'm sure there    17· · · · · · · ·And so I don't know that he could have
 18 were.· I want to know whether or not you know.             18 done that.
 19· · ·A.· ·Yes, I know.                                      19· · ·Q.· ·Do you know what happened to Mr. Shroyer after
 20· · ·Q.· ·Okay.· After reading some of those comments,      20 he was -- he -- he communicated an apologetic message to
 21 what did you come away with?                               21 the plaintiffs?
 22· · ·A.· ·I came away with there was a misidentification    22· · ·A.· ·Do I know if anything happened to him?· No, I
 23 of Mr. Fontaine as the shooter and that there were         23 don't know.
 24 negative comments about him as a result.                   24· · ·Q.· ·So you don't know that -- where he currently
 25· · ·Q.· ·When you say negative comments, what do you       25 stands in this case?


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 36 of 106
Paz, Brittany                                          02-15-2022
                                                            134                                                          136
 ·1· · ·A.· ·What do you mean?· Can you be more specific.    ·1 challenged image, the plaintiff, or your efforts to
 ·2· · ·Q.· ·Whether or not --                               ·2 ascertain the identity of Stoneman Douglas High School
 ·3· · ·A.· ·I know he's still a defendant in the case.      ·3 shooter.
 ·4· · ·Q.· ·Yeah.· Do you know whether or not he's a -- in  ·4· · ·A.· ·I see it.
 ·5 negotiations to settle?                                  ·5· · ·Q.· ·Okay.· Response:· None known to exist.
 ·6· · ·A.· ·I can't answer that.                            ·6· · · · · · · ·What does that mean?
 ·7· · ·Q.· ·Because you don't know?                         ·7· · ·A.· ·It means that at the time this was drafted, we
 ·8· · ·A.· ·I don't know.· (Shaking head.)                  ·8 didn't have any knowledge that we -- that existed that
 ·9· · ·Q.· ·Okay.· And does -- does -- do any of the        ·9 had these browser histories that were being requested.
 10 defendants contend that they produced documents showing 10· · ·Q.· ·Were there any attempts to -- to search for
 11 what time the article -- this article in question was    11 this information?
 12 originally published?                                    12· · ·A.· ·I -- I don't know.
 13· · ·A.· ·No.                                             13· · · · · · · ·MR. BANKSTON:· Or preserve it.
 14· · ·Q.· ·Okay.· I want to go to Request for              14· · ·Q.· ·(By Mr. Ogden) Were there any -- were there any
 15 Production 2.                                            15 efforts to preserve this information?
 16· · ·A.· ·Are we still on No. 5?                          16· · ·A.· ·I don't know.· As I -- as I said, I think we --
 17· · ·Q.· ·Yes.                                            17 we -- we asked Mr. Daniels to search his computer.· So I
 18· · · · · · · ·MS. BLOTT:· Would this be a good time to   18 don't know if Mr. Daniels did it.· So I don't know.
 19 take a break.                                            19· · ·Q.· ·Did you ask anybody else?
 20· · · · · · · ·MR. OGDEN:· If I can get through this one, 20· · ·A.· ·No.
 21 this will be the last of this document.                  21· · ·Q.· ·Okay.· So you didn't ask -- you didn't ask any
 22· · · · · · · ·MS. BLOTT:· Okay.· Thanks.                 22 of the individuals that you listed out to us --
 23· · ·A.· ·Which one did you say?                          23 Mr. Salazar or the two ghost writers that we do not know
 24· · ·Q.· ·(By Mr. Ogden) No. 2.                           24 the identities of, you didn't ask them to preserve their
 25· · ·A.· ·Okay.                                           25 browsing history and to search it?

                                                            135                                                          137
 ·1· · ·Q.· ·It says a copy of every version of the article       ·1· · ·A.· ·I don't -- I don't know the answer to that.
 ·2 in question which was published on Infowars' website.         ·2· · ·Q.· ·Okay.· So --
 ·3· · · · · · · ·And the response is:· Free Speech Systems       ·3· · · · · · · ·(Sotto voce conversation between Mr. Ogden
 ·4 has produced responsive documents in its possession,          ·4· · · · · · · ·and Mr. Bankston.)
 ·5 custody, or control.                                          ·5· · · · · · · ·MR. BANKSTON:· There it is right there.
 ·6· · ·A.· ·I'm sorry.· Which one are you on?                    ·6· · ·Q.· ·(By Mr. Ogden) So when it comes to the
 ·7· · ·Q.· ·No. 2.                                               ·7 company's efforts to preserve evidence for this case,
 ·8· · ·A.· ·This one says, web browser history for No. --        ·8 Topic No. 7 in the notice of deposition, you would not
 ·9 Request for Production 2.                                     ·9 be prepared to discuss any of the preservation of web
 10· · ·Q.· ·Maybe I did -- oop, you're right.· I'm sorry.        10 browsing history, because the only thing that you did
 11 I'm on the right one now.                                     11 was talk to Mr. Daniels?
 12· · · · · · · ·No. 2.                                          12· · ·A.· ·Yes.
 13· · ·A.· ·This is Exhibit 2?                                   13· · · · · · · ·MR. OGDEN:· We can take a break.
 14· · ·Q.· ·Yes.                                                 14· · · · · · · ·THE VIDEOGRAPHER:· We are off the record
 15· · ·A.· ·Okay.· Let me just --                                15 at 11:57.
 16· · ·Q.· ·No.· I'm sorry.· This is the exhibit you were        16· · · · · · · ·(Recess from 11:57 a.m. to 12:12 p.m.)
 17 on.                                                           17· · · · · · · ·THE VIDEOGRAPHER:· We are back on the
 18· · ·A.· ·Oh, it's the same exhibit.                           18 record at 12:12.
 19· · · · · · · ·Okay.· So which one was it?· I'm --             19· · ·Q.· ·(By Mr. Ogden) Give you Exhibit 6.
 20· · ·Q.· ·The one you were on.                                 20· · · · · · · ·(Exhibit 6 marked.)
 21· · · · · · · ·Produce a copy of any web browser history       21· · ·A.· ·Oh, and I don't know if you want the names of
 22 showing all pages you visited from each web browser on        22 the three writers, but I could give that to you, if you
 23 any electronic device you used on February 14th to --         23 want them.
 24 2018 to February 15th, 2018, concerning searches or           24· · ·Q.· ·(By Mr. Ogden) Over here.· Go ahead.
 25 pages related to the challenged publication, the              25· · ·A.· ·So it's Adan, Kellan, and Jaimie.· I did not


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 37 of 106
Paz, Brittany                                       02-15-2022
                                                        138                                                                 140
 ·1 speak to Kellan and Jaimie, though.                        ·1· · ·Q.· ·Okay.· So the only place that Free Speech
 ·2· · ·Q.· ·Jaimie a boy or a girl?                           ·2 Systems published the article with Mr. Fontaine's
 ·3· · ·A.· ·He's male.                                        ·3 picture was Mr. Daniels' article -- on Infowars dot com,
 ·4· · ·Q.· ·Exhibit 6.                                        ·4 correct?
 ·5· · · · · · · ·We're gonna look at Interrogatory No. 6.     ·5· · ·A.· ·Yes.· So that's what this answer is saying,
 ·6 It's on Page 3.                                            ·6 yes.
 ·7· · ·A.· ·Okay.                                             ·7· · ·Q.· ·Okay.
 ·8· · ·Q.· ·Okay.· It says, list every occasion and every     ·8· · · · · · · ·MR. OGDEN:· I don't have a Tab 7.
 ·9 medium by which any employee or agent of Infowars          ·9· · · · · · · ·MR. BANKSTON:· What do you mean?· Tab 7 is
 10 publically posted a link, shared, or otherwise             10 this.· We took it out, remember?
 11 referenced the article in question.                        11· · · · · · · ·MR. OGDEN:· Oh, that's right.
 12· · · · · · · ·Do you understand what that request is       12· · · · · · · ·MR. BANKSTON:· So you just need to go
 13 for?                                                       13 there.
 14· · ·A.· ·Yes.· I think you're -- you're asking for         14· · · · · · · ·MR. OGDEN:· Yeah.· You're right.
 15 whether or not the company or an employee for the          15· · ·Q.· ·(By Mr. Ogden) Okay.· This is gonna be Exhibit
 16 company posted the original article about Mr. Fontaine,    16 No. 7.
 17 correct?                                                   17· · · · · · · ·(Exhibit 7 marked.)
 18· · ·Q.· ·It's asking for a list of any time that that      18· · ·Q.· ·(By Mr. Ogden) Gonna be two pages.· Excuse
 19 post was made, shared, or referenced.                      19 me -- one page.
 20· · ·A.· ·Okay.                                             20· · · · · · · ·Here's a copy.
 21· · ·Q.· ·Okay.· And the answer is kind of long, so I'll    21· · · · · · · ·Okay.· Have you ever seen this document?
 22 go slow.                                                   22· · ·A.· ·I believe I saw this in the materials that I
 23· · · · · · · ·Answer:· As set forth in its general         23 reviewed.· So, yes.
 24 response above, Infowars, LLC does not engage in any       24· · ·Q.· ·Okay.· And can you describe for the jury what
 25 business, has no employees, and did not publicly discuss   25 this document is?

                                                        139                                                                 141
 ·1 or post a link to the article in question, and thus does   ·1· · ·A.· ·This appears to be a post on social media, not
 ·2 not have in its possession, custody, or control            ·2 sure which, it might be Facebook or Twitter.· And it's
 ·3 information responsive to this interrogatory.              ·3 replying to at the Real Donald Trump at CNN and at
 ·4· · · · · · · ·Free Speech Systems, LLC published a link    ·4 MSNBC.· And the commentary is shooter was a communist,
 ·5 to the challenged publication on the Infowars dot com      ·5 with a photograph of Mr. Fontaine on the right and an
 ·6 website on February 14th, 2018.· The challenged            ·6 advertisement for Trump 2020 on the left.
 ·7 publication was also scraped to NewsWars dot com, but      ·7· · ·Q.· ·Okay.· Gonna hand you Exhibit 8.
 ·8 Free Speech does not believe that version of the article   ·8· · · · · · · ·(Exhibit 8 marked.)
 ·9 published on the site contained the image of               ·9· · ·Q.· ·(By Mr. Ogden) So when you click on the images
 10 Mr. Fontaine, parentheses, because the web archive does    10 in Exhibit 7, this is the full picture of Exhibit 8,
 11 not contain a version of the article with the image, end   11 which is a screenshot.
 12 parentheses.                                               12· · · · · · · ·You would agree?
 13· · · · · · · ·Kit Daniels shared a link to the             13· · · · · · · ·And I take that as look at the top right
 14 challenged publication on his work-related Twitter         14 of the document.· You can see a cell phone battery,
 15 account and his work-related Facebook page on              15 time, all that good stuff.
 16 February 14th, 2018.· Free Speech Systems, LLC does not    16· · ·A.· ·Yes, I see that.· But I guess I don't
 17 have any records of whether or not a link to the           17 understand what you're saying.
 18 challenged publication was -- was posted on social media   18· · · · · · · ·Is if I click on a link on Exhibit 7, it
 19 accounts maintained by Free Speech Systems, LLC,           19 will link me to Exhibit 8?
 20 parentheses, including Twitter and Facebook, end           20· · ·Q.· ·No.· Exhibit 7 is two photographs.
 21 parentheses, since those platforms, without notice to or   21· · ·A.· ·Right.
 22 consent from Free Speech Systems, LLC removed all Free     22· · ·Q.· ·Okay.· If you click on either of them, you can
 23 Speech Systems -- Free Speech Systems, LLC's content.      23 see the entire photograph.
 24· · · · · · · ·Did I read that correctly?                   24· · ·A.· ·Okay.· Yes.· Yes.
 25· · ·A.· ·Yes.                                              25· · ·Q.· ·Okay.· And so you understand Exhibit 8 would be


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 38 of 106
Paz, Brittany                                       02-15-2022
                                                        142                                                           144
 ·1 enlarging the -- the picture on the right of Exhibit 7?    ·1· · ·A.· ·You mean could I, from that article, make --
 ·2· · ·A.· ·I don't -- I don't know that that's true.         ·2 click and it would redirect me?
 ·3· · ·Q.· ·Okay.· I'm going to represent to you that         ·3· · ·Q.· ·Correct.
 ·4 that's what we did.                                        ·4· · · · · · · ·To CNN or MSNBC or the Real Donald Trump?
 ·5· · ·A.· ·Okay.                                             ·5· · ·A.· ·No.· I couldn't click it.· So it was -- it was
 ·6· · ·Q.· ·Okay.· And it doesn't really matter,              ·6 just a photo.
 ·7 necessarily, what the stuff at the top is of the           ·7· · ·Q.· ·Okay.· Well, in the production, these two were
 ·8 screenshot.                                                ·8 right next to each other, correct?· Or did the attorneys
 ·9· · · · · · · ·But if you look at the bottom of it, you     ·9 who gave you documents leave that one out?
 10 can see that that picture was taken from a website.        10· · ·A.· ·I don't remember ever seeing this in Exhibit 8.
 11· · · · · · · ·Can you read what website that is?           11· · ·Q.· ·If you had seen it, would it have caught your
 12· · ·A.· ·Prison Planet dot com.· WWW dot Prison Planet     12 eye?
 13 dot com.                                                   13· · ·A.· ·Yes.· (Nodding.)
 14· · ·Q.· ·Have you ever heard of Prison Planet dot com?     14· · ·Q.· ·Okay.· So it's fair to say that this Exhibit 7
 15· · ·A.· ·Yes.                                              15 was the document you did review, but Exhibit 8 was a
 16· · ·Q.· ·Who owns it?                                      16 document you did not review, correct?
 17· · ·A.· ·I believe that this -- well, actually, I'm not    17· · ·A.· ·Right.
 18 sure, because I know that Mr. Watson has something to do   18· · ·Q.· ·Okay.
 19 with Prison Planet dot com.· So I'm not sure that he       19· · ·A.· ·And then -- go ahead.
 20 owns it or the -- personally or the company posts on       20· · ·Q.· ·From this we can establish that there are at --
 21 that with his consent.· So I'm not sure.                   21 there are additional posts with Mr. Fontaine's
 22· · ·Q.· ·I'm gonna represent to you that the public        22 photograph that the defendants published, correct?
 23 filings show that Prison Planet dot com is owned by Free   23· · ·A.· ·I don't know.
 24 Speech Systems, LLC.                                       24· · ·Q.· ·And I will -- and I'll say it like this:· If
 25· · ·A.· ·Okay.                                             25 Exhibit 8 is rendered to be a true and accurate copy of

                                                        143                                                           145
 ·1· · ·Q.· ·And the reason we went through the last three     ·1 a Prison Planet dot com post, that would be an
 ·2 exhibits is we saw the interrogatory response that I       ·2 additional publication Defendants made that was not
 ·3 read earlier the said the only place we could find that    ·3 disclosed in their interrogatory answers, which were
 ·4 it was posted was Infowars dot com.                        ·4 sworn to be a complete and accurate truth, true?
 ·5· · ·A.· ·Yes.· I see that.                                 ·5· · ·A.· ·If this, in fact, was published by Prison
 ·6· · ·Q.· ·But then when plaintiffs actually go do a         ·6 Planet dot com?
 ·7 search, not with the internal documents, but just what's   ·7· · ·Q.· ·Yes.
 ·8 out in the public, we find that it was also posted on      ·8· · ·A.· ·Yes.
 ·9 the defendant's other website.                             ·9· · ·Q.· ·And I will represent to you that if you went to
 10· · · · · · · ·So I have to ask, what efforts were made     10 Prison Planet dot com and tried to find this, that it's
 11 to actually locate responsive information?                 11 been taken down.
 12· · ·A.· ·Well, I don't -- I don't know anything about      12· · ·A.· ·Okay.
 13 Exhibit 8.· I've never seen that before, and it wasn't     13· · ·Q.· ·Do you know anybody outside of the defendants
 14 amongst the materials that I reviewed.· So I don't know    14 that would have access to take down posts on a website
 15 where it came from.                                        15 owned by Free Speech Systems?
 16· · · · · · · ·I see what you're -- that you're             16· · ·A.· ·I don't know how -- I don't know the answer to
 17 representing that it was taken from Prison Planet dot      17 that.
 18 com, but I don't have any independent recollection or      18· · ·Q.· ·Okay.· Do you know whether or not any
 19 information that that's where it came from.                19 preservation or searching and culling was done on the
 20· · ·Q.· ·Well, you told the jury you'd seen Exhibit 7      20 Prison Planet dot com platform?
 21 before, right?                                             21· · ·A.· ·I don't know.
 22· · ·A.· ·Yes.· I've seen this, yes.                        22· · ·Q.· ·Other than this photo in Exhibit 8 that shows
 23· · ·Q.· ·And you saw it on your computer, true?            23 Prison Planet dot com, did you come across any other
 24· · ·A.· ·Yes.                                              24 Prison Planet dot com postings or information regarding
 25· · ·Q.· ·Okay.· And was it a native?                       25 that website?


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 39 of 106
Paz, Brittany                                       02-15-2022
                                                        146                                                           148
 ·1· · ·A.· ·No.· I don't recall seeing anything else by       ·1· · · · · · · ·MR. OGDEN:· 991.
 ·2 Prison Planet dot com.                                     ·2· · · · · · · ·MR. BANKSTON:· Uh-huh.
 ·3· · ·Q.· ·In your conversations with the individuals you    ·3· · · · · · · ·MR. OGDEN:· And then Exhibit 7 is a page
 ·4 spoke to at Free Speech Systems regarding this lawsuit     ·4 from Fontaine 00991.
 ·5 and evidence preservation, did any of them mention         ·5· · ·Q.· ·(By Mr. Ogden) This is gonna be Exhibit 9.
 ·6 Prison Planet dot com?                                     ·6· · · · · · · ·(Exhibit 9 marked.)
 ·7· · ·A.· ·No.                                               ·7· · ·Q.· ·(By Mr. Ogden) Okay.· I've handed you
 ·8· · ·Q.· ·When you talked with Melinda about the company    ·8 Exhibit 9, and we're gonna look at Interrogatory No. 3.
 ·9 structures and how they work, did she disseminate any      ·9· · · · · · · ·Interrogatory No. 3 says, if Free Speech
 10 information to you explaining how Infowars' post can end   10 Systems, LLC contends there were any publications of the
 11 up on Prison Planet dot com?                               11 challenged image by a nonparty on February 14th, 2018,
 12· · ·A.· ·No.· Those conversations were mostly about        12 prior to the publication of the challenged image on the
 13 the -- the structure of the company, not necessarily all   13 Infowars website, identify the nonparty publisher, the
 14 the websites that we post content to.                      14 time of publication, and the location of the
 15· · ·Q.· ·Do you -- sitting here today, do you have an      15 publication, such as internet, URL link, newspaper,
 16 understanding of -- of how Infowars dot com, Prison        16 television, et cetera.
 17 Planet dot com, Free Speech Systems, and all of the        17· · · · · · · ·The answer is:· Free Speech Systems
 18 programming at Free Speech Systems, how they're -- all     18 responds that Kit Daniels visited websites on
 19 work together and cross-post and republish?· Do you have   19 February 14th, 2018, where he saw the challenged image
 20 an understanding of how that works?                        20 of Mr. Fontaine, parentheses, prior to the publication
 21· · ·A.· ·No.                                               21 of the challenged image on Infowars dot com, end
 22· · ·Q.· ·Okay.· Based on the documents that were           22 parentheses, including 4chan dot org, Twitter dot com,
 23 produced by the defendants in this case that you           23 and other websites, the identities of which he cannot
 24 reviewed, will you agree that this document was not in     24 recall.
 25 there?                                                     25· · · · · · · ·Mr. Daniels does not recall the exact

                                                        147                                                           149
 ·1· · ·A.· ·I don't recall seeing it, so I don't -- I don't   ·1 times he saw the challenged image on these websites on
 ·2 know -- I don't want to say it's not in there, but I       ·2 February 14th, 2018, but it was after the Parkland
 ·3 don't recall seeing it.· I recall seeing this photo        ·3 shooting was reported and before the publication of the
 ·4 (indicating) with the picture of Mr. Fontaine and this     ·4 challenged image on the Infowars dot com website.
 ·5 commentary underneath, R0 shooter is a commie Re,          ·5· · · · · · · ·Did I read that correctly?
 ·6 whatever that means.· I recall seeing that.· I've seen     ·6· · ·A.· ·Yes.
 ·7 it reposted a number of times.· But I don't recall         ·7· · ·Q.· ·Okay.· Please tell the jury what efforts were
 ·8 seeing this with the Prison Planet dot com on the          ·8 made to preserve the sources that Mr. Daniels allegedly
 ·9 bottom.                                                    ·9 relied on?
 10· · ·Q.· ·Okay.· And the -- based on your testimony in      10· · ·A.· ·You mean did we go back to 4chan, Twitter, and
 11 this line of questioning, it's fair to say that you        11 other websites, the identities of which Mr. Daniels
 12 don't have any information on the viewership or any        12 cannot recall, to preserve what he saw?· Is that what
 13 analytics for Prison Planet dot com, correct?              13 the question is?
 14· · ·A.· ·No.· I don't have analytics for that website.     14· · ·Q.· ·Yes.
 15· · · · · · · ·MR. BANKSTON:· Just for the record,          15· · ·A.· ·We did not do that.
 16 because the Bates number's obscured on here because of     16· · ·Q.· ·Okay.· What did you do?· Just ask Mr. Daniels?
 17 the document.· You might want to put on the record --      17· · ·A.· ·We asked -- asked Mr. Daniels what his basis
 18· · · · · · · ·(Sotto voce conversation between Mr. Ogden   18 for the post was or the article, using the photograph in
 19· · · · · · · ·and Mr. Bankston.)                           19 his article, and he told us.
 20· · · · · · · ·MR. OGDEN:· Sure.· For the record            20· · · · · · · ·We don't traditionally maintain those
 21 Exhibit 8 is Bates labeled Fontaine 000989.                21 types of records.· So whenever -- when we source an
 22· · · · · · · ·Do you know what this one is?                22 article and we're -- you know, we don't take screenshots
 23· · · · · · · ·MR. BANKSTON:· Oh, yeah.· Oh, that one       23 of the original source to save for later.· We'll link it
 24 doesn't have -- might not -- what I think.· Give me one    24 usually in the article, but we don't -- it's not a part
 25 second.· Oh, it is.· It's 991.                             25 of our records system to preserve every single source.


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 40 of 106
Paz, Brittany                                       02-15-2022
                                                        150                                                           152
 ·1· · ·Q.· ·Did you link it here?                             ·1 case, and I don't want to say that it happened.
 ·2· · ·A.· ·He did not link it, no.                           ·2· · ·Q.· ·I'm not asking if it happened in this case.
 ·3· · ·Q.· ·Okay.· So Mr. Daniels' behavior in this case      ·3· · · · · · · ·I'm asking if your understanding is,
 ·4 was abnormal?                                              ·4 typically, when someone's promoted to a supervisor role,
 ·5· · ·A.· ·I -- I think I would agree with that.· He saw     ·5 there's a pay increase?
 ·6 a -- some pictures on social media; it had been            ·6· · ·A.· ·I don't know.
 ·7 circulating.· In his opinion, he had seen it in a number   ·7· · ·Q.· ·Okay.· If -- I'll let that answer stand for the
 ·8 of places and that was adequate sourcing.                  ·8 jury.
 ·9· · ·Q.· ·At the time of this post, who was in              ·9· · · · · · · ·On February 26th of 2018, you would agree
 10 Mr. Daniels' position -- his current -- Mr. Daniels'       10 Mr. Daniels' web browsing history was -- existed?
 11 current position as a supervisor role?                     11· · ·A.· ·On what date?
 12· · ·A.· ·Right.                                            12· · ·Q.· ·Excuse me.
 13· · ·Q.· ·Who was the supervisor at that time?              13· · · · · · · ·On February 26th, 2018, you would agree
 14· · ·A.· ·Kurt Nimmo.                                       14 with me that Mr. Daniels' web browsing history from
 15· · ·Q.· ·Kurt Nimmo.                                       15 February 14th still existed, true?
 16· · · · · · · ·So after Mr. Daniels posted this article     16· · ·A.· ·I don't know.· I don't know how often he
 17 in an abnormal way that was not standard operating         17 cleared -- clears his web browser history.
 18 procedure, we'll call it, he was promoted, correct?        18· · ·Q.· ·So you would not be prepared to discuss the
 19· · ·A.· ·Promoted in the sense that he currently is a      19 evidence perseveration on that specific topic or
 20 supervisor?                                                20 question?
 21· · ·Q.· ·Well, before he posted it, the -- let's say       21· · ·A.· ·No.
 22 this:· When he woke up on February 14th, he wasn't a       22· · ·Q.· ·Okay.· Are you aware of any steps that the
 23 supervisor, correct?                                       23 defendants took to preserve Mr. Daniels' web browsing
 24· · ·A.· ·Right.                                            24 history?
 25· · ·Q.· ·And then when he woke up this morning, he was     25· · ·A.· ·Aside from what I've already testified to, no.

                                                        151                                                           153
 ·1 the supervisor, right?                                  ·1· · ·Q.· ·Which you've testified to nothing.
 ·2· · ·A.· ·Yes.                                           ·2· · ·A.· ·No.
 ·3· · ·Q.· ·That's a promotion, correct?                   ·3· · ·Q.· ·Correct?
 ·4· · ·A.· ·Yes.                                           ·4· · ·A.· ·That's not accurate.
 ·5· · ·Q.· ·So he was rewarded for what he does for the    ·5· · · · · · · ·I testified that we requested that
 ·6 company and promoted into a -- a more important role,   ·6 Mr. Daniels review his computer and his phone to get the
 ·7 correct?                                                ·7 material, and he did so.
 ·8· · ·A.· ·I don't think he was promoted because of this, ·8· · ·Q.· ·When?
 ·9 but he has been promoted, yes.                          ·9· · ·A.· ·I don't know when.· It would have been sometime
 10· · ·Q.· ·Okay.                                          10 after we received your letter.
 11· · ·A.· ·I can't say as to why.                         11· · ·Q.· ·Okay.· Could have been a month ago?· Could have
 12· · ·Q.· ·Other than the subject post that Mr. Daniels   12 been a year ago?· Could have been two years ago?
 13 made on February 14th, 2018, have any other Infowars    13· · ·A.· ·I don't know.
 14 employee -- or, excuse me -- Free Speech Systems        14· · · · · · · ·MR. BANKSTON:· Who instructed him?
 15 employees made defamatory posts and then been promoted? 15· · ·Q.· ·(By Mr. Ogden) Okay.· Who instructed him?
 16· · ·A.· ·I don't know.                                  16· · ·A.· ·I'm not sure exactly who he spoke to.
 17· · ·Q.· ·Did you ask why Mr. Daniels was promoted?      17· · ·Q.· ·So your information on this is purely just
 18· · ·A.· ·No.                                            18 Mr. Daniels telling you that someone told him to -- at
 19· · ·Q.· ·Did he get a pay raise?                        19 some point that we just don't know, instructed him to
 20· · ·A.· ·I don't know.                                  20 preserve his web browsing history?
 21· · ·Q.· ·You would agree, typically, when you're        21· · ·A.· ·It's based on my communications with
 22 promoted you get a pay raise?                           22 Mr. Daniels, yes.
 23· · ·A.· ·Not necessarily.                               23· · ·Q.· ·Did you ask anybody else?
 24· · ·Q.· ·Okay.· Okay.· But typically?                   24· · ·A.· ·About who preserved -- if -- or what
 25· · ·A.· ·I -- I don't know whether it happened in this  25 preservation efforts were made for the -- for the


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 41 of 106
Paz, Brittany                                       02-15-2022
                                                        154                                                           156
 ·1 browser history specifically?                              ·1· · ·A.· ·I don't know that he was asked specifically
 ·2· · ·Q.· ·Correct.                                          ·2 what to preserve.· I think he was asked to go through
 ·3· · ·A.· ·No.· Because he was the only one that would       ·3 his phone and his computer to preserve information
 ·4 have had access to that.· He would have been -- he was     ·4 related to Mr. Fontaine.· I don't know that it was
 ·5 the one that was asked to preserve that.                   ·5 specified what -- what to preserve.
 ·6· · ·Q.· ·Right.· But you were tasked with discussing       ·6· · ·Q.· ·Is that concerning to you that --
 ·7 what the company did to preserve, right?                   ·7· · ·A.· ·I don't --
 ·8· · ·A.· ·Right.· And --                                    ·8· · ·Q.· ·-- somebody said, we need you to go preserve
 ·9· · ·Q.· ·So what did the company do?                       ·9 all this; we're not gonna tell you what, but you need to
 10· · ·A.· ·We asked Mr. Daniels.                             10 preserve it?
 11· · ·Q.· ·Who is we?                                        11· · ·A.· ·Like I said, I don't know if it was
 12· · ·A.· ·The company -- I'm not sure who individually      12 communicated to him what to preserve.
 13 representing the company.· But the company asked           13· · ·Q.· ·Again, same question:· Isn't that very
 14 Mr. Daniels to preserve his -- to go through his           14 concerning, sitting here where you are right now?
 15 materials.                                                 15· · ·A.· ·No.· I don't know that it didn't happen.· It
 16· · ·Q.· ·Do you -- do you know who -- who from -- how do   16 could have happened.· I just don't know whether it
 17 you know that it was the company that asked him?           17 happened or not.
 18· · ·A.· ·You mean do I think it was a lawyer who asked     18· · ·Q.· ·Sure.· And it -- it could -- just as well could
 19 him?                                                       19 have not happened, right?
 20· · ·Q.· ·I'm asking you why you keep saying the company    20· · ·A.· ·Sure.
 21 did this, but you have no idea who that person is.         21· · ·Q.· ·Because you're guessing?
 22· · ·A.· ·I just don't know who exactly asked him.          22· · ·A.· ·I'm not guessing.· I'm just saying I don't
 23· · ·Q.· ·But somebody from the company?                    23 know.
 24· · ·A.· ·(Nodding.)                                        24· · ·Q.· ·Any time you say it could have happened, let's
 25· · ·Q.· ·You're 100 percent certain on that and not        25 be honest with each other, we know what that means,

                                                        155                                                           157
 ·1 guessing?                                                  ·1 right?
 ·2· · ·A.· ·I -- I don't know who talked to him. I            ·2· · ·A.· ·I don't understand your question.
 ·3 don't -- I -- as I said, I don't know who asked him to     ·3· · ·Q.· ·It means you have no idea.
 ·4 do it.                                                     ·4· · ·A.· ·That's exactly what I said.· I don't know what
 ·5· · ·Q.· ·So you don't know what the company did or         ·5 was communicated to him on what to preserve or if there
 ·6 didn't do?· You don't know if the company was the one      ·6 was direction given to him.· I don't know, because I
 ·7 who asked him, true?                                       ·7 don't know who communicated it to him.
 ·8· · ·A.· ·I don't know who -- who -- who asked him.         ·8· · ·Q.· ·Right.· And you did nothing to find out who
 ·9· · ·Q.· ·Right.· So you don't know what the company did    ·9 communicated it, true?
 10 to -- to preserve this?                                    10· · ·A.· ·I don't know who communicated it, no.
 11· · · · · · · ·MS. BLOTT:· Objection; asked and answered.   11· · ·Q.· ·I didn't say that.
 12· · · · · · · ·MR. OGDEN:· It's been asked.· I will agree   12· · · · · · · ·I said you, as the corporate
 13 with that.                                                 13 representative tasked with this topic, did nothing to
 14· · ·A.· ·I've answered to the best of my knowledge that    14 find out who made this direction to Mr. Daniels or what
 15 I do not know who asked him.                               15 they actually told Mr. Daniels to do, correct?
 16· · ·Q.· ·(By Mr. Ogden) Okay.                              16· · ·A.· ·No, not correct.· I believe I asked, but I
 17· · · · · · · ·MR. BANKSTON:· She keeps saying that I       17 don't think I got a reply or a response or nobody knew
 18 told him --                                                18 for sure.· So...
 19· · · · · · · ·(Sotto voce conversation between Mr. Ogden   19· · ·Q.· ·Who did you ask?
 20· · · · · · · ·and Mr. Bankston.)                           20· · ·A.· ·I asked Mr. Daniels.· I don't think that he
 21· · · · · · · ·MR. OGDEN:· Yeah.                            21 remembered.
 22· · ·Q.· ·(By Mr. Ogden) Yeah.· You mentioned that          22· · ·Q.· ·Okay.· And you said you didn't get a reply.
 23 Mr. Daniels was told by someone, either with the company   23· · · · · · · ·Was that by text or email?
 24 or not, to preserve his emails and some other items,       24· · ·A.· ·No.· I spoke to Mr. Daniels in person.
 25 correct?                                                   25· · ·Q.· ·Okay.· And then he said, I'll get back to you?


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 42 of 106
Paz, Brittany                                       02-15-2022
                                                        158                                                           160
 ·1· · ·A.· ·No.· He doesn't know.· I don't think he knows     ·1· · ·Q.· ·One thing:· Did you -- what'd you do to try to
 ·2 who communicated it to him.                                ·2 find that out?
 ·3· · ·Q.· ·Well, you said you didn't get a reply.            ·3· · ·A.· ·I didn't -- I don't -- I didn't do anything to
 ·4· · ·A.· ·I think I asked, and the response was --          ·4 ask where this came from.
 ·5· · ·Q.· ·You did or you didn't?                            ·5· · ·Q.· ·Okay.· Do you know when this was saved or
 ·6· · · · · · · ·Not you thought.                             ·6 preserved?
 ·7· · ·A.· ·The response I got was that he didn't remember.   ·7· · ·A.· ·No.· I don't know how it came to be in the
 ·8· · ·Q.· ·Okay.· Did you talk to Mr. Nimmo?                 ·8 files.
 ·9· · ·A.· ·I did not talk to Mr. Nimmo, no.                  ·9· · ·Q.· ·One thing we can agree on that you do know is
 10· · ·Q.· ·Did you try?                                      10 that this is the photo that was posted in the original
 11· · ·A.· ·I think I -- we talked earlier about I asked      11 article by Mr. Daniels, correct?
 12 Melinda to try to get his number, and I don't -- and she   12· · ·A.· ·Yes.
 13 couldn't get it or she didn't have it, so I was not able   13· · ·Q.· ·Were there any other photographs of
 14 to talk to him.                                            14 Mr. Fontaine in the original article?
 15· · ·Q.· ·Okay.· Did you talk to Mr. Jones?                 15· · ·A.· ·No.· It was just this one.
 16· · ·A.· ·I've spoken to Mr. Jones, yes.                    16· · ·Q.· ·How do you know?
 17· · ·Q.· ·Okay.· About this specifically?                   17· · ·A.· ·Based on my conversations with Mr. Daniels.
 18· · ·A.· ·About preservation of this -- of this             18· · ·Q.· ·Okay.· Other than based on the conversations
 19 particular article and anything related to it, no.         19 with the individual who made the defamatory post, how
 20· · ·Q.· ·Okay.· About -- and did you talk to anybody at    20 else, if at all -- do you know where this photo -- or if
 21 Free Speech Systems as to who made the decision to         21 any other photos were in the original post Mr. Daniels
 22 instruct Mr. Daniels to preserve evidence?                 22 made?
 23· · ·A.· ·I think what my testimony was, was that I asked   23· · ·A.· ·Well, I can't -- I don't have the original
 24 Mr. Daniels and he wasn't sure.· But aside from that,      24 post, so I couldn't look at the original post.· So I
 25 no.                                                        25 asked Mr. -- Mr. Daniels, and it was this was the only

                                                        159                                                           161
 ·1· · ·Q.· ·Okay.· This is gonna be Exhibit 10.               ·1 photo -- or I believe it's the only photo, and there was
 ·2· · · · · · · ·(Exhibit 10 marked.)                         ·2 the commentary saying that he -- this is the alleged
 ·3· · ·Q.· ·(By Mr. Ogden) We went over this photo a little   ·3 shooter.
 ·4 bit previously.                                            ·4· · ·Q.· ·Okay.
 ·5· · · · · · · ·You've seen this photo, correct?             ·5· · ·A.· ·I think there was also another photo of
 ·6· · ·A.· ·Yes.                                              ·6 Mr. Cruz.
 ·7· · ·Q.· ·And the Bates label at the bottom, DEFS, dash,    ·7· · ·Q.· ·How do you know that?
 ·8 000106 would identify to you that it has been -- that      ·8· · ·A.· ·Because the subsequent version of the article
 ·9 was in the production the defendants gave to plaintiffs    ·9 still contained a photo of Mr. Cruz.
 10 in this case, correct?                                     10· · ·Q.· ·You say still contained, but you don't know if
 11· · ·A.· ·Yes.                                              11 it was contained in the original post, because you've
 12· · ·Q.· ·Okay.· Where'd this photo come from?              12 never seen it, correct?
 13· · ·A.· ·I'm unable to tell just by looking at this        13· · ·A.· ·Well, I've never seen it; that's correct.
 14 document its origin.                                       14· · · · · · · ·But when I asked Mr. Daniels, his position
 15· · ·Q.· ·Okay.· Where was this located in -- in            15 was the only thing that he did to change the article
 16 Infowars' files?                                           16 once it had been up for however many hours it was up was
 17· · ·A.· ·I don't know.                                     17 to remove the photo and the -- the commentary related to
 18· · ·Q.· ·Who --                                            18 the photo.
 19· · ·A.· ·There's no way to tell.                           19· · · · · · · ·MR. BANKSTON:· No.· Don't worry about it.
 20· · ·Q.· ·Who was tasked with searching and pulling out     20 No.
 21 things like this from Infowars' system?                    21· · ·Q.· ·(By Mr. Ogden) Was there any text included that
 22· · ·A.· ·Like I said, I don't know where this came from,   22 was taken out of the original post?
 23 so I don't know whether it was in our system, whether it   23· · ·A.· ·Yes.· I believe -- from what my conversation
 24 was online, whether we got it on the internet.· I -- I     24 with Mr. Daniels was that the comment related to this is
 25 don't know where it came from.· So...                      25 an alleged picture of the -- of the shooter was removed.


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 43 of 106
Paz, Brittany                                       02-15-2022
                                                        162                                                           164
 ·1· · ·Q.· ·Anything else?                                    ·1 of the defendants?
 ·2· · ·A.· ·Aside from that, I don't know.                    ·2· · ·A.· ·No.
 ·3· · ·Q.· ·Okay.                                             ·3· · ·Q.· ·Okay.· Do you -- is this document -- is this --
 ·4· · ·A.· ·But --                                            ·4 is Defendants 006, is that the post that was used for
 ·5· · ·Q.· ·Did you ask anyone?                               ·5 Mr. Daniels off of 4chan?
 ·6· · ·A.· ·Anyone else aside from Mr. Daniels?               ·6· · ·A.· ·I don't know.
 ·7· · ·Q.· ·Did you ask Mr. Daniels?                          ·7· · ·Q.· ·Okay.· Did you take any steps to figure out
 ·8· · ·A.· ·When I asked Mr. Daniels, he told me that he      ·8 what this was?
 ·9 removed the photo and he removed the reference to the      ·9· · ·A.· ·I didn't talk to Mr. Daniels about this
 10 photo.                                                     10 particular document.
 11· · ·Q.· ·What did you ask him specifically?                11· · ·Q.· ·Okay.· I'm gonna represent to you that this is
 12· · ·A.· ·What he did to mitigate the post once it came     12 a post from 4chan.
 13 to his attention that it was not accurate.                 13· · ·A.· ·Okay.
 14· · ·Q.· ·Okay.· This is gonna be Exhibit 11.               14· · ·Q.· ·And if it is a post from 4chan and Mr. Daniels
 15· · · · · · · ·(Exhibit 11 marked.)                         15 pulled the image from 4chan, wouldn't that be something
 16· · ·Q.· ·(By Mr. Ogden) Have you ever seen Exhibit 11?     16 you wanted to talk about with him?
 17· · ·A.· ·Yes.                                              17· · ·A.· ·He -- I don't think it's accurate to say he
 18· · ·Q.· ·Okay.· When?                                      18 pulled the image only from 4chan.· I think his response
 19· · ·A.· ·When I was reviewing the Fontaine document        19 was he saw the image on 4chan as well as other social
 20 sometime in the last week.                                 20 media sources.· So I don't know that this was the post
 21· · ·Q.· ·All right.· Since -- can you -- can you please    21 that he saw necessarily.
 22 tell the jury when this was posted?                        22· · ·Q.· ·Where did Mr. -- where did Mr. Daniels pull the
 23· · ·A.· ·You mean -- you want me to read the date?         23 post that he used in his article?
 24· · ·Q.· ·Date and time.                                    24· · ·A.· ·As his representation in the production was and
 25· · ·A.· ·It says February 14th, 2018, 17:50:12.            25 his similar comment to me was he saw it on social media

                                                        163                                                           165
 ·1· · ·Q.· ·Okay.· And at bottom right-hand corner, you see   ·1 first -- I think he said Twitter.· I think that's what
 ·2 that it's marked Defendants 00006?                         ·2 it says in the production -- in the responses -- and he
 ·3· · ·A.· ·Yes.                                              ·3 also saw it on 4chan.· I don't know whether this was the
 ·4· · ·Q.· ·Which would mean that it was produced by the      ·4 particular document he saw on 4chan.· But when I spoke
 ·5 defendants, correct?                                       ·5 to him, he said he had seen it, not first on 4chan, but
 ·6· · ·A.· ·Yes.                                              ·6 on a social media site, such as -- I believe Twitter.
 ·7· · ·Q.· ·Okay.· You would -- why would the defendants      ·7· · ·Q.· ·Okay.· So we're not really -- you know, what I
 ·8 produce this to us?                                        ·8 got out of all that is we're not a hundred percent sure
 ·9· · ·A.· ·I don't know how it came to be in our             ·9 why this exists in Infowars' files, correct?
 10 possession, so I don't know.                               10· · ·A.· ·That's right.
 11· · ·Q.· ·Okay.· Do you know anything about this -- the     11· · ·Q.· ·Okay.· And we didn't really take any steps to
 12 history of this document?                                  12 figure out what it is, why, when, how it came about,
 13· · ·A.· ·No.· This isn't -- wasn't produce -- produced     13 anything, right?
 14 by us in the sense that this is a post that we made.       14· · ·A.· ·I didn't ask him about this, no.
 15 So, no.                                                    15· · ·Q.· ·You didn't ask anyone?
 16· · ·Q.· ·Who made this post that we're looking at?         16· · ·A.· ·No.
 17· · ·A.· ·It looks like a post by somebody posting on a     17· · ·Q.· ·Okay.· Does any Info- -- do defendants have the
 18 chat room, so to speak.                                    18 ability to provide information any time a post is put up
 19· · ·Q.· ·Okay.· How was it found?                          19 on the internet on its website?
 20· · ·A.· ·I don't know.                                     20· · ·A.· ·I'm sorry.· Can you repeat that.
 21· · ·Q.· ·When was it found?                                21· · ·Q.· ·Is it documented in Infowars' system when a
 22· · ·A.· ·I don't know how it came to be in our             22 post is put up on its web page?
 23 possession, so I don't know.                               23· · ·A.· ·I guess I don't understand the question.
 24· · ·Q.· ·When you got this document, did it confuse you    24· · · · · · · ·So if a -- you mean if there's a post --
 25 a little bit that -- as to why it was in the possession    25 like an article --


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 44 of 106
Paz, Brittany                                       02-15-2022
                                                        166                                                           168
 ·1· · ·Q.· ·Yeah.· Sure.                                      ·1· · ·Q.· ·Okay.· What time is that?
 ·2· · ·A.· ·-- and when that is up -- posted to the           ·2· · ·A.· ·He would have left around 5:00.
 ·3 website?                                                   ·3· · ·Q.· ·Do employees clock in and clock out?
 ·4· · ·Q.· ·Yes.                                              ·4· · ·A.· ·I don't know around this time whether they were
 ·5· · ·A.· ·Okay.· So, yes, I think that what -- what would   ·5 clocking in or clocking out.
 ·6 happen is, if you post the article, the -- the time        ·6· · ·Q.· ·Did you look?
 ·7 would be posted.                                           ·7· · ·A.· ·Did I ask if people were clocking in and
 ·8· · ·Q.· ·Okay.· And if you alter the article, what's the   ·8 clocking out?
 ·9 time say at the top?                                       ·9· · ·Q.· ·Did you -- yeah.· Did you try -- did you look
 10· · ·A.· ·Oh, you know what, I don't know.· I don't know    10 for any information to ascertain when Mr. Daniels left?
 11 if the time gets changed.                                  11· · ·A.· ·I don't know that the company has such
 12· · ·Q.· ·Okay.· Because that's kind of an important        12 information.
 13 detail, correct?                                           13· · ·Q.· ·You didn't look either.
 14· · ·A.· ·As to the time that the original post --          14· · ·A.· ·No, I didn't.
 15 article was uploaded?                                      15· · ·Q.· ·My question is whether or not you looked.
 16· · ·Q.· ·As to the time that's at the top of the web       16· · ·A.· ·No.
 17 page that we have available to us today.                   17· · ·Q.· ·Okay.· This is gonna be Exhibit 12.
 18· · ·A.· ·Well, that's not the original article.            18· · · · · · · ·(Exhibit 12 marked.)
 19· · ·Q.· ·I know.                                           19· · ·Q.· ·(By Mr. Ogden) Have you seen Exhibit 12?
 20· · ·A.· ·Right.                                            20· · ·A.· ·I -- I don't think so.
 21· · ·Q.· ·But is that the original time?                    21· · ·Q.· ·Really?
 22· · ·A.· ·I don't know the answer to that.                  22· · ·A.· ·It doesn't look familiar.
 23· · ·Q.· ·What time was the article originally posted?      23· · ·Q.· ·Okay.· Well, I'm gonna represent to you that
 24· · ·A.· ·Based on my conversation with Kit Daniels, he     24 this is a screenshot or a screen capture on Infowars
 25 says it was posted sometime in the late afternoon around   25 internal system.

                                                        167                                                           169
 ·1 4:00 o'clock.                                              ·1· · · · · · · ·And if you look at it, the name of the
 ·2· · ·Q.· ·Okay.· So we don't know?                          ·2 post -- the ID of the post is 479629.
 ·3· · ·A.· ·I can give you an about time that it was          ·3· · · · · · · ·See where it says that?
 ·4 posted.                                                    ·4· · ·A.· ·Yes.
 ·5· · ·Q.· ·That sounds like a guess.                         ·5· · ·Q.· ·Then it says the name of the post is, report,
 ·6· · · · · · · ·Wouldn't you agree?                          ·6 Florida shooter inspired by Isis Allahu Akbar.
 ·7· · ·A.· ·It's not a guess.· It's based on my interview.    ·7· · · · · · · ·You see that?
 ·8· · ·Q.· ·Okay.                                             ·8· · ·A.· ·Yes.
 ·9· · ·A.· ·So it's definitely not 9:00 o'clock in the        ·9· · ·Q.· ·If you go up one line, it post status.
 10 morning; I know that.· And it's definitely not 7:30 or     10· · · · · · · ·What's it say right next to that?
 11 8:00 o'clock at night.                                     11· · ·A.· ·You mean under that?
 12· · ·Q.· ·What about 3:00?                                  12· · ·Q.· ·Next to it?
 13· · ·A.· ·In the afternoon?                                 13· · ·A.· ·Post modified.
 14· · ·Q.· ·Yeah.· What about 5:00?                           14· · ·Q.· ·Post modified.
 15· · ·A.· ·I don't know how late it was posted.· It was in   15· · · · · · · ·Under that it says a time.
 16 the afternoon.                                             16· · ·A.· ·Yes.
 17· · ·Q.· ·7:00?                                             17· · ·Q.· ·Okay.· So this tells us exactly when the post
 18· · ·A.· ·I don't think it was posted that late, because    18 was modified, correct?
 19 it was before Kit left in the afternoon.                   19· · ·A.· ·That's what it says.
 20· · ·Q.· ·What time does the afternoon end?                 20· · ·Q.· ·Okay.· And that's April 2nd, 2018.
 21· · ·A.· ·To me, it would end before someone left in the    21· · · · · · · ·So that's when I represented to you
 22 evening time.                                              22 earlier when the retrac- -- the proper retraction was
 23· · ·Q.· ·Not to you, to the company.                       23 made the day after this lawsuit was filed.
 24· · ·A.· ·He would have left his office at the end of       24· · · · · · · ·Do you remember that?
 25 business hours.                                            25· · ·A.· ·I know we talked about that date, but that


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 45 of 106
Paz, Brittany                                       02-15-2022
                                                        170                                                           172
 ·1 doesn't represent all the times this article was           ·1· · ·Q.· ·Are they auto deleted or does somebody go in
 ·2 modified.                                                  ·2 cache, if you know?
 ·3· · ·Q.· ·You're right.· Thank you for that.                ·3· · ·A.· ·I don't know.
 ·4· · · · · · · ·Please tell the jury why we don't have one   ·4· · ·Q.· ·Okay.· What program sets this up?
 ·5 of these for every other modification.                     ·5· · ·A.· ·I don't know the name of it.
 ·6· · ·A.· ·Because I don't know that we saved that           ·6· · ·Q.· ·Okay.· Does it happen -- does it happen
 ·7 information.                                               ·7 immediately after, or is there a delay after the article
 ·8· · ·Q.· ·Why would you save this one?                      ·8 goes live?· Or does this -- is this generated
 ·9· · ·A.· ·I don't know.                                     ·9 immediately, if you know?
 10· · ·Q.· ·Okay.· So the -- the answer to my question of     10· · ·A.· ·You mean is this date -- is this time --
 11 why we don't have one of these for every single time       11· · ·Q.· ·Was this document --
 12 this article was published and then modified is because    12· · ·A.· ·Uh-huh.
 13 you just don't know?                                       13· · ·Q.· ·-- created at this exact time that's listed on
 14· · ·A.· ·Well, I don't know when in relationship to the    14 it, or do you know?
 15 time we received your notification it was modified. I      15· · ·A.· ·Oh, when was the document created?
 16 know it was modified on the 15th, and then we wouldn't     16· · · · · · · ·I don't know when this document was
 17 have necessarily saved that information because we         17 created.
 18 didn't get the letter yet.· And then it was modified       18· · ·Q.· ·Okay.
 19 after that on this date, as well.· I don't know if it      19· · ·A.· ·No.
 20 was modified again before that.                            20· · ·Q.· ·Who has access to the system that generates
 21· · · · · · · ·But at least as far as the 2/15              21 this information?
 22 modification, I can say that we wouldn't have saved this   22· · ·A.· ·I don't know --
 23 because we weren't aware that it needed to be saved.       23· · ·Q.· ·Okay.
 24· · ·Q.· ·When -- or, actually, what -- what question       24· · ·A.· ·-- the name of the person.
 25 were you just answering?                                   25· · ·Q.· ·Right.· And so when you say we -- we -- the

                                                        171                                                           173
 ·1· · ·A.· ·You asked me why you don't have --                ·1 original post and modification were on 2/15, so we don't
 ·2· · ·Q.· ·No.                                               ·2 have those.
 ·3· · ·A.· ·-- this document for every modification.          ·3· · · · · · · ·You have no idea, do you?
 ·4· · ·Q.· ·That's not -- that's not what I asked.            ·4· · ·A.· ·No.· I don't -- I have an idea, and that was
 ·5· · ·A.· ·Okay.                                             ·5 the prior answer I was giving.
 ·6· · ·Q.· ·Which is why I was sitting here with my arms      ·6· · ·Q.· ·Okay.
 ·7 crossed, confused as to what you were talking about for    ·7· · ·A.· ·But...
 ·8 that long.                                                 ·8· · ·Q.· ·Ms. Paz, you just testified you've never even
 ·9· · · · · · · ·If you'll listen to my question, they're     ·9 seen this before.
 10 not hard.· Most of them can be answered with a yes or      10· · ·A.· ·No.· I've never seen this.
 11 no.· I get that you want to advocate for your -- for       11· · ·Q.· ·Okay.· So -- but now all the sudden, you've got
 12 the, you know, company you represent here today.· You      12 all this knowledge as to when docu- -- when information
 13 don't have to.· If Ms. Blott wants to ask you questions    13 on this system is deleted, not deleted, whether --
 14 when I'm done, I'm -- she's free to do so.                 14· · ·A.· ·That's not what I said, sir.
 15· · ·A.· ·Do you want to reask your question?               15· · ·Q.· ·Okay.· Then I'll ask my questions a little more
 16· · ·Q.· ·I'd love to.                                      16 simpler.
 17· · · · · · · ·The reason we don't have a post -- a         17· · · · · · · ·Do -- the information from the system in
 18 document like document Defendants 0025 is because you      18 Exhibit --
 19 don't know.                                                19· · ·A.· ·12.
 20· · ·A.· ·No.· No.· As in I'm not agreeing with your        20· · ·Q.· ·-- 12, does Infowars have possession of the
 21 question.                                                  21 same information from when the post was originally
 22· · ·Q.· ·Okay.· How long does Infowars save these?         22 posted and -- and then the first modification?
 23· · ·A.· ·I don't -- I don't know the answer to that.       23· · ·A.· ·(Shaking head.)· I don't believe so, no.
 24· · ·Q.· ·Are they --                                       24· · ·Q.· ·Why?
 25· · ·A.· ·I don't know that they are saved.                 25· · ·A.· ·Because I don't think that information gets


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 46 of 106
Paz, Brittany                                       02-15-2022
                                                        174                                                           176
 ·1 saved.                                                     ·1· · ·Q.· ·Okay.· With that answer in mind, I want you to
 ·2· · ·Q.· ·I'm not asking you what you think; I'm asking     ·2 answer this question:· Why previously did you say
 ·3 what you know.                                             ·3 this -- that information no longer exists?
 ·4· · ·A.· ·I don't know.                                     ·4· · ·A.· ·Because it says the dates that are modified --
 ·5· · ·Q.· ·And I've tried very hard to be patient with you   ·5 the post modified and whether it was posted.· It doesn't
 ·6 Ms. Paz.· You're an attorney and you know better.          ·6 say how many times it was modified.· That's why.· That's
 ·7 Answer my questions.· Don't guess.· Please stop.· Answer   ·7 the basis for my testimony.
 ·8 the question that's on the table and stop guessing.        ·8· · ·Q.· ·I will let that answer stand for the jury.
 ·9· · ·A.· ·I don't know why it doesn't save that             ·9· · · · · · · ·(Sotto voce conversation between Mr. Ogden
 10 information or how it gets saved.· I don't know.           10· · · · · · · ·and Mr. Bankston.)
 11· · ·Q.· ·Is it saved?                                      11· · · · · · · ·MR. BANKSTON:· We're at 1:00.· I didn't
 12· · ·A.· ·I don't know.                                     12 know if you wanted to take a break now.· I don't
 13· · ·Q.· ·Right.· So when you're sitting here, no, I        13 remember when we took the last one.
 14 don't believe so, that's a pure pull-out-of-the-air        14· · · · · · · ·MR. OGDEN:· Are you okay?
 15 guess, true?                                               15· · · · · · · ·THE REPORTER:· Yes.· Thank you.
 16· · ·A.· ·No.· It's not pull-out-of-the-air guess.· I'm     16· · · · · · · ·MR. OGDEN:· If you just give me the look,
 17 making an educated inference based on the information      17 I'll know.
 18 that I see in this document.· You asked me about the       18· · · · · · · ·THE REPORTER:· Okay.
 19 document, and you asked me what I -- about this            19· · · · · · · ·(Exhibit 13 marked.)
 20 document, and I'm getting an inference from the            20· · ·Q.· ·(By Mr. Ogden) I'm gonna hand you Exhibit 13.
 21 document.                                                  21· · · · · · · ·Have you Ever seen Exhibit 13 before?
 22· · ·Q.· ·Stop inferring, because that's a guess.· I want   22· · ·A.· ·Yes.
 23 to know what you know.                                     23· · ·Q.· ·Okay.· Earlier you said that you'd only seen
 24· · ·A.· ·I didn't ask about this document, so I don't      24 what I assumed was the petitions.· And you said that was
 25 know.                                                      25 all that I've looked at.· And now we've established that

                                                        175                                                           177
 ·1· · ·Q.· ·I know you didn't, because you didn't know it     ·1 you have seen some interrogatory answers.· So let me go
 ·2 existed until I handed it to you.                          ·2 back and ask you again.
 ·3· · ·A.· ·That's right.                                     ·3· · · · · · · ·What-all did you -- what documents did you
 ·4· · ·Q.· ·Now, my question is:· Does -- does one of these   ·4 review to prepare yourself for today?
 ·5 exist for February 15th -- or excuse me --                 ·5· · ·A.· ·I think this was shown to me in connection with
 ·6 February 14th, 2018, that says original post?              ·6 my conversations regarding the net worth.
 ·7· · ·A.· ·I don't know.                                     ·7· · ·Q.· ·With who?
 ·8· · ·Q.· ·You don't know.                                   ·8· · ·A.· ·With Melinda, maybe.
 ·9· · · · · · · ·Does -- does a document like this with       ·9· · ·Q.· ·Okay.· And it's your testimony, sitting here
 10 this information exist for February 15th with the first    10 today, that the conversation you had with
 11 post modified?                                             11 Mr. Whittenburg did not go into the net worth?
 12· · ·A.· ·I don't know.                                     12· · · · · · · ·That was my understanding of your answer.
 13· · ·Q.· ·Okay.· Sitting here today, that information       13· · ·A.· ·No.· I -- yeah.· I didn't talk to him about the
 14 very well could be on the system, correct?                 14 net worth.
 15· · ·A.· ·I don't know if it gets saved on the system, so   15· · ·Q.· ·Okay.· Did he have information about any of the
 16 I don't know.                                              16 deposition topics from yesterday or today?
 17· · ·Q.· ·Right.· You have no idea.                         17· · ·A.· ·Him?
 18· · · · · · · ·So when you sit here and say, no, I don't    18· · ·Q.· ·Yes.
 19 believe that exists, you have -- that is a guess, and      19· · ·A.· ·I don't know what he has information about.
 20 that's not accurate, true?                                 20· · ·Q.· ·Okay.
 21· · ·A.· ·I don't know what exists or what doesn't          21· · ·A.· ·I can't say what he knows.
 22 exist --                                                   22· · ·Q.· ·That's very peculiar that you spoke to him.
 23· · ·Q.· ·Exactly.                                          23· · ·A.· ·I don't agree.· He represents the company; I
 24· · ·A.· ·-- or what gets saved or what doesn't get saved   24 represent the company.
 25 on this particular platform.                               25· · ·Q.· ·In what capacity?


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 47 of 106
Paz, Brittany                                       02-15-2022
                                                        178                                                           180
 ·1· · ·A.· ·What capacity do I represent the company?         ·1 good idea?
 ·2· · ·Q.· ·Yeah.                                             ·2· · ·A.· ·Yes.
 ·3· · ·A.· ·In connection with these depositions.             ·3· · ·Q.· ·Okay.
 ·4· · · · · · · ·MR. BANKSTON:· I thought she told me she     ·4· · · · · · · ·(Sotto voce conversation between Mr. Ogden
 ·5 didn't.                                                    ·5· · · · · · · ·and Mr. Bankston.)
 ·6· · ·Q.· ·(By Mr. Ogden) Yeah.· I thought you said you      ·6· · ·Q.· ·(By Mr. Ogden) Yeah.· I need to clear up a
 ·7 did not represent the company.· You told Mr. Bankston --   ·7 little thing.
 ·8· · ·A.· ·Oh, you mean -- oh, I'm sorry.· I'm sorry. I      ·8· · ·A.· ·Uh-huh.
 ·9 misspoke.· I'm getting exhausted.                          ·9· · ·Q.· ·You told us that today you spent about 10 hours
 10· · · · · · · ·I don't represent the company in a legal     10 preparing for this deposition, true?
 11 capacity as a lawyer.· I represent the company as the      11· · ·A.· ·Yes.
 12 corporate representative.· But I don't represent the       12· · ·Q.· ·Okay.· How many total hours did you spend
 13 company as an attorney, no.                                13 preparing?
 14· · ·Q.· ·How long did you talk to Mr. Whittenburg?         14· · ·A.· ·Between the two cases?
 15· · ·A.· ·I don't know.· I didn't talk to him very long.    15· · ·Q.· ·Yes.· Since you've been hired by the defendant,
 16· · ·Q.· ·After how yesterday went and how today has        16 how much have you spent?
 17 definitely gone, don't you think that time would have      17· · ·A.· ·It's about -- it's around a hundred hours, not
 18 been more useful reviewing the information that you        18 including the deposition time.
 19 should have been reviewing?                                19· · ·Q.· ·Okay.· Because yesterday I believe the
 20· · ·A.· ·No.                                               20 breakdown was a hundred hours of -- I thought it was --
 21· · ·Q.· ·Okay.· And just to establish, your conversation   21 I calculated it to be like 145 hours.
 22 with Mr. Whittenburg had nothing to do with any of the     22· · · · · · · ·Is that wrong?· It's just hundred hours
 23 Infowars internal discussions about yesterday or today     23 total?
 24 or any of the depo topics that were listed yesterday or    24· · ·A.· ·How did you get 145?
 25 today, correct?                                            25· · · · · · · ·I don't recall ever saying -- saying 145.

                                                        179                                                           181
 ·1· · ·A.· ·You mean did I talk to him in -- today or         ·1· · · · · · · ·You mean --
 ·2 yesterday?                                                 ·2· · ·Q.· ·Sure.
 ·3· · ·Q.· ·No.· I'm asking --                                ·3· · ·A.· ·-- we were adding up hours?
 ·4· · ·A.· ·I'm sorry.· I don't --                            ·4· · ·Q.· ·I'll break it down.· You gave Mr. Bankston
 ·5· · ·Q.· ·Sure.                                             ·5 yesterday -- do you remember saying that you spent about
 ·6· · ·A.· ·I didn't understand your question.                ·6 75 hours reviewing documents?· Do you remember that?
 ·7· · ·Q.· ·You had two deposition --                         ·7· · ·A.· ·No.· I think what I said was I spent about 35
 ·8· · ·A.· ·Yes.                                              ·8 hours or so reviewing videos.
 ·9· · ·Q.· ·You had two deposition notices, correct?          ·9· · ·Q.· ·Yep.· I got that one.
 10· · ·A.· ·Yes.                                              10· · ·A.· ·Right.· And then I spent more hours -- I can't
 11· · ·Q.· ·One for yesterday and one for today.              11 remember what I said yesterday as far as reviewing
 12· · ·A.· ·Yes.                                              12 documents.· And then talking to people and et cetera. I
 13· · ·Q.· ·And Mr. Whittenburg, did he -- did he possess     13 don't think I said 75 hours reviewing documents.· That's
 14 knowledge on any of those topics?                          14 not accurate.
 15· · ·A.· ·I don't know.· I don't think so.                  15· · ·Q.· ·Okay.· What is accurate?· How many hours did
 16· · ·Q.· ·Okay.· So my same question:· Don't you think      16 you spend reviewing documents?
 17 your very limited time preparing for these two             17· · ·A.· ·It -- are we talking about all documents, the
 18 depositions would have been well spent doing something     18 universe of documents, deposition, Bates stamps, things
 19 actually productive to prepare you?                        19 like that?
 20· · ·A.· ·No.                                               20· · ·Q.· ·Yep.
 21· · ·Q.· ·When you spoke to him, were you aware of how      21· · ·A.· ·Maybe 45 or 50 hours plus the interviews that I
 22 many documents you were tasked with reviewing?             22 did.
 23· · ·A.· ·Yes.                                              23· · ·Q.· ·Okay.· How many hours did you do spending --
 24· · ·Q.· ·And knowing that, you still think that having a   24 spend doing interviews?
 25 conversation completely unrelated to these depos was a     25· · ·A.· ·So I started interviewing people on Wednesday


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 48 of 106
Paz, Brittany                                       02-15-2022
                                                        182                                                           184
 ·1 through Saturday.· So --                                   ·1· · ·A.· ·I -- I don't know if we've produced that.
 ·2· · ·Q.· ·Yesterday you testified between that Wednesday    ·2· · ·Q.· ·I'm asking you -- you were tasked with --
 ·3 and Saturday doing interviews was about 25 hours.          ·3· · ·A.· ·Do I recall --
 ·4· · ·A.· ·There -- thereabouts.· So eight, 16 -- 20, 25     ·4· · ·Q.· ·Hold on.
 ·5 hours.· I also spent on Sunday an hour interviewing        ·5· · ·A.· ·-- his net worth?· No, I don't.
 ·6 Mr. Watson via Zoom.                                       ·6· · ·Q.· ·Let's back up.· Slow down.
 ·7· · ·Q.· ·Okay.· So I got 50 --                             ·7· · · · · · · ·You were tasked with the net worth of
 ·8· · ·A.· ·My math is terrible.· I'm sorry.                  ·8 defendants in this case, correct?
 ·9· · ·Q.· ·50 and 25 is 75 --                                ·9· · ·A.· ·I was tasked with being -- to testify
 10· · ·A.· ·Uh-huh.                                           10 against -- to the net worth of Free Speech, because I am
 11· · ·Q.· ·-- plus 36 is 116?                                11 the corporate representative.
 12· · ·A.· ·Okay.                                             12· · ·Q.· ·Okay.· I'll back up.
 13· · ·Q.· ·Okay.· So in 14 days, you billed 116 hours?       13· · · · · · · ·What is the net worth of Free Speech
 14· · ·A.· ·It's not billable time.· But can I account for    14 Systems?
 15 116 hours, I can account for my time, yes.                 15· · ·A.· ·I believe we have a negative net worth.
 16· · ·Q.· ·Okay.· So just breaking this down.· That's 58     16· · ·Q.· ·I'm not asking what you believe.· I'm asking --
 17 hours -- no -- yeah -- 58 hours for week one, 58 hours     17· · ·A.· ·We have a negative net worth.
 18 week two, if we just split it in half, right?              18· · ·Q.· ·Okay.· What is it?
 19· · ·A.· ·I don't know.· My math's terrible.· So I can't    19· · ·A.· ·If I may refer to the profit-loss?
 20 do that in my head.                                        20· · ·Q.· ·Okay.· I'm gonna throw a sticker on that.
 21· · ·Q.· ·Okay.· So out of the, roughly, 116 hours -- and   21· · ·A.· ·If you want to -- sure.
 22 I know that's not an exact number -- you spent 106 on      22· · ·Q.· ·This will be 14.
 23 Sandy Hook and 10 Mr. Fontaine?                            23· · · · · · · ·(Exhibit 14 marked.)
 24· · ·A.· ·No.· The review of the documents and those        24· · ·Q.· ·(By Mr. Ogden) Couple of questions while you're
 25 hours and the time pro- -- include the Fontaine review.    25 reviewing it.

                                                        183                                                           185
 ·1 But if you're saying did I spend 10 hours reviewing        ·1· · ·A.· ·Sure.
 ·2 Fontaine documents specifically, and if you're gonna       ·2· · ·Q.· ·Where'd that come from?
 ·3 break it down like that, then -- in comparison, is that    ·3· · ·A.· ·As I testified earlier, I met with Melinda, who
 ·4 what the question is?                                      ·4 printed me the QuickBooks information.
 ·5· · ·Q.· ·I got 116 hours total.                            ·5· · · · · · · ·(Sotto voce conversation between Mr. Ogden
 ·6· · ·A.· ·Right.                                            ·6· · · · · · · ·and Mr. Bankston.)
 ·7· · ·Q.· ·Earlier you told me that in preparation for       ·7· · ·A.· ·May I continue?
 ·8 today total you spent about 10 hours on this               ·8· · ·Q.· ·(By Mr. Ogden) Yeah.· Sure.
 ·9 deposition --                                              ·9· · ·A.· ·Sure.· So I asked Melinda for the profit-loss
 10· · ·A.· ·Right.                                            10 statements through 2020.· The 2021 numbers are not
 11· · ·Q.· ·-- on these -- on these topics.                   11 available yet; they're not finalized.
 12· · ·A.· ·Right.                                            12· · · · · · · ·So according to the profit-loss for the
 13· · ·Q.· ·So I'll end it there.· I think we're pretty       13 year, there is a negative net income of $6.8 million.
 14 clear.                                                     14· · ·Q.· ·Sitting here today, what is Infowars -- what is
 15· · · · · · · ·Do you think you're prepared for today?      15 Free Speech Systems net worth?
 16· · ·A.· ·I'm prepared as I could be with the time that I   16· · ·A.· ·I don't -- I'm sorry.· This doesn't -- this
 17 was given.· So, yes.                                       17 doesn't tell me the exact number.· Just give me one
 18· · · · · · · ·(Sotto voce conversation between Mr. Ogden   18 second.
 19· · · · · · · ·and Mr. Bankston.)                           19· · · · · · · ·MR. BANKSTON:· (Inaudible.)
 20· · ·Q.· ·(By Mr. Ogden) Do you know when these             20· · ·Q.· ·(By Mr. Ogden) What's the Bates label -- what's
 21 depositions were ordered by the Court?                     21 the Bates number on Exhibit 14?
 22· · ·A.· ·No, I don't.· I don't know the date.· All I can   22· · ·A.· ·This doesn't have a Bates label.
 23 tell you is when I was retained to prepare.                23· · ·Q.· ·Okay.
 24· · ·Q.· ·What is Ms. -- what is -- we'll start here.       24· · ·A.· ·This was produced to me -- and just -- this was
 25· · · · · · · ·What is Kit Daniels' net worth?              25 at my request that I asked Melinda to produce this to


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 49 of 106
Paz, Brittany                                       02-15-2022
                                                        186                                                           188
 ·1 me.                                                        ·1 second.
 ·2· · ·Q.· ·When'd she give it to you?                        ·2· · · · · · · ·MS. BLOTT:· I didn't do it.· That's my
 ·3· · ·A.· ·Friday.                                           ·3 answer.
 ·4· · ·Q.· ·Okay.· And did you -- did you go over it with     ·4· · · · · · · ·MR. OGDEN:· Okay.· Do you believe that the
 ·5 anyone after you got it?                                   ·5 information in Exhibit 14 that I just stickered is
 ·6· · ·A.· ·I went over it with -- I don't think I spoke to   ·6 information plaintiffs are entitled to?
 ·7 Melinda about it.· I might have spoken to Bob about it,    ·7· · · · · · · ·MS. BLOTT:· Yes, I do.
 ·8 just asked him to explain it to me.· But other than        ·8· · · · · · · ·MR. OGDEN:· Okay.· Let's take a short
 ·9 that, no.                                                  ·9 break so that we can read over what's in there.
 10· · · · · · · ·MR. BANKSTON:· (Inaudible.)                  10· · · · · · · ·THE VIDEOGRAPHER:· We are off the record
 11· · ·Q.· ·(By Mr. Ogden) You spoke with Bob about it on     11 at 1:14.
 12 Friday?                                                    12· · · · · · · ·(Recess from 1:14 p.m. to 1:29 p.m.)
 13· · ·A.· ·Friday.                                           13· · · · · · · ·THE VIDEOGRAPHER:· We are back on the
 14· · ·Q.· ·Okay.· How long did y'all talk?                   14 record at 1:29.
 15· · ·A.· ·An hour or so.                                    15· · · · · · · ·MS. BLOTT:· Mr. Ogden, I need to clarify
 16· · ·Q.· ·All right.· That was on phone or that was in      16 my response to the question you posed with respect to
 17 person?                                                    17 the financial document that Ms. Paz has.
 18· · ·A.· ·No.· I saw him in person.· He was at -- he was    18· · · · · · · ·This document was provided on Friday, this
 19 at the office.                                             19 immediately past Friday.· And in my continuous review of
 20· · ·Q.· ·Okay.· So you were at the office during all       20 the answers or the discovery responses by prior counsel
 21 this?                                                      21 in this case, I did not see where any profit and loss or
 22· · ·A.· ·Yes.· I was at the office, Wednesday, Thursday,   22 balance sheet had been produced in response to the
 23 Friday, and Saturday.                                      23 interrogatory that used the term financial statement.
 24· · ·Q.· ·Okay.· Why did you ask for that document?         24· · · · · · · ·And so I reached out and learned that no,
 25· · ·A.· ·Because I believe it was relative and -- to the   25 in fact, it had not been produced by prior counsel

                                                        187                                                           189
 ·1 topics that I was to testify about today.                  ·1 because they did not consider it a financial statement,
 ·2· · ·Q.· ·Okay.· Did you -- were you under -- were you      ·2 which is contrary to my professional opinion.· And
 ·3 under the belief that that document had been produced in   ·3 because of that, I did get the document so that I can
 ·4 this litigation?                                           ·4 supplement that discovery.
 ·5· · ·A.· ·I don't know whether this has been produced.      ·5· · · · · · · ·MR. OGDEN:· Okay.· I just want to put on
 ·6 These are the numbers for 2020.· I don't know if it's      ·6 the record for myself and on behalf of my clients that
 ·7 been produced already.                                     ·7 that document has been sitting in the corporate
 ·8· · · · · · · ·MR. OGDEN:· Ms. Blott, we don't have that.   ·8 representative's bag next to her all day without
 ·9· · · · · · · ·MS. BLOTT:· I know we don't, because the     ·9 producing it to us.
 10 numbers were -- this is a revised one that she and I was   10· · · · · · · ·MS. BLOTT:· It is in the binder that you
 11 given Friday, and I believe the revisions took place --    11 have and contains another document.
 12· · · · · · · ·MR. OGDEN:· Can I ask you a question?        12· · · · · · · ·MR. OGDEN:· What binder do we have?
 13· · · · · · · ·MS. BLOTT:· Sure.                            13· · · · · · · ·THE WITNESS:· Yesterday.· I had brought
 14· · · · · · · ·MR. OGDEN:· Why didn't it come with the      14 with me my binder.· It was in my binder.
 15 other 333 I got last night?                                15· · · · · · · ·MR. OGDEN:· I don't have that.
 16· · · · · · · ·MS. BLOTT:· Because I was concentrating on   16· · · · · · · ·MS. BLOTT:· Well, whoever has it.· The
 17 those for the Fontaine, and I ran out of time.             17 court reporter has it.· Somebody has it.
 18· · · · · · · ·MR. OGDEN:· Okay.· Why want -- why didn't    18· · · · · · · ·MR. OGDEN:· Did you give me a copy?· Does
 19 you hand it to me this morning or during the first break   19 it have a Bates number?
 20 or the second break, or the third break?                   20· · · · · · · ·MS. BLOTT:· Yes, as a matter of fact.
 21· · · · · · · ·THE WITNESS:· This is actually in --         21· · · · · · · ·MR. OGDEN:· What's the Bates number?
 22· · · · · · · ·MR. OGDEN:· I'm not asking you, Ms. Paz.     22· · · · · · · ·MS. BLOTT:· I'd have to look on my iPad.
 23· · · · · · · ·THE WITNESS:· It was in the binder.          23· · · · · · · ·MR. OGDEN:· (Inaudible.)
 24· · · · · · · ·MR. OGDEN:· That's fine.· I understand you   24· · · · · · · ·MR. BANKSTON:· (Inaudible.)
 25 have comments.· You can keep them to yourself for a        25· · · · · · · ·MR. OGDEN:· I have not produced it.


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 50 of 106
Paz, Brittany                                       02-15-2022
                                                        190                                                           192
 ·1· · · · · · · ·MR. BANKSTON:· It hasn't been produced.      ·1· · · · · · · ·MR. OGDEN:· -- was provided to me.· And
 ·2· · · · · · · ·MS. BLOTT:· It has not been formally         ·2 it's stamped attorney's eyes only.· And I don't know if
 ·3 produced.                                                  ·3 it was in regards to this case, the Sandy Hook cases, or
 ·4· · · · · · · ·MR. OGDEN:· We --                            ·4 both.· And I don't want to violate a protective order by
 ·5· · · · · · · ·MR. BANKSTON:· It's being produced right     ·5 bringing it out here right now.
 ·6 now is what we're saying, like, within the past 10         ·6· · · · · · · ·So I'm asking on the record if you'll
 ·7 minutes.                                                   ·7 consent to us using that as an exhibit when we question
 ·8· · · · · · · ·MR. OGDEN:· Yes.                             ·8 the witness?
 ·9· · · · · · · ·MR. BANKSTON:· Okay.                         ·9· · · · · · · ·MS. BLOTT:· Yes.· I will represent to you,
 10· · · · · · · ·MR. OGDEN:· Let's just -- I want to make     10 though, Mr. Ogden, just so that there is no confusion,
 11 something clear.                                           11 the profit and loss -- oh, wait a minute -- may I see
 12· · · · · · · ·When we started this depo, the topics were   12 that a minute?· I want to make sure --
 13 very clear that -- that net worth was one of the topics.   13· · · · · · · ·MR. OGDEN:· Sure.
 14 And that document this witness testified was she -- she    14· · · · · · · ·MS. BLOTT:· -- that's the most recent one.
 15 asked for it to be prepared to discuss that topic, and     15· · · · · · · ·MR. OGDEN:· That's what Mr. Whittenburg
 16 it's been sitting in her bag.                              16 gave us.
 17· · · · · · · ·I wouldn't have a problem if I'd have        17· · · · · · · ·MS. BLOTT:· Oh.· Okay.· So wait.· Wait.
 18 gotten it this morning or during any of our breaks.· But   18 Before you -- okay.· You haven't marked this one.
 19 the fact that at the very end after -- I don't know --     19· · · · · · · ·This was -- this is not any type of
 20 four or five hours of questioning, I ask the witness --    20 balance sheet, profit and loss statement; this was
 21 we get to that topic, and then all of a sudden it comes    21 merely prepared for the purposes of settlement
 22 out of the -- out of the bag, and now we're saying that    22 negotiations.
 23 it's been Bates labeled and it's on the way and -- you     23· · · · · · · ·MR. OGDEN:· You'd agree with me, though,
 24 know, I'm -- you can obviously probably see how it looks   24 that it has information in it that is completely
 25 from my seat.                                              25 relevant to the net worth of the company?· Yes?

                                                        191                                                           193
 ·1· · · · · · · ·I'm not accusing you one way or the other.   ·1· · · · · · · ·MS. BLOTT:· But it's not current.
 ·2 But I'm just looking at, you know, the aggregate of        ·2· · · · · · · ·MR. OGDEN:· I didn't ask if it was
 ·3 what's happened in this case with all lawyers.· And        ·3 current.· I asked if it had information relevant to the
 ·4 every lawyer has come in and told me they're not that      ·4 net worth of the company.
 ·5 person; they're transparent; they're gonna get on it.      ·5· · · · · · · ·MS. BLOTT:· Yes.
 ·6 And every single time they are replaced, the new one       ·6· · · · · · · ·MR. OGDEN:· Okay.
 ·7 comes in and says the same thing.                          ·7· · · · · · · ·MS. BLOTT:· At one point.
 ·8· · · · · · · ·Who did you talk to that had a different     ·8· · · · · · · ·MR. OGDEN:· Okay.· With that said, is it
 ·9 professional opinion than you on the production of that    ·9 still okay if we --
 10 document so that I know who to name in my motion?          10· · · · · · · ·MS. BLOTT:· No.
 11· · · · · · · ·MS. BLOTT:· Bradley Reeves.                  11· · · · · · · ·MR. OGDEN:· -- talk about it with this
 12· · · · · · · ·MR. BANKSTON:· All right.· I need to make    12 witness?
 13 a phone call.                                              13· · · · · · · ·MS. BLOTT:· No.· Because it's not a
 14· · · · · · · ·MR. OGDEN:· My other -- and I need to        14 financial statement, per se.· I don't know whether -- so
 15 clear one thing up before I go on to this line of          15 no.
 16 questioning.                                               16· · · · · · · ·MR. OGDEN:· Do you know what -- the order
 17· · · · · · · ·A document was produced to me by             17 does not say financial statement, neither does my net
 18 Mr. Whittenburg when y'all came to my office, and I        18 worth discovery request.
 19 wanted to -- it was not clear which case he was giving     19· · · · · · · ·MS. BLOTT:· Yes.· It does say financial
 20 that to me for.                                            20 statement.
 21· · · · · · · ·MS. BLOTT:· The profit and loss and          21· · · · · · · ·MR. OGDEN:· And so how -- I'll -- I'll --
 22 balance sheet.· So they were provided to you.· Okay?       22 I'm gonna propose a solution, potential solution, which
 23· · · · · · · ·MR. OGDEN:· A completely different one       23 is:· We use this.· We've already established -- there is
 24 with completely different numbers --                       24 no protective order in this case, so I guess that's --
 25· · · · · · · ·MS. BLOTT:· Correct.                         25 that is an issue.


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 51 of 106
Paz, Brittany                                       02-15-2022
                                                        194                                                           196
 ·1· · · · · · · ·MS. BLOTT:· Well, we can take care of that   ·1· · · · · · · ·MR. OGDEN:· I'm also going to hand the
 ·2 on the record.                                             ·2 witness Exhibit 16, which is marked confidential,
 ·3· · · · · · · ·THE REPORTER:· We are on the record.         ·3 attorney's eyes only.· It's not Bates labeled and was
 ·4· · · · · · · ·MS. BLOTT:· I know.· I just realized that.   ·4 provided to counsel by Ms. Blott and a Mr. Dustin
 ·5 (Inaudible.)                                               ·5 Whittenburg.
 ·6· · · · · · · ·MR. OGDEN:· How would you like to take       ·6· · · · · · · ·Is that his name, Dustin or Justin?
 ·7 care of this?                                              ·7· · · · · · · ·MS. BLOTT:· Dustin Whittenburg.
 ·8· · · · · · · ·MS. BLOTT:· I'm not gonna agree to it.       ·8· · · · · · · ·MR. OGDEN:· Was provided to counsel by
 ·9 This was work product in preparation of settlement         ·9 Dustin Whittenburg at plaintiff's counsel's office two
 10 negotiations only.                                         10 weeks ago in a meeting where myself, Mr. Bankston
 11· · · · · · · ·MR. OGDEN:· That's fine.                     11 Mr. Whittenburg, and Ms. Blott met.
 12· · · · · · · ·MS. BLOTT:· And it was provided to you       12· · · · · · · ·Also gonna hand over Exhibit 17, which is
 13 only for that reason.                                      13 also marked attorney's eyes only, but it's actually a
 14· · · · · · · ·MR. OGDEN:· That's fine.                     14 public record.· It's just the UCC filing that we
 15· · · · · · · ·But the Rule 408 that was cited prior to     15 discussed.· That'll be Exhibit 17.
 16 us engaging in that discussion in my office was directly   16· · · · · · · ·(Exhibit 17 marked.)
 17 to admissibility, not the use of it in discovery.· And     17· · ·Q.· ·(By Mr. Ogden) Just hold those.· We're gonna
 18 it's not work product because you gave it to me.           18 work on that one first.
 19· · · · · · · ·MS. BLOTT:· So let's do this -- and I will   19· · · · · · · ·Now -- now that you have Exhibit 15 -- I
 20 tell you she has not seen this.                            20 believe is the one you pulled out of your purse,
 21· · · · · · · ·MR. OGDEN:· That's fine.· I know she's       21 correct?
 22 talked to the person that put it together.                 22· · ·A.· ·No.· 14.
 23· · · · · · · ·MS. BLOTT:· So I will agree that you can     23· · ·Q.· ·14.· Okay.· 14.
 24 use this at the deposition.                                24· · · · · · · ·All right.· Same question:· What is the
 25· · · · · · · ·MR. OGDEN:· Okay.                            25 net worth of Free Speech Systems?

                                                        195                                                           197
 ·1· · · · · · · ·MS. BLOTT:· Provided that we agree that      ·1· · ·A.· ·This is the profit-loss statement.· So this
 ·2 this document will not be produced or cir- -- will not     ·2 document does not reflect a profit-loss number.· The
 ·3 be circulated, will remain confidential, unless and        ·3 prof- -- the net worth of Free Speech Systems is
 ·4 until one of us applies to the Court to release it to      ·4 negative $53 million and change.
 ·5 dissemination.                                             ·5· · ·Q.· ·Okay.· How do you know?
 ·6· · · · · · · ·MR. OGDEN:· We don't have a protective       ·6· · ·A.· ·This is based on my conversations and my review
 ·7 order in place.· So if we use it -- what am I -- then      ·7 of the documents.· So I did -- as I previously
 ·8 what happens to all the testimony that we have about it?   ·8 represented, I spoke to Mr. Roe.· I also -- like I said
 ·9· · · · · · · ·MS. BLOTT:· Well, right.· Oh.                ·9 earlier, I have seen this answer regarding the net
 10· · · · · · · ·THE WITNESS:· I don't even know what that    10 worth, and I do know that these numbers are updated
 11 is.                                                        11 because these were revised for 2020.· So the numbers
 12· · · · · · · ·MR. OGDEN:· I know.· It's kind of putting    12 that we see in Exhibit 13 are off by about $160,000, but
 13 me in a little pinch here.                                 13 are otherwise accurate.
 14· · · · · · · ·MS. BLOTT:· I know.· And I'm sorry.· Both    14· · ·Q.· ·It does not sound like Free Speech Systems
 15 of us.                                                     15 operates a very good business, does it?
 16· · · · · · · ·So, yes, go ahead.                           16· · ·A.· ·I think I testified to that earlier that I did
 17· · · · · · · ·MR. OGDEN:· So we can use this in the        17 not think that it was -- that Mr. Jones was a good
 18 deposition.                                                18 businessman.
 19· · · · · · · ·MS. BLOTT:· (Nodding.)                       19· · ·Q.· ·Considering that he ran a company that was
 20· · · · · · · ·MR. OGDEN:· Okay.                            20 highly profitable into a negative $53 million debt.
 21· · · · · · · ·(Exhibit 15 marked.)                         21· · · · · · · ·That's your understanding?
 22· · · · · · · ·MR. OGDEN:· I'm gonna hand the witness       22· · ·A.· ·That is my understanding, yes.
 23 Exhibit 15, which is Bates labeled FSS, underscore, NET,   23· · ·Q.· ·Okay.· Who is that debt owed to?
 24 underscore, 204.                                           24· · ·A.· ·A vast majority of that debt is approximately
 25· · · · · · · ·(Exhibit 16 marked.)                         25 $53 million -- $54 million so debt to PQPR on the basis


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 52 of 106
Paz, Brittany                                                02-15-2022
                                                               198                                                          200
 ·1 of costs of products that were not paid to PQPR.                 ·1· · ·A.· ·Right.· So five days -- so, yes.· So per five
 ·2· · ·Q.· ·Okay.· How many -- how long has that debt been          ·2 business days, $11,000.
 ·3 accruing?                                                        ·3· · ·Q.· ·The --
 ·4· · ·A.· ·I think that that debt was accruing up to a few         ·4· · ·A.· ·Plus the percentage.
 ·5 months ago, and I don't know when it started,                    ·5· · ·Q.· ·The -- when you say it started a few months
 ·6 unfortunately.· I could tell you the reasons why it was          ·6 ago, when?
 ·7 accruing, but I don't -- I don't know when it was                ·7· · ·A.· ·I believe that -- based on my conversations
 ·8 started to be accruing.                                          ·8 with Mr. Roe, the financial disentanglement between the
 ·9· · ·Q.· ·All right.· Let me see those real quick.                ·9 two companies happened within the last few months,
 10· · ·A.· ·This one?                                               10 perhaps back to September.· But it's relatively recent.
 11· · ·Q.· ·Yeah.· This stack of (inaudible) here -- yeah.          11· · ·Q.· ·Do you know what triggered that?
 12 Okay.                                                            12· · ·A.· ·I know that Mr. Jones had begun some -- some
 13· · · · · · · ·Who -- what -- how did we get to a                 13 estate management that was in -- in motion in the years
 14 $53 million note?                                                14 prior.· And I also know that PQPR and an attorney
 15· · ·A.· ·Sure.· So PQPR is the company that purchases            15 associated with PQPR retained Mr. Roe as a consultant to
 16 the products that are ultimately sold on the Infowars            16 try to disentangle this.· I can't say as to when he
 17 website.· And for a number of years -- and I'm sorry I           17 was -- he was retained to do that.· He wasn't retained
 18 don't know for how long -- all of the money was flowing          18 by Free Speech.· He was retained by -- by I believe an
 19 to Free Speech Systems instead of being paid to PQPR.            19 attorney -- I can't remember his name -- on behalf of
 20 They were kind of just giving the money here and there,          20 PQPR.
 21 but with no regularity.· And so the amount of money that         21· · ·Q.· ·His name's Eric Todd.
 22 was owed to PQPR for those products totals that amount           22· · ·A.· ·I don't think that's the person that retained
 23 of money.                                                        23 him, no.
 24· · ·Q.· ·Okay.· Who at PQPR was able to front                    24· · ·Q.· ·The only reason I say this is because
 25 $53 million?                                                     25 Mr. Whittenburg is the attorney you're talking about

                                                               199                                                          201
 ·1· · ·A.· ·I don't know -- I can't answer anything for     ·1 that was retained, correct?
 ·2 PQPR.· I don't represent them as a corporate             ·2· · ·A.· ·No.· That's not accurate.
 ·3 representative.                                          ·3· · ·Q.· ·Well, then who is the attorney that was
 ·4· · ·Q.· ·Sure.                                           ·4 retained?
 ·5· · ·A.· ·I don't know.                                   ·5· · ·A.· ·Like I said, I don't remember his name.
 ·6· · ·Q.· ·In -- where did you learn about PQPR?           ·6· · ·Q.· ·So you don't remember the name of anybody
 ·7· · ·A.· ·When I was discussing the structure of the      ·7 that -- of the person that represents PQPR.· You don't
 ·8 company from Melinda and how the -- the money is paid    ·8 remember the attorney that was retained by that person
 ·9 from Free Speech to PQPR and who has ownership interests ·9 at PQPR.
 10 in PQPR and Free Speech.· That's how I found it out.     10· · ·A.· ·I don't -- I'm not the corporate representative
 11· · ·Q.· ·How --                                          11 for PQPR.
 12· · ·A.· ·Based on my conversations.                      12· · ·Q.· ·I know.
 13· · ·Q.· ·How is the money paid?                          13· · ·A.· ·So I don't know.
 14· · ·A.· ·Now how is it paid to PQPR?· I can say now how  14· · ·Q.· ·Just trying to figure out what you know.
 15 it is.· Previously, I don't know.                        15· · ·A.· ·Yeah.
 16· · · · · · · ·So within the last few months, there is    16· · ·Q.· ·So a lawyer at PQPR hired a lawyer?
 17 this debt, and Free Speech has been attempting to pay    17· · ·A.· ·No.· The lawyer hired Mr. Roe.
 18 this debt down.· It pays PQPR $11,000 per week -- I      18· · ·Q.· ·Gotcha.
 19 believe it's per business day -- five business days.· So 19· · ·A.· ·Right.· As a consultant.
 20 it's not seven business days, five -- five business      20· · ·Q.· ·Okay.· If you look at -- let's look at
 21 days -- plus a percentage of the products that are sold  21 Exhibit 15.
 22 on the site in attempt to address the backlog.           22· · ·A.· ·Okay.
 23· · · · · · · ·But prior to the last few months when it   23· · ·Q.· ·Do you see the redactions?
 24 was -- it wasn't being paid with any regularity.         24· · ·A.· ·Yes.
 25· · ·Q.· ·So 11,000 -- so $44,000 every 20 days?          25· · ·Q.· ·Why are those redacted?


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 53 of 106
Paz, Brittany                                       02-15-2022
                                                        202                                                                  204
 ·1· · ·A.· ·I don't know.                                     ·1· · · · · · · ·PQPR has a $54.876 million note that
 ·2· · ·Q.· ·Have you seen copies without redactions?          ·2 Infowars -- or that Free Speech Systems is responsible
 ·3· · ·A.· ·I've only seen the Exhibit -- Exhibit 14.         ·3 for paying?
 ·4· · ·Q.· ·So you -- someone showed you the profit-loss      ·4· · ·A.· ·Yes.· Just with the caveat that that number I
 ·5 breakdown, but nobody preparing you to talk about net      ·5 don't think is accurate anymore, just because, like I
 ·6 worth showed you the actual balance sheet?                 ·6 said, we've been paying down the debt.· It's a little
 ·7· · ·A.· ·Wait, I'm sorry.· Just give me one second.        ·7 over -- it's probably a little over $53 million.· But,
 ·8· · · · · · · ·I don't know what the redactions are. I      ·8 principally, yes, that's correct.
 ·9 may have seen this.· It may have been in the binder that   ·9· · ·Q.· ·Where were you getting the exact number from?
 10 I brought yesterday, but I don't know what the             10· · ·A.· ·So the numbers that are in the -- the answer
 11 redactions are.                                            11 regarding net worth in Exhibit 13.
 12· · ·Q.· ·Okay.· You said that you had an electronic copy   12· · ·Q.· ·Uh-huh.
 13 of the binder.                                             13· · ·A.· ·These numbers are accurate with the caveat that
 14· · ·A.· ·No.· I have an electronic copy of my notes        14 it's off by about $160,000, which is what the updated
 15 on -- in the -- from the binder.· So I -- I don't have     15 information was that was provided to us this week.· The
 16 an electronic copy of this.                                16 reason why there is a discrepancy of the $160,000 was
 17· · ·Q.· ·It's my understanding that Ms. Blott printed      17 there's some -- some writeoffs regarding the equipment
 18 out all the documents in your binder yesterday, correct?   18 that needed to be corrected.
 19· · ·A.· ·I believe she put the binder together for me,     19· · ·Q.· ·Who did that correction?
 20 yes, because I didn't have a printer.                      20· · ·A.· ·I -- I don't know.· It -- it might have been --
 21· · ·Q.· ·Okay.· Did you send her everything that needed    21 it probably would have been the tax attorney, but I'm
 22 to go in the binder and then she printed it for you?       22 not sure, so I don't -- I don't want to say.
 23· · ·A.· ·No.· I sent her my notes to go into the binder.   23· · ·Q.· ·Okay.· So these numbers are from 2020, correct?
 24· · ·Q.· ·Everything else that was in there was put in      24· · ·A.· ·The ones that you're referring to?
 25 there by Ms. Blott?                                        25· · ·Q.· ·Exhibit 15 and Exhibit 14 are numbers from

                                                        203                                                                  205
 ·1· · ·A.· ·I believe so.                                     ·1 2020, correct?
 ·2· · ·Q.· ·How did Ms. Blott get a copy of the profit-loss   ·2· · ·A.· ·Yes.
 ·3 breakdown that is Exhibit 14?                              ·3· · ·Q.· ·Okay.· And Exhibit -- what is it -- 13, the
 ·4· · ·A.· ·I don't -- I don't know where this came from.     ·4 interrogatory?
 ·5· · ·Q.· ·That's 15.                                        ·5· · ·A.· ·Yes.
 ·6· · ·A.· ·15, right.                                        ·6· · ·Q.· ·Exhibit 13, that was produced in December of
 ·7· · · · · · · ·So 14 -- you're asking for 14?               ·7 2021?
 ·8· · · · · · · ·Oh, I believe I testified to this.· We       ·8· · ·A.· ·Yes.
 ·9 received this from Melinda.· Melinda printed this off of   ·9· · ·Q.· ·Okay.· And it's now your -- it's your testimony
 10 QuickBooks.                                                10 that the number that was given -- I don't know -- 60
 11· · ·Q.· ·Okay.· And that was on Friday?                    11 days ago, 70 -- 75 days ago is not accurate, and,
 12· · ·A.· ·Yes.                                              12 instead, we go look at the balance sheet and profit-loss
 13· · ·Q.· ·And that was put into your binder?                13 sheet that have adjustments made by someone of $160,000,
 14· · ·A.· ·Yes.· This is in my binder.· I remember this      14 and that's the accurate number for the net worth of the
 15 being in my binder.                                        15 company at the end of 2020?
 16· · ·Q.· ·And then the balance sheet, Exhibit 15, it's      16· · ·A.· ·Yes.
 17 your testimony that that is also in your binder?           17· · ·Q.· ·Okay.· Why was -- why were adjustments being
 18· · ·A.· ·I think it is in the binder.                      18 made in the last 75 days to a balance sheet from almost
 19· · ·Q.· ·Okay.                                             19 two years ago?
 20· · ·A.· ·Because I remember that Attorney Blott told me    20· · ·A.· ·I don't know.· I'm not an accountant.· I don't
 21 it was in the binder, but I didn't physically print it,    21 know why -- I don't know.
 22 though.· So...                                             22· · ·Q.· ·Okay.
 23· · ·Q.· ·So Free Speech Systems has a 53 -- $54,876,000    23· · ·A.· ·I think there was an error that was found
 24 note that it owed -- or, excuse me -- has a note that it   24 regarding the -- the -- I'm sorry -- I'm not a -- I'm
 25 is secured against -- sorry.· Let me back up.              25 not really a tax attorney.


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 54 of 106
Paz, Brittany                                       02-15-2022
                                                        206                                                           208
 ·1· · ·Q.· ·Why do you think that?                            ·1· · ·Q.· ·What's Schedule C?
 ·2· · ·A.· ·Just based on my conversations with Mr. Roe       ·2· · ·A.· ·The taxes.· I think I said I reviewed the taxes
 ·3 regarding why -- the accuracy of these numbers --          ·3 earlier.
 ·4· · ·Q.· ·And, again, you --                                ·4· · · · · · · ·MR. OGDEN:· Do we have any taxes?
 ·5· · ·A.· ·-- and the reason why this was updated.           ·5· · · · · · · ·MR. BANKSTON:· No.
 ·6· · ·Q.· ·Again, we established that you are unaware of     ·6· · ·A.· ·So Free Speech is reported in Mr. Jones' taxes.
 ·7 any findings in Connecticut on Mr. Roe's accounting        ·7 So I would -- I -- he showed me the Schedule C.· So when
 ·8 practices, correct?                                        ·8 I testified earlier, I reviewed the taxes, that's what I
 ·9· · ·A.· ·I'm aware that there was an issue in              ·9 reviewed, because those are where Free Speech's income
 10 Connecticut, but I wouldn't say I'm aware of issues        10 is reported.
 11 regarding his practices.                                   11· · ·Q.· ·(By Mr. Ogden) Okay.· Where -- where is the
 12· · ·Q.· ·Okay.· Do -- do you know whether or not he was    12 copy of those?
 13 found to have manipulated the numbers?                     13· · ·A.· ·I'm sorry.· I don't have a copy of those.
 14· · ·A.· ·I didn't read that decision, so I don't -- I'm    14· · ·Q.· ·You didn't ask for a copy of the document
 15 not aware of the finding.                                  15 that's filed with the federal agency that reflects Free
 16· · ·Q.· ·What's your -- what's your understanding of       16 Speech Systems' income?
 17 what happened?                                             17· · ·A.· ·I don't have a copy of the -- of the Schedule
 18· · ·A.· ·My understanding of what happened was there was   18 C, no.
 19 a document that was produced, and there were lines at      19· · ·Q.· ·Okay.· What's in it?
 20 the bottom that were missing or cut off and that           20· · ·A.· ·I can't testify as to the numbers that are --
 21 subsequently the accurate numbers with the lines that      21 that are in there.
 22 were missing were produced.                                22· · ·Q.· ·Why?
 23· · ·Q.· ·Well, that doesn't sound like anything            23· · ·A.· ·Because I don't recall.· I can't give you an
 24 nefarious, true?                                           24 exact number, and I don't want to tell you a wrong
 25· · ·A.· ·Not to me.                                        25 number.

                                                        207                                                           209
 ·1· · ·Q.· ·Did you know that the -- do you know what the     ·1· · ·Q.· ·Why didn't you ask for a copy of that?
 ·2 basis for the Connecticut Court's granting of the          ·2· · ·A.· ·I saw it.· I don't -- I, honestly, assumed that
 ·3 default judgment?· Do you know why they did that?          ·3 you had it.
 ·4· · ·A.· ·No, I don't.                                      ·4· · ·Q.· ·Okay.· But if you knew you had to testify about
 ·5· · ·Q.· ·Would it surprise you to know that Mr. Roe's      ·5 this and there was a filed document that reflected
 ·6 accounting practices had a little bit to do with that?     ·6 income for Free Speech Systems, why didn't you get a
 ·7· · ·A.· ·Like I said, I didn't review it, so I don't       ·7 copy and bring it with you?
 ·8 know.                                                      ·8· · ·A.· ·Like I said, I assumed you had it.
 ·9· · ·Q.· ·Okay.· Do you find Mr. Roe to be reliable?        ·9· · ·Q.· ·Do you have an electronic copy?
 10· · ·A.· ·I found him to be forthcoming in answering all    10· · ·A.· ·I don't -- no, I don't have an electronic copy.
 11 of my questions and providing me the information that I    11· · ·Q.· ·Okay.· So Mr. Roe gave you a hard copy and
 12 requested and explaining this to me so that I could        12 then --
 13 testify cogently about it.                                 13· · ·A.· ·No.· He didn't give me a hard copy.· He showed
 14· · ·Q.· ·What were your questions to him?                  14 me a copy.· He did not give me a copy.· I don't have a
 15· · ·A.· ·I asked him to explain to me these numbers. I     15 copy of the Schedule C.
 16 asked him to explain to me why it -- why the numbers       16· · ·Q.· ·And you just purposefully didn't ask him for a
 17 were -- were slightly different.· I asked him to explain   17 copy to put with the -- I mean, you went to accounting
 18 to me how Free Speech has been addressing the debt. I      18 and asked her to pull a profit-loss breakdown?
 19 asked him to explain to me the --                          19· · ·A.· ·Well, I did that because this is -- I know this
 20· · ·Q.· ·Does it --                                        20 is different.· This is updated information that was
 21· · ·A.· ·He -- he -- and the -- also, the -- the --        21 updated just this past week.· So that's why I did that.
 22 the -- what's it called?· The tax -- the Schedule C. I     22· · ·Q.· ·Why were the profit-losses from 2020 updated in
 23 asked him to explain that to me, too.· And I -- I think    23 February of 2022?
 24 that that's it.· I think that I spoke to him for an hour   24· · ·A.· ·As I testified earlier, there was an issue with
 25 or two.· It wasn't a very long conversation.               25 the -- the deductions associated with some of the


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 55 of 106
Paz, Brittany                                       02-15-2022
                                                        210                                                           212
 ·1 equipment and that had to be adjusted.                     ·1· · ·Q.· ·And a consultant for what?· These cases?
 ·2· · ·Q.· ·And you learned that -- and Mr. Roe was the one   ·2· · ·A.· ·So I -- just -- just to make clear, he
 ·3 that made that adjustment and informed you, correct?       ·3 originally was retained by PQPR.
 ·4· · ·A.· ·I don't know whether he made the adjustment,      ·4· · ·Q.· ·How do you know?
 ·5 but he informed me of why the numbers were different.      ·5· · ·A.· ·Just based on my conversations with him, he
 ·6· · ·Q.· ·Did you ask why so late?                          ·6 worked for PQPR.· And then at some point in time, that
 ·7· · ·A.· ·I didn't ask why so late.                         ·7 ended, and then he was subsequently retained as
 ·8· · ·Q.· ·Do you think, sitting here today under oath,      ·8 consultant for Free Speech.· But, originally, he was
 ·9 that -- that the numbers that are putting forth in these   ·9 retained by PQPR.· That's the discussion we had earlier
 10 balance sheet, the profit-loss, and everything -- and      10 about the lawyer for PQPR who had retained Mr. Roe.
 11 the documents, Exhibit 17, do you believe those are        11· · ·Q.· ·Okay.· So you got a company that has a dormant
 12 accurate?                                                  12 debt of about 50 -- over $50 million.· You've got some
 13· · ·A.· ·Yes.· With the -- with the exception that -- of   13 sort of -- I don't even know if you can -- financial
 14 the $160,000 that I testified to, these numbers are        14 consultant, tax consultant.
 15 accurate.                                                  15· · · · · · · ·What is -- what kind of consultant?
 16· · ·Q.· ·Is it normal, based on any experience you may     16· · ·A.· ·I don't know how to -- how to describe it.
 17 have, for a company to accrue a $53 million debt over an   17· · ·Q.· ·So you --
 18 unknown amount of years, paying zero back on it, and       18· · ·A.· ·Just consultant.
 19 then in the middle of litigation, post losing a default    19· · ·Q.· ·So somebody could just walk into you as a
 20 judgment dispute, all of the sudden that debt's secured    20 corporate representative preparing for a deposition, and
 21 up and a payment system's been made in the last four --    21 say, hey, I'm a consultant, and you're just believing
 22 four months?· Does that sound normal?                      22 every word they say?
 23· · ·A.· ·I -- well, first of all, I don't have any         23· · ·A.· ·No.· He was already retained by the company
 24 experience with that, so I don't think I am qualified to   24 prior to me coming there.· Mr. Jones indicated to me
 25 answer that question.· But I also don't know when that     25 this was the person that was gonna help me understand

                                                        211                                                           213
 ·1 note was written, so I -- I don't -- I'm not qualified     ·1 the financial documents.· And so did I trust Mr. Jones'
 ·2 to answer that question.                                   ·2 representation as to Mr. -- Mr. Roe, then, yes, that's
 ·3· · ·Q.· ·Does Mr. Roe work at Infowars?                    ·3 accurate.· But, no, a random person didn't just walk in.
 ·4· · ·A.· ·No.· He's not an employee of Infowars.            ·4· · ·Q.· ·So Mr. Jones vouched for Mr. Roe?· That's your
 ·5· · ·Q.· ·Okay.· Where's he an employee of?                 ·5 testimony?
 ·6· · ·A.· ·He's a consultant.· He's an independent           ·6· · ·A.· ·He indicated to me this was the person that
 ·7 consultant.                                                ·7 would help me understand the documents.
 ·8· · ·Q.· ·He's a consultant, or he's a tax attorney, or     ·8· · ·Q.· ·Okay.· Do you understand these documents?
 ·9 he's a CPA?· What is it?                                   ·9· · ·A.· ·I am not an accountant, and I am not good with
 10· · ·A.· ·I don't know.· You'd have to ask him.· He's not   10 numbers.· So I'm doing my best here.
 11 an employee.                                               11· · ·Q.· ·If Mr. Roe is a consultant, wouldn't he be the
 12· · ·Q.· ·Well, you were tasked with learning the net       12 person that should have been designated for this topic?
 13 worth of the company.                                      13· · ·A.· ·I don't -- I think that I can answer your
 14· · ·A.· ·Yes.                                              14 questions adequately.
 15· · ·Q.· ·And some random person came in and started        15· · ·Q.· ·Well, you just said you're not an accountant;
 16 telling you stuff.                                         16 you're not a financial person.
 17· · · · · · · ·And you didn't vet what his credentials      17· · ·A.· ·I'm not.
 18 were?                                                      18· · ·Q.· ·Okay.· And you don't know what my questions are
 19· · ·A.· ·No.· I'm not -- I wasn't responsible for          19 gonna be.
 20 retaining him.· So he was retained by the company. I       20· · ·A.· ·No, I don't.
 21 didn't vet him myself, if that's the question.· But --     21· · ·Q.· ·Yet, your testimony to the jury, under oath, is
 22· · ·Q.· ·So Free Speech --                                 22 that you can answer them.
 23· · ·A.· ·-- he had already been hired.                     23· · ·A.· ·I think I understand enough about it to be able
 24· · ·Q.· ·So Free Speech Systems retained Mr. Roe?          24 to answer the questions.
 25· · ·A.· ·Yes.· As a consultant.                            25· · ·Q.· ·Instead of wasting time talking with Mr. Roe


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 56 of 106
Paz, Brittany                                       02-15-2022
                                                        214                                                           216
 ·1 about this topic, don't you think it would have been       ·1· · ·A.· ·Yeah.· LLC.· So -- so, like I said, I think
 ·2 more efficient to let you have less topics and less        ·2 that the -- the trust was executed in that year, but the
 ·3 preparation and focus on the other stuff and then let      ·3 estate planning for the trust had begun prior to that.
 ·4 Mr. Roe discuss all the things that he's been doing?       ·4· · ·Q.· ·That's fine.
 ·5· · ·A.· ·Unfortunately, that is above my pay grade. I      ·5· · ·A.· ·Sure.
 ·6 don't make such decisions.                                 ·6· · ·Q.· ·My question was just PLJR.
 ·7· · ·Q.· ·Did -- would Mr. Roe be more qualified to talk    ·7· · · · · · · ·And the -- who is the trustee for this
 ·8 on this subject than you?                                  ·8 trust?
 ·9· · ·A.· ·I don't know because I don't know the questions   ·9· · ·A.· ·The trustee?· You know, I'm not sure who the
 10 you're going to ask me.                                    10 trustee is.· I know who the beneficiaries are.
 11· · ·Q.· ·Well, let's say this:· In preparation -- in       11· · ·Q.· ·Who are the beneficiaries?
 12 preparing for today, Mr. Roe gave you the information      12· · ·A.· ·So the beneficiaries are -- of the corpus of
 13 you needed, correct?                                       13 the trust are his children, so they're -- in the trust
 14· · ·A.· ·Not all of it.· So the profit-loss statement,     14 are, you know, whatever money is in there.· And Alex as
 15 as I said earlier, I received this from Melinda, and       15 a remainderman.· And then the income going into the
 16 this was in -- amongst the materials that I had access     16 trust is paid to Alex.
 17 to; although, Mr. Roe went through it with me.             17· · ·Q.· ·Okay.· So Mr. Jones' income comes from the
 18· · ·Q.· ·Who owns PQPR?                                    18 profits of the trust.
 19· · ·A.· ·PQPR is owned 20 percent by Dr. and Mrs. Jones    19· · ·A.· ·But, ultimately, that -- I don't think that
 20 and 80 percent by PLJR, ALC [sic].                         20 income --
 21· · ·Q.· ·David Jones, what was his wife's name?            21· · ·Q.· ·I didn't ask a question --
 22 20 percent by David Jones and who?                         22· · ·A.· ·Okay.
 23· · ·A.· ·And his wife.· I'm sorry.· Her name is escaping   23· · ·Q.· ·-- Ms. Paz.
 24 me right now.· And Mrs. Jones.                             24· · · · · · · ·MS. BLOTT:· Can I ask when we're referring
 25· · ·Q.· ·Carol, I think, right?                            25 to Mr. Jones, we articulate which Mr. Jones we are

                                                        215                                                           217
 ·1· · ·A.· ·Oh, yes.· That's sound right.                     ·1 referring to?
 ·2· · ·Q.· ·Carol Jones.                                      ·2· · · · · · · ·THE WITNESS:· Oh, you mean whether it's
 ·3· · · · · · · ·Okay.· And then were PLJR.                   ·3 Dr. Jones or Alex Jones?· Okay.
 ·4· · ·A.· ·PLJR owns 80 percent of PQPR.                     ·4· · · · · · · ·MS. BLOTT:· So that there's no confusion
 ·5· · ·Q.· ·Okay.· And who owns PLJR?                         ·5 in the record.
 ·6· · ·A.· ·PLJR is owned 10 percent by Carol Jones, so       ·6· · ·Q.· ·(By Mr. Ogden) The income -- so the income goes
 ·7 Mrs. Jones, Alex's mother, and 90 percent by the AEJ       ·7 to the remainderman, Mr. -- Mr. Alex Jones, correct?
 ·8 Trust 2018.                                                ·8· · ·A.· ·The income -- the income is paid to Mr. Jones,
 ·9· · ·Q.· ·Okay.· When did the trust begin?                  ·9 but with the caveat, which is what I was trying to say
 10· · ·A.· ·So I think the trust was finalized in 2018,       10 before, that there is another entity, AEJ Holdings, that
 11 that's why it says AEJ Trust.· But as I said earlier,      11 owns Alex's interest in -- in PL -- in PQPR.· So, total,
 12 Mr. Jones had actively been engaged in estate planning     12 Alex's interest is like 72 percent.
 13 prior to that.· But I think it was officially formed --    13· · ·Q.· ·Say that again AL...
 14 formed in that year.                                       14· · ·A.· ·AEJ Holdings, LLC.
 15· · ·Q.· ·Okay.                                             15· · ·Q.· ·What's -- do you know Alex Jones' middle name?
 16· · · · · · · ·MR. BANKSTON:· Who's JLJR?· Who's this       16· · ·A.· ·I don't.· I'm so sorry.
 17 one?                                                       17· · ·Q.· ·I bet it starts with an E, though, huh?
 18· · ·Q.· ·(By Mr. Ogden) Yeah.· I've got a JLJR, as well.   18· · ·A.· ·(Nodding.)
 19· · ·A.· ·You know what, I'm not sure about that one. I     19· · · · · · · ·So that ownership interest in PQPR, he
 20 know PLJR is -- is the one that's -- owns PQPR.            20 owns about a -- if you divide it amongst his parents and
 21· · ·Q.· ·Okay.· The -- so Free Speech Systems gets into    21 their percentages, he owns a 72 percent interest.· So he
 22 litigation early 2018, and the trust is executed that      22 sold his interest in that to AEJ Holdings, and there's a
 23 same year through PLJR, ALC [sic], correct?                23 25.9 or 29 -- $25.9 million note on that.
 24· · ·A.· ·ALC or LLC?                                       24· · ·Q.· ·Okay.· Where's that come from?
 25· · ·Q.· ·LLC.                                              25· · ·A.· ·What do you mean where does it come from?


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 57 of 106
Paz, Brittany                                       02-15-2022
                                                        218                                                           220
 ·1· · ·Q.· ·Where does the $29 million note come from --      ·1 after she gets some copies to scan in.
 ·2 or, I guess, 29.9.                                         ·2· · ·A.· ·I haven't reviewed --
 ·3· · · · · · · ·Where does the $30 million note come from?   ·3· · ·Q.· ·I'm sorry.
 ·4· · ·A.· ·So I thought I had seen the note.· It's the --    ·4· · · · · · · ·MR. OGDEN:· Ms. Paz.
 ·5 it represents the value of Mr. Jones' interest in PQPR.    ·5· · ·A.· ·-- the notebook.· I'm just saying, I haven't
 ·6· · ·Q.· ·Okay.                                             ·6 reviewed it.
 ·7· · ·A.· ·Such that it -- such as it were because it's      ·7· · ·Q.· ·(By Mr. Ogden) Can I see that?
 ·8 about -- it's 72 percent.· And then the money that is      ·8· · ·A.· ·Sure.
 ·9 paid principal and interest off of that note is paid to    ·9· · ·Q.· ·Thank you.
 10 Alex Jones.                                                10· · · · · · · ·(Witness handing notepad over.)
 11· · ·Q.· ·And I don't need you to, you know, kind of be     11· · · · · · · ·(Brief pause as Mr. Ogden reviews
 12 shooting from the hip guessing on the numbers.· If you     12· · · · · · · ·notepad.)
 13 need to refer back to your notes, that's fine.             13· · · · · · · ·MS. BLOTT:· These are the notes that were
 14· · ·A.· ·No.· I believe that that's accurate.· It's        14 transcribed and provided to you.
 15 25.9.                                                      15· · · · · · · ·MR. OGDEN:· They were?
 16· · ·Q.· ·Okay.· Did you take notes when you met with       16· · · · · · · ·Because I don't remember these notes on
 17 Mr. Roe?                                                   17 here.· These notes with the conversation with Bob, those
 18· · ·A.· ·(Shaking head.)· I don't believe so.· Aside       18 aren't in there.· I got $70 million sales.· Looks
 19 from looking at the documents.                             19 like -- what is that under there?
 20· · ·Q.· ·Okay.· So Mr. Roe just broke down 20 percent to   20· · ·Q.· ·(By Mr. Ogden) 260 D.
 21 David Jones; 80 percent to PLJR, LLC, who PLJR is          21· · · · · · · ·What is that?
 22 10 percent Carol, 90 percent AEJ Trust, which has          22· · ·A.· ·Divided by 260 days.
 23 Mr. Jones' children as beneficiaries, Mr. Jones as the     23· · ·Q.· ·Okay.
 24 remainderman, and the income due to the remainderman       24· · ·A.· ·Those are business days.
 25 goes to AEJ Holdings, which is 72 percent of the           25· · ·Q.· ·And then, also, in Exhibit 18, you've got this

                                                        219                                                           221

 ·1 interest, which would be roughly $29.9 million; that's     ·1 no way to determine --
 ·2 correct?                                                   ·2· · ·A.· ·Which.
 ·3· · ·A.· ·72 percent of his interest in -- which            ·3· · ·Q.· ·-- which...
 ·4 represents his interest in PQPR, not of the interest,      ·4· · ·A.· ·I don't -- I'm sorry.· I can't read my own
 ·5 but his interest in that company.                          ·5 handwriting.
 ·6· · ·Q.· ·Okay.· And you just can do all -- you -- you      ·6· · ·Q.· ·Blank generated checks.
 ·7 learned all of that from Mr. Roe with no financial         ·7· · ·A.· ·I don't -- wait.· Generated.· Generated.· That
 ·8 background without taking any notes?                       ·8 is generated, yes.
 ·9· · · · · · · ·That's just what I want to make clear for    ·9· · ·Q.· ·What is that one?
 10 the record.                                                10· · ·A.· ·I'm not sure.
 11· · ·A.· ·I have a decent memory.                           11· · ·Q.· ·Okay.· So --
 12· · ·Q.· ·Okay.· I noticed you pulled your yellow pad       12· · ·A.· ·But I -- I think --
 13 out.                                                       13· · ·Q.· ·And then it says here, no spoliation letter.
 14· · ·A.· ·I have some notes.                                14 Then it talks about deplatforming.
 15· · ·Q.· ·Let's mark that as Exhibit 18.                    15· · · · · · · ·What do you mean no spoliation letter?
 16· · ·A.· ·I don't think I took any notes.                   16· · ·A.· ·I asked when -- or if he knew or if anybody at
 17· · · · · · · ·(Exhibit 18 marked.)                         17 the company knew whether we had received a spoliation
 18· · ·Q.· ·(By Mr. Ogden) Mark the whole thing.              18 letter for the Sandy Hook litigation.
 19· · ·A.· ·The whole -- I don't know if there's any          19· · ·Q.· ·Okay.· It says chain of title in parentheses.
 20 information in there about my other clients.               20· · · · · · · ·Tell me about the chain of title you and
 21· · ·Q.· ·Okay.· Well, it's been pulled out, and you said   21 Bob talked about.
 22 that you got notes in it.                                  22· · ·A.· ·That's what I just went over --
 23· · · · · · · ·So by the Rules of Texas Procedure, I can    23· · ·Q.· ·Okay.
 24 mark it as an exhibit, and it's gonna be admitted into     24· · ·A.· ·-- regarding Free Speech and the ownership
 25 the deposition's record.· And you'll get a copy back       25 per -- on the ownership and who owns what and what


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 58 of 106
Paz, Brittany                                        02-15-2022
                                                        222                                                           224
 ·1 percentages.· But, ultimately, I did talk to Melinda       ·1 me.
 ·2 about that, too.                                           ·2· · · · · · · ·MS. BLOTT:· Well, I don't give a shit.
 ·3· · ·Q.· ·These two words right here (indicating), what     ·3· · · · · · · ·Anyway, she transcribed the notes.· They
 ·4 does that say?                                             ·4 were in her binder.
 ·5· · ·A.· ·Bill Love files tax returns.                      ·5· · · · · · · ·MR. OGDEN:· Ms. Blott -- let's slow down.
 ·6· · ·Q.· ·Okay.· Who is Bill Love?                          ·6 Let's slow down, Ms. Blott.· Let's slow down.
 ·7· · ·A.· ·I believe he's the company's tax attorney.        ·7· · · · · · · ·MS. BLOTT:· You took her binder --
 ·8· · · · · · · ·MS. BLOTT:· And just let me interrupt a      ·8· · · · · · · ·MR. OGDEN:· Ms. Blott.
 ·9 minute.                                                    ·9· · · · · · · ·MS. BLOTT:· -- and she pulled out the
 10· · · · · · · ·Are there any notes in there about           10 notebook because she does not have her transcribed
 11 conversations you and I had?                               11 notes.
 12· · · · · · · ·THE WITNESS:· There might be.· That's why    12· · · · · · · ·MR. OGDEN:· Okay.· Ms. Blott, let me just
 13 I'm saying I haven't reviewed it.· That's why I'm saying   13 back up.
 14 I think that I should review it first.                     14· · · · · · · ·One, I am one who admires, you know,
 15· · · · · · · ·MR. OGDEN:· Ms. Blott, the witness pulled    15 zealous advocacy of a client.· Let's watch our language
 16 this out to rely on it in answering my questions.          16 on the record, just out of respect for the Court.
 17· · ·A.· ·I did not look at that to answer your             17 Second --
 18 questions, sir.                                            18· · · · · · · ·MR. BANKSTON:· If not for me.
 19· · ·Q.· ·(By Mr. Ogden) Okay.· Well, we can go back to     19· · · · · · · ·MR. OGDEN:· Second of all, if these were
 20 video, if you'd like, and I can -- there's -- I watched    20 transcribed, there should be no problem with me reading
 21 you start doing this (flipping pages in notebook).         21 them.
 22 So...                                                      22· · · · · · · ·THE WITNESS:· No.· But...
 23· · ·A.· ·I didn't look at anything in there.· I didn't     23· · · · · · · ·MR. OGDEN:· And your witness is the one
 24 pull out anything in there.                                24 who made the decision to bring them and then take them
 25· · · · · · · ·MR. OGDEN:· Ms. Blott and I can handle       25 out.

                                                        223                                                           225
 ·1 this.                                                      ·1· · · · · · · ·MS. BLOTT:· I disagree.· I'm going to...
 ·2· · · · · · · ·Ms. Blott, how would you like to proceed?    ·2· · · · · · · ·MR. OGDEN:· Disagree with what?· Her
 ·3· · · · · · · ·MS. BLOTT:· I would like to look at it       ·3 bringing them or taking it out?
 ·4 such that to the extent and only to the extent that she    ·4· · · · · · · ·MS. BLOTT:· I disagree with the position
 ·5 took any notes regarding conversations she had with me,    ·5 that you're taking.· When she transcribed those notes,
 ·6 they be redacted.· The entirety of -- of anything else     ·6 she would have omitted conversations with me.
 ·7 that she has in there, fair game.                          ·7· · · · · · · ·MR. OGDEN:· Okay.
 ·8· · · · · · · ·MR. BANKSTON:· Well, we -- just to put       ·8· · · · · · · ·MS. BLOTT:· Because she does not have --
 ·9 this on the record -- this is Mr. Bankston.· We would      ·9· · · · · · · ·MR. OGDEN:· If you would like to --
 10 have to bring a motion on that.· Because if the witness    10· · · · · · · ·MS. BLOTT:· -- her transcribed notes --
 11 was using this notepad to refresh her memories, then       11· · · · · · · ·MR. OGDEN:· If you would like to go
 12 regardless if it contained privileged information, we're   12 through -- and I'm not gonna read them.· I just want to
 13 entitled to see it.                                        13 see how deep into it.· Okay.· So it's pretty deep.
 14· · · · · · · ·MS. BLOTT:· Well --                          14· · · · · · · ·If you would like to go into this and --
 15· · · · · · · ·MR. BANKSTON:· So we'd have to bring a       15 and redact -- or, I guess, just what are you gonna do?
 16 motion on that.· And so that's what we'd want to know is   16 Pull them out?
 17 if you want to take this from us right now.                17· · · · · · · ·MS. BLOTT:· No.· I'm -- to the extent that
 18· · · · · · · ·MS. BLOTT:· Yes, I do.                       18 they're in the middle of the page with something else,
 19· · · · · · · ·MR. BANKSTON:· Okay.· Then we can bring a    19 I'm going to redact it.
 20 motion.                                                    20· · · · · · · ·MR. BANKSTON:· I'd like to have photo
 21· · · · · · · ·MS. BLOTT:· Because -- just to clarify,      21 copies made of that before you do that.
 22 she transcribed those notes, and they were provided to     22· · · · · · · ·MS. BLOTT:· Of what?
 23 you and are in --                                          23· · · · · · · ·MR. BANKSTON:· You need to make sure that
 24· · · · · · · ·MR. BANKSTON:· Kind of sounds like you're    24 there's secured photocopies of what is under those
 25 testifying about what that is, and that sounds weird to    25 redactions.


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 59 of 106
Paz, Brittany                                       02-15-2022
                                                        226                                                           228
 ·1· · · · · · · ·MR. OGDEN:· Yes.· Before you redact -- how   ·1· · · · · · · ·MR. OGDEN:· We can go off the record. I
 ·2 are you going to redact?                                   ·2 see -- I just realized you're pounding away.
 ·3· · · · · · · ·MR. BANKSTON:· Because we're going to move   ·3· · · · · · · ·THE VIDEOGRAPHER:· We are off the record
 ·4 to compel.                                                 ·4 at 2:19.
 ·5· · · · · · · ·MR. OGDEN:· Yeah.                            ·5· · · · · · · ·(Recess from 2:19 p.m. to 2:28 p.m.)
 ·6· · · · · · · ·Hold on, Mark.· Let me do this.              ·6· · · · · · · ·THE VIDEOGRAPHER:· We are back on the
 ·7· · · · · · · ·How are you gonna redact this?· Like         ·7 record at 2:28.
 ·8 how -- the actual process of covering the information,     ·8· · · · · · · ·MR. OGDEN:· We're back from a small break.
 ·9 how are you gonna do it?                                   ·9· · · · · · · ·Ms. Blott, were you able to go through the
 10· · · · · · · ·MS. BLOTT:· Okay.· Here's what I suggest:    10 notes that Ms. Paz took out mid deposition?
 11 I will scan them in so that the original is preserved,     11· · · · · · · ·And it's plaintiff's position that those
 12 and then I will use a copy and save the document and       12 notes in their entirety should be able to be marked as
 13 redact any information as it relates to conversations      13 an exhibit and added as an exhibit to this deposition.
 14 with me.                                                   14 However, I believe Ms. Blott has taken issue with that
 15· · · · · · · ·MR. OGDEN:· Okay.· How are we going to do    15 position.· I'm not sure what the basis is, but I will --
 16 that and allow me to ask questions about the notes here    16 I will say -- one more point before I hand it over to
 17 right now?                                                 17 Ms. Blott.· That a witness pulling out notes
 18· · · · · · · ·MS. BLOTT:· Well, he's the one that just     18 privileged -- conversation with an attorney or not, are
 19 said he wants to preserve it in its original form.· So     19 not privileged and would be akin to an attorney sitting
 20 what do you propose?                                       20 there whispering into the witness' ear, which would also
 21· · · · · · · ·MR. OGDEN:· I agree.· I agree.               21 be completely allowed to be produced and should be
 22· · · · · · · ·MS. BLOTT:· We can go off the record, run    22 produced to us.
 23 them through a copy machine.· I can take the originals.    23· · · · · · · ·MR. BANKSTON:· Yeah.· If I can just add
 24· · · · · · · ·MR. OGDEN:· If we want to do that, I think   24 something to the record really quick.· This is Attorney
 25 we can have Sonya do a copy.                               25 Bankston.

                                                        227                                                           229
 ·1· · · · · · · ·MR. BANKSTON:· Let's do it right now.· And   ·1· · · · · · · ·And I'd just like to -- to make a citation
 ·2 then let you sit down --                                   ·2 to the -- to the Kerns case.· And -- I mean, that's just
 ·3· · · · · · · ·MR. OGDEN:· And I'll let you go through      ·3 something I pulled off the top here.· But in Kerns, the
 ·4 it.· I'm trying to hurry.· It's 2:18 --                    ·4 Court agreed that if materials that were otherwise
 ·5· · · · · · · ·MS. BLOTT:· I understand.                    ·5 claimed as attorney-client privilege could be protected,
 ·6· · · · · · · ·MR. OGDEN:· -- and I'm trying to get         ·6 but when the witness relies on such documents to provide
 ·7 Ms. Paz out of here by 4:00 o'clock.· So...                ·7 deposition testimony, it presented, quote, a conflict
 ·8· · · · · · · ·THE WITNESS:· Do you want -- do you want     ·8 between the liberal interpretation required under our
 ·9 me to go through it?                                       ·9 own rules of discovery and the liberal construction in
 10· · · · · · · ·MR. BANKSTON:· You know what might work      10 favor of the exercise of the attorney-client privilege.
 11 best is if you were to -- and I see you are reviewing      11· · · · · · · ·Therefore, the Court decided that any
 12 now.                                                       12 privileges were waived once the witness relied on that
 13· · · · · · · ·MS. BLOTT:· Yeah.                            13 document to provide testimony.· The Court said it would
 14· · · · · · · ·MR. BANKSTON:· If you were -- if you were    14 be unconscionable to prevent the adverse party from
 15 to determine if you even need to redact.· And if you do,   15 seeing and obtaining copies of it.
 16 then I will make sure that this office scans it for you    16· · · · · · · ·We've now been told that we will be
 17 and you're able to have a copy.                            17 prevented from seeing and obtaining copies of them.· We
 18· · · · · · · ·MS. BLOTT:· This entire page needs to be     18 object and we will move to compel.
 19 redacted.· Well, yeah.                                     19· · · · · · · ·MR. OGDEN:· Thank you, Mark.
 20· · · · · · · ·MR. BANKSTON:· Okay.· Well, why don't you    20· · · · · · · ·Ms. Blott, the floor's yours.
 21 make arrangements with the office staff here to have       21· · · · · · · ·MS. BLOTT:· Thank you, very much.
 22 that scanned so you can have an electronic copy, and       22· · · · · · · ·The legal pad that Ms. Paz pulled out is
 23 then you can make whatever redactions you believe you      23 the handwritten notes of the transcribed notes that she
 24 need to make and we can bring our motion.· And then        24 provided to counsel yesterday.· When she transcribed
 25 Mr. Ogden can --                                           25 those notes, she did not, obviously, include the


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 60 of 106
Paz, Brittany                                       02-15-2022
                                                        230                                                           232
 ·1 confidential communication with her -- with the counsel    ·1· · · · · · · ·MR. OGDEN:· The good part about it is,
 ·2 for Free Speech Systems, Inc.· And because she did not     ·2 when I go through that, other than those two pages
 ·3 have her transcribed notes with her today, she pulled      ·3 you're talking about, I bet they're verbatim.· I hope
 ·4 out the legal pad -- and did not have those notes,         ·4 that they are.
 ·5 through no fault of her own.                               ·5· · · · · · · ·THE WITNESS:· Do you mean my notes?
 ·6· · · · · · · ·She pulled out the legal pad and has         ·6· · · · · · · ·MR. OGDEN:· Uh-huh.
 ·7 not -- we will have to check the videotape.· I don't       ·7· · · · · · · ·THE WITNESS:· Pretty -- yeah.
 ·8 think that she has referred to it.· However, that being    ·8· · · · · · · ·The top part of the page.
 ·9 said, I have offered to take those portions of the         ·9· · · · · · · ·MS. BLOTT:· Okay.· That's what I thought.
 10 tablet that are subject to the attorney-client privilege   10 I just wanted to make sure.
 11 and redact them.· And my understanding is that your        11· · · · · · · ·THE WITNESS:· This makes me wish my
 12 position is that that attorney-client privilege has been   12 handwriting was better.· Now everybody's gonna see my
 13 waived.                                                    13 real --
 14· · · · · · · ·MR. OGDEN:· My -- my position is, yes,       14· · · · · · · ·MS. BLOTT:· Well, at least we're off the
 15 it's been waived.                                          15 record.
 16· · · · · · · ·MS. BLOTT:· Okay.                            16· · · · · · · ·MR. OGDEN:· Everybody's gonna think you're
 17· · · · · · · ·MR. OGDEN:· For the sake of efficiency,      17 a surgeon.
 18 how many pages do you need to redact?                      18· · · · · · · ·(Brief pause.)
 19· · · · · · · ·MS. BLOTT:· Two.                             19· · · · · · · ·(Ms. Blott handing notepad to Mr. Ogden.)
 20· · · · · · · ·MR. OGDEN:· Okay.· If you'd like to pull     20· · · · · · · ·MR. OGDEN:· Thank you.
 21 that yellow piece of paper off and stick it over the       21· · · · · · · ·Mark, take a gander.
 22 page that those are in, we can go through them with this   22· · ·Q.· ·(By Mr. Ogden) Exhibit 16, maybe 17 -- 17.
 23 witness.· We don't want to have to come back.· It's        23· · ·A.· ·Okay.
 24 expensive for everybody.· And then we can have that        24· · ·Q.· ·Okay.· Have you ever seen that before?
 25 given to the court reporter so that she can preserve the   25· · ·A.· ·I don't remember.

                                                        231                                                           233
 ·1 original, and we can brief whether or not we're entitled   ·1· · ·Q.· ·Okay.· Do you know what a UCC-1 is?
 ·2 to the two redacted pages.                                 ·2· · ·A.· ·Kind of.· Like I said, I'm not an accountant.
 ·3· · · · · · · ·And, just to be clear, the two pages         ·3 So kind of.
 ·4 you're referring to are attorney work product or are       ·4· · ·Q.· ·Okay.· You understand that this goes directly
 ·5 they attorney-client privilege?                            ·5 to Free Speech Systems assets and/or liabilities,
 ·6· · · · · · · ·MS. BLOTT:· Attorney-client privilege.       ·6 correct?
 ·7· · · · · · · ·MR. OGDEN:· Okay.· The bigger question is:   ·7· · ·A.· ·Yes.
 ·8 Are they, like, bad for you guys or what?                  ·8· · ·Q.· ·What is -- what's your understanding of what a
 ·9· · · · · · · ·MS. BLOTT:· No, not at all.                  ·9 UCC-1 does?
 10· · · · · · · ·Oh, okay.                                    10· · ·A.· ·I don't -- I -- honestly, I don't think I could
 11· · · · · · · ·MR. OGDEN:· I get caught up, too.            11 tell you with any -- with any specificity.
 12 Sometimes I argue just to argue.· I was just curious.      12· · ·Q.· ·That's fine.· You said that you had a general
 13· · · · · · · ·MS. BLOTT:· Do you want me to pull these     13 understanding what it was.
 14 out and photocopy them and give the originals to her?      14· · · · · · · ·I just want to know what you believe it
 15 Is that what you suggested?                                15 is.
 16· · · · · · · ·MR. BANKSTON:· Wouldn't we be fine --        16· · ·A.· ·I think it's a financing statement for the --
 17· · · · · · · ·MR. OGDEN:· I just said, we -- we can have   17 for the company.
 18 the court reporter withhold the exhibit -- the             18· · ·Q.· ·What do you mean financing statement?
 19 unredacted version and she'll have a copy of it, and       19· · ·A.· ·I think that it's a statement on the company's
 20 then we can -- you can get that from her, send it to       20 finances to the government.
 21 Court, and we can have our motion.                         21· · ·Q.· ·Okay.· What about the company's finances?
 22· · · · · · · ·MS. BLOTT:· Well, just to be perfectly       22· · ·A.· ·I -- I don't know.· Like I said, I don't
 23 clear, I don't have a problem with you having copies of    23 recall.· I don't know whether I've seen this.
 24 her notes, except to the extent of the pages that          24· · ·Q.· ·Okay.· So that's fine.
 25 contain...                                                 25· · ·A.· ·I don't know if I've spoken to anybody about


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 61 of 106
Paz, Brittany                                       02-15-2022
                                                        234                                                           236
 ·1 it.                                                        ·1· · ·Q.· ·Because right here, we've got a UCC-1 statement
 ·2· · ·Q.· ·Based on those two answers, I'm gonna go ahead    ·2 that was filed on November 18th, 2020, correct?
 ·3 and assume really you don't know what this document is?    ·3· · ·A.· ·That's what it says.
 ·4· · ·A.· ·Right.                                            ·4· · ·Q.· ·By Bob Roe's company, correct?
 ·5· · ·Q.· ·Because you said it's a financing statement,      ·5· · ·A.· ·I see that.
 ·6 which is -- it says UCC financing statement at the top.    ·6· · ·Q.· ·On behalf of Free Speech Systems as the debtor,
 ·7· · ·A.· ·Basically.                                        ·7 correct?
 ·8· · ·Q.· ·You're just kind of reading it.                   ·8· · ·A.· ·That's correct.
 ·9· · · · · · · ·So when it comes to liabilities of the       ·9· · ·Q.· ·And on -- and as the secured party in Paragraph
 10 company, are any of them secured?                          10 3, it lists PQPR, correct?
 11· · ·A.· ·Secured by -- what do you mean?· Secured by a     11· · ·A.· ·That's right.
 12 note?                                                      12· · ·Q.· ·Could that be a conflict of interest?
 13· · ·Q.· ·Do you know what a secured debt is?               13· · ·A.· ·I can't say.
 14· · ·A.· ·I'm sorry.· I don't -- I don't know how to        14· · ·Q.· ·Because it sounds like a conflict of interest.
 15 answer that, and I'm not sure what the answer is.          15· · ·A.· ·I don't -- I don't know.
 16· · ·Q.· ·When coming to evaluate the company's net         16· · ·Q.· ·Is it -- have you ever -- I think I know the
 17 worth --                                                   17 answer to this.
 18· · ·A.· ·Uh-huh.                                           18· · · · · · · ·But have you ever seen a company secure a
 19· · ·Q.· ·-- you had to look at liabilities and you had     19 $53 million debt nine months after a lawsuit is filed on
 20 to look at assets, right?                                  20 a debt that no one has any idea how old it is or why
 21· · ·A.· ·Right.· Yes.                                      21 it's so big?
 22· · ·Q.· ·Okay.· Do you know what the difference is on a    22· · ·A.· ·Well, I have an idea as to why it's so big.
 23 secured liability versus an unsecured liability?           23 But I can't answer your primary question, which is, in
 24· · ·A.· ·I don't know the difference.                      24 my experience, have I ever seen that, because, as I've
 25· · ·Q.· ·So as you sit here today, you are in no           25 said, I don't have that kind of experience.· I don't

                                                        235                                                           237
 ·1 position to testify as to whether or not any of the        ·1 think I'm qualified to answer it.
 ·2 company's net worth is in a secured debtor's hands or if   ·2· · ·Q.· ·Why is it so big?
 ·3 any of it has been secured whatsoever, true?               ·3· · ·A.· ·As I testified earlier, there had been a
 ·4· · ·A.· ·I don't know.· That's right.                      ·4 significant period of time where the -- the product that
 ·5· · ·Q.· ·Okay.· Do you -- you remember you talked to       ·5 was being purchased and sold by PQPR on Infowars'
 ·6 Bob?                                                       ·6 website was not being paid to PQPR.· And so that money
 ·7· · ·A.· ·Yeah, I spoke to Bob.                             ·7 represents the amount that is due and owing to PQPR for
 ·8· · ·Q.· ·And that's -- and that's Bob Roe?                 ·8 those sales.
 ·9· · ·A.· ·Yes.                                              ·9· · ·Q.· ·Just for the benefit of the jury, you would
 10· · ·Q.· ·Okay.· And Mr. Roe, he gave you kind of a         10 agree that this spider web of trusts and secured
 11 presentation, correct?                                     11 beneficiaries for different subsidiaries or holding
 12· · ·A.· ·Yes.                                              12 companies is just a way for Free Speech Systems to
 13· · ·Q.· ·Okay.· Do you know what company he works for?     13 protect its money from people that file lawsuits against
 14· · ·A.· ·Acuity.                                           14 them?
 15· · ·Q.· ·Okay.· You see the name on the file at the        15· · ·A.· ·No, I don't agree.
 16 top-left corner?                                           16· · ·Q.· ·Okay.· Why'd they set it up this way?
 17· · ·A.· ·Yes.                                              17· · ·A.· ·I don't know why it was set up this way.
 18· · ·Q.· ·Do you know if Acuity -- do you know when Bob     18· · ·Q.· ·But you definitely don't agree that it -- it
 19 Roe became a consultant for Free Speech Systems -- Free    19 was set up to -- to protect the assets of Mr. Jones?
 20 Speech Systems and stopped his relationship with PQPR      20· · ·A.· ·I don't know why it was set up.· I don't think
 21 Holdings, Limited?                                         21 it was in relationship to this lawsuit.
 22· · ·A.· ·I don't know the exact date of -- when I asked    22· · · · · · · ·As I testified earlier, the trusts and
 23 Bob about it, he said it was a couple of years ago.        23 that -- that structure of the companies was in motion
 24· · ·Q.· ·Okay.                                             24 prior to the lawsuit.
 25· · ·A.· ·So -- but I don't know the exact date.            25· · ·Q.· ·And you got that from Robert Roe?


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 62 of 106
Paz, Brittany                                       02-15-2022
                                                        238                                                           240
 ·1· · ·A.· ·Mr. Roe, Mr. Jones; that's correct.               ·1 ask?
 ·2· · ·Q.· ·Okay.· So the individual who worked for one       ·2· · ·A.· ·Well, I didn't know to ask.· But I think that
 ·3 company, switched over and worked for another and          ·3 they tried to give me the information that I needed to
 ·4 secured debt to one another with the sole proprietor       ·4 testify on the topic.
 ·5 being a 72 percent beneficiary to three parent holding     ·5· · ·Q.· ·You said that you think they tried to give you
 ·6 companies down.                                            ·6 the answer -- the information you needed.
 ·7· · · · · · · ·You trusted him and you trusted Mr. Jones,   ·7· · · · · · · ·Or could it also be that they -- you
 ·8 the sole proprietor of a company that is the subject of    ·8 accepted as true the answers that they wanted you to
 ·9 a number of defamation lawsuits involving parents who      ·9 accept?
 10 lost children in a school shooting, who he, for years,     10· · ·A.· ·No.· I think also the problem is that I
 11 then went on to say that it didn't happen or it did, but   11 don't -- I am not -- I am a corporate rep for Free
 12 -- but there was a government conspiracy and all this      12 Speech; I'm not a corporate rep for PQPR or PLJR.· So I
 13 other stuff.                                               13 don't think that I need to necessarily have all the
 14· · · · · · · ·That -- those are the two people you         14 nitty-gritty informations [sic] on other companies that
 15 trusted, correct?                                          15 are not Free Speech.
 16· · ·A.· ·Those are the people with the information, so     16· · ·Q.· ·Okay.· Based on this balance sheet, how is
 17 yes.                                                       17 Mr. Jones covering his bills every month?
 18· · ·Q.· ·You think it's odd that they picked somebody      18· · · · · · · ·Excuse me.· How is Free Speech Systems
 19 for this topic that has zero financial background?         19 covering their bills every month?
 20· · ·A.· ·I can't answer that; I don't know.                20· · ·A.· ·So there are -- so there's income that the --
 21· · ·Q.· ·When -- were you surprised when they said         21 that Free Speech makes off of the relationship with PQPR
 22 you're gonna be talking about our finances and net         22 via the sales.· PQPR also pays money to Free Speech for
 23 worth?                                                     23 advertising on the website, that includes the banners
 24· · ·A.· ·I wasn't surprised.· I had seen the notice of     24 and such.· So that's -- and so, essentially, the way
 25 deposition.                                                25 that the business makes money is -- is those two primary

                                                        239                                                           241
 ·1· · ·Q.· ·Were you surprised when people started having     ·1 ways.
 ·2 to make charts and breakdowns of the different             ·2· · ·Q.· ·Okay.· Let's look at the balance sheet that was
 ·3 subsidiaries, who owned them and how many percent?         ·3 provided.· It's Exhibit 15, I believe.
 ·4· · ·A.· ·No, not necessarily.· I'm aware that businesses   ·4· · ·A.· ·Okay.
 ·5 own shares through LLCs -- through other LLCs.· So I       ·5· · ·Q.· ·That one (indicating).· Yeah.
 ·6 don't think it's necessarily odd.                          ·6· · · · · · · ·So the balance sheet is for all of 2020,
 ·7· · ·Q.· ·No.· You're -- you're completely right.           ·7 correct.· You understand that?
 ·8· · · · · · · ·But are all of the holding LLCs typically    ·8· · ·A.· ·That's what it says.
 ·9 going to be the -- a sole proprietor's parents or          ·9· · ·Q.· ·Okay.· And can you tell me where the income is
 10 children or themselves?                                    10 that Infowars makes from PQPR for advertising?
 11· · ·A.· ·Oh, like I said, I don't know.· I'm not           11· · ·A.· ·I don't know if this is not a specific line
 12 qualified to answer that.                                  12 item.· I know that there are -- there are line items
 13· · ·Q.· ·What's a spendthrift trust?                       13 more -- that would give this more specificity, but
 14· · ·A.· ·I don't know if that's what this type of trust    14 there's no way to tell from looking at this.
 15 is.· And, honestly, I don't have a background in trust     15· · ·Q.· ·Do you know what the GAP is?
 16 and estates either, so I can't answer that.                16· · ·A.· ·What do you mean, the GAP?
 17· · ·Q.· ·So throughout this, no one even told you the      17· · ·Q.· ·Do you know what GAP means in this context that
 18 AEJ Trust is a spendthrift?· Nobody even told you that?    18 you're testifying about?
 19· · ·A.· ·I don't know what type of trust it is, no.        19· · ·A.· ·I don't know what you mean by GAP.
 20· · ·Q.· ·You didn't ask either, right?                     20· · ·Q.· ·I'm gonna represent to you it's not a store at
 21· · ·A.· ·I know what the trust does.· But...               21 the mall.
 22· · ·Q.· ·Didn't ask you that.                              22· · ·A.· ·I didn't think it was.
 23· · ·A.· ·But, no, I don't ask -- I didn't ask what type    23· · ·Q.· ·Generally accepted accounting principals.
 24 of trust it was.                                           24· · · · · · · ·Do you know any of them?
 25· · ·Q.· ·Okay.· Why not, other than you didn't know to     25· · ·A.· ·I'm not an accountant, so no.


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 63 of 106
Paz, Brittany                                       02-15-2022
                                                        242                                                           244
 ·1· · ·Q.· ·On a balance sheet, you use the term line item.   ·1· · ·A.· ·Yes.· Paying somebody in response -- in
 ·2· · · · · · · ·What's a line item?                          ·2 response to things -- good or service that you received,
 ·3· · ·A.· ·A line item is more specific information on --    ·3 yes.
 ·4 on these numbers.                                          ·4· · ·Q.· ·You know what transfer means?
 ·5· · ·Q.· ·Okay.· So if there's not a specific line item,    ·5· · ·A.· ·Transfer of money.
 ·6 there would still be a -- a broader category that would    ·6· · ·Q.· ·Do you know what assets are?
 ·7 encompass that income.                                     ·7· · ·A.· ·Assets could be money, it could be other
 ·8· · · · · · · ·Can you tell me which one?                   ·8 items --
 ·9· · · · · · · ·And if you don't know, I understand.         ·9· · ·Q.· ·Okay.
 10· · ·A.· ·I don't know if it's -- if it's redacted here     10· · ·A.· ·-- including money.
 11 under assets.· So it may be in this redacted.· But, like   11· · ·Q.· ·Has -- has Free Speech Systems transferred any
 12 I said, I don't know because it's redacted.                12 assets without an exchange of goods and services from
 13· · ·Q.· ·Okay.· But your best guess is that, that          13 the time this lawsuit was filed to now?
 14 redacted line item would be your interest made from        14· · ·A.· ·That's a really broad question, and I don't
 15 PQPR?                                                      15 know how to answer it.
 16· · ·A.· ·I -- I don't know.· Like I said, I -- I don't     16· · ·Q.· ·Well, it's a very broad question, so it should
 17 see the specific line item here for that.                  17 be easy to answer, based on your knowledge.· If there's
 18· · ·Q.· ·I have a question.                                18 not very many at all, then it wouldn't be hard at all
 19· · ·A.· ·Sure.                                             19 either.
 20· · ·Q.· ·PQPR is owed $53 million, according to you,       20· · ·A.· ·I don't -- honestly, I didn't ask that
 21 right?                                                     21 question, so I don't know how to answer it.
 22· · ·A.· ·About, yes.                                       22· · ·Q.· ·So the broadness of the question doesn't
 23· · ·Q.· ·Why are they paying Infowars for advertising      23 matter.
 24 when they could just keep that money and have the          24· · · · · · · ·You just don't know one way or the other,
 25 amount -- the -- the note go down?                         25 no matter how specific I get, true?

                                                        243                                                           245
 ·1· · ·A.· ·I think that the -- the answer that I got when    ·1· · ·A.· ·True.· I don't know specifically what you're
 ·2 I spoke to Mr. Roe and Mr. Jones was the efforts that      ·2 referring to, but I didn't ask that specific question --
 ·3 have been made to make sure their -- the two companies     ·3· · ·Q.· ·Okay.
 ·4 are -- are not so financially entangled.· So it's easier   ·4· · ·A.· ·-- so I don't know the answer to it.
 ·5 to have them pay out the marketing and then have us        ·5· · ·Q.· ·Did you -- you reviewed the Interrogatory,
 ·6 reimburse them than it is to just say, oh, just take it    ·6 Exhibit 13?
 ·7 off what I owe you.· It makes for cleaner tracking.        ·7· · ·A.· ·Okay.· Yes.
 ·8· · ·Q.· ·Okay.· So for the first time in the history of    ·8· · ·Q.· ·Okay.· So you see B?
 ·9 this case, we have something in the business from Free     ·9· · ·A.· ·I'm sorry.· What page are you on?· Is this
 10 Speech that's cleaner tracking.                            10 Page 4.
 11· · · · · · · ·This is where they decided they wanted to    11· · ·Q.· ·Page 4, yeah.
 12 be clean?                                                  12· · ·A.· ·Okay.
 13· · ·A.· ·This only happened, like I said, within the       13· · ·Q.· ·Part B listed in it, it asks for all assets
 14 last few months.· So...                                    14 transferred in any manner.
 15· · ·Q.· ·Before that, what was happening?                  15· · ·A.· ·Okay.
 16· · ·A.· ·As I testified earlier, there really was no set   16· · ·Q.· ·Okay.· So with that said, were any of these
 17 schedule to repay this debt or any set schedule to make    17 transfers done without an exchange -- a fair exchange of
 18 payments to PQPR for the costs of the products.· So --     18 goods and services?
 19 so there really wasn't anything clean about it.            19· · ·A.· ·What transfers are you referring to?
 20· · ·Q.· ·Okay.· The -- at any point since 2018 to today,   20· · ·Q.· ·Any at all.· They didn't itemize them, and
 21 has Infowars transferred any assets without an exchange    21 that's why you are sitting in the chair to answer the
 22 of goods or services?                                      22 specific question.· That's what you were tasked for.
 23· · ·A.· ·I don't -- I don't know what you mean.· I'm       23· · ·A.· ·What do you mean itemized transfers?
 24 sorry.                                                     24· · · · · · · ·I don't see any transfers listed here.
 25· · ·Q.· ·Do you know what goods and services are?          25· · ·Q.· ·They're -- they're not itemized.· And the


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 64 of 106
Paz, Brittany                                       02-15-2022
                                                        246                                                           248
 ·1 reason I'm asking you for the itemized information is      ·1· · ·Q.· ·So you'd say, currently, as you sit there, you
 ·2 because you're tasked with telling us what this means.     ·2 are disseminating information that is unverified?· Does
 ·3· · ·A.· ·I guess I don't understand the question.· And     ·3 that sound familiar with regard to the defendant you're
 ·4 I'm sorry that might just be because I don't have a        ·4 sitting in that chair for?
 ·5 background in this.                                        ·5· · ·A.· ·I'm sorry.· I don't understand the question.
 ·6· · · · · · · ·But it says a list of all assets             ·6· · ·Q.· ·Sure.· Free Speech Systems, they spit out a
 ·7 transferred.· And there is a list of what assets the       ·7 bunch of information that is completely unverified; some
 ·8 company possesses, but I don't see where you're            ·8 of it is just made up.
 ·9 referring to that there are transfers.                     ·9· · · · · · · ·And you're sitting here today -- does --
 10· · · · · · · ·Can you point me to that.                    10 everything that you're giving us, you didn't verify?
 11· · ·Q.· ·No, I can't.· Because this answer doesn't give    11· · ·A.· ·I didn't independently verify these, no.
 12 them, which is why I'm asking you to give them to me       12· · ·Q.· ·You didn't even ask why Robert Roe, a
 13 now.                                                       13 consultant that does not work for the company, had full
 14· · ·A.· ·Well, the answer is -- the answer here, as I      14 access to the company's books to the point where a year
 15 read it, it doesn't seem to be responsive to B at all.     15 and -- I don't know -- four months after the year was
 16 It doesn't say that there's any transfers.                 16 over was able to go in and change numbers?· You didn't
 17· · ·Q.· ·You are completely right --                       17 ask why, did you?
 18· · ·A.· ·Okay.                                             18· · ·A.· ·No.· I asked why, and I gave you my answer as
 19· · ·Q.· ·-- which is why I'm asking.                       19 to why.· I know you -- I don't know if you don't
 20· · ·A.· ·You're assum- -- I guess my question is:          20 understand why.
 21 You're assuming there are transfers, but you're not        21· · · · · · · ·But as far as verifying, I mean, like I
 22 sure, and that is your question to me as to whether        22 said, I didn't check these numbers myself.· But I did
 23 there any transfers.                                       23 see the tax return forms, the Schedule Cs, these numbers
 24· · ·Q.· ·Are there any transfers?                          24 are -- are the same as the numbers that are on the
 25· · ·A.· ·I don't know.                                     25 Schedule Cs.

                                                        247                                                           249
 ·1· · ·Q.· ·Did you ask?                                      ·1· · · · · · · ·MR. OGDEN:· Ms. Blott --
 ·2· · ·A.· ·I did not ask.                                    ·2· · · · · · · ·Let's stop there.
 ·3· · ·Q.· ·You would agree that's a pretty bad fact?         ·3· · · · · · · ·Ms. Blott, this witness, now for the
 ·4· · ·A.· ·A bad fact as to what?                            ·4 second time, has given me information that in
 ·5· · ·Q.· ·That you didn't ask.                              ·5 preparation for her testimony today relied on tax
 ·6· · ·A.· ·I did not ask.                                    ·6 records that have not been produced.
 ·7· · ·Q.· ·If you're sitting here -- I can read these        ·7· · · · · · · ·What are we gonna do about it?
 ·8 words.· I understand all these words in this order.        ·8· · · · · · · ·It's kind of -- it's like a revolving door
 ·9· · ·A.· ·Yes.                                              ·9 at this point.
 10· · ·Q.· ·Right?                                            10· · · · · · · ·MS. BLOTT:· It is not a complete tax
 11· · · · · · · ·You're sitting here to answer the            11 return.
 12 questions that these answers don't provide, and you        12· · · · · · · ·MR. OGDEN:· I don't care what it is.
 13 can't.                                                     13 Whatever she had, I want.
 14· · · · · · · ·It's my -- it's my -- and correct me if      14· · · · · · · ·MS. BLOTT:· Okay.· I'm sorry.· Are you
 15 I'm wrong.· But the same individuals that have             15 gonna let me finish?
 16 everything to lose in this case gave you these numbers     16· · · · · · · ·MR. OGDEN:· Not if it starts with that.
 17 and answers and said, this is what -- that's what it is?   17· · · · · · · ·Go ahead.
 18· · ·A.· ·Well, I didn't do any independent analysis of     18· · · · · · · ·MS. BLOTT:· Just file your motion.
 19 it.· I don't have a background in accounting.· So I        19· · · · · · · ·MR. OGDEN:· I'm giving you a chance right
 20 don't think I'm in a position to verify the accuracy of    20 here to try and tread water a little longer.
 21 these numbers.                                             21· · · · · · · ·MS. BLOTT:· The Schedule C that she
 22· · ·Q.· ·Right.                                            22 reviewed, not the complete tax return, is not a
 23· · ·A.· ·I asked for them, and I think that I -- I did     23 finalized Schedule C and has not been filed with the
 24 what I could in the time that was available to me, and     24 Internal Revenue Service.
 25 testifying as best as I can on it.                         25· · · · · · · ·MR. OGDEN:· But the witness relied on it


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 65 of 106
Paz, Brittany                                       02-15-2022
                                                        250                                                           252
 ·1 for her testimony right now.· I don't understand where     ·1 Do I physically have it -- have I had physical
 ·2 the miscommunication is on my end.                         ·2 possession of it?· No.· It's like --
 ·3· · · · · · · ·MS. BLOTT:· I don't know why she's           ·3· · · · · · · ·MR. OGDEN:· How'd you see it?
 ·4 testifying that she relied on it.· It has the same         ·4· · · · · · · ·MS. BLOTT:· On a screen.
 ·5 numbers as what she's looking at now.                      ·5· · · · · · · ·It's just like the Bates labeling -- or,
 ·6· · · · · · · ·MR. OGDEN:· How do you know?· Have you       ·6 excuse me -- the financial documents.· I received those
 ·7 seen it?                                                   ·7 on Friday.
 ·8· · · · · · · ·MS. BLOTT:· Yeah.                            ·8· · · · · · · ·MR. OGDEN:· I'm questioning Ms. Paz on net
 ·9· · · · · · · ·MR. OGDEN:· Okay.· Why hasn't it been        ·9 worth.
 10 produced?                                                  10· · · · · · · ·MS. BLOTT:· I understand that.
 11· · · · · · · ·MR. BANKSTON:· Why are we not producing it   11· · · · · · · ·MR. OGDEN:· When were you gonna give it to
 12 right now at this very second?                             12 me?· After the depo?
 13· · · · · · · ·MS. BLOTT:· Do you want to continue with     13· · · · · · · ·MS. BLOTT:· So what do you want to do?
 14 the deposition?                                            14· · · · · · · ·MR. OGDEN:· I don't know much more I can
 15· · · · · · · ·MR. BANKSTON:· Wow.                          15 do.
 16· · · · · · · ·MR. OGDEN:· I -- if that -- I'm literally    16· · · · · · · ·MS. BLOTT:· Okay.
 17 giving you, you know, a lifeline here to try and just      17· · · · · · · ·MR. OGDEN:· I mean, this is every time I
 18 fix it.· If you have it, hand it over.· If not -- we can   18 turn the corner, I've got something new or something --
 19 cure it now.                                               19 I mean --
 20· · · · · · · ·But if that's -- if your response is file    20· · · · · · · ·MS. BLOTT:· Okay.
 21 your motion or would you like to continue, then I will.    21· · · · · · · ·MR. OGDEN:· I think at this point, we
 22· · · · · · · ·MS. BLOTT:· Well, here is my explanation.    22 should suspend the depo so that we can brief this to the
 23 It's an explanation; it's not an excuse.                   23 Court, because the Court, in the hearing, was very
 24· · · · · · · ·Since the day I got on this case, I have     24 clear, that if there are any issues, to bring them to
 25 been working round the clock to get the production --      25 her attention, and she will act swiftly so that the

                                                        251                                                           253
 ·1 verify the documents you have been provided with are       ·1 trial date is not interrupted.
 ·2 full and complete documents.                               ·2· · · · · · · ·MS. BLOTT:· Okay.
 ·3· · · · · · · ·As an example, I realized when I saw the     ·3· · · · · · · ·MR. OGDEN:· Do you have a solution
 ·4 profit and loss and the balance sheet that it had not      ·4 different to that?
 ·5 been produced because of differences in opinions on the    ·5· · · · · · · ·MS. BLOTT:· No.
 ·6 definition of financial statement.                         ·6· · · · · · · ·MR. OGDEN:· Okay.· Well, then we'll
 ·7· · · · · · · ·MR. BANKSTON:· Brad Reeves says you're not   ·7 suspend the deposition.
 ·8 telling the truth, by the way.                             ·8· · · · · · · ·MR. BANKSTON:· Actually, can I confer with
 ·9· · · · · · · ·I'm sorry.· I didn't hear you.               ·9 you for a couple of minutes about some questions?
 10· · · · · · · ·MS. BLOTT:· I said, oh, gee, surprise,       10· · · · · · · ·MR. OGDEN:· We won't suspend.· Let's take
 11 surprise.                                                  11 a five-minute break.
 12· · · · · · · ·MR. BANKSTON:· Oh, so -- okay.· So -- so I   12· · · · · · · ·MS. BLOTT:· You're not leaving with that
 13 just want to make sure we're clear on the record.          13 notebook in your hand.
 14· · · · · · · ·We're just going to go ahead and make the    14· · · · · · · ·THE REPORTER:· Okay.· Can we go off the
 15 assertion that it's not surprising that Brad Reeves said   15 record?
 16 something that you think is false, because I guess the     16· · · · · · · ·MR. OGDEN:· Yes.
 17 implication is Brad Reeves is a liar or has a propensity   17· · · · · · · ·THE VIDEOGRAPHER:· We are off the record
 18 for lying.· And I certainly didn't find that Brad          18 at 2:57.
 19 Reeves.                                                    19· · · · · · · ·(Recess from 2:57 p.m. to 3:04 p.m.)
 20· · · · · · · ·MR. OGDEN:· Okay.· Let's just do this. I     20· · · · · · · ·THE VIDEOGRAPHER:· We are back on the
 21 think with where we're at now on this impasse, doesn't     21 record at 3:04.
 22 seem like there's very much more we can do.· If I don't    22· · · · · · · ·MR. OGDEN:· We took a break.· I think that
 23 have the document, I'm not really hearing from you that    23 at this point it is the safest decision for all parties
 24 you're going to give it to me.                             24 to suspend any more testimony on net worth until we can
 25· · · · · · · ·MS. BLOTT:· I am going to give it to you.    25 get a complete set of documents and -- and kind of have


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 66 of 106
Paz, Brittany                                       02-15-2022
                                                        254                                                           256
 ·1 a understanding of what direction this is even going to    ·1· · ·A.· ·Well, not that it wasn't reliable, but that I
 ·2 go.· But I do have a couple of follow-ups.                 ·2 think he thinks that people are -- people associated
 ·3· · · · · · · ·MR. BANKSTON:· There's one, two, three --    ·3 with certain entities are posting things on there to try
 ·4 they're marked.                                            ·4 to -- like a breadcrumb to get him to pick up on bait.
 ·5· · ·Q.· ·(By Mr. Ogden) And this is Exhibit --             ·5 So I think that that was the sum and substance of that
 ·6· · · · · · · ·THE WITNESS:· It's already -- I think it's   ·6 part of our conversation.
 ·7 already marked.                                            ·7· · ·Q.· ·What entities?
 ·8· · · · · · · ·THE REPORTER:· You already marked it.        ·8· · ·A.· ·The democratic party, people in the government,
 ·9· · · · · · · ·MR. OGDEN:· I know.· But I was gonna make    ·9 any other people that he -- he thinks are trying to
 10 it 18B -- 18A and D so it's clean.                         10 spread misinformation.
 11· · · · · · · ·I know I should have been a court            11· · ·Q.· ·Okay.· And did Mr. Jones, after Pizzagate, come
 12 reporter.· I would have less gray in my hair.              12 out and definitively tell his staff that 4chan is not a
 13· · · · · · · ·(Exhibit 18A marked.)                        13 reliable source to be using?
 14· · ·Q.· ·(By Mr. Ogden) I have marked a couple pages out   14· · ·A.· ·Well, I think my note here says I told them not
 15 of your notes, and I want to ask you about it.             15 to do it.· So I think at some point he -- you know, he
 16· · · · · · · ·We'll start with Page -- what's marked as    16 did convey to them that if you're -- I know you're
 17 18A out of Exhibit 18.                                     17 looking at, but if you're gonna see something on there,
 18· · · · · · · ·Do you see --                                18 make sure that there's other sources.
 19· · ·A.· ·Yes.                                              19· · ·Q.· ·Okay.· And in this case, the other source was a
 20· · ·Q.· ·-- see your notes there?                          20 Twitter post, correct?
 21· · · · · · · ·Okay.· Where did these notes come from?      21· · ·A.· ·I think that's what Mr. Daniels says in his
 22 Which interview, or who were you talking to?               22 answer.· But, yes, that he had seen it on social media;
 23· · ·A.· ·Can I flip back.                                  23 that's correct.
 24· · ·Q.· ·You can do whatever you want.                     24· · ·Q.· ·I'm not asking you about it the day after
 25· · ·A.· ·Oh, this was a conversation I had with            25 tomorrow.

                                                        255                                                           257
 ·1 Mr. Jones.                                                 ·1· · ·A.· ·Sure.
 ·2· · ·Q.· ·Okay.· And it says here at the top, perfect       ·2· · ·Q.· ·But it is unquestionable -- you know, it's not
 ·3 place to post disinfo, hyphen, 4chan, underline.           ·3 really any doubt in this case that what Kit Daniels did
 ·4· · · · · · · ·Do you see that?                             ·4 was just wrong, right?
 ·5· · ·A.· ·Yes.                                              ·5· · ·A.· ·It was inaccurate; that's correct.· I don't
 ·6· · ·Q.· ·What did you think that means -- why did you      ·6 think there's any dispute that the photograph was not of
 ·7 write that?                                                ·7 the shooter.· I don't think there's that dispute.
 ·8· · ·A.· ·So this was a conversation I had with Mr. Jones   ·8· · ·Q.· ·And has anybody during your preparation told
 ·9 about using 4chan --                                       ·9 you what Mr. Fontaine's gone through?
 10· · · · · · · ·THE WITNESS:· I'm sorry that's --            10· · ·A.· ·Has he gone through?· I mean, I read through
 11· · · · · · · ·MR. OGDEN:· It's okay.                       11 the materials as far as what was posted on the internet
 12· · · · · · · ·THE WITNESS:· -- my -- my father.            12 and in various comments on the internet.· And I said I
 13 (Turning off phone.)                                       13 read that letter from his therapist.· So I have some
 14· · ·A.· ·So this was a conversation I had with Mr. Jones   14 idea of what he's been through, yes.
 15 about using 4chan for material from which to draw, and     15· · ·Q.· ·Do you know that Mr. Fontaine suffers from some
 16 Mr. Jones' -- he -- he -- he -- as you can see after       16 mental health issues?
 17 that, I talked a lot about Pizzagate and operatives on     17· · ·A.· ·Pre this post, yes, I am aware of that.
 18 4chan.                                                     18· · ·Q.· ·And also post this post?
 19· · · · · · · ·And it's Mr. Jones' opinion that 4chan       19· · ·A.· ·I -- I don't know about that.· Like I said, I
 20 is -- that people purposefully sometimes post              20 read in the document that there weren't a lot of issues
 21 information on there for the purpose of misleading.· And   21 post post.
 22 he used Pizzagate as an example.· But his position was     22· · ·Q.· ·What do you know about his mental health pre
 23 he didn't realize that at the time.                        23 this incident?
 24· · ·Q.· ·But after Pizzagate, Mr. Jones realized 4chan     24· · ·A.· ·You want me to testify as his -- as to the
 25 was not a reliable?                                        25 diagnosis that I'm aware of?


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 67 of 106
Paz, Brittany                                       02-15-2022
                                                        258                                                           260
 ·1· · ·Q.· ·Nope.· I want you -- I want you to tell us what   ·1 being misidentified by Infowars as the Parkland shooter?
 ·2 you know.                                                  ·2· · ·A.· ·I don't know the extent to his damages. I
 ·3· · ·A.· ·Based on that material that I read that I just    ·3 didn't say he didn't suffer damages.· I don't know the
 ·4 referenced, his psychological -- it's not a psych          ·4 extent of his damages.
 ·5 record.· It would more adequately be characterized as a    ·5· · ·Q.· ·So we can agree that he did suffer damages?
 ·6 letter from his psychologist.· It summarizes his history   ·6· · ·A.· ·I don't -- I don't know.
 ·7 precontact with Mr. Fontaine, and it does diagnose him     ·7· · ·Q.· ·Okay.· Has anybody at Infowars told you that
 ·8 with Asperger's.                                           ·8 people contacted Marcel privately through messaging and
 ·9· · ·Q.· ·Okay.· Anything else that you know about          ·9 made threats?
 10 Mr. Fontaine?                                              10· · ·A.· ·I did not see any private communications in the
 11· · ·A.· ·Apart from what's in that letter, no.             11 material that I reviewed --
 12· · ·Q.· ·You know anything about Asperger's?               12· · ·Q.· ·It's --
 13· · ·A.· ·I don't have any personal knowledge of what       13· · ·A.· ·-- directly to Mr. Fontaine.
 14 Asperger's is, no.                                         14· · ·Q.· ·And I want you to understand that the reason
 15· · ·Q.· ·Okay.· I'll tell you it's -- it's on the          15 I'm asking you these questions is:· I think with this
 16 spectrum of autism.                                        16 case, specifically with all of the documents and all of
 17· · ·A.· ·Okay.                                             17 the sanctions and all of the moving parts that you had
 18· · ·Q.· ·And people that suffer from it are generally      18 to deal with, with Bob Roe and Dustin Whittenburg and
 19 very -- have a lot of social issues --                     19 Ms. Blott and Mr. Jones and Mr. Pattis and everyone else
 20· · ·A.· ·Okay.                                             20 that you had to go through to get to this point, I want
 21· · ·Q.· ·-- with their development and in their ongoing    21 you to know there's a real person on the other side.
 22 adult life.                                                22· · ·A.· ·Okay.
 23· · · · · · · ·Did you know that?                           23· · ·Q.· ·Go to the next one.
 24· · ·A.· ·Like I said, I don't have any personal            24· · · · · · · ·One follow up.
 25 knowledge about Asperger's, and I'm not really qualified   25· · · · · · · ·With the 4chan when Mr. Jones said not to

                                                        259                                                           261
 ·1 to say what it is or what the symptoms are.                ·1 do it, you didn't ask him when he said that, right?
 ·2· · ·Q.· ·Okay.· Well, you were tasked with the knowledge   ·2· · ·A.· ·Just based on my notes and just what I remember
 ·3 of Mr. Fontaine.                                           ·3 of my notes, it -- I'm not sure when.· He was
 ·4· · · · · · · ·And when you saw what it was, you didn't     ·4 referencing in relation to Pizzagate, but I'm not sure.
 ·5 do anything and take any steps to figure out what that     ·5· · · · · · · ·(Exhibit 18B marked.)
 ·6 meant, correct?                                            ·6· · ·Q.· ·(By Mr. Ogden) Okay.· With -- with regard to
 ·7· · ·A.· ·Well, I was tasked with what was in the           ·7 what's marked as 18B, bottom right corner, it says
 ·8 company's knowledge of Mr. Fontaine, which was what was    ·8 Infowars, LLC, and then it says Jacobson circled.
 ·9 in that letter.                                            ·9· · ·A.· ·Uh-huh.
 10· · ·Q.· ·Let me just ask --                                10· · ·Q.· ·Why?
 11· · ·A.· ·The definition of Asperger's is not contained     11· · ·A.· ·Those two things are not connected.
 12 in that material.· So...                                   12· · ·Q.· ·Why are they in the same box?
 13· · ·Q.· ·I'm just asking as person.                        13· · ·A.· ·I was doodling.
 14· · ·A.· ·As a person, I did not do any independent         14· · ·Q.· ·Okay.· Why do you have arrows pointing towards
 15 research as to what Asperger's is.                         15 it?
 16· · ·Q.· ·Do you have any personal feelings about what      16· · ·A.· ·I was doodling.
 17 happened in this case?                                     17· · ·Q.· ·Do you remember testifying yesterday?
 18· · ·A.· ·I don't have any personal feelings, no.           18· · ·A.· ·I did testify yesterday.
 19· · ·Q.· ·What about the Sandy Hook case?                   19· · ·Q.· ·Do you remember when you said you had never
 20· · ·A.· ·I think I was asked that question yesterday.      20 heard of affiliated relations?
 21· · ·Q.· ·Okay.                                             21· · ·A.· ·Yes.
 22· · ·A.· ·I don't have any personal feelings, no.           22· · ·Q.· ·Do you want to take a look a little bit higher
 23· · ·Q.· ·Okay.· Do you -- is it your position as the       23 than the first box I pointed you to.
 24 company today to sit here and say that Marcel Fontaine     24· · · · · · · ·What's that say in quotations in your
 25 did not suffer any injuries or damages as a result of      25 notes?


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 68 of 106
Paz, Brittany                                       02-15-2022
                                                        262                                                           264
 ·1· · ·A.· ·That was when you referenced it to me on the      ·1 circumstances involved.· And I think the depo's being
 ·2 record.· These are my notes from yesterday's deposition.   ·2 suspended just because you don't have documents. I
 ·3 And so I made a note because you asked me the questions    ·3 don't -- I don't think that has -- really relates to my
 ·4 regarding that, and I didn't know the answer.              ·4 testimony.· But...
 ·5· · ·Q.· ·Okay.· So you wrote this yesterday during the     ·5· · ·Q.· ·Okay.· Then I'll clear that up just so there's
 ·6 depo or...                                                 ·6 no confusion.
 ·7· · ·A.· ·Yes.· Those are my notes from yesterday --        ·7· · · · · · · ·Tell me the information that's in the
 ·8 well, I wouldn't call them notes, most of them doodles.    ·8 Schedule C that you reviewed in preparing for you
 ·9 But those are from yesterday.                              ·9 testimony.
 10· · ·Q.· ·Okay.                                             10· · ·A.· ·Oh, I can't cite to it, as I sit here.
 11· · · · · · · ·MR. BANKSTON:· I think that's the same       11· · ·Q.· ·You have it memorized?
 12 notes.                                                     12· · ·A.· ·I do not have it memorized.
 13· · · · · · · ·MR. OGDEN:· Yeah.· This is probably the      13· · ·Q.· ·So you're not prepared to talk about it, if you
 14 same thing.                                                14 don't have the document in front of you?
 15· · ·Q.· ·(By Mr. Ogden) Which -- do you remember which     15· · ·A.· ·I can't talk about it if it isn't in front of
 16 document Bradley Reeves never produced we were talking     16 me.
 17 about in 18C?                                              17· · ·Q.· ·Okay.· That's what --
 18· · · · · · · ·(Exhibit 18C marked.)                        18· · · · · · · ·MR. OGDEN:· We'll go ahead and go off the
 19· · ·A.· ·That was in response -- this is today's notes.    19 record.· We'll suspend there.
 20 It's dated.· This was in -- this is the note of your       20· · · · · · · ·MS. BLOTT:· Okay.· I have --
 21 discussion with Attorney Blott about the financial         21· · · · · · · ·THE VIDEOGRAPHER:· Off the record?
 22 document that wasn't produced and the discussion back      22· · · · · · · ·MR. OGDEN:· Stay on.· Ms. Blott would like
 23 and forth about whether it should have been produced or    23 to make a record.
 24 not.                                                       24
 25· · ·Q.· ·(By Mr. Ogden) Okay.· With -- with how this       25

                                                        263                                                           265
 ·1 depo's gone, how do you think you did?                     ·1· · · · · · · · · · · · EXAMINATION
 ·2· · ·A.· ·I think I did pretty good, depending just not     ·2 BY MS. BLOTT
 ·3 how -- obviously, I can't have all of the information      ·3· · ·Q.· ·Ms. Paz, did -- you testified that you did not
 ·4 about everything under the sun.· But given the task, I     ·4 read the Court's order with respect to the motion to
 ·5 think I did okay.                                          ·5 compel and for sanctions --
 ·6· · ·Q.· ·You had eight topics, right?                      ·6· · · · · · · ·MR. OGDEN:· I'll object.
 ·7· · ·A.· ·Yes.                                              ·7· · ·Q.· ·(By Ms. Blott) -- on the corporate --
 ·8· · ·Q.· ·You realize that you were not prepared to         ·8· · · · · · · ·MR. OGDEN:· I'll object to leading.
 ·9 discuss five -- three of them?                             ·9· · ·A.· ·Yes, I did.
 10· · ·A.· ·Okay.                                             10· · ·Q.· ·(By Ms. Blott) Did you see the order?
 11· · ·Q.· ·Okay.· So you still think that's a passing        11· · · · · · · ·MR. OGDEN:· Same objection.
 12 score?                                                     12· · ·A.· ·The order regarding the sanctions?
 13· · ·A.· ·Do you want me to give myself a rate from 0 to    13· · · · · · · ·I -- I don't know that I saw it.· I think
 14 100?                                                       14 we talked about it.
 15· · ·Q.· ·If you want to.                                   15· · · · · · · ·MR. OGDEN:· I'm going to object to
 16· · ·A.· ·I'm sorry?                                        16 nonresponsive.
 17· · ·Q.· ·I said if you would like to.                      17· · ·A.· ·I don't -- I don't remember seeing it.
 18· · ·A.· ·I'm asking what you would like for me in my       18· · ·Q.· ·(By Ms. Blott) Did you have conversations with
 19 answer.                                                    19 anyone about the judge's expectations?
 20· · ·Q.· ·I was just asking if you thought you -- now --    20· · ·A.· ·I did have conversations with counsel.
 21 now that we are at this point in the depo having to        21· · ·Q.· ·Was it your understanding that you were trying
 22 suspend the last topic for a number of reasons, if you     22 to determine the viewership based on the judge's ruling?
 23 thought -- if you still thought now, like you did at       23· · ·A.· ·Yes.
 24 beginning, which is that you were prepared?                24· · ·Q.· ·Did you -- was it your understanding that the
 25· · ·A.· ·I think I did a decent job, given all the other   25 judge gave instructions on specific things that could be


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 69 of 106
Paz, Brittany                                        02-15-2022
                                                        266                                                           268
 ·1 done to determine that?                                  ·1 between how it appears?
 ·2· · · · · · · ·MR. OGDEN:· Object to leading.             ·2· · ·Q.· ·Yes.
 ·3· · ·A.· ·Yes.                                            ·3· · ·A.· ·I mean, I don't have any technology on that,
 ·4· · ·Q.· ·(By Ms. Blott) Did you -- what was your         ·4 no.
 ·5 understanding of what was suggested by the judge to be   ·5· · ·Q.· ·Okay.· And you made references several times to
 ·6 done?                                                    ·6 posts.
 ·7· · ·A.· ·As I said, I didn't read the order.· But based  ·7· · · · · · · ·Were there times that you were referring
 ·8 on my conversation with counsel, the judge had suggested ·8 to actual posts on the internet versus posts that were
 ·9 that we try to determine the number of orders that were  ·9 produced as hard copies?
 10 placed on the days that those broadcasts were aired, and 10· · · · · · · ·Because I was confused about that.
 11 I believe we did that.                                   11· · · · · · · ·MR. OGDEN:· I'm gonna object to leading.
 12· · ·Q.· ·Okay.· And did you speak with someone at        12· · ·A.· ·I -- I don't understand the question.
 13 Infowars about doing that?                               13· · · · · · · ·MS. BLOTT:· Okay.· Pass the witness.
 14· · ·A.· ·The number of orders?· Yes.· I spoke to         14· · · · · · · ·MR. OGDEN:· Got quite a bit of follow ups
 15 somebody at the warehouse.· She worked -- well, I don't  15 now that we did that.
 16 think she works for Infowars.· I think she might work    16· · · · · · · · · · FURTHER EXAMINATION
 17 for PQPR.                                                17 BY MR. OGDEN
 18· · ·Q.· ·In the over-- you've test- -- with respect to   18· · ·Q.· ·Fontaine folder, correct?
 19 the documents that you reviewed in preparation for your  19· · ·A.· ·There was -- on the Dropbox, there was a folder
 20 testimony in the Sandy Hook cases, were those documents  20 labeled Fontaine on it, yes.
 21 separated between the two cases, meaning Sandy Hook and 21· · ·Q.· ·Who labeled it?
 22 Fontaine?                                                22· · ·A.· ·I didn't label it.· I don't know who labeled
 23· · ·A.· ·There was a Fontaine folder with production in  23 it.
 24 that specific case; but, otherwise, most of the          24· · ·Q.· ·Who sent it to you?
 25 documents were just Sandy Hook documents.                25· · ·A.· ·It was on the Dropbox.· It wasn't sent to me.

                                                        267                                                           269
 ·1· · ·Q.· ·Okay.· Were the documents in the Sandy Hook       ·1· · ·Q.· ·Is the Dropbox protected?
 ·2 folder equally pertinent to Fontaine in some instances     ·2· · ·A.· ·What do you mean is it protected?
 ·3 as it relates to the notice of deposition?                 ·3· · ·Q.· ·Does it require a password or does it require
 ·4· · ·A.· ·In some instances, yes.                           ·4 an invite, or is it --
 ·5· · · · · · · ·MR. OGDEN:· Well, we're gonna be here a      ·5· · ·A.· ·It required an invite, yes.
 ·6 while.                                                     ·6· · ·Q.· ·Who invited you?
 ·7· · ·Q.· ·(By Ms. Blott) Did you have any conversations     ·7· · ·A.· ·It was our consultant at the time.· I don't
 ·8 with employees regarding editorial conversations?          ·8 think he's our consultant anymore.
 ·9· · ·A.· ·I asked employees.· Specifically, I spoke to      ·9· · ·Q.· ·What's his name?
 10 Adan, to Mr. Jones, to -- to Mr. Daniels regarding         10· · ·A.· ·Chris LaTronica.
 11 whether or not they had editorial discussions, and that    11· · ·Q.· ·LaTronica.· Just laughing when I write that
 12 would include, I guess, personal discussions.· And I       12 name because there's no way me or the court reporter can
 13 confirmed that there -- they wouldn't -- they didn't       13 get that one right.
 14 have any editorial discussions.· The only discussion       14· · ·A.· ·It's L-a, capital, T-r-o-n-i-c-a.
 15 that Mr. Salazar recalled -- I think we talked about       15· · ·Q.· ·Okay.· And Mr. LaTronica is a criminal defense
 16 this yesterday in connection Mr. Jacobson.· That wasn't    16 attorney in Brooklyn, New York.
 17 regarding the Fontaine case, though, that was regarding    17· · ·A.· ·I believe so, yes.
 18 the Sandy Hook case.· But other than that...               18· · ·Q.· ·Okay.· So your electronic consultant's a
 19· · ·Q.· ·Do you know -- do you know the distinction        19 criminal defense attorney in Brooklyn.
 20 between how electronic data is printed and hard form       20· · · · · · · ·When was he brought on as your consultant?
 21 versus web pages?                                          21· · ·A.· ·I don't know.· I know he's been involved in the
 22· · ·A.· ·How it's printed versus how it appears on a web   22 case longer than I have.
 23 page?                                                      23· · ·Q.· ·Okay.
 24· · ·Q.· ·Yes.                                              24· · ·A.· ·So I don't know.
 25· · ·A.· ·You mean how -- how -- is there a difference      25· · ·Q.· ·So as far as preservation and issues with


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 70 of 106
Paz, Brittany                                       02-15-2022
                                                        270                                                           272
 ·1 document production and possibly altered or -- or          ·1 for the financials and a second time for a second
 ·2 corrupted documents, he would be a person that we would    ·2 deposition, if that's your question.
 ·3 want to talk to, correct?                                  ·3· · ·Q.· ·Financials weren't a topic yesterday, were
 ·4· · ·A.· ·I don't think that's accurate.· I think all he    ·4 they?
 ·5 did was organize the folders.· I don't think he had any    ·5· · ·A.· ·I wasn't asked about it, no.
 ·6 responsibility in production of any documents.             ·6· · ·Q.· ·Yet you still prepared?
 ·7· · ·Q.· ·When did he organize the folders?                 ·7· · ·A.· ·I prepared on the financials.
 ·8· · ·A.· ·I don't know when he did it.                      ·8· · ·Q.· ·Okay.· Well, it sounds like you prepared for
 ·9· · ·Q.· ·Before you came on?                               ·9 the financials for Sandy Hook and for Fontaine?
 10· · ·A.· ·Before and probably during.· They were actively   10· · ·A.· ·I prepared to speak on the financials, and I
 11 being reorganized.                                         11 thought I would be asked them at -- at yesterday's
 12· · ·Q.· ·Okay.· The -- what -- what files were in the      12 deposition.
 13 Fontaine folder that Chris LaTronica put together for      13· · ·Q.· ·What made you think that?
 14 you?                                                       14· · ·A.· ·That's -- that was my impression, but
 15· · ·A.· ·Those would be the -- whatever we had regarding   15 apparently it was inaccurate.
 16 what we produced.· And, as I indicated, there were also    16· · ·Q.· ·Did you read the depo notices?
 17 files in there that the plaintiffs produced that had       17· · ·A.· ·I did.
 18 your Bates numbers on it.                                  18· · ·Q.· ·They weren't identical.
 19· · ·Q.· ·Did you ask if that was a complete set of all     19· · · · · · · ·You understand that, right?
 20 files produced by plaintiffs and defendants?               20· · ·A.· ·I understand they're not identical.
 21· · ·A.· ·I don't know if it's a complete set.              21· · ·Q.· ·Nothing in the deposition topics you were
 22· · ·Q.· ·The judge tasked you with reading every single    22 tasked with being prepared yesterday had anything to do
 23 document produced, right?                                  23 with the financials, correct?
 24· · ·A.· ·Yes.· But I don't know -- like I said earlier,    24· · ·A.· ·Okay.
 25 there's been an issue with me seeing what's been           25· · ·Q.· ·Correct?

                                                        271                                                           273
 ·1 produced in each and every case and whether I had the      ·1· · ·A.· ·I don't remember, as I sit here today.
 ·2 complete production.· So I -- I don't know, as I sit       ·2· · ·Q.· ·Yet.· Over the last two weeks, you've been
 ·3 here, if it was complete.                                  ·3 going through financial docs for -- you know, for the
 ·4· · ·Q.· ·You said that there was a number of documents     ·4 Sandy Hook case, it seems.
 ·5 that were pertinent during the Sandy Hook doc review       ·5· · ·A.· ·No.· I think what I testified to was when I got
 ·6 that were pertinent to the Fontaine case.                  ·6 here I was talking to people about the financials. I
 ·7· · ·A.· ·Sure.                                             ·7 didn't have the financial materials prior, arriving
 ·8· · ·Q.· ·Okay.· Which ones?                                ·8 here.· So it hasn't been two weeks, no.
 ·9· · ·A.· ·So I think the financials documents, there were   ·9· · ·Q.· ·Well, you prepped for the financial stuff just
 10 [sic] overlap.· I think that this issue of editorial       10 for Fontaine, true?
 11 discussions, there are overlap.· I think that the issue    11· · ·A.· ·Sure.
 12 of sourcing of materials, there's overlap.                 12· · ·Q.· ·Otherwise, you wasted a bunch of time doing it
 13· · ·Q.· ·Okay.· Why were the financial documents in        13 for the Sandy Hook depos because you weren't asked --
 14 Sandy Hook pertinent to Fontaine?                          14 you weren't tasked with it in the topics.
 15· · ·A.· ·They're the same financial statements from the    15· · · · · · · ·I mean, I'm completely lost.
 16 company, whether it's Fontaine or Sandy Hook.· So...       16· · ·A.· ·Sir, there's no separate preparation that would
 17· · ·Q.· ·Yeah.· But you weren't tasked and did not         17 have been required.· So you -- the way you're phrasing
 18 testify on the financial -- on the financial issues with   18 your question is that I would have prepped it once for
 19 the company in the Sandy Hook deposition yesterday.        19 Sandy Hook and then I would have prepped it a second
 20· · ·A.· ·No.· I wasn't asked questions about it.           20 time for Fontaine.
 21· · ·Q.· ·So why did you spend time prepping?               21· · ·Q.· ·No.
 22· · ·A.· ·I spent one amount of time prepping for the       22· · ·A.· ·And that's not what I'm testifying to.
 23 financials.                                                23· · · · · · · ·I'm saying that I reviewed materials
 24· · ·Q.· ·Okay.· Right.· Because --                         24 regarding financials for both -- you know, just for the
 25· · ·A.· ·I mean, I didn't prep once for one deposition     25 depositions.· And I was under the impression you were


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 71 of 106
Paz, Brittany                                       02-15-2022
                                                        274                                                           276
 ·1 gonna ask them [sic] about it yesterday, but you didn't,   ·1 this particular case.· I don't know to the extent that
 ·2 and so that was my error.                                  ·2 was conveyed to Mr. Daniels.
 ·3· · · · · · · ·But I didn't make two separate               ·3· · ·Q.· ·Okay.
 ·4 preparations for -- for one case versus the other.         ·4· · ·A.· ·But, as I said, Mr. -- Mr. Salazar and the
 ·5· · ·Q.· ·I don't think you understood my question, but I   ·5 three individuals, they sit together, generally, and
 ·6 think you ended up giving the answer kind of right         ·6 they pass around their -- their articles.· So I suppose
 ·7 eventually.                                                ·7 you could term that an editorial discussion; although, I
 ·8· · · · · · · ·What other -- other than the financials,     ·8 don't think it's formally an editorial discussion.
 ·9 which I'm still not sure how they are pertinent in any     ·9· · ·Q.· ·Well, an editorial discussion would be as if --
 10 way to the Sandy Hook documents that you were tasked.      10 if Mr. Daniels and Adan and a couple other writers got
 11· · · · · · · ·What other documents were in the Sandy       11 together about a post, and after having the editorial
 12 Hook folders and not in the Fontaine ones that you found   12 discussion decided to take it down, right?
 13 pertinent to the Fontaine case?                            13· · ·A.· ·If that happened.· Because I'm not sure that
 14· · ·A.· ·Did I just -- I think I just said the             14 that was -- that's what happened.· When I -- so when
 15 sourcing -- the issues regarding the sourcing and the --   15 I -- when I talked to Adan, he -- he was -- he's told me
 16 I forgot what my answer was.                               16 that he thought that he spoke to everybody, but I don't
 17· · ·Q.· ·Uh-huh.                                           17 know that that was conveyed to Kit.
 18· · ·A.· ·Sourcing and one other thing I said.              18· · ·Q.· ·Did you ever -- I understand that you had some
 19· · ·Q.· ·Okay.· So the documents about sourcing.           19 issues with the definition of editorial discussion; is
 20· · · · · · · ·Because the -- and the -- and the sourcing   20 that fair?
 21 had a little bit of overlap, maybe.                        21· · ·A.· ·That's fair.
 22· · · · · · · ·But the Fontaine topics were very            22· · ·Q.· ·Okay.· Did you -- did you relay that to
 23 specific; you would agree?                                 23 Ms. Blott?
 24· · ·A.· ·Sure.                                             24· · ·A.· ·Did -- that I had an issue with it?
 25· · ·Q.· ·The Sandy Hook ones were more broad?              25· · ·Q.· ·That you didn't know exactly what it was or

                                                        275                                                           277
 ·1· · ·A.· ·Sure.                                             ·1 what qualified or constituted an editorial discussion.
 ·2· · ·Q.· ·Okay.· Well, other than that, what -- what        ·2· · ·A.· ·That's not what my problem is with the term.
 ·3 other -- what other topics did you find pertinent to       ·3· · ·Q.· ·What's your problem with the term?
 ·4 Ms. Blott's question as far as you -- stuff you looked     ·4· · ·A.· ·The term is -- the problem is, is I don't think
 ·5 at in the Sandy Hook folders also was pertinent to the     ·5 that what is happening here could be termed an editorial
 ·6 Fontaine preparation?                                      ·6 discussion, and I think I raised that issue yesterday.
 ·7· · ·A.· ·I forgot what I said in addition to sorting --    ·7· · ·Q.· ·What's an editorial discussion?
 ·8 to sourcing.                                               ·8· · ·A.· ·So I think that --
 ·9· · ·Q.· ·I did too.                                        ·9· · ·Q.· ·Not what you think.
 10· · · · · · · ·And so we can just move on.                  10· · · · · · · ·What is an editorial discussion?
 11· · ·A.· ·Sure.                                             11· · ·A.· ·An editorial discussion would be a -- a
 12· · ·Q.· ·You also said that there is no such thing as      12 conversation amongst people about what should or
 13 editorial discussions in response to Ms. Blott's           13 shouldn't be published, whether or not the articles
 14 questioning.                                               14 are -- are grammatically correct, whether they are
 15· · · · · · · ·You remember that?                           15 being -- the sources are written in there appropriately.
 16· · ·A.· ·Right.· I think this was a topic we spoke about   16 I think that's an editorial discussion.
 17 yesterday, as well.                                        17· · ·Q.· ·How did you come to that understanding of that
 18· · ·Q.· ·Can you think of one editorial discussion that    18 being an editorial discussion?
 19 you came across in your preparation for today?             19· · ·A.· ·That's just based on my conversations.· It's
 20· · ·A.· ·Well, I think -- and I said this yesterday --     20 not a definition anybody provided to me.
 21 my -- my problem was with the term editorial discussion,   21· · ·Q.· ·Okay.· If the judge was very clear on what she
 22 just assuming that it happens on a regular basis.          22 expected the corporate deposition notice -- or, excuse
 23· · · · · · · ·But it sound to me like -- in connection     23 me -- the corporate representative deposition to be --
 24 with Fontaine, when I spoke to Mr. Salazar, there may      24 sorry -- let me back up here.
 25 have been some discussion about Mr. Fontaine -- about      25· · · · · · · ·If Judge Guerra Gamble, on the record,


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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 72 of 106
Paz, Brittany                                       02-15-2022
                                                        278                                                             280
 ·1 clearly defined what an editorial -- what an editorial     ·1· · · · · · · · · ·CHANGES AND SIGNATURE

 ·2 discussion was to both myself, Mr. Bankston, and           ·2 WITNESS NAME: BRITTANY PAZ, CORPORATE REPRESENTATIVE OF

 ·3 Ms. Blott, would that -- would that definition what she    · · · · · · · · ·FREE SPEECH SYSTEMS, LLC
                                                               ·3 DATE OF DEPOSITION:February 15, 2022
 ·4 expected you to be prepared to do, would that be
                                                               ·4 PAGE LINE· CHANGE· · · · · · · · · ·REASON
 ·5 important to you in preparing for today?
                                                               ·5 ________________________________________________________
 ·6· · ·A.· ·Sure.· As I said, I didn't read the exact
                                                               ·6 ________________________________________________________
 ·7 order, but I did have a conversation with Attorney Blott
                                                               ·7 ________________________________________________________
 ·8 about it.
                                                               ·8 ________________________________________________________
 ·9· · ·Q.· ·Okay.· But what the judge is -- okay.· So
                                                               ·9 ________________________________________________________
 10 it's -- but you didn't -- you said that -- how much of
                                                               10 ________________________________________________________
 11 your definition of editorial discussion came from
                                                               11 ________________________________________________________
 12 Ms. Blott?
                                                               12 ________________________________________________________
 13· · ·A.· ·I am aware that the judge wanted me to also       13 ________________________________________________________
 14 find out whether there were any hallway conversations.     14 ________________________________________________________
 15 I don't know if that was the exact term.· But, as I        15 ________________________________________________________
 16 said, when I asked these people those questions, there     16 ________________________________________________________
 17 were no such discussions.                                  17 ________________________________________________________
 18· · ·Q.· ·What'd you ask them?                              18 ________________________________________________________
 19· · ·A.· ·What did I ask or who?                            19 ________________________________________________________
 20· · ·Q.· ·What?· What questions were you asking these       20 ________________________________________________________
 21 people?                                                    21 ________________________________________________________
 22· · ·A.· ·I asked Adan and Kit and I believe I asked        22 ________________________________________________________
 23 Daria, as well, whether they had any discussions and at    23 ________________________________________________________
 24 any point in time with anybody about these cases, and      24 ________________________________________________________

 25 the answer was no, with the caveat of what I've already    25 ________________________________________________________


                                                        279                                                             281
 ·1 testified to.                                              ·1· · ·I, BRITTANY PAZ, CORPORATE REPRESENTATIVE OF FREE

 ·2· · ·Q.· ·Okay.                                             ·2 SPEECH SYSTEMS, LLC, have read the foregoing deposition

 ·3· · · · · · · ·MR. OGDEN:· I think that will be all the     ·3 and hereby affix my signature that same is true and

 ·4 redirect I have, other than to just preserve that this     ·4 correct, except as noted above.

 ·5 will be suspended as far as the last topic, which is the   ·5

 ·6 net worth.                                                 ·6· · ·___________________________

 ·7· · · · · · · ·THE VIDEOGRAPHER:· We are off the record     ·7· · ·BRITTANY PAZ,

 ·8 at 3:34.                                                   ·8· · ·CORPORATE REPRESENTATIVE OF FREE SPEECH SYSTEMS, LLC

 ·9· · · · · · · ·(Proceedings concluded at 3:34 p.m.)         ·9

 10                                                            10 THE STATE OF _______________)

 11                                                            11 COUNTY OF __________________)

 12                                                            12

 13                                                            13· · ·Before me, ____________________________, on this day

 14                                                            14 personally appeared BRITTANY PAZ, CORPORATE

 15                                                            15 REPRESENTATIVE OF FREE SPEECH SYSTEMS, LLC, known to me

 16                                                            16 or proved to me (under oath or through

 17                                                            17 __________________________ ) (description of identity

 18                                                            18 card or other document) to be the person whose name is

 19                                                            19 subscribed to the foregoing instrument and acknowledged

 20                                                            20 to me that he/she executed the same for the purpose and

 21                                                            21 consideration therein expressed.

 22                                                            22

 23                                                            23

 24                                                            24

 25                                                            25



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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 73 of 106
Paz, Brittany                                           02-15-2022
                                                           282                                                               284
 ·1· · ·Given under my hand and seal of office on this _____     ·1 of time used by each party at the time of the
 ·2 day of __________________, _______.                          ·2 deposition:
                                                                 ·3· · ·Mr. Bill Ogden (5h19m)
 ·3
                                                                 · · · · · · Attorney for Plaintiff
 ·4· · · · · · · · · · · · · ·__________________________         ·4· · ·Mr. Mark Bankston (0h0m)
 ·5· · · · · · · · · · · · · ·NOTARY PUBLIC IN AND FOR           · · · · · · Attorney for Plaintiff
                                                                 ·5· · ·Ms. Jacquelyn Blott (0h05m)
 ·6· · · · · · · · · · · · · ·THE STATE OF _____________
                                                                 · · · · · · Attorney for Defendants
 ·7 My Commission Expires: _________                             ·6· · ·That a copy of this certificate was served on all
 ·8                                                              ·7 parties shown herein on ______________________ and filed
 ·9                                                              ·8 with the Clerk.
                                                                 ·9· · ·I further certify that I am neither counsel for,
 10
                                                                 10 related to, nor employed by any of the parties in the
 11                                                              11 action in which this proceeding was taken, and further
 12                                                              12 that I am not financially or otherwise interested in the
 13                                                              13 outcome of this action.
                                                                 14· · ·Further certification requirements pursuant to
 14
                                                                 15 Rule 203 of the Texas Code of Civil Procedure will be
 15                                                              16 complied with after they have occurred.
 16                                                              17· · ·Certified to by me on this 21st day of February,
                                                                 18 2022.
 17
                                                                 19
 18                                                              20· · · · · · · · · · · · · ·______________________________
 19                                                              21· · · · · · · · · · · · · ·Amy M. Clark, CSR
 20                                                              · · · · · · · · · · · · · · ·Texas CSR 8753
                                                                 22· · · · · · · · · · · · · ·Expiration:· 10/31/2023
 21
                                                                 · · · · · · · · · · · · · · ·Res Ipsa Litigation Support, LLC
 22                                                              23· · · · · · · · · · · · · ·Firm No. 11371
 23                                                              · · · · · · · · · · · · · · ·501 Congress Avenue, Suite 150
                                                                 24· · · · · · · · · · · · · ·Austin, Texas 78701
 24
                                                                 · · · · · · · · · · · · · · ·(512) 334-6777
 25
                                                                 25

                                                           283                                                               285
 ·1· · · · · · · · CAUSE NO. D-1-GN-18-001605                    ·1· · · · ·FURTHER CERTIFICATION UNDER TRCP RULE 203
 ·2 MARCEL FONTAINE,· · · · · )· IN THE DISTRICT COURT           ·2
 · · · · · · · · · · · · · · ·)                                  ·3· · ·The original deposition was/was not returned to the
 ·3· · · · Plaintiff,· · · · ·)                                  ·4 deposition officer on ______________________.
 · · · · · · · · · · · · · · ·)
                                                                 ·5· · ·If returned, the attached Changes and Signature
 ·4 vs.· · · · · · · · · · · ·)· TRAVIS COUNTY, TEXAS
                                                                 ·6 page(s) contain(s) any changes and the reasons therefor.
 · · · · · · · · · · · · · · ·)
                                                                 ·7· · ·If returned, the original deposition was delivered
 ·5 INFOWARS, LLC, FREE· · · ·)
 · ·SPEECH SYSTEMS, LLC, and· )                                  ·8 to Bill Ogden, Custodial Attorney.
 ·6 KIT DANIELS,· · · · · · · )                                  ·9· · ·$______ is the deposition officer's charges to the
 · · · · · · · · · · · · · · ·)                                  10 Plaintiff for preparing the original deposition and any
 ·7· · · · Defendants.· · · · )· 261ST JUDICIAL DISTRICT         11 copies of exhibits;
 ·8                                                              12· · ·The deposition was delivered in accordance with Rule
 ·9· · · · · · · · · REPORTER'S CERTIFICATE                      13 203.3, and a copy of this certificate, served on all
 10· · ·ORAL AND VIDEOTAPED DEPOSITION OF BRITTANY PAZ,
                                                                 14 parties shown herein, was filed with the Clerk.
 11· ·CORPORATE REPRESENTATIVE OF FREE SPEECH SYSTEMS, LLC
                                                                 15· · ·Certified to by Res Ipsa Litigation Support, LLC on
 12· · · · · · · · · · ·February 15, 2022
                                                                 16 this ______ day of ______________________, ________.
 13· · ·I, Amy M. Clark, Certified Shorthand Reporter in and
 14 for the State of Texas, hereby certify to the following:     17
 15· · ·That the witness, BRITTANY PAZ, CORPORATE                18
 16 REPRESENTATIVE OF FREE SPEECH SYSTEMS, LLC, was duly         19
 17 sworn and that the transcript of the deposition is a         20· · · · · · · · · · · · · ·______________________________
 18 true record of the testimony given by the witness;           21· · · · · · · · · · · · · ·Res Ipsa Litigation Support, LLC
 19· · ·That the deposition transcript was duly submitted on     · · · · · · · · · · · · · · ·Firm No. 11371
 20 __________________ to the witness or to the attorney for
                                                                 22· · · · · · · · · · · · · ·501 Congress Avenue, Suite 150
 21 the witness for examination, signature, and return to me
                                                                 · · · · · · · · · · · · · · ·Austin, Texas 78701
 22 by _______________________.
                                                                 23· · · · · · · · · · · · · ·(512) 334-6777
 23· · ·That pursuant to information given to the deposition
 24 officer at the time said testimony was taken, the            24
 25 following includes all parties of record and the amount      25



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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 74 of 106


  Paz, Brittany                             02-15-2022             Index: $11,000..25.9

                                   1.25 16:16                      16 182:4 195:25 196:2 232:22
                  $
                                   10 16:8,11,25 129:17 159:1,2    17 196:12,15,16 210:11
                                    180:9 182:23 183:1,8 190:6      232:22
   $11,000 199:18 200:2             215:6 218:22
                                                                   17:50:12 162:25
   $160,000 197:12 204:14,16       10/1/2012 65:2
    205:13 210:14                                                  18 219:15,17 220:25 254:17
                                   100 154:25 263:14
   $25.9 217:23                                                    18A 254:10,13,17
                                   106 182:22
   $29 218:1                                                       18B 254:10 261:5,7
                                   10:18 77:24,25
   $29.9 219:1                                                     18C 262:17,18
                                   10:28 77:25 78:2
   $30 218:3                                                       18th 236:2
                                   10:42 91:20,21
   $30,000 14:14,17,20,23 15:16                                    1:00 176:11
    23:8,15                        10s 56:19
                                                                   1:14 188:11,12
   $350 23:11                      10th 29:3
                                                                   1:29 188:12,14
   $44,000 199:25                  11 129:17 162:14,15,16
                                                                   1st 8:25 129:11
   $50 212:12                      11,000 199:25
   $53 197:4,20,25 198:14,25       1100 93:14,15                                  2
    204:7 210:17 236:19 242:20     1103 96:12 99:18 102:11
                                    131:4                          2 43:12,14,17 97:10,11
   $54 197:25
                                                                    134:15,24 135:7,9,12,13
   $54,876,000 203:23              1104 92:14,15 96:12 99:18
                                    131:4                          2/15 170:21 173:1
   $54.876 204:1
                                   116 182:11,13,15,21 183:5       20 182:4 199:25 214:19,22
   $6.8 185:13                                                      218:20
                                   11:02 91:21,23
   $70 220:18                                                      200 19:25
                                   11:57 137:15,16
                                                                   2000- 59:14
                  0                12 168:17,18,19 173:19,20
                                                                   2018 49:15 58:18 59:16,17
                                   12:12 137:16,18                  64:24,25 65:6 69:7 71:10,22
   0 263:13                                                         77:3 81:17 86:10 125:25
                                   13 176:19,20,21 197:12
   00006 163:2                      204:11 205:3,6 245:6            135:24 139:6,16 148:11,19
                                                                    149:2 151:13 152:9,13 162:25
   000106 159:8                    14 182:13 184:22,23 185:21       169:20 175:6 215:8,10,22
                                    188:5 196:22,23 202:3 203:3,    243:20
   000989 147:21
                                    7 204:25
   001103 92:14                                                    2020 103:13 141:6 185:10
                                   140 20:2                         187:6 197:11 204:23 205:1,15
   0025 171:18                                                      209:22 236:2 241:6
                                   145 180:21,24,25
   006 164:4                                                       2021 185:10 205:7
                                   14th 71:22 73:6 77:2 125:25
   00991 148:4                      135:23 139:6,16 148:11,19      2022 5:2 209:23
                                    149:2 150:22 151:13 152:15
   04 102:11                                                       204 195:24
                                    162:25 175:6
                                   15 16:17 195:21,23 196:19       22,000 57:3
                  1
                                    201:21 203:5,6,16 204:25       25 182:3,4,9
                                    241:3
   1 31:17,18,19,21 32:25 33:13,                                   25,000 15:8
    14 49:7 55:18 125:22           15th 5:2 71:22 73:7 129:16,20
                                    130:3 135:24 170:16 175:5,10   25.9 217:23 218:15
   1,104 93:9



                                      www.res-ipsa.com
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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 75 of 106


  Paz, Brittany                          02-15-2022             Index: 252..accuracy

   252 97:16                    4:00 28:10,12 126:10 167:1      81,297 56:13
                                 227:7
   260 220:20,22                                                86 23:18
                                4chan 48:13,17,18 61:16,25
   26th 129:7 130:11 152:9,13                                   8:00 167:11
                                 62:17 63:22 69:8,13,15,19
   29 217:23                     148:22 149:10 164:5,12,14,
                                 15,18,19 165:3,4,5 255:3,9,                    9
   29.9 218:2                    15,18,19,24 256:12 260:25
   296 97:16                                                    9 148:5,6,8
                                4th 86:10
   2:18 227:4                                                   90 215:7 218:22
   2:19 228:4,5                                5                95 42:1
   2:28 228:5,7                                                 97 42:1
                                5 81:15,18 125:15,16 134:16
   2:57 253:18,19                                               98 36:11,14 39:25 40:5 41:16
                                50 181:21 182:7,9 212:12
   2nd 81:17 129:15 130:8                                        42:1,7 43:5,11
    169:20                      53 203:23
                                                                99 42:1
                                58 182:16,17
                                                                991 147:25 148:1
                  3             5:00 167:14 168:2
                                                                9:00 167:9
   3 97:10,11 118:7,9 138:6                    6                9:03 5:2
    148:8,9 236:10
   30 15:9 64:8                 6 82:7 137:19,20 138:4,5                        A
   31st 8:25                    60 205:10
                                                                a.m. 5:2 77:25 91:21 137:16
   333 74:14,18 187:15          600 93:8
                                                                ability 11:16 13:19 165:18
   35 28:25 181:7
                                               7                able-bodied 11:8
   350 23:19
                                                                abnormal 150:4,17
   36 182:11                    7 137:8 140:8,9,16,17 141:10,   Absolutely 76:23
   3:00 167:12                   18,20 142:1 143:20 144:14
                                 148:3                          accept 240:9
   3:04 253:19,21
                                70 205:11                       accepted 240:8 241:23
   3:34 279:8,9
                                72 217:12,21 218:8,25 219:3     access 97:23 120:21 145:14
                                 238:5                           154:4 172:20 214:16 248:14
                  4
                                75 181:6,13 182:9 205:11,18     account 139:15 182:14,15
   4 76:6,10 78:13,22 81:3,13   7:00 167:17                     accountant 205:20 213:9,15
    117:18,19 118:6,9 122:20                                     233:2 241:25
    123:4 245:10,11             7:30 167:10
                                                                accountants 107:21,25
   4/2/2018 94:1                                                 108:2
                                               8
   40,596 56:24                                                 accounting 206:7 207:6
                                8 103:10 141:7,8,10,19,25        209:17 241:23 247:19
   408 194:15
                                 143:13 144:10,15,25 145:22     accounts 139:19
   425 92:21                     147:21
                                                                accrue 210:17
   45 181:21                    80 214:20 215:4 218:21
                                                                accruing 198:3,4,7,8
   450 79:6,12,13,17            81,000 79:3,5
                                                                accuracy 206:3 247:20
   479629 169:2                 81,290- 56:10



                                   www.res-ipsa.com
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Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 76 of 106


  Paz, Brittany                             02-15-2022        Index: accurate..appearan

   accurate 40:5,6 92:18 94:6      adult 258:22                    Alex's 47:20 48:3 103:24
    101:15 130:1,17 144:25 145:4                                    215:7 217:11,12
                                   adverse 229:14
    153:4 162:13 164:17 175:20
                                                                   algorithm 41:22
    181:14,15 197:13 201:2         advertisement 141:6
    204:5,13 205:11,14 206:21                                      Allahu 169:6
                                   advertising 240:23 241:10
    210:12,15 213:3 218:14 270:4
                                    242:23                         allegations 8:9,10
   accusation 98:3
                                   advice 26:3 116:12              alleged 101:12 130:4 161:2,
   accusing 191:1                                                   25
                                   advise 133:13
   act 252:25                                                      allegedly 149:8
                                   advised 133:1,3,12
   acting 25:14                                                    allocated 14:19,24
                                   advocacy 224:15
   actions 116:6,14                                                allowed 228:21
                                   advocate 36:4 171:11
   actively 215:12 270:10                                          alter 166:8
                                   AEJ 215:7,11 217:10,14,22
   actual 22:19 62:8,18 202:6       218:22,25 239:18               altered 270:1
    226:8 268:8
                                   affiliated 261:20               alternative 67:25
   Acuity 235:14,18
                                   affirmative 122:23              amend 5:24 119:7
   ad- 36:3
                                   afternoon 28:8 50:7 83:25       American 93:25
   Adan 60:20 61:10 70:8 84:8       84:2,4 126:9,15 166:25
    137:25 267:10 276:10,15
                                                                   amount 10:24 11:19 14:12
                                    167:13,16,19,20
                                                                    15:11 23:12 198:21,22 210:18
    278:22
                                   agency 208:15                    237:7 242:25 271:22
   add 6:4 228:23
                                   agent 138:9                     analysis 247:18
   added 228:13
                                   aggregate 191:2                 analytics 71:20,24 72:3,6
   adding 181:3                                                     73:5,24 76:2,3 78:24 79:16,
                                   agree 13:11,16,17 34:25
                                                                    18,21 80:3,8,13 81:15 147:13,
   addition 82:13 275:7             35:21 36:4 43:20 52:2,10,17
                                                                    14
                                    53:1 58:7 80:24,25 95:14
   additional 20:2 69:20 126:3
                                    110:5 129:23 141:12 146:24     and/or 233:5
    144:21 145:2
                                    150:5 151:21 152:9,13 155:12
                                                                   anonymous 61:14,18,22
   address 199:22                   160:9 167:6 177:23 192:23
                                                                    63:16
                                    194:8,23 195:1 226:21
   addressing 207:18
                                    237:10,15,18 247:3 260:5       answering 170:25 207:10
   adequate 150:8                   274:23                          222:16
   adequately 26:23 30:5           agreed 11:7 60:21 84:5,12       answers 72:19 78:18 116:8
    213:14 258:5                    229:4                           145:3 177:1 188:20 234:2
                                                                    240:8 247:12,17
   adhere 47:4                     agreeing 171:20
                                                                   anymore 66:25 98:13 204:5
   adhered 43:14                   ahead 7:1 115:23 137:24
                                                                    269:8
                                    144:19 195:16 234:2 249:17
   adjusted 210:1                   251:14 264:18                  apologetic 132:8,10,11
   adjustment 210:3,4              air 42:8,19 43:25 60:5,6
                                                                    133:15,20

   adjustments 205:13,17                                           apologies 5:21
                                   aired 266:10
   admires 224:14                                                  apologize 115:2,13,20
                                   Akbar 169:6
                                                                    132:23 133:5
   admissibility 194:17            akin 228:19
                                                                   apology 132:12
   admissions 133:15               ALC 214:20 215:23,24
                                                                   apparently 272:15
   admitted 113:13 219:24          Alex 30:19 68:14,20 69:1,4
                                                                   appearance 110:2
                                    216:14,16 217:3,7,15 218:10



                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 77 of 106


  Paz, Brittany                             02-15-2022              Index: appeared..base

   appeared 92:20                   asset 114:2,14                   278:13
   appears 31:23 34:10 93:25        assets 233:5 234:20 237:19      awkward 74:19
    101:19 141:1 267:22 268:1        242:11 243:21 244:6,7,12
                                     245:13 246:6,7
   applies 195:4                                                                   B
                                    assum- 246:20
   apply 60:5
                                    assume 64:8 111:24 234:3        back 15:9 27:24 28:3 31:7
   appropriately 52:8 109:19                                         41:16 59:8 60:9 70:23 72:17
    111:19 277:15                   assumed 176:24 209:2,8           78:1,3,4,17 85:2 91:22 106:18
   approximately 197:24             assuming 60:11 94:5 121:25       116:23 117:14 127:10 137:17
                                     246:21 275:22                   149:10 157:25 177:2 184:6,12
   April 81:17 129:11,15 130:8                                       188:13 200:10 203:25 210:18
    169:20                          at- 109:18                       218:13 219:25 222:19 224:13
   archive 139:10                   attached 63:11 70:2              228:6,8 230:23 253:20 254:23
                                                                     262:22 277:24
   argue 231:12                     attachment 53:5,7
                                                                    background 21:18 219:8
   arms 171:6                       attempt 199:22                   238:19 239:15 246:5 247:19
   arrangements 227:21              attempting 199:17               backlog 199:22
   arriving 273:7                   attempts 111:10,11 136:10       bad 82:5,6 231:8 247:3,4
   arrows 261:14                    attention 6:9 51:15 162:13      bag 189:8 190:16,22
                                     252:25
   article 6:6,8 19:22 46:13 50:7                                   bait 256:4
    71:21 79:23 83:17,24 86:15,     attorney 6:5,18 7:13 9:8,13,
    17 88:16,21 92:11 93:20,21,      17,22 24:25 25:12,19,21 88:2   baking 43:12
    22 94:1 96:12,15,17 97:3         90:13 102:14 105:9,18,19       balance 188:22 191:22
    100:11 101:10,11 102:10,22,      174:6 178:13 200:14,19,25       192:20 202:6 203:16 205:12,
    24 118:11 128:9 129:20           201:3,8 203:20 204:21 205:25    18 210:10 240:16 241:2,6
    134:11 135:1 138:11,16           211:8 222:7 228:18,19,24        242:1 251:4
    139:1,8,11 140:2,3 144:1         231:4 262:21 269:16,19 278:7
    149:18,19,22,24 150:16                                          bank 104:2
                                    attorney's 6:20 192:2 196:3,
    158:19 160:11,14 161:8,15                                       Bankston 5:16 6:2,6,19 7:2
                                     13
    164:23 165:25 166:6,8,15,18,                                     8:18,21 14:22 22:13 26:10
    23 170:1,12 172:7               attorney-client 25:18 98:16,     73:13 75:4 76:23 77:13,17,21
                                     18 105:15 229:5,10 230:10,12    90:16 95:9,12 104:6,8,13,15
   articles 19:19,21 30:21 37:1
                                     231:5,6                         110:14,17,24 117:14,23
    43:22 46:5 47:24 53:20,21
    55:8 59:24 60:3,24,25 62:24     attorneys 16:9 24:22,24          121:17 126:17 129:4 136:13
    80:1 88:18,22,24 89:3,4          94:12 107:18,21 109:18          137:4,5 140:9,12 147:15,19,
    90:21,24 91:3 94:22,23 276:6     111:23 112:24 144:8             23 148:2 153:14 155:17,20
    277:13                                                           161:19 176:10,11 178:4,7
                                    audience 39:7                    180:5 181:4 183:19 185:6,19
   articulate 216:25                                                 186:10 189:24 190:1,5,9
                                    audiences 38:5
   ascertain 84:16 118:12 136:2                                      191:12 196:10 208:5 215:16
    168:10
                                    Austin 7:14 24:11 25:22,23       223:8,9,15,19,24 224:18
                                     28:1                            225:20,23 226:3 227:1,10,14,
   ascribe 93:1                                                      20 228:23,25 231:16 250:11,
                                    autism 258:16
                                                                     15 251:7,12 253:8 254:3
   asks 22:20 245:13
                                    auto 172:1                       262:11 278:2
   Asperger's 258:8,12,14,25
                                    aware 10:20 58:22 59:1 74:17    banners 240:23
    259:11,15
                                     100:23 101:3 108:5,12,15
   assertion 251:15                                                 Barnes 110:17,18,19 111:25
                                     114:13,16 122:1,7 127:9
                                                                     132:21
                                     129:5 152:22 170:23 179:21
   assessment 49:6
                                     206:9,10,15 239:4 257:17,25    base 41:18



                                       www.res-ipsa.com
                                        512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 78 of 106


  Paz, Brittany                           02-15-2022                Index: based..brought

   based 22:24 36:18 40:6 42:6,    big 236:21,22 237:2              Bob 110:17,18 186:7,11
    17,21 43:2 44:5 47:19 48:20                                      220:17 221:21 235:6,7,8,18,
                                   bigger 231:7
    52:1 59:21 60:14 63:12 69:23                                     23 236:4 260:18
    87:3,5 100:7 101:4,14,18       Bill 222:5,6
                                                                    body 53:11,13
    112:3 113:24 122:10 123:1,5
                                   billable 182:14
    124:2,13,25 125:4 126:8,13                                      book 8:19
    130:13 146:22 147:10 153:21    billed 182:13
    160:17,18 166:24 167:7
                                                                    booked 28:7
    174:17 197:6 199:12 200:7      bills 240:17,19
                                                                    books 248:14
    206:2 210:16 212:5 234:2       binder 17:23 18:5,7 75:17
    240:16 244:17 258:3 261:2                                       bottom 97:16 108:15 142:9
                                    103:9 187:23 189:10,12,14
    265:22 266:7 277:19                                              147:9 159:7 163:1 206:20
                                    202:9,13,15,18,19,22,23
                                                                     261:7
   basic 62:13                      203:13,14,15,17,18,21 224:4,
                                    7                               bought 115:5
   basically 47:22 234:7
                                   bit 31:8 85:2 104:19 107:22      box 261:12,23
   basing 42:13 46:18               113:21 159:4 163:25 207:6
                                                                    boy 138:2
                                    261:22 268:14 274:21
   basis 42:19 43:10 68:9
    124:19 149:17 176:7 197:25                                      Brad 110:2,6 251:7,15,17,18
                                   Blank 221:6
    207:2 228:15 275:22                                             Bradley 191:11 262:16
                                   blog 19:19
   Bates 55:22 56:1,3,5,6,7                                         brain 43:12,15
    57:4,10,13,16,21,23,25 92:7,   blogging 31:15
    13,17 95:12 96:12 97:15                                         breached 109:2
                                   Bloomberg 6:6
    99:24 111:17 147:16,21 159:7                                    breadcrumb 256:4
    181:18 185:20,21,22 189:19,    Blott 5:12,19,21 6:3,12,18,23
    21 190:23 195:23 196:3 252:5    7:1 9:8,9,13,16 20:11 24:25     break 13:4 66:9 77:15,18
    270:18                          25:10,17 26:19 39:10 46:25       78:4,8,18 90:3 91:15,24
                                    54:15,17,21 55:5 73:18 76:17,    107:22 134:19 137:13 176:12
   battery 141:14                   19,21,24 78:5 81:7,9 98:16,18    181:4 183:3 187:19,20 188:9
   began 58:18                      104:5,11,20 105:14 111:3,4       228:8 253:11,22
                                    112:17 114:19,22,25 115:5,9,
   begin 215:9                      12,16,20 116:18 124:7,9
                                                                    breakdown 180:20 202:5
                                                                     203:3 209:18
                                    132:20 134:18,22 155:11
   beginning 263:24
                                    171:13 187:8,9,13,16 188:2,7,   breakdowns 239:2
   begun 200:12 216:3               15 189:10,16,20,22 190:2
                                    191:11,21,25 192:9,14,17        breaking 50:4 63:9 182:16
   behalf 8:3 36:7 86:22 109:11
                                    193:1,5,7,10,13,19 194:1,4,8,   breaks 23:20 190:18
    189:6 200:19 236:6
                                    12,19,23 195:1,9,14,19 196:4,
   behavior 150:3                   7,11 202:17,25 203:2,20         bring 6:9 18:16 76:5,6 78:21
                                    216:24 217:4 220:13 222:8,       91:13 209:7 223:10,15,19
   belief 187:3                                                      224:24 227:24 252:24
                                    15,25 223:2,3,14,18,21 224:2,
   beliefs 106:10                   5,6,7,8,9,12 225:1,4,8,10,17,   bringing 192:5 225:3
                                    22 226:10,18,22 227:5,13,18
   believed 120:9                   228:9,14,17 229:20,21           Brittany 5:3,4,11
   believes 42:7                    230:16,19 231:6,9,13,22         broad 244:14,16 274:25
                                    232:9,14,19 249:1,3,10,14,18,
   believing 212:21                 21 250:3,8,13,22 251:10,25      broadcasts 39:5 266:10
   beneficiaries 216:10,11,12       252:4,10,13,16,20 253:2,5,12    broader 242:6
    218:23 237:11                   260:19 262:21 264:20,22
                                    265:2,7,10,18 266:4 267:7       broadness 244:22
   beneficiary 238:5                268:13 276:23 278:3,7,12        broke 218:20
   benefit 90:20 237:9             Blott's 275:4,13                 Brooklyn 269:16,19
   bet 74:21 217:17 232:3          blurt 27:17                      brought 78:5,15 189:13



                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 79 of 106


  Paz, Brittany                          02-15-2022                Index: browser..clears

    202:10 269:20                   18:13,17 20:24 21:1 24:19       chattering 101:24
                                    25:20,24 26:4,20 49:24 50:1,
   browser 135:8,21,22 136:9                                        cheat 74:10
                                    3,18 56:1 72:13,14 75:24
    152:17 154:1
                                    78:21,25 79:5,6,19,20 82:20,    check 5:22 60:24 230:7
   browsing 136:25 137:10           22 88:1 89:9,17,21 90:5 91:6     248:22
    152:10,14,23 153:20             93:4 95:13 97:13 98:3 99:19
                                    104:12 107:16 108:9 109:2,8
                                                                    checked 55:8,11
   brunt 13:6                       113:2,16 114:12 119:25          checking 31:1,6 60:1 61:1,2,
   bunch 30:19 55:1 71:3 97:7       120:2,5 133:16,25 134:3          21
    110:5 248:7 273:12              137:7 146:23 150:3 152:1,2
                                    159:10 184:8 188:21 191:3,19    checks 221:6
   Burnett 110:13,14,15             192:3 193:24 229:2 243:9        children 216:13 218:23
   business 17:12 43:11 68:7,8      247:16 250:24 256:19 257:3       238:10 239:10
    122:9 138:25 167:25 197:15      259:17,19 260:16 266:24
                                    267:17,18 269:22 271:1,6        chose 67:19,20,22
    199:19,20 200:2 220:24
    240:25 243:9                    273:4 274:4,13 276:1            Chris 269:10 270:13
   businesses 239:4                cases 11:18 14:14,20 21:5        cir- 195:2
                                    29:15,18 40:21 108:6 109:21
   businessman 197:18               111:22 120:1 180:14 192:3       Circle 117:14
   button 115:3,4,7                 212:1 266:20,21 278:24          circled 261:8
                                   categories 63:12                 circulate 60:23
                   C               category 242:6                   circulated 195:3
   cache 172:2                     caught 144:11 231:11             circulating 50:5 150:7
   cakes 43:12                     caused 112:8                     circumstances 264:1
   calculated 23:12 180:21         caveat 58:20 204:4,13 217:9      citation 229:1
                                    278:25
   call 9:14,15 20:22 78:11 81:8                                    cite 60:21 264:10
    97:2 150:18 191:13 262:8       cell 141:14
                                                                    cited 46:5 53:8 131:4 194:15
   called 9:6,16,17,18 10:4        cetera 44:11 148:16 181:12
                                                                    cites 62:22
    207:22                         chain 221:19,20
                                                                    citing 30:24
   calling 60:17                   chair 12:20 37:13 85:24
                                    245:21 248:4                    civil 21:16,21,23,25 22:2,3,4,
   calls 21:21 22:3 46:25                                            5,6 29:17
   capable 38:17,18                challenged 125:25 135:25
                                    136:1 139:5,6,14,18 148:11,     claimed 229:5
   capacity 13:12 25:14 49:14       12,19,21 149:1,4                clarification 54:23
    177:25 178:1,11
                                   chance 249:19                    clarify 188:15 223:21
   capital 269:14
                                   change 35:11,12,18 78:18         clean 243:12,19 254:10
   caps 54:13 55:9                  161:15 197:4 248:16
                                                                    cleaner 243:7,10
   capture 168:24                  changed 35:20 40:9 166:11
                                                                    clear 23:3 180:6 183:14
   care 67:22 69:1 72:21 86:19     characterized 258:5               190:11,13 191:15,19 212:2
    194:1,7 249:12                                                   219:9 231:3,23 251:13 252:24
                                   charge 23:22 30:9 68:11 69:3
   carefully 38:10                  112:18 113:17                    264:5 277:21

   Carol 214:25 215:2,6 218:22     charts 239:2                     cleared 152:17
   case 5:14,25 6:15 7:4,10        chat 163:18                      clearer 51:20
    8:12,23,25 11:6 14:10,12                                        clears 152:17
    15:14,20 16:2,7,10 17:4        chatter 101:13,17 102:4,23




                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 80 of 106


  Paz, Brittany                          02-15-2022                Index: click..consulta

   click 141:9,18,22 144:2,5       companies 37:17,23 103:21,       concerned 6:20
                                    23 200:9 237:12,23 238:6
   client 113:11 224:15                                             concerns 109:1,11
                                    240:14 243:3
   clients 113:11 133:14 189:6                                      concluded 279:9
                                   company 8:4,9 9:3 17:12
    219:20
                                    25:20,21 29:21 30:10 31:6       conclusion 44:1 45:25 46:15
   clock 168:3 250:25               32:16 36:8 37:2,5,8,22 39:6      124:20,24
                                    42:4,6,13 43:4 49:13 51:11,
   clocking 168:5,7,8               13,16 52:6 53:2,18 54:1,5,7
                                                                    confer 253:8
   close 38:8 106:25                64:7 65:23,25 67:6 68:7,10,     conference 9:14
                                    11,20 86:7 96:13,18,21,24
   CNN 141:3 144:4                  100:22 101:2,3 102:7,12         conferred 90:17
   co-counsel 90:18                 103:4,19 104:23 105:19          confidential 96:3,5,9 195:3
                                    106:3,5,22 107:2,4,6,7,8         196:2 230:1
   cogently 11:14 207:13            109:2,11,17 111:9 112:8
                                    113:10,25 114:14,16,17          confirmatory 42:22
   coherently 8:8
                                    115:25 116:13,15 120:20         confirmed 43:3 70:7 101:13
   collar 107:11                    121:8,14 126:23 127:17,24,25     267:13
   colleagues 10:3                  138:15,16 142:20 146:8,13
                                    151:6 154:7,9,12,13,17,20,23    conflict 229:7 236:12,14
   color-coded 17:23                155:5,6,9,23 167:23 168:11      confuse 163:24
   color-coding 75:18               171:12 177:23,24 178:1,7,10,
                                    11,13 192:25 193:4 197:19       confused 171:7 268:10
   comment 38:9 131:10              198:15 199:8 205:15 210:17      confusing 86:25
    161:24 164:25                   211:13,20 212:11,23 219:5
                                    221:17 233:17 234:10 235:13     confusion 192:10 217:4
   commentary 31:15 36:12
                                    236:4,18 238:3,8 246:8           264:6
    38:3,4,12 43:8 141:4 147:5
    161:2,17                        248:13 259:24 271:16,19         conjecture 102:11,20
   commentator 38:20               company's 24:10 30:13,22         connected 261:11
                                    34:13 35:3,10 36:11 37:21
   commenting 36:22                 38:2,25 42:6,9 51:11 69:12      Connecticut 7:13 21:5 29:6
                                    82:7 88:10 94:13 95:3 105:11     109:23 206:7,10 207:2
   comments 97:5,6,7 101:4
    131:20,24,25 132:2 187:25       109:12,14 137:7 222:7           connection 16:7 24:19 30:17
    257:12                          233:19,21 234:16 235:2           32:15 40:20 75:23 79:18
                                    248:14 259:8                     94:11 177:5 178:3 267:16
   commie 147:5
                                   comparison 183:3                  275:23
   commit 133:14
                                   compel 226:4 229:18 265:5        consent 139:22 142:21 192:7
   committed 53:15
                                   complete 145:4 249:10,22         considered 10:11 36:25
   common 99:16                     251:2 253:25 270:19,21          conspiracy 238:12
                                    271:2,3
   communicate 70:24
                                                                    constituted 277:1
                                   completely 7:9 13:19 63:21
   communicated 132:24
                                    179:25 191:23,24 192:24         constraint 10:18
    133:20 156:12 157:5,7,9,10
                                    228:21 239:7 246:17 248:7
    158:2                                                           constraints 10:10,23 11:13
                                    273:15
                                                                     15:13,20 40:14
   communicating 112:12
                                   complies 92:6                    construction 229:9
   communication 230:1
                                   computer 91:13,16,25             consultant 40:24 71:19
   communications 99:10             118:23,25 119:6 136:17
                                                                     200:15 201:19 211:6,7,8,25
    101:5 106:9 118:10 122:18,19    143:23 153:6 156:3
                                                                     212:1,8,14,15,18,21 213:11
    124:4,14,25 125:4 153:21
                                   concentrating 187:16              235:19 248:13 269:7,8,20
    260:10
                                   concern 107:14,20 108:1          consultant's 269:18
   communist 141:4



                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 81 of 106


  Paz, Brittany                              02-15-2022          Index: contacte..Daniels

   contacted 260:8                  corner 163:1 235:16 252:18      couple-hundred 74:13,16
                                     261:7
   contained 88:3 97:4 101:11                                       court 7:5 11:13 23:2 59:4
    139:9 161:9,10,11 223:12        corporate 5:4 7:23,25 8:23       77:16,18 78:11 81:8 108:10
    259:11                           9:10 10:4,8,14 11:14,20,25      183:21 189:17 195:4 224:16
                                     12:7,13 13:5 20:23 21:12,22     229:4,11,13 230:25 231:18,21
   contend 134:10
                                     79:10 80:11 81:23 86:3,24       252:23 254:11 269:12
   contends 148:10                   128:13 157:12 178:12 184:11
                                                                    Court's 108:17,18 207:2
                                     189:7 199:2 201:10 212:20
   content 54:16 61:18 63:16         240:11,12 265:7 277:22,23
                                                                     265:4
    139:23 146:14
                                                                    coverage 50:14,21,23
                                    corpus 216:12
   context 46:16,17 241:17
                                                                    covering 226:8 240:17,19
                                    correct 7:16 9:20 10:15 16:20
   continue 185:7 250:13,21          18:14 21:6,19 23:16,19 28:8    CPA 211:9
   continuous 188:19                 29:9,22 32:4 33:11,21,23
                                     35:24 37:15 41:20 42:8 43:15
                                                                    created 40:22 62:7 65:14
   contractor 122:8                  49:13 50:2 51:3 52:10,20,21
                                                                     172:13,15,17

   contrary 189:2                    54:1,14 55:9 57:15 63:23       creating 58:7
                                     65:24 66:14 67:23 69:10
   control 118:17 126:4 135:5        72:10,15 73:9 76:18 86:14      credentials 211:17
    139:2                            87:16 92:16,21 96:19 97:23     creditor 114:13
   conversation 14:21 43:2           98:7 100:16,19 106:23 107:2
                                     112:10 113:11 122:18,25        crimes 53:14
    47:13 60:14 67:13 69:23
    73:12 84:8 90:15 99:2,6          123:7,12,15,18,21 124:4,15     criminal 21:18 22:6 26:13
    121:16 125:5 126:16 129:3        125:10,14 126:4 131:6 132:12    29:17 54:12 133:14 269:15,19
    137:3 147:18 155:19 161:23       138:17 140:4 144:3,8,16,22
                                     147:13 150:18,23 151:3,7       cross-post 146:19
    166:24 176:9 177:10 178:21
    179:25 180:4 183:18 185:5        153:3 154:2 155:25 157:15,16   crossed 171:7
    207:25 220:17 228:18 254:25      159:5,10 160:11 161:12,13
    255:8,14 256:6 266:8 277:12      163:5 165:9 166:13 169:18      Cruz 100:15 161:6,9
    278:7                            175:14 178:25 179:9 184:8      Cs 248:23,25
                                     191:25 196:21 201:1 202:18
   conversations 36:18 38:1          204:8,23 205:1 206:8 210:3     culling 120:15 121:24 123:21
    40:7 43:3 47:19 48:20 58:20      214:13 215:23 217:7 219:2       145:19
    59:22 67:12 101:18 105:15        233:6 235:11 236:2,4,7,8,10
    106:7 113:13 116:19 117:5                                       cure 54:23 72:24 250:19
                                     238:1,15 241:7 247:14
    126:8,14 146:3,12 160:17,18      256:20,23 257:5 259:6 268:18   curious 231:12
    177:6 197:6 199:12 200:7         270:3 272:23,25 277:14
    206:2 212:5 222:11 223:5                                        current 48:3,6 128:9,17
    225:6 226:13 265:18,20          corrected 204:18                 129:14 150:10,11 193:1,3
    267:7,8 277:19 278:14           correction 100:12 204:19        custody 118:17 119:2 126:4
   convey 256:16                                                     135:5 139:2
                                    correctly 139:24 149:5
   conveyed 83:10 84:3 98:12                                        cut 206:20
                                    corrupted 270:2
    276:2,17                                                        cycle 36:13,21 43:9
                                    costs 198:1 243:18
   copies 202:2 220:1 225:21
    229:15,17 231:23 268:9          counsel 73:16 96:11 108:22                      D
                                     122:11 188:20,25 196:4,8
   copy 8:16 52:24 103:11            229:24 230:1 265:20 266:8
    135:1,21 140:20 144:25                                          daily 42:19 43:10 68:9
    189:18 202:12,14,16 203:2       counsel's 196:9
                                                                    damages 259:25 260:2,3,4,5
    208:12,13,14,17 209:1,7,9,10,   couple 10:14 19:23,25 21:1
    11,13,14,15,17 219:25            24:3 50:6 63:1 85:23 93:6
                                                                    Daniels 16:6 23:25 24:16
    226:12,23,25 227:17,22                                           26:18 31:23,24 32:9,11,21
                                     184:24 235:23 253:9 254:2,14
    231:19                                                           33:23,25 34:10,17 49:9,11
                                     276:10



                                       www.res-ipsa.com
                                        512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 82 of 106


  Paz, Brittany                           02-15-2022            Index: Daniels'..differen

    50:4 58:7,21 60:15 63:25 64:2   debtor's 235:2                  democratic 256:8
    70:4 71:16 82:13 85:1 86:6
                                    debts 103:22                    department 68:16,23 85:7,9
    101:5,7,18 118:21 119:3,5,10
    126:8,14 127:8,16 128:2         December 205:6                  departments 51:18,22 52:3
    132:9,19 136:17,18 137:11
                                    decent 110:9 219:11 263:25      depending 68:16 263:2
    139:13 148:18,25 149:8,11,
    16,17 150:16 151:12,17          decided 10:12 51:10 113:25      deplatforming 221:14
    153:6,18,22 154:10,14 155:23     114:3 229:11 243:11 276:12
    157:14,15,20,24 158:22,24                                       depo 12:10 13:13 75:16 132:5
    160:11,17,21,25 161:14,24       decision 158:21 206:14           178:24 190:12 252:12,22
    162:6,7,8 164:5,9,14,22          224:24 253:23                   262:6 263:21 272:16
    166:24 168:10 256:21 257:3      decisions 114:4,7 214:6         depo's 263:1 264:1
    267:10 276:2,10
                                    dedicate 15:24 30:8             depos 12:3,14 179:25 273:13
   Daniels' 71:21 127:22 140:3
    150:3,10 152:10,14,23 183:25    deductions 209:25               depose 30:4

   Daria 30:18 48:3 278:23          deep 44:10 225:13               deposition 5:3 6:13,21 7:4,6,
                                                                     8,20,22 10:21 11:23 13:23
   dash 159:7                       defamation 29:18 113:4
                                                                     14:3 16:14 17:14 18:4 21:9
                                     128:12 238:9
   data 44:1 45:24 267:20                                            22:23 23:1 26:24 27:17 37:13
                                    defamatory 128:15,16             40:10 55:18 77:22 78:13
   date 59:15 65:2,15 86:9           129:22,24 151:15 160:19         81:23 88:9 113:22 137:8
    127:1,2 129:1 130:7 152:11                                       177:16 179:7,9 180:10,18
    162:23,24 169:25 170:19         default 207:3 210:19             181:18 183:9 194:24 195:18
    172:10 183:22 235:22,25         defendant 126:2 134:3            212:20 228:10,13 229:7
    253:1                            180:15 248:3                    238:25 250:14 253:7 262:2
                                                                     267:3 271:19,25 272:2,12,21
   dated 94:1 262:20                defendant's 143:9                277:22,23
   dates 113:19 176:4               defendants 94:16 100:5          deposition's 219:25
   David 44:18 214:21,22             108:8 113:3 121:7 127:5
    218:21                           128:12,14 130:14 132:7         depositions 10:25 11:21
                                     134:10 144:22 145:2,13          25:5 30:2,4 37:16,25 40:17
   day 50:7,8,9 63:8 85:12           146:23 152:23 159:9 163:2,5,    41:19 56:3,6 109:5,10 178:3
    128:17 129:15 169:23 189:8       7 164:1,4 165:17 171:18         179:18 183:21 273:25
    199:19 250:24 256:24             184:8 270:20
                                                                    describe 140:24 212:16
   days 98:24 129:17 182:13         defendants' 122:5,9             designated 79:4 213:12
    199:19,20,21,25 200:1,2
    205:11,18 220:22,24 266:10      defense 269:15,19               designees 13:5
   deadline 130:16,18               deficiencies 72:25              detail 11:19 13:13 166:13
   deadlines 111:13                 defined 278:1                   determine 221:1 227:15
                                    definition 251:6 259:11          265:22 266:1,9
   deal 260:18
                                     276:19 277:20 278:3,11
   dealing 121:3                                                    determines 47:12
                                    definitive 122:17 124:3         development 258:21
   death 130:24                      125:10
   debt 197:20,23,24,25 198:2,4                                     device 135:23
                                    definitively 124:3 256:12
    199:17,18 204:6 207:18                                          devices 127:10,22
    210:17 212:12 234:13 236:19,    DEFS 159:7
    20 238:4 243:17                                                 Dew 30:18 35:14
                                    DEFS000334 92:10
   debt's 210:20                                                    diagnose 258:7
                                    delay 172:7
   debtor 236:6                                                     diagnosis 257:25
                                    deleted 172:1 173:13
                                                                    difference 234:22,24 267:25



                                       www.res-ipsa.com
                                        512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 83 of 106


  Paz, Brittany                           02-15-2022           Index: differen..earlier

   differences 251:5                disseminates 30:14               dogs 27:16
   differentiation 79:19            disseminating 64:11 248:2        Donald 141:3 144:4
   diligent 118:15                  dissemination 195:5              doodles 262:8
   direction 157:6,14 254:1         distinction 267:19               doodling 261:13,16
   directly 9:7 194:16 233:4        divide 217:20                    door 249:8
    260:13
                                    divided 14:19 220:22             dormant 212:11
   dis- 17:9 18:18
                                    dividing 16:23                   dot 63:23 126:1 139:5,7 140:3
   disagree 91:2 132:13,15                                            142:12,13,14,19,23 143:4,17
                                    doc 271:5
    225:1,2,4                                                         145:1,6,10,20,23,24 146:2,6,
                                    docs 273:3                        11,16,17 147:8,13 148:21,22
   disclosed 145:3
                                                                      149:4
                                    docu- 173:12
   discount 37:23
                                                                     doubt 23:12 257:3
                                    document 12:12,14,21 16:4
   discoveries 18:7,8
                                     34:8,10 35:1,7,15 52:25 55:20   Douglas 118:12 136:2
   discovery 12:22 17:8 20:17        56:25 59:3 67:14 74:9,11 75:3
                                                                     download 97:25 98:5
    104:12 117:25 125:18 188:20      77:8 81:5 88:2,11 92:1 93:18
    189:4 193:18 194:17 229:9        95:6,7 96:4 102:15 117:3        drafted 136:7
                                     123:2 125:19 126:6 134:21
   discrepancy 204:16                                                drafts 116:9
                                     140:21,25 141:14 144:15,16
   discuss 13:13 26:23 30:12         146:24 147:17 159:14 162:19     draw 255:15
    71:23,25 76:6 78:22,23 79:10     163:12,24 164:3,10 165:4
                                     171:3,18 172:11,15,16
                                                                     drew 107:14
    80:13 81:3,13,18,21 82:10
    103:5 137:9 138:25 152:18        174:18,19,20,21,24 175:9        drives 121:12 122:8
    190:15 214:4 263:9               186:24 187:3 188:17,18
                                     189:3,7,11 190:14 191:10,17     Dropbox 19:18 40:19,22 41:1
   discussed 103:15,18 104:22        195:2 197:2 206:19 208:14        88:1 89:10 91:10,12,17 98:8
    114:8,9,10 196:15                                                 268:19,25 269:1
                                     209:5 226:12 229:13 234:3
   discussing 16:9 73:5 86:3         251:23 257:20 262:16,22         Drudge 48:8
    154:6 199:7                      264:14 270:1,23
                                                                     due 103:23 218:24 237:7
   discussion 84:15 114:11          documented 165:21
    194:16 212:9 262:21,22
                                                                     duly 5:6
                                    documents 11:4,6,9,11
    267:14 275:18,21,25 276:7,8,                                     Dustin 105:8,9 117:6 196:4,6,
                                     12:25 13:21 15:12,19 16:22,
    9,12,19 277:1,6,7,10,11,16,18                                     7,9 260:18
                                     25 56:4,9,11,13,24 57:3,11,
    278:2,11
                                     13,16 58:3 73:8,14,22,23        duties 107:15
   discussions 10:11 108:21          75:23 76:1 78:5,8,10,15 79:3,
    112:3 122:10 178:23 267:11,      7,11 82:16 89:12,18,23 90:8,    duty 38:4,14,23 39:4,9 43:20
    12,14 271:11 275:13 278:17,      12 91:16 92:2,20,21,23 93:3,     44:25 109:2
    23                               5,7 95:8 96:2,8 97:13,18
                                     99:18 111:21 116:6 117:10,                     E
   disentangle 200:16                15,17 118:16 123:1,5,10,11,
   disentanglement 200:8             14 125:24 126:3 134:10 135:4
                                                                     ear 228:20
                                     143:7 144:9 146:22 177:3
   disinfo 255:3                     179:22 181:6,12,13,16,17,18     earlier 24:17 29:7,25 31:5
   disorganization 112:8             182:24 183:2 197:7 202:18        34:13 37:12 61:25 62:16
                                     210:11 213:1,7,8 218:19          69:15 92:19 122:17 125:17
   displayed 96:21                   229:6 251:1,2 252:6 253:25       126:18 127:8 143:3 158:11
   dispute 210:20 257:6,7            260:16 264:2 266:19,20,25        169:22 176:23 183:7 185:3
                                     267:1 270:2,6 271:4,9,13         197:9,16 208:3,8 209:24
   disseminate 63:20 146:9           274:10,11,19                     212:9 214:15 215:11 237:3,22
   disseminated 59:20                                                 243:16 270:24




                                       www.res-ipsa.com
                                        512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 84 of 106


  Paz, Brittany                              02-15-2022             Index: early..exists

   early 215:22                     engaged 34:14 35:4 37:2         evening 167:22
                                     43:8 68:8 215:12
   easier 243:4                                                     eventually 274:7
                                    engaging 194:16
   easy 244:17                                                      everybody's 232:12,16
                                    enlarging 142:1
   editorial 33:5 84:15 267:8,11,                                   evidence 44:5 127:5,20
    14 271:10 275:13,18,21          Enoch 110:7,8 132:22             137:7 146:5 152:19 158:22
    276:7,8,9,11,19 277:1,5,7,10,
                                    entangled 243:4                 exact 57:1 78:23 80:16 81:5
    11,16,18 278:1,11
                                                                     127:2 129:1 148:25 172:13
                                    entered 5:14
   editors 54:13 55:9,12 69:22                                       182:22 185:17 204:9 208:24
                                    enters 95:9                      235:22,25 278:6,15
   educated 174:17
                                    entire 109:7 141:23 227:18      EXAMINATION 5:7 265:1
   effect 39:21 108:13
                                                                     268:16
                                    entirety 78:9 91:5 96:18
   effective 65:2
                                     223:6 228:12                   exception 210:13
   efficiency 230:17
                                    entities 256:3,7                exchange 243:21 244:12
   efficient 214:2                                                   245:17
                                    entitle- 50:25
   efforts 49:21 51:25 118:11                                       excuse 20:11 34:20 47:25
                                    entitled 50:25 188:6 223:13
    127:4,7,9 136:1,15 137:7                                         122:15 140:18 151:14 152:12
                                     231:1
    143:10 149:7 153:25 243:2                                        175:5 203:24 240:18 250:23
                                    entity 217:10                    252:6 277:22
   electronic 135:23 202:12,14,
    16 209:9,10 227:22 267:20       entries 108:11                  executed 215:22 216:2
    269:18
                                    entry 111:10                    exercise 229:10
   email 6:18 33:12 49:10 53:4,
                                    equally 267:2                   exhausted 178:9
    5,8,12 55:14,15 57:19 58:23
    90:9 119:22 128:19 157:23       equipment 204:17 210:1          exhaustive 48:7
   emailed 19:8                     Eric 200:21                     exhibit 18:3 31:17,18,19,21
                                                                     32:25 33:13,14 49:7 85:16
   emailing 53:14                   error 205:23 274:2               103:10 117:18,19 125:15,16
   emails 57:21,23,25 119:9,12,     escalated 68:25                  135:13,16,18 137:19,20 138:4
    13,15,24 120:3,4,8,11,12                                         140:15,17 141:7,8,10,18,19,
    127:13,14,19 155:24             escaping 214:23                  20,25 142:1 143:13,20
                                    ESI 121:24 122:5                 144:10,14,15,25 145:22
   employee 25:13 41:12 65:6,                                        147:21 148:3,5,6,8 159:1,2
    8,9 67:7 138:9,15 151:14        espys 80:21                      162:14,15,16 168:17,18,19
    211:4,5,11
                                    essentially 103:11 240:24        173:18 176:19,20,21 184:23
   employees 16:7 24:17 36:19                                        185:21 188:5 192:7 195:21,
    42:18 68:12 138:25 151:15       establish 144:20 178:21          23,25 196:2,12,15,16,19
    168:3 267:8,9                   established 176:25 193:23        197:12 201:21 202:3 203:3,16
                                     206:6                           204:11,25 205:3,6 210:11
   encompass 14:25 242:7                                             219:15,17,24 220:25 228:13
   encompassed 14:14                estate 200:13 215:12 216:3       231:18 232:22 241:3 245:6
                                    estates 239:16                   254:5,13,17 261:5 262:18
   encourage 108:23 132:5
                                    estimated 23:18                 exhibits 97:10,11 143:2
   end 45:25 93:11 99:2,6
    119:17 127:14 139:11,20         estimating 23:9                 exist 124:4,14 136:5 175:5,
    146:10 148:21 167:20,21,24                                       10,22
    183:13 190:19 205:15 250:2      estimation 42:3
                                                                    existed 65:15 136:8 152:10,
   ended 15:24 212:7 274:6          ethical 26:13 107:15,20 108:2    15 175:2

   engage 30:22 138:24              evaluate 234:16                 exists 165:9 175:19,21 176:3




                                       www.res-ipsa.com
                                        512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 85 of 106


  Paz, Brittany                           02-15-2022               Index: expect..Fontaine

   expect 12:11 43:13              fault 230:5                        76:1 78:16 91:16 92:1 108:19
                                                                      143:3,8 145:10 157:8,14
   expectations 11:25 20:16        favor 229:10
                                                                      160:2 207:9 251:18 275:3
    265:19
                                   February 5:2 8:25 58:18            278:14
   expected 11:20 13:7 60:21        59:14 69:7 71:10,22 73:6,7
                                                                     finding 99:16 206:15
    277:22 278:4                    77:2 86:10 125:25 129:7,16,
                                    20 130:3,11 135:23,24 139:6,     findings 206:7
   expensive 230:24
                                    16 148:11,19 149:2 150:22
                                                                     fine 72:23 93:12 106:8 187:24
   experience 210:16,24             151:13 152:9,13,15 162:25
                                                                      194:11,14,21 216:4 218:13
    236:24,25                       175:5,6,10 209:23
                                                                      231:16 233:12,24
   explain 186:8 207:15,16,17,     federal 208:15
                                                                     finish 23:1 56:12 83:12
    19,23
                                   fee 14:14,25                       249:15
   explaining 146:10 207:12
                                   feel 7:7 26:22 106:2              fire 68:14
   explanation 113:7 250:22,23
                                   feelings 106:10 259:16,18,22      fired 63:20 64:1,2,4,10,15,21
   extensive 75:17                                                    68:22
                                   felt 101:15 106:1
   extent 54:15 68:22 105:14                                         five-minute 253:11
                                   fighting 54:2
    223:4 225:17 231:24 260:2,4
                                                                     Fives 56:18
    276:1                          figure 15:15 51:8 89:12 164:7
                                    165:12 201:14 259:5              fix 250:18
   extra 22:9
                                   figured 107:5                     flags 83:25
   extremely 43:13
                                   file 110:2 114:6 116:10           flat 14:14,20,25 23:8
   eye 144:12
                                    235:15 237:13 249:18 250:20
                                                                     flight 28:7
   eyes 192:2 196:3,13
                                   filed 7:24 20:20 113:2 129:10
                                                                     flip 74:4,12,15,18 76:1 77:10
                                    169:23 208:15 209:5 236:2,19
                                                                      92:5 254:23
                   F                244:13 249:23
                                                                     flipped 78:10
                                   files 90:10 159:16 160:8
   fabulous 111:4 115:15            165:9 222:5 270:12,17,20         flipping 20:13 222:21
   Facebook 19:20 139:15,20        filing 34:2 113:8 196:14          floor's 229:20
    141:2
                                   filings 142:23                    Florida 130:22 169:6
   fact 8:3 31:1,6 44:5,23 45:5,
    12,13 46:24 100:15 145:5       final 114:3,7                     flowing 198:18
    188:25 189:20 190:19 247:3,4   finalized 185:11 215:10           focus 34:24 44:22 125:21
   facts 69:9                       249:23                            214:3

   factual 30:13 55:19             finally 52:2                      focused 53:11
   factually 51:2 63:21            finances 233:20,21 238:22         folder 87:21,22,23,24 266:23
                                                                      267:2 268:18,19 270:13
   fair 15:14,17 49:6 73:10 74:3   financial 109:6 188:17,23
    85:21 144:14 147:11 223:7       189:1 193:14,17,19 200:8         folders 270:5,7 274:12 275:5
    245:17 276:20,21                212:13 213:1,16 219:7 238:19
                                    251:6 252:6 262:21 271:13,
                                                                     follow 54:18 68:12 260:24
   fake 62:5,6                                                        268:14
                                    15,18 273:3,7,9
   false 22:5 38:17,18,21 251:16   financially 243:4                 follow-up 61:8
   familiar 168:22 248:3           financials 271:9,23 272:1,3,      follow-ups 61:7 88:13 254:2
   fashion 111:15                   7,9,10,23 273:6,24 274:8         Fontaine 7:22 14:4 16:5,19,
                                                                      25 17:3 18:13 19:14,16 24:19
   father 255:12                   financing 233:16,18 234:5,6
                                                                      49:24 50:1,3 72:9,13,14 79:6
                                   find 12:2 39:8 41:1 62:3 70:19     80:8 82:8,10,19 83:3,20 86:7,



                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 86 of 106


  Paz, Brittany                           02-15-2022              Index: Fontaine..half

    12 88:25 89:9,13,21 90:25      friends 10:1,2                 global 92:21
    92:12,14 93:4 94:8,16 95:11
                                   front 32:25 35:15 59:7 79:1    God 37:14 124:20
    96:12,14,18 97:4 98:22 99:18
                                    80:17,20 81:6 85:14 102:10
    100:6,15 102:11 113:2 120:5,                                  good 11:19 61:8 63:19 68:1,3
                                    198:24 264:14,15
    8,12 124:22 130:1,25 131:4,                                    134:18 141:15 180:1 197:15,
    23 132:8 138:16 139:10 141:5   FSS 195:23                      17 213:9 232:1 244:2 263:2
    147:4,21 148:4,20 156:4
    160:14 162:19 182:23,25
                                   fuck 115:12                    goods 243:22,25 244:12
                                                                   245:18
    183:2 187:17 257:15 258:7,10   full 141:10 248:13 251:2
    259:3,8,24 260:13 266:22,23                                   Google 71:24 72:3,6 78:24
    267:2,17 268:18,20 270:13      fully 13:12 20:5 27:5
                                                                   79:16,17,21 80:3
    271:6,14,16 272:9 273:10,20    future 53:20,22 54:6
    274:12,13,22 275:6,24,25                                      gotcha 65:5 104:10 201:18

   Fontaine's 95:21 96:10,21                                      government 233:20 238:12
                                                  G
    97:1 101:25 130:21 140:2                                       256:8
    144:21 257:9                   gain 111:10                    grade 214:5
   forget 132:22                   Gamble 277:25                  grammatically 277:14
   forgot 274:16 275:7             game 223:7                     granting 207:2
   form 47:4 54:19,21 128:9,17,    gander 232:21                  gray 254:12
    18 129:14 226:19 267:20
                                   GAP 241:15,16,17,19            ground 99:16
   formally 190:2 276:8
                                   gave 31:20 40:18 55:20 88:2    group 85:10
   formed 215:13,14                 117:3 122:17 144:9 159:9      growing 51:16
   forms 248:23                     181:4 192:16 194:18 209:11
                                    214:12 235:10 247:16 248:18   Guerra 277:25
   forthcoming 207:10               265:25                        guess 6:17 23:18 64:16,17
   forward 51:20 106:10 114:12     gee 251:10                      73:2 75:1 85:25 116:18
   found 12:4 47:23 94:4 101:24                                    141:16 165:23 167:5,7 174:7,
                                   general 69:16 79:18 96:8        15,16,22 175:19 193:24 218:2
    108:10 119:1 163:19,21          112:14 138:23 233:12
    199:10 205:23 206:13 207:10                                    225:15 242:13 246:3,20
    274:12                         generally 25:4 30:20 31:5       251:16 267:12
                                    34:14 43:7 62:3 70:7 85:11    guessing 74:25 75:2 133:7
   frankly 72:21 103:1              112:3 241:23 258:18 276:5      155:1 156:21,22 174:8 218:12
   free 5:4 7:23 10:5,13 31:11     generated 172:8 221:6,7,8
    37:9,10,11 41:14 65:11 71:21                                  guests 62:14
    73:7 103:21 118:16 135:3       generates 172:20               guidance 53:19,21,23,25
    139:4,8,16,19,22,23 140:1      ghost 136:23
    142:23 145:15 146:4,17,18                                     guideline 69:17 70:2
    148:9,17 151:14 158:21         girl 138:2                     guidelines 63:18,19
    171:14 184:10,13 185:15
                                   give 42:24 53:19 58:2 74:10    guys 115:1 231:8
    196:25 197:3,14 198:19
                                    76:11 77:18 97:14 116:12
    199:9,10,17 200:18 203:23
                                    128:3 132:11 137:19,22
    204:2 207:18 208:6,9,15                                                      H
                                    147:24 167:3 176:16 185:17
    209:6 211:22,24 212:8 215:21
                                    186:2 189:18 202:7 208:23
    221:24 230:2 233:5 235:19
                                    209:13,14 224:2 231:14        hac 111:11 112:7 113:8 116:2
    236:6 237:12 240:11,15,18,
                                    240:3,5 241:13 246:11,12
    21,22 243:9 244:11 248:6
                                    251:24,25 252:11 263:13
                                                                  hair 254:12
   Friday 72:7 186:3,12,13,23      giving 23:5 26:3 53:21,25      hairs 88:7
    187:11 188:18,19 203:11
                                    125:10 173:5 191:19 198:20    half 56:20,25 93:16 182:18
    252:7
                                    248:10 249:19 250:17 274:6




                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 87 of 106


  Paz, Brittany                             02-15-2022         Index: Halfway..importan

   Halfway 56:22,23                hey 21:6 87:12 88:13 98:9         17,20,21,22 181:3,6,8,10,13,
                                    132:23 212:21                    15,21,23 182:3,5,13,15,17,21,
   hallway 278:14
                                                                     25 183:1,5,8 190:20
                                   hierarchical 51:24
   hand 37:14 141:7 176:20
                                                                    How'd 42:1 70:24 252:3
    187:19 195:22 196:1,12         high 95:13 118:12 136:2
    228:16 250:18 253:13                                            HR 64:20
                                   higher 261:22
   handbook 32:16 64:22,25                                          hundred 11:3 15:25 16:21,24
                                   highly 197:20
    65:6,8,9,12,18 66:6,10 67:7                                      17:8 19:23,25 39:19 40:23
                                   hip 218:12                        93:5,6 165:8 180:17,20,22
   handed 35:7 73:16,18 148:7
    175:2                          hired 121:8 180:15 201:16,17     hurry 227:4
                                    211:23
   handing 34:8 35:1 112:16                                         hyphen 255:3
    220:10 232:19                  histories 136:9
                                                                    hypothetical 45:7,10,11
   handle 29:18 222:25             history 108:5 135:8,21
                                    136:25 137:10 152:10,14,17,
   hands 235:2                                                                      I
                                    24 153:20 154:1 163:12 243:8
   handwriting 221:5 232:12         258:6
                                                                    ID 169:2
   handwritten 229:23              hold 115:3 184:4 196:17
                                    226:6                           idea 15:16 58:2 102:12 106:3,
   happen 114:11 156:15 166:6                                        5,22 107:2,4 123:6,17 154:21
    172:6 238:11                   holding 237:11 238:5 239:8        157:3 173:3,4 175:17 180:1
   happened 22:25 83:6             Holdings 217:10,14,22             236:20,22 257:14
    133:19,22 151:25 152:1,2        218:25 235:21                   identical 272:18,20
    156:16,17,19,24 191:3 200:9
                                   home 27:25 28:3                  identified 118:17
    206:17,18 243:13 259:17
    276:13,14                      honest 156:25                    identifies 92:12
   happening 243:15 277:5          honestly 209:2 233:10            identify 148:13 159:8
                                    239:15 244:20
   hard 54:25 74:18 121:11                                          identities 136:24 148:23
    122:8 171:10 174:5 209:11,13   Hook 7:4,10 17:7 18:10            149:11
    244:18 267:20 268:9             50:14,18,23 79:5,19,20 89:17
                                    90:5 92:24 104:12 108:6         identity 101:24 102:4 118:12
   hashtag 63:10,12                                                  119:14 136:2
                                    113:2 182:23 192:3 221:18
   hashtags 63:11                   259:19 266:20,21,25 267:1,18    image 96:21 121:11 125:25
                                    271:5,14,16,19 272:9 273:4,      136:1 139:9,11 148:11,12,19,
   head 17:20 74:7 84:19 118:1
                                    13,19 274:10,12,25 275:5         21 149:1,4 164:15,18,19
    120:23 134:8 173:23 182:20
    218:18                         Hook's 72:10                     imaged 122:4,8
   heads 23:5                      hope 232:3                       images 141:9
   health 96:10 257:16,22          horrific 131:9,11                imagine 74:20
   hear 131:17 251:9               host 47:16,23 48:2               immediately 50:9 98:1
   heard 36:14 39:14,18 105:7      hosts 48:5 50:24                  172:7,9 188:19
    142:14 261:20                                                   impasse 251:21
                                   hot 27:16
   hearing 251:23 252:23                                            implemented 33:21 34:1
                                   hour 16:17 23:9 182:5 186:15
   Hedge 48:9                       207:24                           66:3 67:3

   held 71:17                      hourly 23:11                     implication 48:25 251:17

   helpful 12:2,4,9                hours 15:25 16:3,8,11,21,24,     important 151:6 166:12
                                    25 17:8 23:19 24:3,4 39:11,19    278:5
   helps 54:3,5
                                    84:1 161:16 167:25 180:9,12,



                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 88 of 106


  Paz, Brittany                           02-15-2022                 Index: impressi..ipad

   impression 272:14 273:25        inferring 174:22                  injecting 28:16
   in-depth 89:17                  Info- 165:17                      injuries 259:25
   inability 112:9                 inform 78:11 114:17 115:25        inspired 169:6
   inaccurate 50:8,22 257:5        information 17:13,23 25:5         instances 64:21 107:14
    272:15                          28:17 30:14 33:25 39:1,8          267:2,4
                                    40:25 45:18,20 46:10 55:19
   inappropriate 52:4,14                                             instruct 25:10 158:22
                                    58:8,9,10,11,13,14,17 59:11,
   inappropriately 52:10            12,19 60:2 61:24 62:4 63:12      instructed 153:14,15,19
                                    64:11 68:2,3,10 69:8 70:14
   inaudible 17:19 77:14 104:16                                      instructing 34:11
                                    76:7,9 78:14,17 79:13 80:7
    122:13 185:19 186:10 189:23,
                                    82:17 84:17 86:11 87:4 88:3,     instructions 87:3 265:25
    24 194:5 198:11
                                    5,6 89:2 91:9 92:12 95:10,21
                                    100:14 101:2,23 102:4,22         interest 217:11,12,19,21,22
   inception 59:13
                                    103:14 107:9 108:19 113:24        218:5,9 219:1,3,4,5 236:12,14
   incident 257:23                  120:6 124:24 127:21 136:11,       242:14
   include 16:24 17:7,8 69:19       15 139:3 143:11,19 145:24        Interesting 115:8
    182:25 229:25 267:12            146:10 147:12 153:17 156:3
                                    165:18 168:10,12 170:7,17        interests 199:9
   included 55:23 161:21            172:21 173:12,17,21,25           internal 143:7 168:25 178:23
   includes 16:9 240:23             174:10,17 175:10,13 176:3         249:24
                                    177:15,19 178:18 185:4
   including 16:5 139:20            188:5,6 192:24 193:3 204:15      internet 19:22 148:15 159:24
    148:22 180:18 244:10            207:11 209:20 214:12 219:20       165:19 257:11,12 268:8
   income 185:13 208:9,16           223:12 226:8,13 238:16           interpretation 229:8
    209:6 216:15,17,20 217:6,8      240:3,6 242:3 246:1 248:2,7
                                    249:4 255:21 263:3 264:7         interrogatory 138:5 139:3
    218:24 240:20 241:9 242:7
                                                                      143:2 145:3 148:8,9 177:1
   incorporated 65:8               informations 85:13 240:14          188:23 205:4 245:5
   incorrect 100:16                informed 78:14 99:1,4             interrupt 222:8
                                    113:14 118:22 126:19,23
   increase 152:5                   210:3,5                          interrupted 253:1
   independent 36:25 43:23         informing 69:9                    interview 42:14,15 83:23
    46:13 87:8 143:18 211:6                                           167:7 254:22
    247:18 259:14                  Infowars 10:5,14 25:13 30:14
                                    31:1,9,10,13 33:2 34:9 35:2,8,   interviewing 181:25 182:5
   independently 89:15 248:11       16,23 37:10 39:12 41:4,12        interviews 16:6 40:1 42:17,
   indexing 90:18                   43:20 44:25 45:23 46:12,23        22 101:5 120:20 125:1
                                    47:11 49:17,24,25 50:12,14,       181:21,24 182:3
   indicating 19:6 33:12 89:6       17 51:10 52:17,18 57:4 58:18
    147:4 222:3 241:5               59:10,13,20 63:22 65:10 69:3     introduce 5:9
   individual 36:8 38:23 160:19     86:17 89:13,18 90:9 94:3,5,8,    inventer 37:22
    238:2                           18 95:11 100:6 101:20 118:10
                                    126:1 138:9,24 139:5 140:3       investigation 66:23
   individually 154:12              143:4 146:16 148:13,21 149:4     invite 269:4,5
   individuals 29:20 38:12          151:13 168:24 171:22 173:20
                                    178:23 185:14 198:16 204:2       invited 269:6
    128:1 136:22 146:3 247:15
                                    211:3,4 241:10 242:23 243:21
    276:5                                                            invoked 67:7
                                    260:1,7 261:8 266:13,16
   infer- 126:19                                                     involved 15:20 51:17 92:20
                                   Infowars' 88:18 135:2 146:10       112:21 116:6 264:1 269:21
   inference 174:17,20              159:16,21 165:9,21 237:5
                                                                     involving 54:12 238:9
   inferred 52:9                   initially 66:3,18
                                                                     ipad 115:17 189:22



                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 89 of 106


  Paz, Brittany                            02-15-2022           Index: irreleva..learning

   irrelevant 7:9 86:2               60:7,11                         Kurt 60:16 70:6 71:1,4
                                                                      150:14,15
   Isis 169:6                       journalist 34:23
   issue 57:6 68:23,24,25 83:6      journalists 31:14 33:6,9
                                                                                     L
    89:1 108:12,16 110:20 130:19     34:10,12,18,21 35:2,9,16,18
    193:25 206:9 209:24 228:14       49:17
    270:25 271:10,11 276:24                                          L-A 269:14
                                    judge 11:18,24 12:6,11,18
    277:6                                                            label 99:24 159:7 185:20,22
                                     13:3 55:4 265:25 266:5,8
   issues 99:22 109:16,25            270:22 277:21,25 278:9,13        268:22
    111:7,12,16 112:4,15 113:14                                      labeled 57:23 96:12 97:16
                                    judge's 265:19,22
    206:10 252:24 257:16,20                                           147:21 190:23 195:23 196:3
    258:19 269:25 271:18 274:15     judgment 207:3 210:20             268:20,21,22
    276:19
                                    June 59:16,17 64:24,25 65:6      labeling 252:5
   item 241:12 242:1,2,3,5,14,17
                                    jury 5:10 21:16,17 31:21 32:3,   laid 81:22
   itemize 245:20                    9 34:9 35:2,8 85:21 124:4,14,
                                     24 125:10 140:24 143:20         landing 79:22 80:1,4,9,10
   itemized 245:23,25 246:1
                                     149:7 152:8 162:22 170:4        language 115:13,18 129:22,
   items 155:24 241:12 244:8         176:8 213:21 237:9               24 130:3 224:15
                                    Justin 196:6                     late 50:7 83:24 84:2 126:9,14
                 J                                                    166:25 167:15,18 210:6,7
                                                   K                 Latronica 269:10,11,15
   Jacobson 261:8 267:16
                                                                      270:13
   Jaimie 137:25 138:1,2            Karpova 35:14
                                                                     laugh 115:9
   January 8:25                     Kellan 137:25 138:1
                                                                     laughing 99:15 269:11
   Jefferies 110:10                 Kerns 229:2,3
                                                                     law 7:15 21:18 26:12 29:1,2,
   JLJR 215:16,18                   keyword 34:23                     13 107:11 116:1
   job 8:5 85:23 110:9 263:25       kind 5:25 9:14 23:7 29:15        lawsuit 77:4 118:22 126:19,
                                     39:15 49:4 63:15 90:10 111:7     22,24 128:12 129:10 146:4
   jobs 85:23
                                     113:9 116:24 138:21 166:12       169:23 236:19 237:21,24
   Jones 6:7 9:5 21:1 24:21          195:12 198:20 212:15 218:11      244:13
    26:18 30:19 33:22,24 35:13       223:24 233:2,3 234:8 235:10
                                                                     lawsuits 34:2 51:24 54:6
    36:18 37:11,13,17,21 38:1        236:25 249:8 253:25 274:6
                                                                      237:13 238:9
    39:14 40:2 42:3,5,7,10,14,23,
                                    Kit 31:23 32:8,11,21 33:22
    24 43:2,24 64:19 65:20,21                                        lawyer 21:21,25 22:2,3,4,5,17
                                     49:9,10 61:10 84:12 139:13
    68:14,20 69:4 82:15,19 83:3                                       25:14 124:18 132:16 154:18
                                     148:18 166:24 167:19 183:25
    84:25 86:6 158:15,16 197:17                                       178:11 191:4 201:16,17
                                     257:3 276:17 278:22
    200:12 212:24 213:4 214:19,                                       212:10
    21,22,24 215:2,6,7,12 216:25    knew 8:9 20:25 82:21 83:5,10
                                                                     lawyers 108:25 109:1,14,24
    217:3,7,8 218:10,21,23           157:17 209:4 221:16,17
                                                                      123:11 132:17,18,19,25 133:2
    237:19 238:1,7 240:17 243:2
                                    Knight 44:19                      191:3
    255:1,8,14,24 256:11 260:19,
    25 267:10                       knowing 85:4 179:24              lead 35:7 71:11,15
   Jones' 44:9 48:6 83:19 85:3      knowledge 64:3 69:9 82:8         leading 265:8 266:2 268:11
    104:24 208:6 213:1 216:17        83:19 85:3 86:7,23 88:10,12,
                                                                     learn 130:14 199:6
    217:15 218:5,23 255:16,19        17 94:15,17,22 95:2,3 96:13
   journal- 31:10
                                     100:6,18,20 136:8 155:14        learned 188:24 210:2 219:7
                                     173:12 179:14 244:17 258:13,
                                                                     learning 211:12
   journalism 30:23 34:15 35:4,      25 259:2,8
    16,19 39:17,25 42:8 43:18



                                       www.res-ipsa.com
                                        512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 90 of 106


  Paz, Brittany                             02-15-2022             Index: leave..marked

   leave 26:8 28:12 144:9           132:14 187:4 210:19 215:22     Madam 59:4
                                    221:18
   leaves 28:10                                                    made 8:10 49:21 51:25 53:2,
                                   live 172:8                       18,19 59:2 64:25 65:1,9 92:3
   leaving 253:12
                                                                    96:24 114:3,7,13 127:4,9
                                   lived 88:5
   left 50:8 84:4 141:6 167:19,                                     138:19 143:10 145:2 149:8
    21,24 168:2,10                 lives 86:14,15 89:3 90:25        151:13,15 153:25 157:14
                                    91:1                            158:21 160:19,22 163:14,16
   legal 26:3 37:7 114:1,4                                          169:23 205:13,18 210:3,4,21
    116:12 178:10 229:22 230:4,6   living 7:12                      224:24 225:21 242:14 243:3
   lesser 68:22                    LLC 5:5 10:6,14 37:10 138:24     248:8 260:9 262:3 268:5
                                    139:4,16,19,22 142:24 148:10    272:13
   letter 95:19 100:10,17,22,25
                                    215:24,25 216:1 217:14
    126:25 127:4,9 128:19,22,25                                    main 85:11
                                    218:21 261:8
    129:6,17,18 130:10,12 153:10
                                                                   maintain 149:20
    170:18 221:13,15,18 257:13     LLC's 139:23
    258:6,11 259:9                                                 maintained 139:19
                                   LLCS 37:7 239:5,8
   liabilities 233:5 234:9,19                                      majority 36:19 37:3 197:24
                                   locate 143:11
   liability 54:12 234:23                                          make 28:18 43:21 45:9 51:20
                                   located 6:8 159:15               58:21,25 60:24 61:21 62:4,14
   liar 251:17
                                   location 94:19 96:16 148:14      63:25 69:18 79:19 115:1
   liberal 229:8,9                                                  124:24 133:15 144:1 190:10
                                   locations 50:6 101:9             191:12 192:12 212:2 214:6
   license 116:1                                                    219:9 225:23 227:16,21,23,24
                                   long 24:2 29:11 125:8 138:21
   licensed 26:12                   171:8,22 178:14,15 186:14       229:1 232:10 239:2 243:3,17
                                    198:2,18 207:25                 251:13,14 254:9 256:18
   life 258:22                                                      264:23 274:3
                                   longer 28:15,18 29:22 35:18
   lifeline 250:17                                                 makes 232:11 240:21,25
                                    67:5 98:13,21 99:2 176:3
   limited 90:7 179:17 235:21       249:20 269:22                   241:10 243:7

   lines 108:14 111:13 113:15      longest 65:23                   making 68:12 82:4 174:17
    206:19,21                                                      male 138:3
                                   looked 19:14 20:8,12,14
   link 62:23,25 138:10 139:1,4,    75:18 93:15 97:21 98:7         mall 241:21
    13,17 141:18,19 148:15          168:15 176:25 275:4
    149:23 150:1,2                                                 malpractice 114:1,4
                                   lose 247:16
   links 62:22 98:12                                               managed 51:18 52:8,10,11,
                                   losing 210:19                    17,18
   list 47:15,16,20 48:3,6,7,11
                                   loss 188:21 191:21 192:11,20    management 200:13
    87:3 96:16 138:8,18 246:6,7
                                    251:4
   listed 35:22 64:22 79:14                                        manipulated 108:10 206:13
                                   lost 238:10 273:15
    136:22 172:13 178:24 245:13,                                   manner 245:14
    24                             lot 17:11,23 51:17 61:8 70:15
                                    75:23 102:3 112:14,23 132:6    Marcel 259:24 260:8
   listen 38:10 39:10 171:9
                                    255:17 257:20 258:19
                                                                   mark 31:17,19 97:10 125:15
   listening 39:5                                                   219:15,18,24 226:6 229:19
                                   love 171:16 222:5,6
   lists 48:1,2 236:10                                              232:21
                                   lying 75:9,10,11 251:18
   literally 250:16                                                marked 18:3 31:18 97:11
                                                                    102:10 103:10 117:19 125:16
   litigates 21:5                                 M                 137:20 140:17 141:8 148:6
   litigating 21:3                                                  159:2 162:15 163:2 168:18
                                   machine 226:23                   176:19 184:23 192:18 195:21,
   litigation 49:20 51:9 57:12                                      25 196:2,13,16 219:17 228:12
    94:12 108:6 112:19 113:7



                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 91 of 106


  Paz, Brittany                              02-15-2022       Index: marketin..negotiat

    254:4,7,8,13,14,16 261:5,7      mentioned 23:24 79:12           month 153:11 240:17,19
    262:18                           155:22
                                                                    months 198:5 199:16,23
   marketing 243:5                  mentions 54:11                   200:5,9 210:22 236:19 243:14
                                                                     248:15
   Massachusetts 86:16 94:19        message 133:20
    96:16                                                           morning 19:8 20:3,20,21
                                    messaging 260:8
                                                                     72:4 74:2 150:25 167:10
   material 17:9 19:24 30:10
                                    met 185:3 196:11 218:16          187:19 190:18
    41:2 42:18 55:24 56:2 87:25
    98:22 100:9 102:2 109:17        Michael 110:14,15               mother 215:7
    153:7 255:15 258:3 259:12
                                    mid 228:10                      motion 113:8 191:10 200:13
    260:11
                                                                     223:10,16,20 227:24 231:21
   materials 10:24 19:10 39:7       middle 210:19 217:15 225:18      237:23 249:18 250:21 265:4
    40:20 57:7 75:15 91:25          million 185:13 197:4,20,25      motions 116:5
    140:22 143:14 154:15 214:16      198:14,25 204:1,7 210:17
    229:4 257:11 271:12 273:7,23     212:12 217:23 218:1,3 219:1    motto 39:15
                                     220:18 236:19 242:20
   math 182:8                                                       mouth 44:24
                                    mind 176:1
   math's 182:19                                                    move 14:7 226:3 229:18
   matrix 41:23                     minute 114:20 192:11,12          275:10
                                     222:9
                                                                    moving 260:17
   matter 6:16 30:1 142:6
                                    minutes 16:17 190:7 253:9
    189:20 244:23,25                                                MSNBC 141:4 144:4
                                    mirror 121:11
   matters 21:23                                                    multiple 13:5 54:13 55:8,12
   meaning 107:18 266:21            mischaracterized 54:16           59:24 60:9,12,19,25 61:3
                                                                     69:18,20,22
                                    miscommunication 250:2
   means 8:3 87:2 99:24 136:7
    147:6 156:25 157:3 241:17       misidentification 131:22                      N
    244:4 246:2 255:6
                                    misidentified 260:1
   meant 39:22 259:6                                                name's 200:21
                                    misinformation 256:10
   media 19:20 50:5 61:18,22,25                                     named 36:2
    62:2 63:16 101:7,8,10,13,19,    misleading 255:21
    23 102:4,23 139:18 141:1        missed 130:18                   names 61:4 84:11,18,22
    150:6 164:20,25 165:6 256:22                                     137:21
                                    missing 48:11 108:14
   medium 138:9                      206:20,22                      narrow 89:23

   meeting 196:10                   misspoke 178:9                  native 143:25

   Melinda 30:18 32:18,24           misunderstood 102:25            necessarily 31:13 111:18
    64:20 65:12,17,18 66:7 70:19,                                    121:10 142:7 146:13 151:23
    24,25 103:12,18 104:22 146:8    mitigate 162:12                  164:21 170:17 239:4,6 240:13
    158:12 177:8 185:3,9,25         mitigated 130:19                necessitate 105:22,24
    186:7 199:8 203:9 214:15
    222:1                           modification 170:5,22 171:3     needed 18:6 25:5 59:19 76:6,
                                     173:1,22                        7 112:12 170:23 202:21
   members 120:20                                                    204:18 214:13 240:3,6
                                    modified 169:13,14,18 170:2,
   memories 223:11                   12,15,16,18,20 175:11 176:4,   nefarious 206:24
   memorized 264:11,12               5,6
                                                                    negative 131:24,25 132:2
   memory 219:11                    money 198:18,20,21,23            184:15,17 185:13 197:4,20
                                     199:8,13 216:14 218:8 237:6,
   mental 96:10 257:16,22            13 240:22,25 242:24 244:5,7,   negotiated 15:5,8

   mention 10:23 19:18 146:5         10                             negotiations 134:5 192:22



                                       www.res-ipsa.com
                                        512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 92 of 106


  Paz, Brittany                           02-15-2022                Index: neighbor..Ogden

    194:10                          232:5 254:15,20,21 261:2,3,      observed 78:4
                                    25 262:2,7,8,12,19
   neighborhood 16:8                                                 obtaining 229:15,17
                                   notice 8:17 10:21 11:23
   net 103:4 104:11 116:24                                           obviate 54:5
                                    12:10 16:14 17:14 26:24
    177:6,11,14 183:25 184:5,7,
                                    55:18 78:13 81:22 88:9 137:8     occasion 138:8
    10,13,15,17 185:13,15 190:13
                                    139:21 238:24 267:3 277:22
    192:25 193:4,17 195:23                                           odd 238:18 239:6
    196:25 197:3,9 202:5 204:11    noticed 13:23 14:4 219:12
                                                                     offenses 133:14
    205:14 211:12 234:16 235:2
                                   notices 13:13 179:9 272:16
    238:22 252:8 253:24 279:6                                        offered 230:9
                                   notification 170:15
   news 19:21 36:13,21 43:9                                          offering 38:6,7,9
    50:4 62:22,23 63:7,9           November 236:2
                                                                     office 24:8,9,10 29:5,6 167:24
   newspaper 148:15                number 15:3,5,7,10,14,21           186:19,20,22 191:18 194:16
                                    23:15,16,17 29:20 30:16           196:9 227:16,21
   Newswars 139:7
                                    36:16 39:11 41:18,23,25 42:2,
                                                                     officially 215:13
   nice 132:2                       3 43:6 57:1,11 58:5 70:1,18
                                    71:2,20 73:6 74:8 76:11 77:7     Ogden 5:8,15,20,25 6:11,15
   night 7:8 73:9,20 90:19 92:3
                                    79:8 80:16,20,21 81:5,11,16       7:11 8:16,20,22 14:16,17,21,
    167:11 187:15
                                    92:7,13,21,22 93:2 95:12          23 25:22 26:8,11 31:17,19
   Nikko 47:19,20 62:12             101:8 117:23 131:12 147:7         39:11 47:3,6 52:25 53:1
                                    150:7 158:12 182:22 185:17,       54:17,22 55:5,7,16,17 59:4,6
   Nimmo 60:16 70:6,9,11            21 189:19,21 197:2 198:17         73:13,14 75:6 76:20,24 77:1,
    150:14,15 158:8,9
                                    204:4,9 205:10,14 208:24,25       15,19 78:3 81:7,10,12 90:15,
   Nimmo's 70:18 71:1,4,9           238:9 263:22 266:9,14 271:4       17 91:15,24 95:10,14,15
                                                                      97:12 98:20 104:5,7,10,14,18,
   nitty-gritty 240:14             number's 147:16
                                                                      21,22 105:17 106:18,21
   Nobody's 63:20                  numbers 71:3 78:23 81:24           110:13,15,18,23,25 112:18
                                    82:1 92:17 103:20 185:10          114:21 115:3,24 116:4,21
   nodding 53:16 69:14 82:9         187:6,10 191:24 197:10,11         117:16,18,20,24 121:16,18,19
    83:21 105:3 125:1 127:6         204:10,13,23,25 206:3,13,21       124:10 125:17 126:16,18
    144:13 154:24 195:19 217:18     207:15,16 208:20 210:5,9,14       129:3,5 133:2 134:20,24
   nonparty 148:11,13               213:10 218:12 242:4 247:16,       136:14 137:3,6,13,19,24
                                    21 248:16,22,23,24 250:5          140:8,11,14,15,18 141:9
   nonresponsive 59:5 265:16        270:18                            147:18,20 148:1,3,5,7 153:15
   norm 21:25 22:2 37:2                                               155:12,16,19,21,22 159:3
                                   numerous 39:15 88:24 89:4
                                                                      161:21 162:16 168:19 176:9,
   Norm's 22:5                                                        14,16,20 178:6 180:4,6
   normal 210:16,22                              O                    183:18,20 184:24 185:5,8,20
                                                                      186:11 187:8,12,14,18,22,24
   note 198:14 203:24 204:1                                           188:4,8,15 189:5,12,15,18,21,
                                   oath 41:17 124:20 210:8
    211:1 217:23 218:1,3,4,9                                          23,25 190:4,8,10 191:14,23
                                    213:21
    234:12 242:25 256:14 262:3,                                       192:1,10,13,15,23 193:2,6,8,
    20                             object 6:23 25:10,17 54:15,        11,16,21 194:6,11,14,21,25
                                    19 59:5 105:14 229:18 265:6,      195:6,12,17,20,22 196:1,8,17
   notebook 220:5 222:21
                                    8,15 266:2 268:11                 208:4,11 215:18 217:6 219:18
    224:10 253:13
                                   objection 46:25 54:21 98:18        220:4,7,11,15,20 222:15,19,
   notepad 220:10,12 223:11                                           25 224:5,8,12,19,23 225:2,7,
                                    155:11 265:11
    232:19                                                            9,11 226:1,5,15,21,24 227:3,
                                   objections 54:20 55:2              6,25 228:1,8 229:19 230:14,
   notes 202:14,23 218:13,16
    219:8,14,16,22 220:13,16,17    obligation 7:8                     17,20 231:7,11,17 232:1,6,16,
    222:10 223:5,22 224:3,11                                          19,20,22 249:1,12,16,19,25
    225:5,10 226:16 228:10,12,17
                                   obligations 6:21 10:11             250:6,9,16 251:20 252:3,8,11,
    229:23,25 230:3,4 231:24       obscured 147:16                    14,17,21 253:3,6,10,16,22




                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 93 of 106


  Paz, Brittany                          02-15-2022                 Index: older..people

    254:5,9,14 255:11 261:6        over-- 266:18                    Parkland 97:3 130:2 149:2
    262:13,15,25 264:18,22                                           260:1
                                   overlap 112:23 271:10,11,12
    265:6,8,11,15 266:2 267:5
                                    274:21                          part 11:6 21:20 33:15 51:4
    268:11,14,17 279:3
                                                                     72:4 108:2 149:24 232:1,8
                                   overlapping 112:2
   older 114:25                                                      245:13 256:6
                                   overlaps 113:20
   omitted 225:6                                                    parties 253:23
                                   owe 38:14 243:7
   on-air 60:3                                                      parts 19:16 260:17
                                   owed 39:4 103:23 197:23
   ongoing 113:13 132:14                                            party 41:6,7 121:7,13 122:4
                                    198:22 203:24 242:20
    258:21                                                           229:14 236:9 256:8
                                   Owen 44:21 45:4
   online 131:9 159:24                                              pass 268:13 276:6
                                   owing 103:23 237:7
   oop 135:10                                                       passing 263:11
                                   owned 142:23 145:15 214:19
   operates 197:15                                                  password 269:3
                                    215:6 239:3
   operating 150:17                                                 past 36:6 39:12 47:23 98:23
                                   owner 37:22 67:6
                                                                     188:19 190:6 209:21
   operatives 255:17
                                   ownership 199:9 217:19
                                                                    patient 22:13 87:1 174:5
   opinion 38:17,18 42:13 44:3,     221:24,25
    4 46:18,19,20,22,24 50:24                                       Pattis 9:11,13,15,17,18,20,22
                                   owns 37:8,9,10,11 142:16,20
    72:20 110:12,16 111:1 115:22                                     10:4,17,22 11:2,17 20:23
                                    214:18 215:4,5,20 217:11,20,
    150:7 189:2 191:9 255:19                                         25:1,12,16,19,22 26:3,19 29:8
                                    21 221:25
                                                                     260:19
   opinions 38:6 40:2 50:25
    251:5                                                           Pattis's 25:2
                                                   P
   order 5:13 41:8,10 95:23                                         Paul 71:17,18
    108:17,18,24 112:5 116:2       p.m. 126:10 137:16 188:12        pause 117:16 220:11 232:18
    192:4 193:16,24 195:7 247:8     228:5 253:19 279:9
    265:4,10,12 266:7 278:7                                         pay 151:19,22 152:5 199:17
                                   packet 19:6                       214:5 243:5
   ordered 7:5 11:13 183:21
                                   pad 219:12 229:22 230:4,6        paying 204:3,6 210:18
   orders 111:13,14 266:9,14
                                   pages 11:3 19:23 20:2 71:21       242:23 244:1
   org 148:22                       74:13,16,19 77:10 79:3,12,13,   payment 210:21
   organization 57:7 111:17,22      17,22 80:1,4,10 81:16 92:16
                                    93:8,9,15 97:20 98:10,21 99:1   payments 243:18
   organize 41:1 270:5,7            119:23 135:22,25 140:18         pays 199:18 240:22
   organized 52:5 111:18            222:21 230:18 231:2,3,24
                                    232:2 254:14 267:21             Paz 5:3,4,11 7:5,11 20:12
   origin 159:14                                                     78:3 99:16 173:8 174:6
                                   paid 14:8,11,13,24 198:1,19       187:22 188:17 216:23 220:4
   original 45:12 100:9 128:4,8,    199:8,13,14,24 216:16 217:8      227:7 228:10 229:22 252:8
    10,17 138:16 149:23 160:10,     218:9 237:6                      265:3
    14,21,23,24 161:11,22
    166:14,18,21 173:1 175:6       paper 87:14 230:21               peculiar 177:22
    226:11,19 231:1                Paragraph 236:9                  pendency 133:16
   originally 101:6 134:12         parameters 123:7                 pending 111:12 112:7
    166:23 173:21 212:3,8
                                   parent 238:5                     people 19:22 30:4,16,19
   originals 226:23 231:14
                                   parentheses 139:10,12,20,         36:5,8,9 38:3 42:22 43:3,4
   other's 60:25                    21 148:20,22 221:19              49:17 51:17 59:22 61:11 64:6,
                                                                     21 70:16 84:3 86:25 168:7
   outstanding 112:13,14           parents 217:20 238:9 239:9        181:12,25 237:13 238:14,16
                                                                     239:1 255:20 256:2,8,9



                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 94 of 106


  Paz, Brittany                            02-15-2022             Index: percent..possessi

    258:18 260:8 273:6 277:12       photocopies 225:24               platforms 139:21
    278:16,21
                                    photocopy 231:14                 pleadings 116:5 118:3,4
   percent 36:11,14 39:25 40:5,                                       125:18
                                    photograph 96:23 97:1,4,8
    23 41:16 42:7 43:5,11,12,14,
                                     101:6,11,15 102:5 129:25        PLJR 214:20 215:3,4,5,6,20,
    17 154:25 165:8 214:19,20,22
                                     130:20 141:5,23 144:22           23 216:6 218:21 240:12
    215:4,6,7 217:12,21 218:8,20,
                                     149:18 257:6
    21,22,25 219:3 238:5 239:3                                       plurally 24:23
                                    photographs 141:20 160:13
   percentage 36:24 42:25 43:1                                       point 28:22 73:22 91:18
    199:21 200:4                    photos 160:21                     113:1,17 115:24 118:6 132:20
                                                                      153:19 193:7 212:6 228:16
   percentages 217:21 222:1         phrasing 273:17
                                                                      243:20 246:10 248:14 249:9
   perfect 61:12 255:2              physical 252:1                    252:21 253:23 256:15 260:20
                                                                      263:21 278:24
   perfectly 231:22                 physically 203:21 252:1
                                                                     pointed 261:23
   period 63:10 70:5 83:7,18        pick 256:4
    112:22,25 237:4                                                  pointing 261:14
                                    picked 238:18
   periods 112:2                                                     points 112:24 124:2
                                    picture 62:8,10 100:23
   permissible 54:20                 101:12,14 140:3 141:10          policies 30:13,17 31:1,4
                                     142:1,10 147:4 161:25            32:3,10 33:21 49:22 51:20
   perseveration 152:19
                                                                      55:19 58:17 59:10,18 61:13
                                    pictures 150:6
   person 12:25 24:6 26:2 29:25                                       63:16 69:6
    30:9 33:20 35:22 36:2 41:4      piece 45:18,20 55:20 87:14       policy 33:5 34:1 35:17 51:10
    46:10 62:8,9,15 66:21,24 67:4    230:21
                                                                      53:1,3,10,11,13 58:8 59:2,6,9,
    68:11,13,24 70:25 100:23
                                    pinch 195:13                      23 60:16,17,18 61:20,24 65:7
    102:5 119:14 121:4,8 132:12
                                                                      69:6 70:7
    154:21 157:24 172:24 186:17,    pipe 122:16
    18 191:5 194:22 200:22                                           political 38:3,4,9,12,20
    201:7,8 211:15 212:25 213:3,    Pizzagate 255:17,22,24
                                     256:11 261:4                    popular 63:13
    6,12,16 259:13,14 260:21
    270:2                           PL 217:11                        portions 230:9
   personal 9:23 72:20 86:23        place 49:22 51:10,14 59:10       pose 28:20,23
    89:2 92:12 95:2,21 118:23        61:14 62:19 69:7 72:24
    258:13,24 259:16,18,22
                                                                     posed 188:16
                                     111:14 122:9 140:1 143:3
    267:12                           187:11 195:7 255:3              position 7:5,9 30:22 34:14
                                                                      35:3,10 36:11 37:21 38:2,25
   personality 43:25 44:18          places 101:8 150:8                42:5,6,9 43:7 51:11 60:20
   personally 63:6 142:20           plaintiff 88:4,6,10,12,18         65:5 69:9,12,17 71:9 150:10,
                                     100:19,21 118:11 132:24          11 161:14 225:4 228:11,15
   pertinent 267:2 271:5,6,14
                                     136:1                            230:12,14 235:1 247:20
    274:9,13 275:3,5
                                                                      255:22 259:23
   petition 7:24 8:10 118:3         plaintiff's 81:22 196:9
                                     228:11                          positions 38:24
   petitions 56:7 118:4 176:24
                                    plaintiffs 73:8 95:18 99:19      positive 105:2,5
   phone 24:5 26:2 55:4 70:18        114:12 130:11 133:21 143:6
                                                                     possess 179:13
    71:2,3 77:16 112:16 114:18       159:9 188:6 270:17,20
    118:24 119:5 141:14 153:6                                        possesses 246:8
    156:3 186:16 191:13 255:13      planet 40:5 142:12,14,19,23
                                     143:17 145:1,6,10,20,23,24      possession 93:25 94:14,23
   photo 50:4,5 97:20 101:25         146:2,6,11,17 147:8,13           95:1 118:17 126:3 135:4
    130:4 144:6 145:22 147:3                                          139:2 163:10,23,25 173:20
    159:3,5,12 160:10,20 161:1,5,   planning 215:12 216:3             252:2
    9,17,18 162:9,10 225:20         platform 145:20 175:25



                                       www.res-ipsa.com
                                        512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 95 of 106


  Paz, Brittany                           02-15-2022           Index: possibil..procedur

   possibility 53:14 64:22,23      preferred 47:17                 prevent 229:14
   possibly 29:25 270:1            prefers 47:23                   prevented 229:17
   post 34:2 80:8,13 84:16 85:4,   premise 62:13                   previous 8:24 81:20 89:8
    5 96:24 97:2 100:15 101:3
                                   prep 271:25                     previously 10:15 30:3 49:23
    128:4,8,10,15,16 129:16,19
                                                                    53:24 97:13 159:4 176:2
    138:19 139:1 141:1 145:1       preparation 16:9 23:25
                                                                    197:7 199:15
    146:10,14 149:18 150:9          41:19 90:5 106:11 107:13
    151:12 160:19,21,24 161:11,     109:9 116:5 183:7 194:9        primary 236:23 240:25
    22 162:12 163:14,16,17          214:3,11 249:5 257:8 266:19
    164:4,12,14,20,23 165:18,22,
                                                                   principal 218:9
                                    273:16 275:6,19
    24 166:6,14 169:2,5,9,13,14,                                   principally 204:8
    17 171:17 173:1,21 175:6,11
                                   preparations 274:4
    176:5 210:19 255:3,20 256:20                                   principals 241:23
                                   prepare 10:19 30:12 55:21
    257:17,18,21 276:11             82:12 87:4 103:7 177:4         print 17:17 203:21
                                    179:19 183:23
   posted 19:21 50:6 81:17                                         printed 185:4 202:17,22
    100:23 138:10,16 139:18        prepared 6:20,25 7:7 10:25       203:9 267:20,22
    143:4,8 150:16,21 160:10        11:8,12 12:1,7 13:12,19,22
    162:22 166:2,7,23,25 167:4,     18:25 20:18 26:23 27:2,5,12
                                                                   printer 202:20
    15,18 173:22 176:5 257:11       30:1 71:23,25 74:5 76:10       printouts 97:14
                                    78:22 79:15,17 80:13,15,19,
   posting 69:8 163:17 256:3                                       prior 9:21 20:13 21:9 32:2
                                    22 81:2,12,18,21 82:2,3,10
   postings 145:24                  103:4 137:9 152:18 183:15,16    33:10 34:8,25 35:6 55:14
                                    190:15 192:21 263:8,24          60:15 64:24 70:5 100:22
   posts 19:19,20 69:8 96:20                                        106:18 108:11 109:12,14
                                    264:13 272:6,7,8,10,22 278:4
    102:8 142:20 144:21 145:14                                      117:20 148:12,20 173:5
    151:15 268:6,8                 preparing 12:3 16:3 31:24        188:20,25 194:15 199:23
                                    56:5 109:5 179:17 180:10,13     200:14 212:24 215:13 216:3
   potential 54:6,12 114:1,13,14
                                    202:5 212:20 214:12 264:8       237:24 273:7
    193:22
                                    278:5
   potentially 62:25 130:2                                         Prison 142:12,14,19,23
                                   prepped 7:6 273:9,18,19          143:17 145:1,5,10,20,23,24
   pounding 228:2                                                   146:2,6,11,16 147:8,13
                                   prepping 271:21,22
   power 68:17 115:3,4,7                                           private 260:10
                                   preproduction 47:15
   PQPR 103:22 104:23 197:25                                       privately 260:8
                                   presentation 235:11
    198:1,15,19,22,24 199:2,6,9,
    10,14,18 200:14,15,20 201:7,   presented 30:6 46:22 229:7      privilege 25:18 58:16 98:19
    9,11,16 204:1 212:3,6,9,10                                      105:15 229:5,10 230:10,12
    214:18,19 215:4,20 217:11,19
                                   preservation 127:20,21           231:5,6
                                    128:19 137:9 145:19 146:5
    218:5 219:4 235:20 236:10                                      privileged 25:8,9,10 106:6
                                    153:25 158:18 269:25
    237:5,6,7 240:12,21,22                                          107:9 223:12 228:18,19
    241:10 242:15,20 243:18        preserve 102:7 127:5 136:13,
    266:17                          15,24 137:7 149:8,12,25
                                                                   privileges 229:12
                                    152:23 153:20 154:5,7,14       pro 111:11 112:7 113:8 116:2
   practices 22:6 206:8,11
                                    155:10,24 156:2,3,5,8,10,12
    207:6                                                          pro- 182:25
                                    157:5 158:22 226:19 230:25
   practicing 7:13,15 26:12         279:4                          problem 38:15,19 111:22,24
    116:1                                                           190:17 224:20 231:23 240:10
                                   preserved 128:6,18 153:24
   pre 257:17,22                    160:6 226:11                    275:21 277:2,3,4

   precontact 258:7                pretty 11:19 17:22 84:2 89:17   procedure 61:20 150:18
                                    106:4 107:9 110:9 183:13        219:23
   predated 65:13
                                    225:13 232:7 247:3 263:2       procedures 30:17,21 32:4,
                                                                    10 49:22 61:13 72:23



                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 96 of 106


  Paz, Brittany                            02-15-2022            Index: proceed..qualifie

   proceed 104:19 223:2             profit 188:21 191:21 192:11,    publication 135:25 139:5,7,
                                     20 251:4                        14,18 145:2 148:12,14,15,20
   proceedings 115:25 279:9
                                                                     149:3
                                    profit-loss 103:13,15 104:23
   process 28:19 36:21 43:7,9
                                     105:12 108:13 184:19 185:9,    publications 148:10
    60:23 62:14 226:8
                                     12 197:1,2 202:4 203:2
                                                                    publicly 138:25
   produce 120:11 125:24             205:12 209:18 210:10 214:14
    126:2 135:21 163:8,13 185:25                                    published 125:25 126:6,9
                                    profit-losses 209:22
                                                                     134:12 135:2 139:4,9 140:2
   produced 12:21 18:19 20:17
                                    profitable 197:20                144:22 145:5 170:12 277:13
    32:16 40:20 57:3,11 66:13,16,
    17,18,20 73:8,15,19 74:1        profits 216:18                  publisher 148:13
    78:25 79:18,21 80:5 85:16
                                    program 172:4                   pull 73:23 91:16 164:22
    86:1 90:8 91:6 92:18 93:18,19
                                                                     209:18 222:24 225:16 230:20
    94:11 95:18 97:13 99:19,25      programming 146:18
                                                                     231:13
    100:2,8 102:3,17,18 104:11
                                    promise 61:7 83:11
    108:14 109:17,18 111:19,21                                      pull-out-of-the-air 174:14,
    112:10,13 119:23 120:2,4        promoted 150:18,19 151:6,8,      16
    123:2 124:5,21 125:3 134:10      9,15,17,22 152:4
    135:4 146:23 163:4,13 184:1
                                                                    pulled 63:22 87:18 164:15,18
    185:24 187:3,5,7 188:22,25      promotion 151:3                  196:20 219:12,21 222:15
                                                                     224:9 229:3,22 230:3,6
    189:25 190:1,3,5 191:17         propensity 251:17
    195:2 205:6 206:19,22                                           pulling 159:20 228:17
    228:21,22 249:6 250:10 251:5    proper 130:15 169:22
    262:16,22,23 268:9 270:16,                                      punditry-type 31:14
                                    propose 193:22 226:20
    17,20,23 271:1                                                  purchased 237:5
                                    proprietor 238:4,8
   producing 108:11 189:9                                           purchases 198:15
    250:11                          proprietor's 239:9
                                                                    pure 64:16,17 174:14
   product 194:9,18 231:4           protect 51:10,13 53:2,18 54:1
    237:4                            237:13,19                      purely 153:17

   production 18:18,21,25           protected 229:5 269:1,2         purpose 42:18,20 54:10
    19:15,16 36:20 42:20 56:25                                       255:21
                                    protective 5:13,16,17 41:8,
    57:7,22 78:25 82:16 87:6,11,     10 95:23 192:4 193:24 195:6    purposefully 209:16 255:20
    14,25 88:24 89:5,6,7,8,14
    90:19,20 91:5,7,8,17 92:3,16    proved 115:21                   purposes 192:21
    93:11 94:7 98:4 99:21 100:4     proven 38:18,21                 purse 196:20
    102:2 112:15 113:15 118:6,9
    120:6 122:20 123:3 125:22       provide 165:18 229:6,13         pursuant 130:14
    131:2,3,5,7,8 134:15 135:9       247:12
                                                                    put 6:9 7:3 19:11 39:1 40:25
    144:7 159:9 164:24 165:2        provided 40:19 55:24 100:4       42:19 49:21 51:10,14 59:7
    191:9 250:25 266:23 270:1,6      188:18 191:22 192:1 194:12      74:24 75:2,14,15 92:22 101:8
    271:2                            195:1 196:4,8 204:15 220:14     147:17 165:18,22 189:5
   productions 42:21                 223:22 229:24 241:3 251:1       194:22 202:19,24 203:13
                                     277:20                          209:17 223:8 270:13
   productive 179:19
                                    providing 207:11                puts 39:6
   products 198:1,16,22 199:21
    243:18                          psych 258:4                     putting 22:14 45:13 132:8
                                                                     195:12 210:9
   prof- 197:3                      psychological 258:4
   professional 9:21 29:8           psychologist 95:17,19 258:6                     Q
    75:19 189:2 191:9               public 142:22 143:8 196:14
   profile 62:10                    publically 138:10               qualified 35:23 36:1 43:14
                                                                     210:24 211:1 214:7 237:1



                                       www.res-ipsa.com
                                        512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 97 of 106


  Paz, Brittany                            02-15-2022          Index: qualitie..referred

    239:12 258:25 277:1             ran 43:11 187:17 197:19          receive 116:23 128:18
   qualities 61:9                   Randazzao 110:1,6 111:6,         received 71:21 100:25
                                     10,25 112:6,18 113:3 114:17      126:25 127:4 128:22,24
   question 13:24 14:1,2,6 22:8,
                                     115:25 116:4,12,20 132:21        130:25 153:10 170:15 203:9
    15,19,21 23:1 27:23 28:5,20,
                                                                      214:15 221:17 244:2 252:6
    23 32:6,17,19,21 34:16,17       random 27:18 211:15 213:3
    35:5,22 38:8,15,19 39:10 45:8                                    recent 103:14 192:14 200:10
                                    randomly 27:17 28:16
    49:1 50:10 52:12 53:17 55:6,7
                                                                     recently 62:7
    56:12 57:14 58:12 61:23 69:4    range 93:7
    77:2,3,5 78:12 80:18 82:3,5                                      recess 77:25 91:21 137:16
    83:12 87:9 88:16 103:1
                                    rate 23:8,11 263:13
                                                                      188:12 228:5 253:19
    106:25 109:3 115:8,14 118:11    reach 66:25
    124:11 126:11,21 134:11
                                                                     recklessly 64:11
    135:2 138:11 139:1 149:13       reached 9:9 188:24
                                                                     recollection 143:18
    152:20 156:13 157:2 165:23      reaction 10:6,7
    168:15 170:10,24 171:9,15,21                                     record 5:1,12 6:10 7:3 11:18
    174:8 175:4 176:2 179:6,16      read 6:2 11:22,23 12:4,12,25      13:3 23:3 25:12 77:20,23 78:2
    183:4 187:12 188:16 192:7        20:6 31:21 32:25 33:3 40:10,     91:19,23 102:9 106:20
    196:24 210:25 211:2,21           11,12,13,17 46:13,17 57:24       114:20,23 137:14,18 147:15,
    216:6,21 231:7 236:23 242:18     86:15 87:11,12 92:7 97:5,6       17,20 188:10,14 189:6 192:6
    244:14,16,21,22 245:2,22         106:18,20 108:17,18,23 118:5     194:2,3 196:14 217:5 219:10,
    246:3,20,22 248:5 259:20         128:8,10 130:10 131:3,5,7,12,    25 223:9 224:16 226:22
    268:12 272:2 273:18 274:5        14,15 139:24 142:11 143:3        228:1,3,7,24 232:15 251:13
    275:4                            149:5 162:23 188:9 206:14        253:15,17,21 258:5 262:2
                                     221:4 225:12 246:15 247:7        264:19,21,23 277:25 279:7
   questioning 147:11 190:20         257:10,13,20 258:3 265:4
    191:16 252:8 275:14                                              records 96:11 139:17 149:21,
                                     266:7 272:16 278:6
                                                                      25 249:6
   questions 17:11 28:17 55:1       readily 70:14
    61:9 82:6 171:13 173:15                                          rectified 83:7
    174:7 184:24 207:11,14          reading 91:3 95:19 131:20
                                                                     rectify 51:25
    213:14,18,24 214:9 222:16,18     132:6 224:20 234:8 270:22
    226:16 247:12 253:9 260:15                                       red 83:25
                                    ready 19:1
    262:3 271:20 278:16,20                                           redact 225:15,19 226:1,2,7,
                                    real 52:22 72:17 141:3 144:4
   quick 52:22 72:17 198:9                                            13 227:15 230:11,18
                                     198:9 232:13 260:21
    228:24                                                           redacted 201:25 223:6
                                    realize 255:23 263:8
   Quickbooks 103:12 108:10                                           227:19 231:2 242:10,11,12,14
    185:4 203:10                    realized 194:4 228:2 251:3
                                                                     redactions 201:23 202:2,8,
                                     255:24
   quickly 101:13                                                     11 225:25 227:23
                                    reask 171:15
   Quinnipiac 29:2                                                   redirect 144:2 279:4
                                    reason 40:15 53:25 70:12
   quit 115:1                                                        Reeves 104:16 110:2,6
                                     98:4 121:2 143:1 171:17
                                                                      111:25 132:21 191:11 251:7,
   quotations 261:24                 194:13 200:24 204:16 206:5
                                                                      15,17,19 262:16
                                     246:1 260:14
   quote 60:7 229:7                                                  refer 184:19 218:13
                                    reasons 103:19 198:6 263:22
                                                                     reference 162:9
                   R                recall 17:20 37:24 39:20 71:5
                                     91:2 95:17,19 122:3 132:4       referenced 6:7 138:11,19
                                     146:1 147:1,3,6,7 148:24,25      258:4 262:1
   R0 147:5                          149:12 180:25 184:3 208:23
                                                                     references 268:5
   raise 151:19,22                   233:23
                                                                     referencing 90:25 261:4
   raised 37:13 277:6               recalled 267:15
                                                                     referred 129:15 230:8



                                       www.res-ipsa.com
                                        512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 98 of 106


  Paz, Brittany                         02-15-2022            Index: referrin..response

   referring 17:13 37:24 44:9      218:24                           213:2
    45:3 46:5 50:20 51:6 61:19
                                  remember 16:13 17:25 31:3        representative 5:4 7:23 8:1,
    90:1 204:24 216:24 217:1
                                   66:7 70:9 73:3 84:19 91:2        23 9:10 10:5,9 11:14,21,25
    231:4 245:2,19 246:9 268:7
                                   96:8,9 110:3 120:25 121:22       12:7,13 13:5 20:23 21:13,22
   reflect 197:2                   122:7 125:6,7,9 126:20 127:1,    79:10 80:12 81:23 86:3,24
                                   2 128:9 140:10 144:10 158:7      128:13 157:13 178:12 184:11
   reflected 209:5
                                   169:24 176:13 181:5,6,11         199:3 201:10 212:20 277:23
   reflects 208:15                 200:19 201:5,6,8 203:14,20
                                                                   representative's 189:8
                                   220:16 232:25 235:5 261:2,
   refresh 223:11                  17,19 262:15 265:17 273:1       representatives 10:15
   refusing 78:16                  275:15
                                                                   represented 73:19 116:15
   regard 109:4 248:3 261:6       remembered 157:21                 130:1 169:21 197:8

   regular 275:22                 reminding 133:9                  representing 45:4 113:3
                                                                    129:25 143:17 154:13
   regularity 198:21 199:24       remove 161:17
                                                                   represents 177:23 201:7
   regurgitated 108:20            removed 130:3,5 139:22
                                                                    218:5 219:4 237:7
                                   161:25 162:9
   reimburse 243:6                                                 reproduced 108:15
                                  rendered 144:25
   related 16:5,19 17:10 18:9                                      republish 146:19
    135:25 156:4 158:19 161:17,   reorganized 270:11
    24                                                             request 106:16 118:6,9
                                  rep 240:11,12
                                                                    125:21 134:14 135:9 138:12
   relates 226:13 264:3 267:3     repay 243:17                      185:25 193:18
   relating 118:10                repeat 47:6 165:20               requested 106:17,20 120:6
   relation 8:12 261:4                                              136:9 153:5 207:12
                                  rephrase 49:2
   relations 261:20                                                requesting 100:11
                                  replaced 191:6
   relationship 7:24 9:19,21,23                                    requests 120:6 122:19
                                  reply 157:17,22 158:3
    29:8 103:21 170:14 235:20
                                                                   require 8:5 13:5 15:19,22,23
    237:21 240:21                 replying 141:3
                                                                    32:6 269:3
   relative 186:25                report 43:21 48:8 95:17
                                                                   required 23:21 25:6 30:7
                                   127:10 169:5
   relay 276:22                                                     229:8 269:5 273:17
                                  reported 149:3 208:6,10
   release 195:4                                                   requirements 34:12
                                  reporter 23:2 59:4 77:18
   relevant 13:22 27:23 88:15                                      requires 30:23
                                   114:24 176:15,18 189:17
    192:25 193:3
                                   194:3 230:25 231:18 253:14      requiring 15:25
   reliability 69:7                254:8,12 269:12
                                                                   research 41:18 44:1,10,23
   reliable 47:23 48:25 49:3      reporters 33:6,7 34:19,21         45:24 46:4,14 48:4 87:8
    124:19,23 207:9 255:25                                          259:15
                                  reporting 43:23
    256:1,13
                                                                   researchers 34:18,19
                                  reports 48:21
   relied 90:12 149:9 229:12                                       respect 188:16 224:16 265:4
    249:5,25 250:4                reposted 147:7
                                                                    266:18
   relies 31:6 229:6              represent 76:16 100:1 129:6,
                                                                   respond 127:14,16
                                   9,13 142:3,22 145:9 164:11
   rely 59:25 222:16               168:23 170:1 171:12 177:24      responded 111:14
   relying 73:8                    178:1,7,10,11,12 192:9 199:2
                                                                   responds 115:8,11 148:18
                                   241:20
   remain 195:3                                                    response 118:15 119:7
                                  representation 109:12
   remainderman 216:15 217:7                                        122:18 126:2,21 129:10 135:3
                                   111:8 112:8 113:6 164:24



                                     www.res-ipsa.com
                                      512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 99 of 106


  Paz, Brittany                             02-15-2022        Index: response..screensh

    136:5 138:24 143:2 157:17       260:11 264:8 266:19 273:23
    158:4,7 164:18 188:16,22                                                        S
                                   reviewing 52:25 97:12,19
    244:1,2 250:20 262:19 275:13
                                    98:22 162:19 178:18,19
   responses 117:25 125:18          179:22 181:6,8,11,13,16         safe 20:15 76:9 78:21 93:9
    165:2 188:20                    183:1 184:25 227:11              127:3

   responsibilities 8:6            reviews 220:11                   safest 253:23

   responsibility 8:8 270:6        revised 129:20 187:10            sake 230:17
                                    197:11                          Salazar 24:21 26:18 37:1
   responsible 112:2 204:2
    211:19                         revisions 187:11                  82:15 83:22 84:25 86:6
                                                                     136:23 267:15 275:24 276:4
   responsive 78:14 118:16         revolving 249:8
    120:7,12 126:3 127:11 135:4                                     sales 220:18 237:8 240:22
                                   rewarded 151:5
    139:3 143:11 246:15                                             sanctioned 108:9
                                   right-hand 163:1
   rest 127:25                                                      sanctions 109:20 260:17
                                   ringing 114:18 115:1              265:5,12
   restrict 47:3
                                   road 27:24                       Sandy 7:4,10 17:7 18:10
   restricted 85:4
                                   Rob 30:18                         50:14,18,23 72:9 79:5,19,20
   restrictions 120:21                                               89:17 90:5 92:24 104:12
                                   Robert 108:3 237:25 248:12        108:6 113:2 182:23 192:3
   result 123:14 131:24 259:25
                                   Roe 108:3,9,21 197:8 200:8,       221:18 259:19 266:20,21,25
   resulted 109:19                                                   267:1,18 271:5,14,16,19
                                    15 201:17 206:2 207:9 209:11
   retained 8:22 9:2,5 10:17        210:2 211:3,24 212:10 213:2,     272:9 273:4,13,19 274:10,11,
    183:23 200:15,17,18,22          4,11,25 214:4,7,12,17 218:17,    25 275:5
    201:1,4,8 211:20,24 212:3,7,    20 219:7 235:8,10,19 237:25     sat 22:12 37:15 103:12
    9,10,23                         238:1 243:2 248:12 260:18
                                                                    Saturday 24:14 182:1,3
   retaining 211:20                Roe's 206:7 207:5 236:4           186:23
   retrac- 169:22                  role 25:2 34:11 150:11 151:6     save 101:20,22,23 149:23
                                    152:4                            170:8 171:22 174:9 226:12
   retraction 81:16 100:11
    129:14 130:6,15 169:22         roles 49:13                      saved 87:20 94:4 160:5
   return 248:23 249:11,22         room 78:4 163:18                  170:6,17,22,23 171:25 174:1,
                                                                     10,11 175:15,24
   returns 104:4 222:5             rooms 12:8
                                                                    scan 220:1 226:11
   Revenue 249:24                  roughly 16:16 93:3 182:21
                                    219:1                           scanned 227:22
   review 11:3,8,10 12:10 13:4
    15:12,19,25 16:4,22 17:9       round 20:1 250:25                scans 227:16
    18:23 19:5 20:5 45:24 56:4                                      schedule 207:22 208:1,7,17
                                   rude 54:24
    57:9 88:3 93:4,10 96:3 99:13                                     209:15 243:17 248:23,25
    100:7,10 117:3,10,20 123:1     rule 23:7 68:15 70:3 194:15       249:21,23 264:8
    124:25 144:15,16 153:6 177:4
    182:24,25 188:19 197:6 207:7
                                   rules 47:4 54:19 63:17 68:12     scheduling 111:13
                                    219:23 229:9
    222:14 271:5                                                    school 29:1,2,13 118:12
   reviewed 12:14,21 13:9,21       ruling 265:22                     136:2 238:10
    18:20 20:19 55:25 56:2 72:6    run 226:22                       score 263:12
    78:24 80:2 82:15 101:22
    102:13 103:24 104:8 118:5      runs 107:8                       scraped 139:7
    123:5 125:18 131:1 140:23                                       screen 168:24 252:4
    143:14 146:24 208:2,8,9
    220:2,6 222:13 245:5 249:22                                     screenshot 141:11 142:8



                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 100 of 106


  Paz, Brittany                           02-15-2022              Index: screensh..Sonya

    168:24                         shared 95:22 138:10,19          simpler 80:18 173:16
                                    139:13
   screenshots 149:22                                              sincerely 115:2
                                   shares 239:5
   search 89:15,17,23,24 90:4,                                     single 11:9,11 12:11,14,21
    5,7 118:16,19,20 119:4,9,12,   she'll 231:19                    20:8,9 35:22 73:25 149:25
    22 120:13,17,18,24 121:1,8,                                     170:11 191:6 270:22
                                   sheet 74:10 103:13,15 188:22
    10,13,20 123:6,8,10,15
                                    191:22 192:20 202:6 203:16     sir 28:5,20 74:1 106:6 173:14
    125:11 127:9 136:10,17,25
                                    205:12,13,18 210:10 240:16      222:18 273:16
    143:7
                                    241:2,6 242:1 251:4
                                                                   siri 115:8,11
   searched 118:23,24 119:5,
                                   Shelton 29:6
    13,15 123:17                                                   sit 9:24 11:24 39:24 121:22
                                   shit 224:2                       175:18 227:2 234:25 248:1
   searches 127:13 135:24
                                                                    259:24 264:10 271:2 273:1
                                   shocked 57:8
   searching 89:11,18 120:15                                        276:5
    121:23 123:20 145:19 159:20    shooter 101:12,14 118:13
                                                                   site 139:9 165:6 199:22
                                    130:2,5 131:23 136:3 141:4
   seat 190:25
                                    147:5 161:3,25 169:6 257:7     sites 62:17 97:7
   sections 131:10                  260:1
                                                                   sits 12:13
   secure 236:18                   shooting 97:3 149:3 218:12
                                                                   sitting 12:19,20 26:22 37:20
                                    238:10
   secured 203:25 210:20                                            85:24 124:3 128:11,13 146:15
    225:24 234:10,11,13,23         short 83:7,18 188:8              156:14 171:6 174:13 175:13
    235:2,3 236:9 237:10 238:4                                      177:9 185:14 189:7 190:16
                                   shortly 84:1
                                                                    210:8 228:19 245:21 247:7,11
   send 202:21 231:20
                                   should've 12:20                  248:4,9
   sending 34:1 49:16
                                   show 8:19 91:4 117:13           skip 99:7,11
   sense 150:19 163:14              125:24 142:23
                                                                   slapped 94:8
   separate 273:16 274:3           showed 202:4,6 208:7
                                                                   slightly 207:17
                                    209:13
   separated 266:21
                                                                   slow 83:11 138:22 184:6
                                   showing 134:10 135:22
   September 200:10                                                 224:5,6
                                   shown 177:5
   serve 10:8                                                      small 36:24 228:8
                                   shows 39:15 68:9 145:22
   served 21:12                                                    smaller 79:8
                                   Shroyer 35:14 44:21 113:22
   servers 90:9                                                    social 19:20 50:5 61:18,22,25
                                    133:19
                                                                    62:2 63:16 101:7,8,10,13,19,
   service 244:2 249:24
                                   sic 33:22 34:11 80:21 214:20     23 102:3,23 139:18 141:1
   services 243:22,25 244:12        215:23 240:14 271:10 274:1      150:6 164:19,25 165:6 256:22
    245:18                                                          258:19
                                   side 80:22,23 260:21
   set 78:15 90:19,20 138:23                                       sold 198:16 199:21 217:22
                                   sign 6:2 41:10 95:24 116:10      237:5
    237:16,17,19,20 243:16,17
    253:25 270:19,21               signed 41:8 95:22               sole 238:4,8 239:9
   sets 172:4                      significant 237:4               solely 59:25
   settle 41:25 134:5              significantly 92:24             solution 193:22 253:3
   settlement 192:21 194:9         signify 92:15                   someone's 44:24 45:19
   shaking 118:1 120:23 134:8      signing 39:16                    152:4
    173:23 218:18
                                   silence 74:19                   son 115:5
   share 13:6                                                      Sonya 226:25
                                   similar 60:21 95:11 164:25



                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 101 of 106


  Paz, Brittany                            02-15-2022                     Index: sort..stop

   sort 41:22 120:21 212:13         specifics 109:24 125:13          stamp 55:22 57:10 111:18
   sorting 275:7                    spectrum 258:16                  stamped 56:1,3,5,7,8 96:3,4,
                                                                      9 192:2
   sotto 14:21 73:12 90:15          speculation 47:1
    121:16 126:16 129:3 137:3                                        stamps 57:4,13,17,21 58:1
                                    Speech 5:4 7:23 10:5,13
    147:18 155:19 176:9 180:4                                         181:18
                                     31:11 37:9,10,11 41:14 65:11
    183:18 185:5
                                     71:22 73:7 103:21 118:16        stand 152:7 176:8
   sound 197:14 206:23 210:22        135:3 139:4,8,16,19,22,23
                                                                     standard 45:14 150:17
    215:1 248:3 275:23               140:1 142:24 145:15 146:4,
                                     17,18 148:9,17 151:14 158:21    standards 43:14 49:21
   sounded 63:16
                                     184:10,13 185:15 196:25
                                                                     stands 133:25
   sounds 75:25 167:5 223:24,        197:3,14 198:19 199:9,10,17
    25 236:14 272:8                  200:18 203:23 204:2 207:18      start 28:16 72:19 107:25
                                     208:6,16 209:6 211:22,24         112:5 183:24 222:21 254:16
   source 39:6,8 45:12,16,21         212:8 215:21 221:24 230:2
    46:1,6,8,11,18 47:11,18 49:3
                                     233:5 235:19,20 236:6 237:12    started 5:23 12:2 19:10,11
    59:25 60:22 61:2,17,22 62:3,                                      37:17 49:14 51:9 66:11 68:8
                                     240:12,15,18,21,22 243:10
    25 68:1,3 93:20 94:21 149:21,                                     181:25 190:12 198:5,8 200:5
                                     244:11 248:6
    23,25 256:13,19                                                   211:15 239:1
                                    Speech's 208:9
   sources 30:24 31:6,7 36:22,                                       starting 15:5,7
    23 47:16,17,22 48:12 59:24      spend 180:12 181:16,24
    60:9,12,19,25 61:3,14 62:1,      183:1 271:21                    starts 217:17 249:16
    18,22,25 69:18,20,24 149:8                                       state 26:12 91:1
                                    spending 181:23
    164:20 256:18 277:15
                                    spendthrift 239:13,18            stated 29:25
   sourcing 30:21 46:6 48:16,
    18,19,23,24,25 150:8 271:12     spent 16:16 179:18 180:9,16      statement 44:10 45:2 46:17
    274:15,18,19,20 275:8            181:5,7,10 182:5,22 183:8        73:10 108:13 188:23 189:1
                                     271:22                           192:20 193:14,17,20 197:1
   speak 8:8 9:7 25:25 32:11,21                                       214:14 233:16,18,19 234:5,6
    33:22 61:24 70:11 106:17        spider 237:10                     236:1 251:6
    108:3 138:1 163:18 266:12
                                    spit 248:6                       statements 50:24 103:25
    272:10
                                                                      104:2,3,24 109:7 185:10
                                    split 182:18
   speaking 30:20 31:5 55:2                                           271:15
    82:13 118:21                    splitting 88:6
                                                                     states 26:13 100:14
   specific 14:24 23:16,17 34:1     spoke 9:8 24:6,16,21,22,25
    36:16 49:19 50:16 58:9,11        25:24 26:2,20 30:17,18,19
                                                                     Statesman 94:1
    61:15 64:9,21 70:1 74:8 75:24    31:24 32:8 33:20 60:20 61:10,   stating 35:15
    76:11 77:7 79:14 96:22           11 70:4,8,9,15,25 72:7 82:14,
    107:17 108:7 109:25 116:14       15 84:9 106:24 107:1 117:4,     status 169:9
    119:5 128:3 134:1 152:19         10 125:7 132:9 146:4 153:16     statute 130:15,16,18
    241:11 242:3,5,17 244:25         157:24 165:4 177:22 179:21
    245:2,22 265:25 266:24           186:6,11 197:8 207:24 235:7     Stay 264:22
    274:23                           243:2 266:14 267:9 275:16,24    steps 101:20 102:7 152:22
                                     276:16                           164:7 165:11 259:5
   specifically 9:4 12:6 16:2,5,
    18,25 18:9 44:22 50:1 51:6      spoken 30:15,16 32:2 64:19       stick 230:21
    65:9 72:14 73:3 83:4 91:3        84:12 158:16 186:7 233:25
    104:16 106:14,16 120:2,5                                         sticker 94:9 184:20
    127:17 154:1 156:1 158:17
                                    spoliation 221:13,15,17
                                                                     stickered 188:5
    162:11 183:2 245:1 260:16       spread 256:10
    267:9                                                            Stoneman 136:2
                                    stack 74:21,23 92:2 198:11
   specificity 233:11 241:13                                         stop 66:22 133:7 174:7,8,22
                                    staff 33:2 227:21 256:12          249:2



                                       www.res-ipsa.com
                                        512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 102 of 106


  Paz, Brittany                             02-15-2022              Index: stopped..taxes

   stopped 235:20                  supervisors 51:9
                                                                                    T
   store 241:20                    supplement 189:4
   stories 63:7                    supplemental 18:18,25 91:7       T-R-O-N-I-C-A 269:14
   story 50:4 54:11                suppose 276:6                    Tab 140:8,9
   strive 39:1                     supposed 76:1,25 87:4            tabbed-up 17:23
   structure 17:12 51:24 68:10     surely 39:14,18,24 41:8 57:8     table 22:16 32:19 174:8
    103:18 104:23 107:7 146:13      65:19
    199:7 237:23                                                    tablet 230:10
                                   surgeon 232:17
   structures 146:9                                                 tabs 75:18
                                   surgery 43:13,15
   stuff 46:14 141:15 142:7                                         takes 46:12
                                   surprise 13:2 21:7 207:5
    211:16 214:3 238:13 273:9                                       taking 7:4 219:8 225:3,5
                                    251:10,11
    275:4
                                   surprised 20:22,25 21:2,24       talent 60:4
   stupid 114:19
                                    22:1 238:21,24 239:1            talk 11:14 13:22 24:2,18 25:7,
   subject 5:13 6:5,16 30:1 33:3                                     16 48:3 58:21 65:18 70:15
                                   surprising 251:15
    151:12 214:8 230:10 238:8                                        76:10 77:21 81:15 82:19
                                   suspend 252:22 253:7,10,24        105:10,11,13,25 106:1,12,14,
   subscribed 93:1
                                    263:22 264:19                    16 107:5 117:8 120:22 137:11
   subsequent 161:8                                                  158:8,9,14,15,20 164:9,16
                                   suspended 264:2 279:5
   subsequently 108:15                                               177:13 178:14,15 179:1
                                   suspending 77:22                  186:14 191:8 193:11 202:5
    206:21 212:7
                                   swear 33:7                        214:7 222:1 264:13,15 270:3
   subsidiaries 237:11 239:3
                                   swearing 124:20                  talked 5:24 23:25 62:12 74:25
   substance 256:5                                                   82:14 84:4 105:8,20,21,22,23
                                   swiftly 252:25                    106:8,15,21 107:8,19 111:17
   sudden 173:11 190:21
                                                                     117:2 146:8 155:2 158:11
    210:20                         switched 238:3
                                                                     169:25 194:22 221:21 235:5
   suffer 258:18 259:25 260:3,5    swore 37:14 105:7                 255:17 265:14 267:15 276:15
   suffers 257:15                  sworn 5:6 145:4                  talking 18:12 25:4 32:20
                                                                     44:15 45:19,23 51:23 53:15
   suggest 226:10                  symptoms 259:1
                                                                     64:10 87:24 90:21,25 91:18
   suggested 231:15 266:5,8        system 121:9 122:5 149:25         92:1,11 102:4 171:7 181:12,
                                    159:21,23 165:21 168:25          17 200:25 213:25 232:3
   suing 89:1
                                    172:20 173:13,17 175:14,15       238:22 254:22 262:16 273:6
   suits 113:4
                                   system's 210:21                  talks 221:14
   sum 256:5
                                   Systems 5:5 10:5,13 31:11        task 263:4
   summaries 18:9                   41:14 65:11 73:7 135:3 139:4,
                                                                    tasked 7:18,22 8:7 11:12 59:8
                                    16,19,22,23 140:2 142:24
   summarizes 258:6                                                  69:10 80:12 86:3 154:6
                                    145:15 146:4,17,18 148:10,17
                                                                     157:13 159:20 179:22 184:2,
   sun 263:4                        151:14 158:21 184:14 185:15
                                                                     7,9 211:12 245:22 246:2
                                    196:25 197:3,14 198:19
   Sunday 182:5                     203:23 204:2 209:6 211:24
                                                                     259:2,7 270:22 271:17 272:22
                                                                     273:14 274:10
   supervised 51:19 52:3            215:21 230:2 233:5 235:19,20
                                    236:6 237:12 240:18 244:11      tax 103:24 104:2,4,24 105:9,
   supervisor 49:13 60:16           248:6                            18,19 117:14 204:21 205:25
    68:24 70:6 71:14 150:11,13,
                                                                     207:22 211:8 212:14 222:5,7
    20,23 151:1 152:4              Systems' 118:16 208:16
                                                                     248:23 249:5,10,22
   supervisorial 34:11                                              taxes 208:2,4,6,8



                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 103 of 106


  Paz, Brittany                            02-15-2022                Index: teaching..topic

   teaching 58:16                   text 157:23 161:21                 237:4 243:8 244:13 247:24
                                                                       249:4 252:17 255:23 269:7
   technology 268:3                 that'll 58:2 196:15
                                                                       271:21,22 272:1 273:12,20
   television 148:16                therapist 95:20 257:13             278:24
   telling 10:22 32:3 76:4 86:21    thereabouts 182:4                 timely 111:15
    124:3,13 153:18 211:16 246:2
                                    thing 13:11 31:16 53:7 55:25      times 23:19 35:13 37:15
    251:8
                                     89:21 90:2,10 113:23 125:7        39:15 63:1 147:7 149:1 170:1
   tells 39:7 169:17                 129:23 137:10 160:1,9 161:15      176:6 268:5,7
                                     180:7 191:7,15 219:18 262:14
   Tens 56:18                                                         tip 49:4 69:16
                                     274:18 275:12
   tenure 65:14                                                       tips 48:22 62:1,17
                                    things 20:17 21:23 31:14
   term 7:25 45:16 52:7,14 63:1      33:14 36:6,12,24 38:20 51:21     title 71:17 221:19,20
    188:23 242:1 275:21 276:7        54:9 62:24 63:9 89:19 131:9,
                                                                      today 7:14,15,19 9:24 11:24
    277:2,3,4 278:15                 11 159:21 181:18 214:4 244:2
                                                                       12:8 13:14 14:18 17:6 18:2,6,
                                     256:3 261:11 265:25
   termed 277:5                                                        16 19:3 20:16 23:25 27:25
                                    thinking 119:8                     31:25 33:11,16 37:20 41:20
   terminated 64:6                                                     55:14 56:5 58:18 59:7 63:2
                                    thinks 85:18 111:9 256:2,9
   termination 64:23                                                   75:20 78:6,15,22 79:5 81:18
                                    third-party 121:4 122:8            85:24 86:10 91:13 106:11
   terms 49:19 89:25 120:16,18                                         107:14 117:21 124:3 128:11
    121:24 123:20,21                thought 15:11,14,18 27:11          146:15 166:17 171:12 175:13
                                     42:4 83:23 85:3 117:5 128:7
   terrible 182:8,19                                                   177:4,10,16 178:16,23,25
                                     158:6 178:4,6 180:20 218:4
                                                                       179:1,11 180:9 183:8,15
   terribly 6:19                     232:9 263:20,23 272:11
                                                                       185:14 187:1 210:8 214:12
                                     276:16
   test- 266:18                                                        230:3 234:25 243:20 248:9
                                    thousand 11:3                      249:5 259:24 273:1 275:19
   testified 5:6 14:9,13 15:4,18                                       278:5
    16:21 27:7 30:15 34:13 38:2     thousands 56:11,15,16,17,
    49:12 51:21 69:15 81:4 89:22     18,19 79:25 80:1,3,4 119:23      today's 262:19
    106:17 113:25 127:8,12           120:3
                                                                      Todd 200:21
    152:25 153:1,5 173:8 182:2
                                    threats 130:24 132:3 260:9        told 11:2 16:18 27:21 32:9
    185:3 190:14 197:16 203:8
    208:8 209:24 210:14 237:3,22    threw 63:22                        33:10 34:9 60:13 70:3 74:21
    243:16 265:3 273:5 279:1                                           75:6 98:14,20 102:18 108:21
                                    throw 184:20                       143:20 149:19 153:18 155:18,
   testify 14:3 20:16 26:15 30:1,                                      23 157:15 162:8 178:4,7
                                    Thursday 72:7 186:22
    5,10 36:7 51:13 80:16 81:4,11                                      180:9 183:7 191:4 203:20
    94:21 95:1,2 98:15 99:9 184:9   tied 116:24                        229:16 239:17,18 256:14
    187:1 207:13 208:20 209:4                                          257:8 260:7 276:15
                                    time 8:9,24 9:1,7 10:10,18,23
    235:1 240:4 257:24 261:18
                                     11:13 14:24 15:11,13,18,20,      tomorrow 256:25
    271:18
                                     22,23 16:1,22 23:12 30:7
   testifying 37:22 223:25           40:14,24 47:18 54:18,25 63:8,    top 17:20 74:7 84:19 141:13
    241:18 247:25 250:4 261:17       10 70:5,15 71:11 77:9 82:6        142:7 166:9,16 229:3 232:8
    273:22                           83:7,18 87:1 103:14 111:13        234:6 255:2
                                     112:1,20,22,25 113:15 125:8,     top-left 235:16
   testimony 35:7 37:21 40:12
                                     24 126:7,13 134:11,18 136:7
    147:10 158:23 176:7 177:9                                         topic 16:17 55:18 64:9 68:2
                                     138:18 141:15 148:14 150:9,
    195:8 203:17 205:9 213:5,21                                        71:23 76:6,10 78:13,22 79:14
                                     13 156:24 162:24 165:18
    229:7,13 249:5 250:1 253:24                                        81:3,13,15,18 82:7 86:25
                                     166:6,9,11,14,16,21,23 167:3,
    264:4,9 266:20                                                     103:8 137:8 152:19 157:13
                                     20,22 168:1,4 169:15 170:11,
   Texas 7:14 21:7 40:21 47:4        15 172:10,13 178:17 179:17        190:15,21 213:12 214:1
    54:19 104:14 109:21 111:10       180:18 182:14,15,25 183:16        238:19 240:4 263:22 272:3
    116:1,7,14 219:23                187:17 191:6 212:6 213:25         275:16 279:5



                                       www.res-ipsa.com
                                        512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 104 of 106


  Paz, Brittany                              02-15-2022            Index: topics..verified

   topics 7:6 11:15 13:6,13,22      trustee 216:7,9,10                141:17,25 157:2 165:23 179:6
    14:3 16:13,23 17:3 26:23 27:8                                     187:24 212:25 213:7,8,23
                                    trusts 237:10,22
    30:5 68:4 69:10 72:1 81:22                                        227:5 233:4 241:7 242:9
    86:4 177:16 178:24 179:14       trustworthy 47:12                 246:3 247:8 248:5,20 250:1
    183:11 187:1 190:12,13 214:2                                      252:10 260:14 268:12 272:19,
                                    truth 37:14 38:5 39:16 145:4
    263:6 272:21 273:14 274:22                                        20 276:18
                                     251:8
    275:3
                                                                     understanding 59:23 60:18
   total 16:11,22 93:8 180:12,23    truthful 38:14,16,24 39:1,9       99:18 146:16,20 152:3 177:12
                                     44:25
    183:5,8 217:11                                                    197:21,22 202:17 206:16,18
                                    turn 115:2 252:18                 230:11 233:8,13 254:1
   totals 198:22
                                                                      265:21,24 266:5 277:17
   tracking 243:7,10                turned 99:22,23
                                                                     understood 26:16 37:12
   traditionally 133:13 149:20      turning 255:13                    274:5

   transcribed 220:14 223:22        Twitter 19:20 48:9 62:20,21,     undertaking 30:8
                                     24 63:5,6,7,9 139:14,20 141:2
    224:3,10,20 225:5,10 229:23,
                                     148:22 149:10 165:1,6 256:20    unfortunate 101:9
    24 230:3
                                    two-source 70:3                  universe 82:17 109:7 181:18
   transcript 11:19,22,23 13:3,
    10                              type 31:15 58:9,11,13 61:16      University 29:2
                                     68:7,10 192:19 239:14,19,23
   transcripts 12:5                                                  unknown 86:5 210:18
   transfer 244:4,5                 types 11:5 42:18 149:21          unprepared 76:17
                                    typically 151:21,24 152:4
   transferred 243:21 244:11                                         unquestionable 257:2
                                     239:8
    245:14 246:7
                                                                     unquote 60:7
   transfers 245:17,19,23,24
                                                  U                  unredacted 231:19
    246:9,16,21,23,24
                                                                     unrelated 179:25
   transparent 191:5                UCC 196:14 234:6
                                                                     unsecured 234:23
   tread 249:20                     UCC-1 233:1,9 236:1
                                                                     unsuccessful 111:11
   trending 48:9 62:23 63:1,8,      Uh-huh 38:13,22 43:19 49:8
    10,13                            60:8 128:5 148:2 172:12         unverified 248:2,7
   trial 21:16,17 253:1              180:8 182:10 204:12 232:6       updated 65:4,6,15 197:10
                                     234:18 261:9 274:17              204:14 206:5 209:20,21,22
   trick 74:6
                                    ultimate 68:21 69:5              uploaded 166:15
   triggered 200:11
                                    ultimately 10:12 15:24 23:21     ups 268:14
   true 22:5 27:15,16,22 38:17,      111:12 198:16 216:19 222:1
    18,21 43:21 55:21 58:12                                          upset 132:10
    60:10 64:12 91:10 95:23,25      unable 159:13
    96:1 125:19 126:12 127:18
                                                                     URL 148:15
                                    unaware 206:6
    142:2 143:23 144:25 145:4
    152:15 155:7 157:9 174:15       unconscionable 229:14                            V
    175:20 180:10 206:24 235:3      underline 255:3
    240:8 244:25 245:1 273:10                                        vacuum 37:7
                                    underneath 147:5
   Trump 141:3,6 144:4                                               vast 36:19 37:3 197:24
                                    underscore 195:23,24
   trust 32:23 47:24 213:1                                           veracity 59:19,21 60:1 61:2
    215:8,9,10,11,22 216:2,3,8,     understand 10:13 12:12,19
                                                                      115:21
    13,16,18 218:22 239:13,14,       22:10 26:11,14,17 27:25
    15,18,19,21,24                   28:18,21,22 31:10,12 45:9       verbatim 78:12 232:3
                                     49:1,9,10 79:2,4,9 80:11
   trusted 238:7,15                                                  verified 98:6
                                     94:25 97:15 103:19 138:12



                                       www.res-ipsa.com
                                        512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 105 of 106


  Paz, Brittany                             02-15-2022            Index: verify..worth

   verify 49:5 62:18 247:20        waived 229:12 230:13,15         88:13 159:12 185:2
    248:10,11 251:1
                                   walk 78:4 212:19 213:3         whispering 228:20
   verifying 248:21
                                   walking 27:1                   white 107:11
   version 135:1 139:8,11 161:8
                                   wanted 6:9 51:19 53:10         Whitehurst 110:23
    231:19
                                    58:25 82:21 84:14 106:11,22
                                                                  Whitehurt 132:21
   versus 234:23 267:21,22          107:1 132:19 164:16 176:12
    268:8 274:4                     191:19 232:10 240:8 243:11    Whittenburg 105:8,16 117:2,
                                    278:13                         4,6,9 177:11 178:14,22
   vet 59:10,12,19 62:13 211:17,
                                                                   179:13 191:18 192:15 196:5,
    21                             warehouse 266:15
                                                                   7,9,11 200:25 260:18
   vetted 54:13                    wasted 273:12
                                                                  Whittenburg's 105:17
   vetting 30:13,21,23 45:18,20    wasting 213:25
                                                                  Who'd 23:24
    46:7 55:19 58:8,9,17
                                   watch 224:15
                                                                  whoever's 12:19 39:5
   vice 111:11 113:9 116:2
                                   watched 39:11,19 222:20
                                                                  wholly 73:8
   video 18:7,8 222:20
                                   water 122:15 249:20
                                                                  Why'd 27:14 82:19 105:25
   videos 18:9 80:2 181:8
                                   Watson 71:17,18 142:18          106:2 237:16
   videotape 230:7                  182:6
                                                                  wife 214:23
   viewed 96:25 97:2               ways 241:1
                                                                  wife's 214:21
   viewers 38:14,24 46:23          web 77:3 98:10,21 135:8,21,
                                                                  Wilhite 110:24,25 132:22
                                    22 137:9 139:10 152:10,14,
   viewership 39:5 147:12
                                    17,23 153:20 165:22 166:16    winded 124:12
    265:22
                                    237:10 267:21,22
                                                                  withheld 33:25 34:3
   viewing 95:16
                                   website 135:2 139:6 142:10,
                                                                  withhold 231:18
   views 73:6                       11 143:9 145:14,25 147:14
                                    148:13 149:4 165:19 166:3     witness' 228:20
   violate 192:4                    198:17 237:6 240:23
                                                                  woke 150:22,25
   violated 68:15 107:16           websites 146:14 148:18,23
                                    149:1,11                      woman 66:8
   violating 23:7
                                   Wednesday 181:25 182:2         word 33:8 46:20,21 48:19,22
   violation 26:13
                                    186:22                         63:19 67:1 69:17 212:22
   violations 107:20 108:2
                                   week 18:24 19:1,11,17 72:5,7   words 80:24 222:3 247:8
   visited 135:22 148:18            98:23 162:20 182:17,18        work 10:3,10,12,24 23:19
   voce 14:21 73:12 90:15           199:18 204:15 209:21           29:9,15,16 66:25 115:17
    121:16 126:16 129:3 137:3      weekend 18:24                   116:5 118:25 146:9,19 194:9,
    147:18 155:19 176:9 180:4                                      18 196:18 211:3 227:10 231:4
    183:18 185:5                   weeks 9:1 10:19 29:22 39:12     248:13 266:16
                                    128:22 196:10 273:2,8
   volumes 11:5                                                   work-related 139:14,15
                                   weird 223:25
   vouched 213:4                                                  worked 40:25 47:21 116:9,11
                                   what'd 25:7 29:15 41:22         212:6 238:2,3 266:15
                                    105:10,13 160:1 278:18
                   W                                              working 21:1,3 85:12 250:25
                                   What-all 177:3
                                                                  works 23:10 146:20 235:13
   Wade 110:10                     whatsoever 235:3                266:16
   wait 74:19 192:11,17 202:7      When'd 186:2                   worry 161:19
    221:7
                                   where'd 29:1 36:17 87:12       worth 19:24 103:4 104:12



                                      www.res-ipsa.com
                                       512.334.6777
Case 22-60043 Document 28-11 Filed in TXSB on 08/03/22 Page 106 of 106


  Paz, Brittany                             02-15-2022        Index: Wow..Zoom

    116:24 177:6,11,14 183:25       277:6
    184:5,7,10,13,15,17 185:15
                                   yesterday's 262:2 272:11
    190:13 192:25 193:4,18
    196:25 197:3,10 202:6 204:11   York 269:16
    205:14 211:13 234:17 235:2
    238:23 252:9 253:24 279:6
                                                 Z
   Wow 250:15
   write 53:20,21 65:22 255:7      zealous 224:15
    269:11                         Zimmerman 72:7,12 80:2
   writeoffs 204:17                 121:15,19,23 125:5,8

   writer 71:12,15                 Zoom 182:6

   writers 33:6 48:21 50:25
    84:9,15 85:6,8,10,11 86:5
    136:23 137:22 276:10
   writing 34:17 60:22 85:7,9
   written 31:4 32:3,10 60:17
    66:1 211:1 277:15
   wrong 49:25 50:12,15,18,21
    51:1,2,12 63:21 76:17,19
    100:23 122:15 180:22 208:24
    247:15 257:4
   wrote 33:21 101:10 262:5
   WWW 142:12

                 Y

   y'all 10:1 24:2 25:7 106:8
    115:9 186:14 191:18
   year 29:3 153:12 185:13
    215:14,23 216:2 248:14,15
   years 21:2 29:12 64:8 153:12
    198:17 200:13 205:19 210:18
    235:23 238:10
   yellow 219:12 230:21
   yesterday 5:24 7:6 12:8
    13:14 14:9,13 15:4 17:22
    18:19 19:19 20:20 21:10
    22:12 27:1 30:16,25 31:5
    36:14,20 41:19 47:14 49:12
    51:22 56:5 75:17,21 85:16
    89:16,22 103:9 105:7 107:13
    111:20 177:16 178:16,23,24
    179:2,11 180:19 181:5,11
    182:2 189:13 202:10,18
    229:24 259:20 261:17,18
    262:5,7,9 267:16 271:19
    272:3,22 274:1 275:17,20



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